Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3924 Filed 07/12/16 Page 1 of 117




                                Exhibit 1
Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3925 Filed 07/12/16 Page 2 of 117
Bailey v. Scoutware, LLC, Slip Copy (2014)
2014 WL 11309770


                                                                  • Jarret M. Pabst: $5,255.00, 21.02 hours at $250.00 per
                2014 WL 11309770                                     hour.
   Only the Westlaw citation is currently available.
            United States District Court,                     (Pl.'s Mot. at 25.) Plaintiff also requests $17,514.96 for
         E.D. Michigan, Southern Division.                    actual costs in this case and interest. (Id.)

          Christopher James Bailey, Plaintiff,
                         v.                                   II. WPA and Michigan attorneys' fees
             Scoutware, LLC, Defendant.                       The WPA provides for an award of attorneys' fees.
                                                              Mich. Comp. Laws § 15.364, in relevant part; “[a] court
                    Case No. 12–10281                         may also award the complainant all or a portion of the
                             |                                costs of litigation, including reasonable attorney fees and
                  Signed August 19, 2014                      witness fees, if the court determines that the award is
                                                              appropriate.”

   OPINION AND ORDER GRANTING IN PART                         Plaintiff argues that the Court must award all actual
     AND DENYING IN PART PLAINTIFF'S                          attorneys' fees under the WPA. (Pl.'s Mot. at 2–3.) Despite
    MOTION FOR ATTORNEYS' FEES [145]                          his argument, Plaintiff has pointed to no Michigan or
                                                              federal case that says the WPA mandates an award of
Nancy G. Edmunds, United States District Judge                attorneys. Michigan cases, in fact, hold to the contrary
                                                              —a court, under the WPA, has discretion in awarding
I. Introduction
 *1 On August 8, 2014, a jury returned a                      attorneys' fees. 1 See Heckmann v. City of Detroit, No.
verdict for Plaintiff Christopher James Bailey on his         267391, 2007 WL 1989518, at *10 (Mich.Ct.App. July
Michigan Whistleblowers' Protection Act and breach of         10, 2007) (citation omitted)(noting that an award of
contract claims against his former employer, Defendant        attorneys' fees under the WPA is “discretionary.”); Lease
Scoutware, LLC. (Dkt.143.) The jury awarded $18,000.00        Acceptance Corp. v. Adams, 724 N.W.2d 724, 733, n. 8
in economic damages and $2,500.00 in non-economic             (Mich.Ct.Ap.2006) (pointing out that the WPA allows
damages for the WPA claim. (Dkt.143.) The jury awarded        for the discretionary award of attorneys' fees.); Gomery
$2,000.00 for past economic damages on the breach of          v. Crest Fin., Inc., No. 250881, 2005 WL 658818, at *1–2
contract claim. (Id.)                                         (Mich. Ct.App. Mar. 22, 2005) (citations omitted) (noting
                                                              that the trial court has the “discretion” to award attorneys'
On August 15, 2014, Plaintiff filed a motion for attorneys'   fees under the WPA.).
fees and costs, which is now before the Court. (Dkt.145.)
The Court needs neither a hearing nor a response to decide    1       Michigan law governs a court's award of attorneys'
this motion; the Court therefore disposes with both and               fees. See Hometown Folks, LLC v. S & B Wilson, Inc.,
issues this order and opinion. E.D.Mich. LR 7.1(f).                   643 F.3d 520, 533 (6th Cir.2011) (citation omitted)
                                                                      (“In diversity cases, attorneys' fees are governed by
Plaintiff requests the following amounts for the attorneys            state law.”)

who worked on his case:                                       Plaintiff bears “the burden of proving the reasonableness
                                                              of the requested fees[.]” SMith v. Khouri, 751 N.W.2d 472,
  • Tom Pabst: $43,875.00, 97.5 hours spent at $450.00        478 (Mich.2008) (citation omitted). To start, a court is
    per hour;                                                 to determine the “fee customarily charged in the locality
                                                              for similar legal services[.]” Id. at 479. A court should
  • William Moore: $140,612.50, 401.75 hours at $350.00
                                                              look to “reliable surveys or other credible evidence of the
    per hour;
                                                              legal market” to make such a determination. Id. After
  • Michael A. Kowalko: $8,953.00, 25.58 hours at             making findings on that hourly rate, a court is to multiply
    $350.00 per hour; and                                     that number by the reasonable number of hours expended
                                                              on the case. Id. That total is to serve as a trial court's
                                                              starting point in calculating reasonable attorneys' fees.


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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3926 Filed 07/12/16 Page 3 of 117
Bailey v. Scoutware, LLC, Slip Copy (2014)
2014 WL 11309770

Id. From that total, a court then is to look at other          a reasonable amount of time to spend on a motion to
factors to determine whether to make adjustments to that       dismiss, a motion for summary judgment, and then other
initial figure. Smith, 751 N.W.2d at 478–79. Those factors     pretrial work.
include:

             *2 (1) the skill, time, and labor                 C. Other factors
            involved, (2) the likelihood, if                   The starting off reasonable attorneys' fees is therefore
            apparent to the client, that the                   $25,000.00. Plaintiff has requested a significantly larger
            acceptance of the employment will                  sum for attorneys' fees, over $200,000.00. The Court will
            preclude other employment by the                   not diverge from the starting off point. The case's claims
            lawyer, (3) the fee customarily                    were tenuous from the beginning. The WPA and breach
            charged in that locality for similar               of contract claims were basic claims that did not require
            services, (4) the amount in question               any specialized skill. The pretrial matters were protracted
            and the results achieved, (5) the                  and both sides involved in the pretrial litigation were at
            expense incurred, (6) the time                     fault. Neither side acted in a civil manner that befits civil
            limitations imposed by the client                  litigation.
            or the circumstances, (7) the nature
            and length of the professional                     Attorneys Pabst, Moore, and Kowalko are all requesting
            relationship with the client, (8)                  attorney fees above and beyond the median range. The
            the professional standing and                      Court will not increase the hourly rates for these three
            experience of the attorney, and                    attorneys. As the Court has stated, the claims were not out
            (9) whether the fee is fixed or                    of the ordinary. The claims did not require any specialized
            contingent.                                        skill.

Gomery, 2005 WL 658818, at *2 (the Wood factors)               The Court also finds the fact that four attorneys worked
(citations omitted).                                           on Plaintiff's case excessive. The Court will not allow
                                                               an attorneys' fees award for work that could have been
                                                               accomplished by one attorney. The Court specifically
III. Analysis
                                                               finds that the amounts requested by Kowalko and
A. Civil rights reasonable billing rate                        Jarrett M. Pabst unreasonable. Kowalko worked on
The Court looks to the State Bar of Michigan's 2014            jury instructions, which were not complicated and could
Economics of Law Practice Attorney Income and Billing          have been handled by one attorney. Jarret M. Pabst is
                                                               requesting fees for the time that he sat in on trial and the
Rate Summary Report to fix a reasonable billing rate. 2
                                                               time that he read deposition transcripts into the record.
That report shows that the median range for hourly billing
                                                               An attorney need not have performed that function and
rates in civil rights cases is $250.00. That amount is
                                                               the Court finds that award requested unreasonable.
therefore the Court's starting off point. The Court notes
that $250.00 per hour hovers around the median rate
                                                               The Court also finds that the $25,000.00 attorneys' fees
for those attorneys working in Detroit and Downtown
                                                               award is reasonable in light of Plaintiff's recovery. Here,
Detroit and for those attorneys with twenty-six to thirty-
                                                               Plaintiff recovered only a sliver of what he hoped for,
five years of experience.
                                                               requested, and argued to the jury. The Court finds that
                                                               Plaintiff's modest recovery should also limit his attorneys'
2      available          at:http://www.michbar.org/pmrc/      fees recovery. See Gomery, 2005 WL 658818, at *2
       articles/0000151.pdf (last visited August 19, 2014).
                                                               (citations omitted) (“A trial court may reduce an award of
                                                               attorney fees on the basis of a plaintiff's limited success,
B. Reasonable hours expended in this case                      but it not required to do so.”).
The Court finds that a reasonable amount of hours
expended in this case would have been one hundred hours.
The Court notes that Plaintiff was in trial for around forty   D. Costs
hours. The Court finds that sixty hours should have been


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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3927 Filed 07/12/16 Page 4 of 117
Bailey v. Scoutware, LLC, Slip Copy (2014)
2014 WL 11309770

 *3 Plaintiff has also requested costs. (Pl.'s Mot. at 24.)
The WPA also provides for a discretionary award of costs,               IV. Conclusion
“if the court determines that the award is appropriate.”                For the above-stated reasons, the Court GRANTS in
Mich. Comp. Laws § 15.364. The Court finds that the                     PART and DENIES in PART Plaintiff's motion for
$25,000.00 award in attorneys' fees is sufficient. The Court            attorneys' fees. The Court ORDERS Defendant to pay
does not award costs.                                                   $25,000.00 in attorneys' fees to Plaintiff within sixty (60)
                                                                        days of this order, or upon arrangement between the
                                                                        parties. The Court DENIES Plaintiff's request for costs
E. Judgment interest
                                                                        and GRANTS Plaintiff's request for interest.
Plaintiff requests judgment interest, including pre-
judgment interest. (Pl.'s Mot. at 2425.) The Court grants
                                                                        So ordered.
Plaintiff's request. Plaintiff is entitled to interest, including
prejudgment interest, in accordance with Michigan
Compiled Law § 600.6013. Plaintiff may calculate interest               All Citations
on the entire judgment award and attorneys' fees award,
$47,500.00.                                                             Slip Copy, 2014 WL 11309770

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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3928 Filed 07/12/16 Page 5 of 117
Gomery v. Crest Financial, Inc., Not Reported in N.W.2d (2005)
2005 WL 658818

                                                                  on the same day that plaintiff's doctor placed her on
                                                                  leave due to work-related stress. As a result, plaintiff
                  2005 WL 658818
                                                                  filed suit alleging that she was terminated in violation
    Only the Westlaw citation is currently available.
                                                                  of the Whistleblowers' Protection Act (WPA) 2 and the
          UNPUBLISHED OPINION. CHECK
                                                                  Worker's Disability Compensation Act. 3 Before trial,
          COURT RULES BEFORE CITING.
                                                                  the court granted defendant partial summary disposition
              Court of Appeals of Michigan.                       under MCR 2.116(C)(10) and limited plaintiff's damages
                                                                  based on her failure to mitigate by accepting an offer
        Aileen GOMERY, Plaintiff/C ounter-                        for similar employment. Following a three-day jury trial,
        Defendant-Appellee/Cross-Appellant,                       plaintiff was awarded $5,000. The trial court subsequently
                           v.                                     awarded plaintiff $35,715 in attorney fees pursuant to
                                                                  MCL 15.364.
        CREST FINANCIAL, INC., and Linda
        Dargis-Giroux, Defendants/Counter-
                                                                  2      MCL 15.361 et seq.
        Plaintiffs-Appellants/Cross-Appellees.
                                                                  3      MCL 418.101 et seq.
                        No. 250881.
                              |
                       March 22, 2005.                                        II. Attorney Fees under the WPA

                                                                  Defendant argues that the trial court abused its discretion
Before: SAAD, P.J., and SMOLENSKI and COOPER,
                                                                  in awarding plaintiff $35,715 in attorney fees. Defendant
JJ.
                                                                  contends that plaintiff was not a prevailing party, that the
                                                                  award was disproportionate to plaintiff's damages, and
                                                                  that the trial court abdicated its responsibility to exercise
                     [UNPUBLISHED]
                                                                  discretion in determining the reasonableness of the award.
PER CURIAM.                                                       We review a trial court's award of attorney fees under the
                                                                  WPA for an abuse of discretion. 4
 *1 Defendant Crest Financial, Inc. 1 appeals as of right
from an order granting plaintiff Aileen Gomery attorney           4      O'Neill v. Home IV Care, Inc, 249 Mich.App 606, 612;
fees in this wrongful termination action. Plaintiff cross-               643 NW2d 600 (2002).
appeals from an order limiting her damages. We affirm the
                                                                  We disagree with defendant's contention that plaintiff was
trial court's order limiting plaintiff's damages. However,
                                                                  not a prevailing party. “In order to be considered the
we vacate the award of attorney fees and remand to allow
                                                                  prevailing party, [the party is] required to show at the very
the trial court to make findings of fact regarding the
reasonableness of the awarded fees.                               least that its position was improved by the litigation.” 5
                                                                  Under the “improved position” test, a plaintiff's position
1                                                                 “improves” when the plaintiff receives a judgment “in an
       While both defendants are named as appellants, only
       Crest Financial actually has an interest in this appeal.   amount greater than the offer made by defendants.” 6
       Therefore, we will refer to Crest Financial as the         Defendant argues that plaintiff did not prevail because
       singular defendant.                                        the jury's award was very small compared to the amount
                                                                  she sought during settlement negotiations. However, the
                                                                  amount sought by plaintiff during settlement negotiations
          I. Facts and Procedural Background                      is immaterial. Plaintiff was a prevailing party because the
                                                                  judgment in her favor exceeded defendant's $500 offer of
This action arose when defendant terminated plaintiff's
                                                                  judgment.
employment in June of 2002. The termination occurred
one week after plaintiff threatened to contact the
                                                                  5      Citizens Ins Co of America v. Juno Lighting, Inc, 247
Department of Labor regarding defendant's failure to pay
                                                                         Mich.App 236, 245; 635 NW2d 379 (2001).
her accurate commissions. The termination also occurred


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3929 Filed 07/12/16 Page 6 of 117
Gomery v. Crest Financial, Inc., Not Reported in N.W.2d (2005)
2005 WL 658818

6      Stamp v. Hagerman, 181 Mich.App 332, 337; 448             11      Grow v. WA Thomas Co, 236 Mich.App 696, 714-715;
       NW2d 849 (1989), citing LaForest v. Grunow, 43                    601 NW2d 426 (1999), citing Wood v. DAIIE, 413
       Mich.App 254, 256; 204 NW2d 355 (1972).                           Mich. 573, 588; 321 NW2d 653 (1982).
Furthermore, in awarding costs and attorney fees under           Defendant contends that the trial court's award was
the WPA, the trial court is merely required to determine         unreasonably disproportionate to the amount of actual
that “the award is appropriate.” 7 “Because the WPA is a         success plaintiff achieved at trial. This Court has
remedial statute, it is to be liberally construed to favor the   emphasized that “the [United States] Supreme Court has
                                                                 held that the degree of plaintiff's success is a ‘crucial’ factor
persons the Legislature intended to benefit.” 8 Due to its
nearly identical language, this Court has held that case law     in determining a proper award of attorney fees....” 12 A
interpreting MCL 37.2802 under the Elliott-Larsen Civil          trial court may reduce an award of attorney fees on the

Rights Act (CRA) is applicable to MCL 15.364. 9 Under            basis of a plaintiff's limited success, 13 but is not required
the CRA, “[t]o be considered a prevailing party, a plaintiff     to do so. Therefore, the trial court did not abuse its
must receive at least some relief on the merits of plaintiff's   discretion by failing to limit plaintiff's award of attorney
claim, such as an award of damages, an injunction, or            fees based solely on her limited success at trial.
a declaratory judgment on a favorable consent decree or
                                                                 12
settlement.” 10 As the jury verdict was in plaintiff's favor             Schellenberg v Rochester Michigan Lodge No 2225,
and she received some relief, she was also a prevailing                  of Benevolent & Protective Order of Elks of USA,
                                                                         228 Mich.App 20, 47; 577 NW2d 163 (1998), quoting
party under the WPA.
                                                                         Collister v. Sunshine Food Stores, Inc, 166 Mich.App
                                                                         272, 275; 419 NW2d 781 (1988) (emphasis omitted).
7      MCL 15.364.
                                                                 13      Id. at 45-46.
8      O'Neill, supra at 614.
                                                                 Defendant also contends that the trial court failed to
9      Id. at 612-613.                                           engage in any consideration of the several factors. We
                                                                 agree. “[F]ailure to exercise discretion when called on
10     Meyer v. Center Line, 242 Mich.App 560, 576; 619
                                                                 to do so constitutes an abdication and hence an abuse
       NW2d 182 (2000).
                                                                 of discretion.” 14 The trial court's opinion contains an
*2 Therefore, the trial court had discretion to
                                                                 accurate summary of the purposes of the WPA and the
          determine the reasonable amount of                     factors to be considered under Grow, as well as a similar set
          fees according to various factors,
                                                                 of factors under Crawley v. Schick. 15 However, the trial
          including (1) the skill, time, and
                                                                 court's opinion contains no findings of fact regarding any
          labor involved, (2) the likelihood,
                                                                 of the factors. The trial court stated that “Plaintiff seeks
          if apparent to the client, that the
                                                                 to recover attorney fees in the amount of $36,180.” The
          acceptance of the employment will
                                                                 trial court reduced that amount by $465, because the trial
          preclude other employment by the
                                                                 court agreed with defendant that three items should not
          lawyer, (3) the fee customarily charged
                                                                 have been included on plaintiff's billing statement.
          in that locality for similar services, (4)
          the amount in question and the results
                                                                 14      Rieth v. Keeler, 230 Mich.App 346, 348; 583 NW2d
          achieved, (5) the expense incurred, (6)
                                                                         552 (1998), quoting People v. Stafford, 434 Mich. 125,
          the time limitations imposed by the
                                                                         134 n 4; 450 NW2d 559 (1990).
          client or the circumstances, (7) the
          nature and length of the professional                  15      Crawley v. Schick, 48 Mich.App 728, 737; 211 NW2d
          relationship with the client, (8) the                          217 (1973).
          professional standing and experience
                                                                 A “trial court need not detail its findings as to each
          of the attorney, and (9) whether the fee
                                                                 specific factor considered.” 16 However, the trial court
          is fixed or contingent. 11
                                                                 is required to make findings of fact. 17 The trial court's
                                                                 bare conclusion that $35,715 was a reasonable amount



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3930 Filed 07/12/16 Page 7 of 117
Gomery v. Crest Financial, Inc., Not Reported in N.W.2d (2005)
2005 WL 658818

of attorney fees is insufficient to show that it properly      wrongdoing. Rather, [she] is only required to make efforts
                                                               that are reasonable under the circumstances to find
considered the reasonableness of plaintiff's requested fees.
Accordingly, we must remand to allow the trial court to        employment.” 23 A plaintiff is not required “to accept
make a record of it findings regarding the reasonableness      an unacceptable job” or “employment that he or she
                                                               finds demeaning, particularly inconvenient, or otherwise
of the awarded fees. 18
                                                               unacceptable,” but a plaintiff is obligated “to accept,
                                                               if offered, employment that is substantially similar to
16     Wood, supra at 588.
                                                               that from which the plaintiff was fired.” 24 Although a
17     B & B Investment Group v. Gitler, 229 Mich.App 1,       defendant cannot use the duty to mitigate as a “sword,”
       16; 581 NW2d 17 (1998), quoting Howard v. Canteen       a defendant is entitled to some measure of protection
       Corp, 192 Mich.App 427, 437; 481 NW2d 718 (1992).       against unnecessary loss-a plaintiff does not have an
18     See JC Building Corp II v. Parkhurst Homes, Inc, 217    unlimited right to pick and choose. 25
       Mich.App 421, 430-431; 552 NW2d 466 (1996).
                                                               23     Morris v. Clawson Tank Co, 459 Mich. 256, 264; 587
                                                                      NW2d 253 (1998) (emphasis in original).
               III. Mitigation of Damages
                                                               24     Id. at 265, citing Ford Motor Co v. EEOC, 458 U.S.
Plaintiff argues that the trial court erroneously granted             219, 231-232; 102 S Ct 3057; 73 L.Ed.2d 721 (1982).
defendant partial summary disposition, on the grounds
                                                               25     Id. at 265, 268.
that she failed to mitigate her damages by declining
a job offer in favor of seeking a better job. We               Plaintiff stated at her deposition that she was presented
disagree. This Court reviews a trial court's determination     with two job offers in October of 2002, one with Wells
regarding a motion for summary disposition de novo. 19         Fargo and one with John Adams Mortgage Company.
A motion under MCR 2.116(C)(10) tests the factual              Her later affidavit states that John Adams did not extend
                                                               an offer until December. However, a party may not submit
support of a plaintiff's claim. 20 “In reviewing a motion
                                                               an affidavit contradicting earlier sworn testimony in order
for summary disposition brought under MCR 2.116(C)
                                                               to create an issue of fact and defeat a motion for summary
(10), we consider the affidavits, pleadings, depositions,
admissions, or any other documentary evidence submitted        disposition. 26 Both plaintiff's deposition testimony and
in [the] light most favorable to the nonmoving party to        her affidavit state that she turned down these jobs solely
                                                               because she was seeking a better one, not because she
decide whether a genuine issue of material fact exists.” 21
                                                               found them unacceptable. Therefore, there was no factual
Summary disposition is appropriate only if there are no
                                                               dispute that plaintiff voluntarily extended her period of
genuine issues of material fact, and the moving party is
                                                               unemployment merely because she wanted better, rather
entitled to judgment as a matter of law. 22                    than like, employment. Accordingly, summary disposition
                                                               was appropriate.
19     Beaudrie v. Henderson, 465 Mich. 124, 129; 631 NW2d
       308 (2001).                                             26     Dykes v. William Beaumont Hosp, 246 Mich.App 471,
20     Auto-Owners Ins Co v Allied Adjusters & Appraisers,            480; 633 NW2d 440 (2001).
       Inc, 238 Mich.App 394, 397; 605 NW2d 685 (1999).        Affirmed in part. We vacate the trial court's award of
21                                                             attorney fees and remand for a factual determination
       Singer v. American States Ins, 245 Mich.App 370, 374;
                                                               regarding the reasonableness of the requested fees. We do
       631 NW2d 34 (2001).
                                                               not retain jurisdiction.
22     MacDonald v. PKT, Inc, 464 Mich. 322, 332; 628
       NW2d 33 (2001).
                                                               All Citations
 *3 Although a plaintiff is required to mitigate her
damages, a plaintiff is not required “to make all efforts      Not Reported in N.W.2d, 2005 WL 658818
to eliminate the economic damages resulting from the




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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3931 Filed 07/12/16 Page 8 of 117
Gomery v. Crest Financial, Inc., Not Reported in N.W.2d (2005)
2005 WL 658818



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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3932 Filed 07/12/16 Page 9 of 117
Richard v. Oak Tree Group Inc., Not Reported in F.Supp.2d (2009)
2009 WL 3234159



                   2009 WL 3234159
     Only the Westlaw citation is currently available.                                ORDER
              United States District Court,
                                                             HUGH W. BRENNEMAN,                  JR.,   United    States
                    W.D. Michigan,
                                                             Magistrate Judge.
                  Southern Division.
                                                             *1 This matter is now before the court on plaintiffs'
     Donald RICHARD and Sandra Richard, Plaintiffs,
                                                             motion for attorney fees and costs (docket no. 94).
                         v.
          OAK TREE GROUP INC., Defendant.
                                                             I. Background
                      No. 1:06-CV-362.                       Plaintiffs filed this action against defendant on May 25,
                              |                              2006, alleging violations of the Fair Debt Collection
                       Sept. 30, 2009.                       Practices Act (“FDCPA”), 15 U.S.C. §§ 1692e, 1692e(2)
                                                             (A), 1692e(2)(B), 1692f(1) and 1692g(a)(1), and seeking
 West KeySummary                                             damages as allowed under § 1692k(a)(1), (2) and (3).
                                                             On January 22, 2007, plaintiffs amended their complaint
                                                             to seek relief under the Michigan Occupational Code,
 1       Antitrust and Trade Regulation                      M.C.L. §§ 339.915(a), 339.915(e) and 339.915(f), and
              Attorney Fees                                  to add allegations for a class action. See docket nos.
         Attorney fee request by prevailing party in         22, 23 and 24. Shortly thereafter, plaintiffs moved for
         a Fair Debt Collection Practices Act suit           class certification. See docket no. 25. The court denied
         was reduced by 85 percent. After bringing           plaintiffs' motion for class certification because they
         numerous claims and motions and having              lacked the typicality requirement under Fed.R.Civ.P.
         them dismissed or denied, including the             23(a). See docket nos. 49 and 50. Plaintiffs' filed a
         denial of two class certification attempts, the     second motion for class certification, which the court
         prevailing party was awarded $50 for the debt       denied because the class plaintiffs' sought to certify
         collectors minor violation. The attorney's fee      was different from the class as alleged in the first
         request was reduced by 85 percent, partially        amended complaint. See docket no. 79. On that same
         because billing statements were cryptic and         date, the court granted defendant's motion for summary
         nearly unintelligible, and also so the attorney's   judgment on the FDCPA claim brought pursuant to
         fees would correspond to the reasonable work        15 U.S.C. §§ 1692g(a)(1), granted plaintiffs' motion for
         done on the prevailing claim and to the relief      partial summary judgment on the FDCPA claims brought
         the client had received. Fair Debt Collection       pursuant §§ 1692e and 1692f, and dismissed plaintiffs' state
         Practices Act, § 813(a) (3), 15 U.S.C.A. §          law claims without prejudice pursuant to 28 U.S.C. § 1367.
         1692k(a) (3).                                       See docket nos. 80 and 81.

         Cases that cite this headnote                       The parties stipulated that in lieu of a non-jury trial on
                                                             the sole remaining issue of whether plaintiffs were entitled
                                                             to statutory damages of up to $1,000.00 as allowed by 15
                                                             U.S.C. § 1692k, the court would review that issue on the
Attorneys and Law Firms                                      briefs. See docket nos. 87 and 88. In its Finding of Facts
                                                             and Conclusions of Law entered on November 21, 2008,
Michael O. Nelson, Grand Rapids, MI, for Plaintiffs.         the court entered judgment in favor of plaintiffs in the
                                                             amount of $50.00, stating in pertinent part as follows:
Marilyn S. Tyree, Smith Haughey Rice & Roegge PC,
Grand Rapids, MI, for Defendant.                               [T]he non-compliance was relatively minor. This case
                                                               arises from a single letter dated December 14, 2005, in
                                                               which defendant failed to break down the “balance due”



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3933 Filed 07/12/16 Page 10 of 117
Richard v. Oak Tree Group Inc., Not Reported in F.Supp.2d (2009)
2009 WL 3234159

  into its components of principal, interest and collection     Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir.1999). “The
  fees.                                                         most useful starting point for determining the amount
                                                                of a reasonable fee is the number of hours reasonably
                                                                expended on the litigation multiplied by a reasonable
                                                                hourly rate. This calculation provides an objective basis
                           ***
                                                                on which to make an initial estimate of the value of a
  [T]here is no evidence that defendant's December              lawyer's services.” Hensley v. Eckerhart, 461 U.S. 424, 433,
  14th letter was intended to violate the FDCPA to              103 S.Ct. 1933, 76 L.Ed.2d 40 (1983). The product of this
  the detriment of plaintiffs. Admittedly, as the court         calculation is the so-called “lodestar amount.” See Garner
  observed [in] its previous opinion, this letter was           v. Cuyahoga County Juvenile Court, 554 F.3d 624, 642
  confusing ... Nevertheless, the court finds no evidence       (6th Cir.2009). Hours that are duplicative, excessive, or
  that defendant intended to violate the FDCPA in this          otherwise unnecessary should be excluded from the initial
  case. The record reflects that plaintiffs defaulted on        fee calculation. Hensley, 461 U.S. at 434. There is a strong
  their agreement with ACI, making none of the agreed-          presumption that the lodestar amount (i.e., “the product
  upon monthly payments. The contract authorized ACI            of reasonable hours times a reasonable rate”) is consistent
  to obtain collection costs in the event of a default.         with the rationale behind a fee-shifting statute, which is
  When plaintiffs requested an itemized breakdown of the        “to enable private parties to obtain legal help in seeking
  balance due, defendant provided it within days after the      redress for injuries resulting from the actual or threatened
  request.                                                      violation of specific federal laws.” Pennsylvania v. Del.
                                                                Valley Citizens' Council for Clean Air, 478 U.S. 546, 565,
                                                                106 S.Ct. 3088, 92 L.Ed.2d 439 (1986).
                           ***
                                                                However, the calculation of the lodestar amount does not
  Given the fact that defendant sent only one collection
                                                                end the court's inquiry. Hensley, 461 U.S. at 434. “There
  letter, that the FDCPA non-compliance was relatively
                                                                remain other considerations that may lead the district
  minor, and the lack of evidence that defendant
                                                                court to adjust the fee upward or downward, including
  intended to violate the FDCPA, the court finds that
                                                                the important factor of the ‘results obtained.’ “ Id. After
  minimal statutory damages in the amount of $50.00 are
                                                                determining the basic lodestar amount, “a court should
  appropriate in this case.
                                                                determine whether the fee should be adjusted in light of the
 *2 Findings of Fact and Conclusions of Law at 14-5             results obtained.” Moore v. Cycon Enterprises, 2007 WL
(Nov. 21, 2008) (docket no. 92).                                2320051 (W.D.Mich.2007); (emphasis added), Hensley,
Plaintiffs have now filed a motion seeking attorney fees        461 U.S. 434. The degree of success obtained is the most
and costs.                                                      important factor in determining the reasonableness of a
                                                                fee award. Kentucky Restaurant Concepts Inc. v. City of
                                                                Louisville, 117 Fed. Appx. 415, 420 (6th Cir.2004) (citing
II. Discussion                                                  Hensley at 434-36).

A. Legal standard
                                                                The degree of success obtained, however, is not the only
The FDCPA authorizes the court to award a reasonable
                                                                factor to be considered in determining the reasonableness
attorney's fee and costs to a prevailing party. See 15
                                                                of a fee award.
U.S.C. § 1692k(a) (3); Lee v. Thomas & Thomas, 109
F.3d 302, 306-7 (6th Cir.1997). “In directing the courts to        *3 The reasonableness of a fee depends upon a number
award “reasonable” fees ... Congress undoubtedly wished           of factors, including ‘the plaintiff's overall success; the
to ensure that the lawyer representing a successful plaintiff     necessity and usefulness of the plaintiff's activity in
would receive a reasonable fee for work reasonably found          the particular matter for which the fees are requested;
necessary-nothing less, and nothing more.” Lee, 109 F.3d          and the efficiency with which the plaintiff's attorneys
at 306-7. “The primary concern in an attorney fee case            conducted that activity.’ Jenkins v. Missouri, 127 Fed.3d
is that the fee awarded be reasonable, that is, one that          709, 718 (8th Cir.1997).
is adequately compensatory to attract competent counsel
yet which avoids producing a windfall for lawyers.”


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3934 Filed 07/12/16 Page 11 of 117
Richard v. Oak Tree Group Inc., Not Reported in F.Supp.2d (2009)
2009 WL 3234159

                                                               Where plaintiffs have failed to meet their burden, the court
Bankey v. Phillips & Burns, LLC, 2008 WL 2405773               is constrained to hold for defendant. “The party seeking
(D.Minn., 2008).                                               an award of fees should submit evidence supporting the
                                                               hours worked and rates claimed.” Hensley, 461 U.S. at
Further, and of particular importance in this case, the fee    433. “Where the documentation of hours is inadequate,
applicant bears the burden to produce evidence to support      the district court may reduce the award accordingly.” Id.
the rates charged and hours worked. Hensley, 461 U.S. at
433; see also, Blum v. Stenson, 465 U.S. 886, 895, 104 S.Ct.   1      This is based upon plaintiffs' charges for the following
1541, 79 L.Ed.2d 891 (1984); Moore v. Cycon Enterprises,
                                                                      dates: 1/15/2007; 1/16/2007; 1/24/2007; 3/28/2007;
Inc., supra (“the party seeking an award of fees has
                                                                      4/11/2007; 6/9/2007; 6/13/2007. See docket no. 95-3.
the burden of proving that her request is reasonable.”).
As noted below, the difficulty in ascertaining a proper         *4 Next, it is significant that plaintiffs only prevailed
attorney fee here is the lack of evidence furnished by         on a “relatively minor” violation of the FDCPA, arising
plaintiffs to explain the hours worked.                        from a single letter in which defendant failed to break
                                                               down the balance due into its components of principal,
                                                               interest and collection fees. The case amounted to no more
B. Plaintiffs' requested fees                                  than that. With no evidence that defendant intended to
Plaintiffs seek attorney fees in the lodestar amount of        violate the FDCPA, the court concluded that plaintiffs
$20,550.00 ($250.00 per hour x 82.20 hours). The court         were entitled only to minimal statutory damages of $50.00.
agrees with defendant that this fee should be reduced.         See Findings of Fact and Conclusions of Law (FFCL)
                                                               (docket no. 92). For these same reasons, the court finds
As an initial matter, plaintiff's hourly rate of $250 could    that plaintiffs did not achieve a level of success sufficient
fall within the reasonable range for an attorney of Mr.        to justify an attorney fee award of $20,550.00, and that
Nelson's caliber for federal consumer rights litigation        such an award would be a windfall to plaintiffs' attorney.
in the Grand Rapids area, although counsel does not
mention the actual amount he is charging his clients. See,     There is no precise rule or formula for reducing a
e.g., Moore v. Cycon Enterprises, Inc., No. 1:04-cv-800,       requested attorney fee due to bringing unsuccessful claims.
2007 WL 2320051 (W.D.Mich. Aug.10, 2007). The court            See Hensley, 461 U.S. at 436-37. “The district court
will assume this is the amount he is charging his clients.     may attempt to identify specific hours that should be
                                                               eliminated, or it may simply reduce the award to account
While plaintiffs were “prevailing parties” for purposes of     for the limited success. The court necessarily has discretion
15 U .S.C. § 1692k, they were only partially successful,       in making this equitable judgment.” Id. In this case,
prevailing on only two of the FDCPA claims asserted.           given the cryptic documentation of services performed
Defendants were granted summary judgment on one                by plaintiffs' counsel, the court will reduce plaintiff's
of the FDCPA claims, plaintiffs' state law claims were         requested fee to reflect the narrow and limited success
dismissed, and the court denied both of plaintiffs' motions    in this matter. Accordingly, plaintiffs' requested fee of
for class certification. One could reasonably assume the       $20,550.00 will be reduced by 85% to $3,082.00. In the
two attempts to certify a class occupied a substantial         court's opinion, this amount (12.33 hours x $250.00 per
portion of plaintiffs' counsel's time in this case, although   hour) is a “reasonable fee for work reasonably found
after reviewing counsel's itemized statement of fees           necessary” to prosecute a claim arising from defendant's
and expenses, it appears that only 20.10 hours were            relatively minor non-compliance with the FDCPA. See
explicitly identified as being related to these unsuccessful   Lee, 109 F.3d at 306-7. This was a simple case with a
attempts. 1 It would also appear that an attorney with Mr.     minimal recovery. While plaintiff's counsel will receive
Nelson's experience would work efficiently in this area and    only a portion of the fee requested, the court notes that fee-
would not need to put many hours into such a modest case.      shifting statutes “were not designed as a form of economic
Unfortunately, the cryptic and nearly unintelligible nature    relief to improve the financial lot of attorneys, nor were
of this itemized statement makes it difficult for the court    they intended to replicate exactly the fee an attorney could
to meaningfully ascertain work done in regard to each of       earn through a private fee arrangement with his client.”
the various charges, or assess the same. Therefore, it is      Delaware Valley Citizens' Council for Clean Air, 478 U.S.
nearly impossible to know which hours should be stricken.      at 565. Rather, as the court previously observed, “the aim


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3935 Filed 07/12/16 Page 12 of 117
Richard v. Oak Tree Group Inc., Not Reported in F.Supp.2d (2009)
2009 WL 3234159

                                                                            upon their unsuccessful adversaries.” King World
of such statutes was to enable private parties to obtain
                                                                            Productions, 674 F.Supp. at 440, quoting Farmer v.
legal help in seeking redress for injuries resulting from the
                                                                            Arabian American Oil Company, 31 F.R.D. 191, 193
actual or threatened violation of specific federal laws.”
                                                                            (S.D.N.Y.1963).
Id. 2 In the court's opinion, a fee award of $ 3,082.00 to
secure a $50.00 remedy meets that aim. Finally, plaintiffs          III. Conclusion
have requested and are entitled to their costs incurred in          Accordingly, plaintiffs' motion for fees and costs (docket
this litigation amounting to $587.69.                               no. 94) is GRANTED in part. Plaintiffs are awarded
                                                                    reasonable attorney fees in the amount of $3,082.00 and
2      Courts have long recognized the problems inherent            costs in the amount of $587.69.
       in determining a reasonable attorney's fee to be paid
       by a party's adversary. As the court observed in King        IT IS SO ORDERED.
       World Productions, Inc. v. Financial News Network,
       Inc., 674 F.Supp. 438 (S.D.N.Y.1987), “[w]hile
       parties to a litigation may fashion it according             All Citations
       to their purse and indulge themselves and their
       attorneys ... they may not foist these extravagances         Not Reported in F.Supp.2d, 2009 WL 3234159


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3936 Filed 07/12/16 Page 13 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141

                                                             claiming that Defendant's denial of his request for housing
                                                             in one of Oakland University's on-campus dormitory
                   2010 WL 2572768
                                                             living spaces violates the Fair Housing Act (“FHA”), 42
This decision was reviewed by West editorial staff and not   U.S.C. § 3604(f)(3)(B), and § 504 of the Rehabilitation
assigned editorial enhancements.                             Act of 1973, 29 U.S.C. § 794(a). Plaintiff thereafter
              United States District Court,                  filed a motion for preliminary injunction based on his
                      E.D. Michigan,                         claims under the FHA. At the hearing with respect to
                    Southern Division.                       his motion, Plaintiff asked the Court to also consider his
                                                             Rehabilitation Act claims in deciding whether to grant his
          Mikah Fialka–FELDMAN, Plaintiff,                   request for a preliminary injunction.
                          v.
         OAKLAND UNIVERSITY BOARD OF                         On February 5, 2009, this Court denied Plaintiff's motion
        TRUSTEES, Gary D. Russi, Mary Beth                   concluding that the Board of Trustees is entitled to
        Snyder, and Lionel Maten, Defendants.                Eleventh Amendment Immunity and that Plaintiff in any
                                                             event was not likely to succeed on the merits of his
                      No. 08–14922.                          FHA claims. The Court indicated in a footnote that,
                            |                                even if it considered Plaintiff's Rehabilitation Act claims
                      June 23, 2010.                         in deciding the motion and concluded that Eleventh
                                                             Amendment Immunity did not bar those claims, it would
Attorneys and Law Firms                                      reach the same result because its analysis of the merits
                                                             of his FHA and Rehabilitation Act claims would be the
Chris E. Davis, Veena Rao, Michigan Protection and
                                                             same. (Doc. 12 at 11 n. 2.)
Advocacy Service, Livonia, MI, Mark A. Cody, Michigan
Protection & Advocacy Service Lansing, MI, for Plaintiff.
                                                             Plaintiff thereafter amended his complaint, with the
Regan K. Dahle, Robert A. Boonin, Butzel Long, Ann           Court's permission, to add University officials Gary D.
Arbor, MI, for Defendants.                                   Russi, Mary Beth Snyder, and Lionel Maten as defendants
                                                             and to assert the following claims:

                                                               (I) disparate impact discrimination in violation of the
 OPINION AND ORDER GRANTING PLAINTIFF'S                        FHA;
 MOTION FOR REASONABLE ATTORNEYS' FEES
                                                               (II) disparate treatment discrimination in violation of
PATRICK J. DUGGAN, District Judge.                             the FHA;
 *1 Presently before the Court is Plaintiff's motion           (III) disparate treatment discrimination in violation of
for reasonable attorneys' fees filed on January 20,            the Rehabilitation Act;
2010, pursuant to the attorney fee provisions in the
Rehabilitation Act, 29 U.S.C. § 794a(2)(b), and The Civil      (IV) denial of a reasonable accommodation in violation
Rights Attorney's Fees Awards Act of 1976, 42 U.S.C.           of the Rehabilitation Act;
§ 1988. The motion has been fully briefed. On March
12, 2010, this Court issued a notice informing the parties     (V) disparate treatment discrimination in violation
that it is dispensing with oral argument with respect to       of the Americans with Disabilities Act (“ADA”), 42
the motion. For the reasons that follow, the Court grants      U.S.C. §§ 12101–12213; and,
Plaintiff's motion.
                                                               (VI) disparate impact discrimination in violation of the
                                                               Rehabilitation Act.

                 Procedural Background                       The parties subsequently filed cross-motions for summary
                                                             judgment.
Plaintiff initiated this lawsuit against Defendant Oakland
University Board of Trustees on November 25, 2008,



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3937 Filed 07/12/16 Page 14 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141

At a hearing with respect to the summary judgment
motions, Plaintiff's counsel informed the Court
                                                                                          Response
that Plaintiff was abandoning his disparate impact
discrimination claims brought under the FHA and                 In their response to Plaintiff's motion, filed on February
Rehabilitation Act. On December 23, 2009, this Court            3, 2010, Defendants raise several objections to Plaintiff's
issued an opinion and order with respect to Plaintiff's         requested attorneys' fees. First, Defendants maintain that
remaining claims. The Court concluded that Plaintiff's          the billing rates of Plaintiff's attorneys are unreasonably
request for an accommodation of the University's housing        high. Based on the State Bar of Michigan: 2007 Economics
policy was reasonable and that Defendants violated § 504        of Law Practice in Michigan Survey (Resp.Ex. 2),
of the Rehabilitation Act by refusing to provide Plaintiff      Defendants contend that the hourly rates of Plaintiff's
with this reasonable accommodation. The Court noted             counsel should be no more than the $200 for Mr. Cody,
that while it had previously found in its opinion and order     Mr. Davis, and Ms. Rao and $150 for Ms. Frampton.
denying Plaintiff's motion for a preliminary injunction         Next, Defendants contend that Plaintiff's request for
that Plaintiff was not likely to succeed on this claim, in      fees is not supported by appropriate billing records.
reaching that conclusion it failed to consider the Supreme      Specifically, Defendants point out that nearly a half of
Court's decision in U.S. Airways, Inc. v. Barnett, 535          the time records submitted by Plaintiff's counsel lack
U.S. 391, 122 S.Ct. 1516, 152 L.Ed.2d 589 (2002), thus          specific descriptions as to the task performed and that
resulting in a flawed analysis. (Doc. 53 at 13 n. 2.) The       where descriptions are provided, they are too vague
Court held, however, that Plaintiff failed to demonstrate       or incomplete to assess the reasonableness of the work
a prima facie case of disability discrimination to support      performed and/or time spent on the task.
his remaining claims. The Court issued a permanent
injunction, requiring Defendants to provide on-campus           Even if the Court concludes that the time records
housing for Plaintiff during his remaining semester at the      submitted by Plaintiff's counsel are not vague
University. A judgment was entered in favor of Plaintiff        or incomplete, Defendants raise several alternative
and against Defendants on January 7, 2010.                      arguments for why the Court should conclude that the
                                                                fees set forth in those records are unreasonable. These
                                                                arguments, as they relate to all of Plaintiff's attorneys are:
                    Parties' Arguments
                                                                  A. Excessive time on internal conferences is not
                                                                    reasonable;
                          Motion
                                                                  B. Plaintiff is not entitled to fees for time spent
 *2 In his initial motion, Plaintiff seeks attorneys' fees in       at depositions by lawyers other than the essential
the amount of $176,841.43. This amount reflects hours               participating lawyer;
billed by the following attorneys from the Michigan
Protection and Advocacy Services, Inc. (“MPAS”),                  C. Plaintiff is not entitled to the full amount of fees
which represented Plaintiff in this matter: lead counsel            associated with travel time and should be awarded
Chris Davis, MPAS Legal Director Mark Cody, and                     only a half of the total fees claimed for travel by Mr.
staff attorneys Veena Rao, Joshua Kay, and Gabrielle                Davis and no fees associated with Ms. Frampton as
Frampton. Ms. Frampton left MPAS while this matter                  the billing records fail to support a justification for
was pending. Plaintiff has submitted affidavits from these          the travel time she billed;
attorneys detailing their education and legal experience
                                                                  D. Plaintiff is not entitled to fees for pre-litigation
and a “Time/Billable Hours Data Report” setting forth
                                                                    activities;
the tasks performed and hours spent by the attorneys on
this matter. Plaintiff's attorneys are seeking the following      E. Plaintiff is not entitled to fees associated with his
hourly rates for the work performed in this case: $250 for          preliminary injunction motion because he did not
Ms. Rao, Ms. Frampton, and Mr. Davis; $300 for Mr.                  prevail with respect to the motion; and
Cody; and $150 for Mr. Kay.
                                                                  F. Any fee award should be reduced to reflect Plaintiff's
                                                                    limited success on his claims.


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3938 Filed 07/12/16 Page 15 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141


Defendants raise arguments specific to each attorney                  • the majority of case conference items except those
representing Plaintiff, as well.                                      that Plaintiff's counsel claims were necessary to review
                                                                      discovery strategy and to discuss pleadings to be filed;
 *3 With respect to Mr. Davis, Defendants contend that
he spent hours performing tasks that should have been                   • any hours expended before the complaint was filed
performed by attorneys billing at a lower hourly rate (e.g.,            that do not relate to researching and drafting requests
performing Westlaw and Lexis research) or non-legal                     for a reasonable accommodation;
staff (e.g., filing and faxing) or that are not recoverable
                                                                        • any hours related to publicity; and
(e.g. attending Oakland University's Board of Trustee
meetings). With respect to Mr. Cody, Defendants contend                 • hours related to Mr. Cody's supervision and
that his fees are unreasonable because Mr. Davis—who                    feedback.
was lead counsel on the case—was (according to the
statements in Mr. Davis' affidavit) more than qualified to             Plaintiff's counsel further reduced by 50% the hours
take the lead in the case and did not require Mr. Cody's               billed for a second attorney to attend depositions and
“supervision.” As to Ms. Rao, Defendants object to                     reduced the hourly rate for travel to $125 (50% of
$83.33 she billed for time spent associated with public and            Mr. Davis' and Ms. Rao's hourly billing rate and 40%
media relations and $208.34 she billed for tasks associated            of Mr. Cody's rate). As a result of these adjustments
with replacing Ms. Frampton. Finally, as to Mr. Kay,                   to the billing records, Plaintiff now seeks an award
Defendants contend that the services he performed were                 of attorneys' fees of $134,234.45 (as opposed to the
duplicative of those performed by other attorneys.                     previous $176,841.43).
                                                                    Plaintiff continues to maintain that the hourly rates
                                                                    charged by his attorneys are reasonable in light of
                                                                    prevailing market rates and the various factors that
                               Reply
                                                                    courts consider to determine their reasonableness. See
In reply, Plaintiff has submitted revised billing records           infra at 9 n. 2. He further argues that his lack of
from his attorneys and asks the Court to base its decision          success with respect to his discrimination claims does not
regarding his motion for attorneys' fees on those records.          warrant a reduction in the requested fees because those
In these revised records (Reply Ex. A), Plaintiff's attorneys       claims and his reasonable accommodation claim under
have added entries derived from case notes in MPAS'                 the Rehabilitation Act (on which he was successful) arise
client file to describe specifically the task performed             from a “common nucleus of operative fact” and assert
and the aspect of the litigation to which it related.               indistinguishable legal theories. A full recovery also is
Additionally, Plaintiff's attorneys have removed from               warranted, Plaintiff argues, because he obtained excellent
their revised billing records the following:                        results.

    • any fees related to Ms. Frampton and Mr. Kay;

    • most fees related to Mr. Davis performing such tasks                                 Sur–Reply
    as faxing, filing, and records organizing that do not
                                                                     *4 Defendants argue that the revised billing records
    relate to discovery; 1                                          attached to Plaintiff's reply brief do not constitute
                                                                    “contemporaneous” time records and, as such, should not
1        In this category, there are four entries totaling 2.7      be considered to determine whether his attorneys' fees
         hours that still do not detail the task(s) performed       are reasonable. Defendants contend that these records
         (9/16/09; 10/27/09; 12/18/09; 12/21/09) and one entry      were prepared after-the fact, solely in response to the
         for 3 hours where the specific task is described as        arguments asserted in their response brief, and therefore
         “gathering list e-mails” (9/11/09). The Court cannot       are not reliable. According to Defendants, “[i]t would be
         determine from these entries whether the time and/         practically impossible for Plaintiff's counsel to recreate
         or task was reasonable and therefore, as set forth
                                                                    accurate detailed time records spanning a fourteen-month
         infra, is deducting these hours from the attorneys' fees
                                                                    period.” (Sur-reply at 3.)
         awarded.



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3939 Filed 07/12/16 Page 16 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141

                                                                           length of the professional relationship with the
                                                                           client; and (12) awards in similar cases.
                                                                        Hensley, 461 U.S. at 430 n. 3, 103 S.Ct. at 1937 n.
               Applicable Law and Analysis                              3 (citing Johnson v. Georgia Highway Express, Inc.,
                                                                        488 F.2d 714, 717–19 (5th Cir.1974)).
42 U.S.C. § 1988 and 29 U.S.C. § 794a(2)(b) grant courts
the discretion to award reasonable attorney's fees to a
                                                                 In some cases a plaintiff may present in one lawsuit
“prevailing party.” There can be no dispute in this case
                                                                 distinctly different claims for relief that are based on
that Plaintiff prevailed in this lawsuit and therefore the
                                                                 different facts and legal theories. In such a suit ...
Court will not discuss this issue further. The question is the
                                                                 counsel's work on one claim will be unrelated to his
reasonableness of the attorneys' fees that Plaintiff seeks.
                                                                 work on another claim. Accordingly, work on an
                                                                 unsuccessful claim cannot be deemed to have been
The starting point for calculating a reasonable attorneys'
                                                                 “expended in pursuit of the ultimate result achieved.” ...
fees award “should be the determination of the fee
                                                                 The congressional intent to limit awards to prevailing
applicant's “lodestar,” which is the proven number of
                                                                 parties requires that these unrelated claims be treated
hours reasonably expended on the case by an attorney,
                                                                 as if they had been raised in separate lawsuits, and
multiplied by his [or her] courtascertained reasonable
                                                                 therefore no fee may be awarded for services on the
hourly rate.” Adcock–Ladd v. Sec'y of Treasury, 227
                                                                 unsuccessful claim.
F.3d 343, 349 (6th Cir.2000) (citing Hensley v. Eckerhart,
                                                                 Id. at 434–35, 103 S.Ct. at 1940. The Hensley Court
461 U.S. 424, 433, 103 S.Ct. 1933, 1939, 76 L.Ed.2d
                                                                 expressed doubt as to whether such claims will arise
40 (1983)). “The party seeking an award of fees should
                                                                 with frequency; rather, the Court explained, most civil
submit evidence supporting the hours worked and rates
                                                                 rights cases will present only a single claim or multiple
claimed. Where the documentation of hours is inadequate,
                                                                 claims involving a common core of facts or based on
the district court may reduce the award accordingly.”
                                                                 related legal theories. In this second situation:
Hensley, 461 U.S. at 433, 103 S.Ct. at 1939. The Supreme
Court has instructed district courts to exclude fees that                     *5 Much of counsel's time will be
were not “reasonably expended,” such as fees due to                          devoted generally to the litigation
overstaffing or redundancy of work. Id. at 434, 103 S.Ct.                    as a whole, making it difficult
at 1939.                                                                     to divide the hours expended on
                                                                             a claim-by-claim basis. Such a
Once the district court determines the fee applicant's                       lawsuit cannot be viewed as a
lodestar, the court must consider other factors relevant                     series of discrete claims. Instead,
to the reasonableness of any fee award. 2 One important                      the district court should focus
factor is the “results obtained.” Hensley, 461 U.S. at 434,                  on the significance of the overall
103 S.Ct. at 1940. As the Supreme Court has explained,                       relief obtained by the plaintiff in
there are two situations where the results obtained may                      relation to the hours reasonably
affect the fee award:                                                        expended on the litigation.

2                                                                Id. at 435, 103 S.Ct. at 1940. The Court explained
       The factors identified by the Supreme Court are:
                                                                 that in this situation, if the plaintiff has obtained
           (1) the time and labor required; (2) the novelty
                                                                 excellent results, his or her attorney should recover a
           and difficulty of the questions; (3) the skill
           requisite to perform the legal service properly;
                                                                 fully compensatory fee. Id. “If, on the other hand, a
           (4) the preclusion of employment by the attorney      plaintiff has achieved only partial or limited success, the
           due to acceptance of the case; (5) the customary      product of hours reasonably expended on the litigation
           fee; (6) whether the fee is fixed or contingent;      as a whole times a reasonable hourly rate may be an
           (7) time limitations imposed by the client or         excessive amount.” Id. at 436, 103 S. Ct at 1941. As
           the circumstances; (8) the amount involved            the Hensley Court instructed, it is within the district
           and the results obtained; (9) the experience,         court's discretion to attempt to identify specific hours
           reputation, and ability of the attorneys; (10) the    that should be eliminated or to simply reduce the award
           “undesirability” of the case; (11) the nature and




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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3940 Filed 07/12/16 Page 17 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141

   to account for the limited success. Id. at 436–37, 103          *6 With the submission of the revised billing records,
   S.Ct. at 1941.                                                 Plaintiff also has addressed most of Defendants'
Turning first to the hourly rates charged by Plaintiff's          objections to the fees billed. Plaintiff's counsel removed
counsel, this Court agrees with Defendants that those             the majority of their time related to attorney conferences
rates are too high. According to the State Bar of Michigan        and any hours preceding the filing of the complaint to
2007 survey, the top median hourly litigation rate is $200        the extent the time did not relate to researching and
and the top median hourly litigation rate for firms the size      drafting requests for reasonable accommodations for
of MPAS is $195. (Resp. Ex. 2 at 18, 21.) For attorneys           Plaintiff. In their sur-reply, Defendants do not contest the
in practice between 15 and 19 years, such as Mr. Davis            reasonableness of the remaining time in these categories.
and Ms. Rao, the median litigation hourly rate is $200.           Plaintiff's counsel also removed all of the hours billed by
(Id . at 20.) The same median rate is found for attorneys         Ms. Frampton, thereby resolving Defendants' contention
in practice for 30 to 39 years, such as Mr. Cody. (Id.)           that the time she billed for travel was unreasonable.
Therefore, the Court concludes that a reasonable hourly           As Defendants suggested would be appropriate in their
rate for each of Plaintiff's attorneys is $200.                   response brief, Plaintiff's counsel additionally reduced the
                                                                  hourly rate for the travel time incurred by Mr. Davis
With respect to Defendants' complaint regarding the               and Mr. Cody to 50% and 40% of their normal hourly
absence of case-specific descriptions or vague or                 rate, respectively. Further, Plaintiff's counsel removed
incomplete descriptions in the billing records initially          any hours billed by Mr. Davis for those tasks (except
submitted by Plaintiff's counsel, this Court finds that the       legal research) that Defendants argued should have been
revised billing records attached to Plaintiff's reply brief       performed by less costly associates or office assistants.
resolve this issue for almost all of the billing entries.         They also removed any hours associated with publicity,
As Mr. Davis explains in an affidavit filed on February           such as the time Ms. Rao spent to “review news stories and
23, 2010, case notes in MPAS' case management system              articles,” which Defendants objected to as unreasonable
were used to prepare the revised billing records and              in their response brief. Finally, Plaintiff's counsel removed
these notes were recorded contemporaneously with the              any hours that Mr. Cody previously billed that related to
work performed on the case. (Doc. 65.) The only action            “feedback and supervision.”
that was performed “after-the-fact” was incorporating
the information in the case notes into the Time/Billable          This leaves the following objections by Defendants to
Hours Data Report. Plaintiff's petition for attorneys'            the reasonableness of Plaintiff's counsels' fees. First,
fees therefore is supported by contemporaneous time               Defendants contend that it was unreasonable for Mr.
records. Compare Calhoun v. Acme Cleveland Corp., 801             Davis—rather than a less expensive attorney—to conduct
F.2d 558 (1st Cir.1986) (finding attorney submissions             68.60 hours of legal research. This objection may carry
insufficient where they listed the different tasks each           more weight if Plaintiff had been represented by a law firm
attorney performed, the total number of hours, and hourly         with several tiers of associates and partners. In a small
billing rate but did not give the dates when the tasks were       non-profit office such as MPAS (that employs only four
performed or the amount of time spent on each task).              lawyers), however, it is likely that there are few if any “less
                                                                  expensive attorneys” available to handle the work. The
There are a handful of time entries related to Mr. Davis in       Court therefore does not find Mr. Davis' hours conducting
the revised billing records still lacking in details sufficient   legal research unreasonable.
for the Court to assess whether the work performed
and/or hours expended are reasonable. These include 5.7           Second, Defendants object to the 8 hours that Mr. Davis
hours related to “faxing, filing, and record organizing” (as      billed to attend Oakland University Board of Trustee
mentioned supra at n. 1) and 8.1 hours for “research,             meetings. Plaintiff indicates in response that Mr. Davis'
reading, review and/or compiling information” (1.3 hours          presence at these public meetings aided his discovery
on 2/27/09; 1.5 hours on 8/7/09; 1.5 and 1.8 hours on             efforts and provided an opportunity to resolve Plaintiff's
10/9/09; and 2 hours on 10/31/09). The Court therefore will       claims. These efforts, however, sought to resolve Plaintiff's
reduce Mr. Davis' hours by 13.8 hours.                            dispute with the University through its administrative
                                                                  or hearing process. As such, the Court does not believe
                                                                  that the time Mr. Davis spent monitoring the Board of



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3941 Filed 07/12/16 Page 18 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141

Trustee's meetings is verable under 42 U.S.C. § 1988 or 29                  Plaintiff asserted various claims
                                                                            arising from a common core of facts
U.S.C. § 794a. See Webb v. Bd. of Educ. of Dyer County,
                                                                            and based on related legal theories
471 U.S. 234, 105 S.Ct. 1923, 85 L.Ed.2d 233 (1985).
                                                                            that were focused on the overall
                                                                            relief he eventually obtained. With
With respect to Ms. Rao's time for entering her
                                                                            respect to Plaintiff's preliminary
appearance in this matter (.17 hours on 10/5/09), the
                                                                            injunction motion, as noted in the
Court does not believe that it is reasonable to include this
                                                                            Court's December 23, 2009 decision,
amount in Plaintiff's award. Defendants further object to
                                                                            the Court probably would have
several hours that Ms. Rao billed to attend depositions
                                                                            reached a different result if it
conducted by other attorneys (as set forth in Exhibit 7
                                                                            had reviewed the Supreme Court's
to their Response). 3 Of the hours listed on Exhibit 7,
                                                                            decision in Barnett. Therefore, this
only 6 hours on 9/15/09 and 3 hours on 9/22/09 remain
                                                                            Court concludes that Plaintiff's
in the revised billing records and will be deducted. While
                                                                            award of attorneys' fees should not
Defendants also identify in Exhibit 7 an entry on 10/20/09
                                                                            be reduced to reflect limited success
for 3.5 hours, that time is billed as preparation for a
                                                                            in this litigation.
deposition and not actual attendance at the deposition.

3      Exhibit 7 also includes hours billed by Mr. Cody and
       Mr. Kay to attend depositions; however, Plaintiffs'                               Conclusion
       counsel removed those hours from the revised billing
       records.                                                 In summary, this Court concludes that, except for the
                                                                following hours, the remaining hours billed by Plaintiff's
 *7 Finally, Defendants contend that any fees awarded
                                                                counsel as set forth in their revised billing records are
to Plaintiff should be reduced to reflect Plaintiff's lack of
                                                                reasonable:
success with respect to his preliminary injunction motion
and the claims alleged other than his FHA reasonable              • 8 hours billed by Mr. Davis to attend Oakland
accommodation claim. As referred to earlier, the Supreme          University Board of Trustee meetings
Court advised in Hensley:
                                                                  • 5.7 hours billed by Mr. Davis related to unspecified
            [Where a plaintiff has obtained                       “faxing, filing, and record organizing”
            excellent results] the fee award
            should not be reduced simply                          • 8.1 hours billed by Mr. Davis for unspecified
            because the plaintiff failed to prevail               “research, reading, review, and/or compiling
            on every contention raised in the                     information
            lawsuit. Litigants in good faith may
                                                                  • 9 hours billed by Ms. Rao to attend depositions
            raise alternative legal grounds for
            a desired outcome, and the court's                    • .17 hours billed by Ms. Rao to file her appearance in
            rejection of or failure to reach                      this matter.
            certain grounds is not a sufficient
            reason for reducing a fee. The                      The Court further concludes that a reasonable hourly
            result is what matters. 461 U.S. at                 rate for Plaintiff's counsel is $200, except with respect to
            435, 103 S.Ct. 1941. While Plaintiff                hours billed for traveling and that rate is $100. Based on
            perhaps did not achieve every result                Plaintiff's attorneys' revised billing records, this results in
            that he sought, he prevailed in                     the following billable hours, rate, and fees (minus the same
            his primary goal of opening access                  percentage discount provided by counsel in their records):
            to University housing for himself.
      Attorney    Hours Billed                   Hourly Rate                 Total                           Discount    Award




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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3942 Filed 07/12/16 Page 19 of 117
Feldman v. Oakland University Bd. of Trustees, Not Reported in F.Supp.2d (2010)
2010 WL 2572768, 41 NDLR P 141


      Cody         11.92 (non-                      $200 (non-                         $2,384 (non-                 $1,250
                                                                                                                               4       $1,434
                   travel) 3.00                     travel) $100                       travel) $ 300
                   (travel)                         (travel)                           (travel) $2,684

      Davis        530.95 (non-                     $200 (non-                         $106,190                     $12,990
                                                                                                                                   5   $94,950
                   travel) 17.5                     travel)$100                        (non-travel) $
                   (travel)                         (travel)                           1,750 (travel)
                                                                                       $107,940

      Rao          31 (non-travel)                  $200 (non-                         $6,200                       $908
                                                                                                                           6           $5292
                                                    travel)

      TOTAL                                                                                                                            $101,676

                                                                               deducted completely. The Court recalculated the
4     Plaintiff's counsel provided a 50% discount for 11                       discount based on the revised hourly rate and the
      hours of Mr. Cody's time billed at $300/hr. and for 3                    remaining discounted hours.
      hours billed at $125/hr (travel related time) for a total
      discount of $1,612.50. The Court has recalculated the            Accordingly,
      discount by applying the same percentage discount to
      the same hours but new hourly rate.                               *8 IT IS ORDERED, that Plaintiff's motion for
                                                                       reasonable attorneys' fees is GRANTED and Plaintiff is
5     Plaintiff's counsel discounted 86.4 hours of Mr. Davis'          awarded fees pursuant to 42 U.S.C. § 1988 and 29 U.S.C.
      time by 50% and 29 hours of his time by 75%. Again,              § 794a in the amount of $101,676.
      the Court recalculated the discount based on the
      revised hourly rate of $200. In comparison to Ms.
      Rao, see infra at n. 6, none of the discounted hours             All Citations
      have been eliminated by the Court.
6                                                                      Not Reported in F.Supp.2d, 2010 WL 2572768, 41 NDLR
      Plaintiff's counsel discounted 18.25 hours of Ms.
                                                                       P 141
      Rao's time by 50%, 9.17 of which this Court has


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3943 Filed 07/12/16 Page 20 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

                                                                   On December 16, 2013, the Court remanded this matter
                                                                   for further proceedings. (ECF Nos. 23 & 24.) Thereafter,
     KeyCite Yellow Flag - Negative Treatment                      Dallas filed a motion for attorney fees pursuant to the
Distinguished by   Cortes v. Colvin,   N.D.Ohio,   September 10,
                                                                   EAJA requesting fees in the amount of $6,323.60. (ECF
2014
                                                                   No. 25.) This sum includes $6,133.60 for 32.8 hours of
                    2014 WL 1767815                                work performed by Roose—a rate of $187.00 per hour.
               United States District Court,                       Id. It also includes $190 for 3.8 hours of work performed
                       N.D. Ohio,                                  by Roose's appellate assistant—a rate of $50 per hour. Id.
                    Eastern Division.                              After submitting a reply in response to the Commissioner's
                                                                   opposition, Dallas filed a supplemental application for
               Jack C. DALLAS, Plaintiff,                          attorney fees requesting an additional award of $1,870.00
                          v.                                       for fees in connection with that reply. (ECF No. 29.) This
              COMMISSIONER OF SOCIAL                               sum represents an additional 10 hours of attorney fees
                SECURITY, Defendant.                               billed at a rate of $187.00 per hour. Id.

                     No. 1:13–CV–00591.
                              |                                    B. Prevailing Party Status and Substantial Justification
                     Signed May 2, 2014.                           The EAJA “ ‘departs from the general rule that each party
                                                                   to a lawsuit pays his or her own legal fees' and requires
Attorneys and Law Firms                                            the payment of fees and expenses to the prevailing party
                                                                   in an action against the United States, unless the position
Kirk B. Roose, Roose & Ressler, Lorain, OH, for
                                                                   of the United States was substantially justified,” or special
Plaintiff.
                                                                   circumstances would make an award unjust. Howard
Erin Brizius, Office of the U.S. Attorney, Cleveland, OH,          v. Barnhart, 376 F.3d 551, 553 (6th Cir.2004), quoting
for Defendant.                                                     Scarborough v. Principi, 504 U.S. 401, 124 S.Ct. 1856,
                                                                   1860, 158 L.Ed.2d 674 (2004); see also 28 U.S.C. § 2412(d)
                                                                   (1)(A). The party seeking attorney's fees bears the burden
                                                                   of proving that he is an eligible and prevailing party,
                           ORDER
                                                                   while the Commissioner must prove that the government's
GREG WHITE, United States Magistrate Judge.                        position was “substantially justified.” It is undisputed
                                                                   that Dallas is an eligible and prevailing party, as the
 *1 Plaintiff Jack C. Dallas (“Dallas”), through counsel           Commissioner has not argued that her litigation position
Kirk B. Roose (“Roose”), filed an application for                  was substantially justified. (ECF No. 28.)
payment of attorney fees under the Equal Access to
Justice Act (“EAJA”), 28 U.S.C. § 2412(d). (ECF
No. 25.) The Acting Commissioner of Social Security                C. Evidence Supporting an Increase in the Hourly Rate of
(“Commissioner”) filed a response on April 4, 2014, and            Attorney Fees
                                                                   Attorney Roose requests an hourly rate of $187.00, and
Dallas replied on April 21, 2014. 1 (ECF Nos. 28 & 29.)
                                                                   urges the Court to utilize the national consumer price
For the reasons stated below, Dallas's application for
                                                                   index (“CPI”). (ECF No. 29 at 8–9.) Under the EAJA,
attorney fees (ECF No. 25) and supplemental application
                                                                   the amount of attorney fees awarded shall be based upon
for attorney fees (ECF No. 29) are GRANTED in part
                                                                   the prevailing market rates for the kind and quality of
and DENIED in part.
                                                                   services furnished, except that “... attorney fees shall not
                                                                   be awarded in excess of $125 per hour unless the court
1       In his reply, Dallas made a supplemental application       determines that an increase in the cost of living or a
        for EAJA fees associated with the time spent crafting
                                                                   special factor, such as the limited availability of qualified
        the reply.
                                                                   attorneys for the proceedings involved, justifies a higher
                                                                   fee.” 28 U.S.C. § 2412(d)(2)(A).
A. Procedural History




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3944 Filed 07/12/16 Page 21 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

 *2 Dallas has submitted the following evidence which he
believes demonstrates that an upward departure from the                (5) The Survey of Law Firm Economics, 2011
statutory cap is warranted:                                               edition, by The National Law Journal and ALM
                                                                          Legal Intelligence showing the trend comparison of
    (1) Declaration of Dianne R. Newman, a Social                         expenses in law firms as compared to the Consumer
       Security attorney since 1982 in the northern Ohio                  Price Index during the relevant time period. (ECF
       area. (ECF No. 25–4 at ¶ 5) One-hundred percent                    No. 25–9 at 9–10.) It also shows the trend comparison
       of her practice consists of Social Security law,                  of average billing rates. 4 Id. at 11–24.
       of which seventy-five percent focuses on appellate          4       The average hourly billing rate for an attorney in
       Social Security law. Id at ¶ 3. She declared that a
                                                                           practice 21–30 years in the area of administrative law
       rate of less than $200 per hour would be lower than
                                                                           is $419, while the median is $425. (ECF No. 23–5 at
       the prevailing rates “in the Cleveland area for similar             24.)
       services by lawyers of reasonably comparable skill,
       experience, and reputation.” Id. at ¶ 13.                       (6) The Consumer Price Index–All Urban Consumers
    (2) Affidavit of Marcia Margolius, an attorney                       for legal services from 1996 until May of 2012. 5
       practicing for twenty-five years primarily in Social              (ECF No. 25–11.)
       Security law in the northern and southern districts of      5       The purpose of this exhibit is unclear. On its own, it
       Ohio. (ECF No. 25–5 at ¶¶ 1–2.) She only requests                   does not offer any insight as to whether inflation in
       $125 per hour in EAJA applications, but does so for                 legal services outpaced inflation in general.
       the sake of expediency and to avoid further litigation      In support of the request for a rate of $187.00 per hour,
       over fees. Id. at ¶ 5. She opined that based on the kind    Dallas has demonstrated that: (1) increases in law firm
       and quality of Roose's services the prevailing hourly       expenses in the relevant time frame have outpaced cost-
       rate for his services should exceed $175 to $200 per        of-living increases; (2) that the requested fee is less than or
      hour. 2 Id. at ¶ 10.                                         comparable to both the average and median rates in Ohio
                                                                   with respect to administrative law practice; and, (3) several
2        It bears noting that counsel Margolius, before this       attorneys who practice primarily or exclusively in social
         Court, requested and received a greater rate of           security law agree that prevailing hourly rates in this field
         $180.54 per hour—a rate that the Commissioner did         exceed $200. In the recent past, this Court has repeatedly
         not challenge. See Conley v. Comm'r of Soc. Sec., 2013    found that an upward departure from the statutory cap
         U.S. Dist. LEXIS 90510 at *10, 2013 WL 1092457            is justified based on identical evidence, or in some cases
         (N.D.Ohio, Mar. 15, 2013).                                less evidence, as presented herein. See, e.g., Gunther v.
                                                                   Comm'r of Soc. Sec., 943 F.Supp.2d 797 (N.D.Ohio 2013);
    (3) Declaration of Bradley J. Davis, an attorney who           Coy v. Astrue, 2013 U.S. Dist. LEXIS 50328, 2013 WL
       represented a successful social security claimant.          1411137 (N.D.Ohio, Apr. 8, 2013); Mohr v. Comm'r of
       (ECF No. 25–6 at ¶¶ 1–2.) He states that he requested       Soc. Sec., 2013 U.S. Dist. LEXIS 18728, 2013 WL 557176
       $125 per hour in a subsequent fee application to            (N.D.Ohio, Fe.12, 2013); Vasquez v. Astrue, 2012 U.S.
       avoid the additional time and research necessary            Dist. LEXIS 118588, 2012 WL 3637676 (N.D.Ohio, Aug.
       to demonstrate a higher rate reflects the prevailing        22, 2012).
       market rate. Id . at ¶ 4.
                                                                    *3 Nevertheless, the Commissioner rehashes an old
         (4) The Ohio State Bar Association's profile of
                                                                   argument based on Bryant v. Comm'r of Soc. Sec., 578
            2010 attorney hourly billing rates by both
                                                                   F.3d 443 (6th Cir.2009), and asserts that the evidentiary
            location and practice classification, including
                                                                   materials Dallas presented do not demonstrate the
            administrative law, showing hourly rates over
                                                                   prevailing rates for legal services of the kind and quality
           $125. 3 (ECF No. 25–8.)                                 rendered in social security cases in the Northern District
3        In the area of administrative law, the mean is $203 per   of Ohio. (ECF No. 28.) The Commissioner's position
         hour, while the median is $180. (ECF No. 25–8 at 3.)      in these cases is perplexing. After repeatedly challenging
                                                                   increases in the statutory cap based on Bryant with limited



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3945 Filed 07/12/16 Page 22 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

success, the Commissioner for a time refrained from               *4 Attorney Roose requests an hourly rate of $187.00,
such arguments. See, e.g., Hughley v. Comm'r of Soc.             and asks the Court to utilize the national consumer price
Sec., 3:11–cv–158 (N.D.Ohio) (attorney Roose requested           index rather the “Midwest Urban” CPI the Court has used
a rate of $180.59 per hour for his services to which             in the past. See, e.g., Mohr v. Comm'r of Soc. Sec., 2013
the Commissioner did not object) (ECF Nos. 20 & 23.)             WL 557176 (N.D.Ohio Feb.12, 2013), Vasquez, 2012 WL
Furthermore, it does not appear that the Commissioner            3637676; Jaworski v. Astrue, 2012 WL 3552634; Killings
has appealed those cases wherein her position was                v. Comm'r of the SSA, 2009 U.S. Dist. LEXIS 108524
rejected. The Commissioner, nonetheless, cites two recent        (N.D.Ohio, Oct. 8, 2009). Roose has previously asked this
decisions of the Northern District of Ohio that post-            Court to reconsider using the Midwest Urban CPI based
date this Court's most recent decision on the issue. (ECF        on the finding in Elson, No. 3:11–cv–183 at n. 2 (“Because
No. 28 at 4–5.) In Piporo v. Comm'r of Soc. Sec., 2013           the statutory rate is fixed for all areas of the nation, logic
WL 3006958, the court rejected an increase in the hourly         dictates that I use the national CPI figure to maintain the
rate based on similar though not identical materials.            uniformity Congress intended.”) (Carr, J.)
The Piporo court found that the evidence offered was
insufficient because it was not specific to the prevailing       Here, Dallas asserts that the Commissioner has advocated
rate for social security practitioners in particular. 2013       for using a national CPI in areas where the local rate of
WL 3006958 (N.D.Ohio, Jun.12, 2013) (Wells, J.); accord          inflation exceeded the national rate. (ECF No. 29 at 8–9.)
Hakkarainen ex rel. Blanton v. Comm'r of Soc. Sec., 2013         This argument merely highlights the fact that employing
WL 2950529 (N.D.Ohio, Jun.11, 2013) (Wells, J.) The              a more localized CPI is appropriate, because utilizing the
evidence offered here, however, is sufficiently specific as      national CPI would overstate inflation in some areas while
the affidavits of several attorneys specializing in the area     understating it in others. Therefore, the Court continues
of social security law support that the hourly rates charged     to believe that utilizing a localized CPI is more consistent
exceed or are comparable to the inflation adjusted rates.        with the Bryant decision, which observed that requested
                                                                 fee rates should be “in line with those prevailing in the
While the Court recognizes that a division may exist in the      community for similar services by lawyers of reasonably
Northern District as to what level of evidence is required       comparable skill, experience, and reputation.” Bryant, 578
to satisfy the Bryant standard, it bears noting that at          F.3d 443, 450 (6th Cir.2009) (emphasis added) (quoting
least one decision of this Court provides that the Bryant        Blum v. Stenson, 465 U.S. 886, 894 n. 11, 104 S.Ct. 1541,
decision does not require more than a reference to the CPI.      79 L.Ed.2d 891 (1984); see also Killings v. Colvin, 2013 WL
See Elson v. Comm'r of Soc. Sec., No. 3:11–cv–183 at n. 2        1455818 at *5 (N.D.Ohio Apr.9, 2013) (acknowledging a
(N.D Ohio, Aug. 7, 2012) (Carr, J.) (“The [Bryant ] court        split among the courts, but agreeing that “the ‘Midwest’
did not rule that as a matter of law that a judge's reliance     CPI appears to be the more appropriate measure of the
on CPI is an abuse of discretion. Rather, the court merely       increase in the cost of living for purposes of EAJA”);
stated that the district judge did not abuse his discretion by   Rodriguez v. Astrue, 3:11–cv–00398 (N.D.Ohio, July 16,
rejecting an increase under those circumstances.”) While         2012) (finding the Midwest CPI more appropriate than
this Court does not necessarily agree with Elson, the            the U.S. City Average CPI); cf. Ralston v. Astrue, 2011
Bryant decision did not delineate what kind of evidence          WL 7299836 (E.D.Mich. Aug.30, 2011) (finding that the
could be used to justify an increase in the statutory cap.       relevant market for calculating attorneys fees for a court
While it would be ideal if a survey existed that set forth       sitting in the eastern District of Michigan is the Detroit
the hourly rates of attorneys engaged in social security         market and utilizing the U.S. Department of Labor's CPI–
appellate practice in the Northern District, it does not         U for the Detroit–Ann Arbor–Flint area.)
appear that such a survey has been undertaken as the
Court is unaware of any party ever citing such a source.         Conversely, the Commissioner argues that the Court
The Court, however, believes that an upward departure            should use the CPI for the Cleveland–Akron area. (ECF
from the statutory cap can be sufficiently demonstrated          No. 28 at n. 2.) This argument is not without its logic,
utilizing a combination of evidentiary sources as Dallas         and is a more reasonable approach than utilizing the
has herein.                                                      national CPI. 6 Nonetheless, this Court will continue to
                                                                 use the Midwest Urban CPI as not all of the social
                                                                 security attorneys who practice in the Northern District
D. The Appropriate Hourly Rate


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3946 Filed 07/12/16 Page 23 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

of Ohio necessarily practice in the Cleveland–Akron area.      or raised in bad faith. While a court might expect
Utilizing the “Midwest Urban” CPI for “All Items” for          counsel to winnow out weaker arguments in favor of
“All Urban Consumers,” the index for March of 1996 was         stronger ones, counsel cannot be expected to predict which
151.7. 7 (Series Id: CUUR0200SA0, CUUS0200SA0) The             argument will ultimately be most persuasive. Moreover,
second half index for 2013, when most of the attorney          the Commissioner cites no authority for the proposition
services were performed, was 222.381. Id. Given these          that time spent on losing arguments or on arguments that
figures, the appropriate hourly rate, using $125 as a base,    were not addressed by the Court are not compensable
                                                               under the EAJA.
would be $183.24 per hour. 8

                                                               The Commissioner also challenges a total of thirty
6      In Lanken v. Comm'r of Soc. Sec., No. 5:11–cv–          minutes of attorney Roose's review of the docket,
       2607, 2013 U.S. Dist. LEXIS 8370, 2013 WL 237478        occurring mostly in six minute increments. Id. It is not
       (N.D.Ohio Jan. 22, 2013) (Pearson, J.), plaintiff's
                                                               unreasonable for a diligent attorney to spend a few
       counsel submitted a request for an increased hourly
                                                               minutes reviewing the electronic notice of documents filed
       rate based on the Cleveland–Akron CPI, which the
                                                               with the Court. Nonetheless, this Court has reduced such
       District Judge approved.
                                                               hours in the past. See, e.g., Mischka v. Astrue, 2010 U.S.
7      The Court utilizes March 1996 as the starting date in   Dist. LEXIS 130774, 6–7, 2010 WL 4923093 (N.D.Ohio,
       its calculations when Congress raised the EAJA cap      Nov. 29, 2010) (spending six minutes reviewing the most
       to $125. The above CPI–U figures are from the web       basic docket entries, such as motions for extension of time
       page of the Bureau of Labor Statistics and are not      and returns of service, is excessive, especially when one
       seasonally adjusted, http://data.bls.gov.               considers the cumulative effect of such billings) Here, a
8      151.7 is to 222.381, as $125 is to x, resulting in      total of thirty minutes over the course of the case is not
       x equaling $183.24. Notably, there is not a vast        excessive.
       difference between this rate and the Cleveland–Akron
       area CPI, which would yield an hourly rate of           The Court finds that no reduction in the number of hours
       $180.57. (CUURA210SA0, CUUSA210SA0.)                    requested is justified. As such, Dallas is awarded attorney
                                                               fees for all 32.8 hours requested at the reduced rate of
E. Number of Hours Requested                                   $183.24 per hour.
 *5 The Commissioner also objects to the number of
hours requested by Dallas and argues that the total
numbers of hours should be reduced by 8.2. (ECF No.            F. Work Performed by a Legal Assistant and Expenses
28 at 7.) The Court must review Dallas's fee application       Dallas also requests $190 for 3.8 hours of work performed
to determine whether the requested hours are reasonable.       by Roose's appellate assistant—a rate of $50 per hour.
See 28 U.S.C. § 2412(d)(1)(A), (B); see also Hensley v.        (ECF No. 25.) The Commissioner argues that the rate for
Eckerhart, 461 U.S. 424, 437, 103 S.Ct. 1933, 76 L.Ed.2d       such services should be limited to $40 per hour. (ECF No.
40 (1983). Courts are obligated to prune unnecessary           28 at n. 1.)
hours from fee petitions because, “[c]ourts are not
authorized to be generous with the money of others, and it     Attorney Roose has repeatedly sought a twenty-five
is as much the duty of courts to see that excessive fees and   (25) percent increase for the services of his appellate
expenses are not awarded as it is to see that an adequate      assistant. This Court has rejected such an increase, as have
amount is awarded.” ACLU v. Barnes, 168 F.3d 423, 428          numerous other decisions of this District. See, e.g., Jeffries
(11th Cir.1999).                                               v. Comm'r of Soc. Sec., 2014 U.S. Dist. LEXIS 49019,
                                                               2014 WL 1394411 (N.D.Ohio Apr. 9, 2014) (“$40.00
The primary rationale behind the Commissioner's                rather than $50.00 is a reasonable fee for work performed
argument is that the Court addressed only one of               by the appellate assistant.”); English v. Comm'r of Soc.
Dallas's arguments, finding a remand necessary for a           Sec., No. 1:11–CV–2794 (N.D.Ohio August 31, 2012)
violation of the treating physician rule. (ECF No. 28          (J. Adams) (finding $40.00 to be a reasonable fee for
at 7.) The Commissioner, however, has not argued               appellate assistant time); De Nunez v. Comm'r of Soc.
that any of Dallas's other arguments were frivolous            Sec., No. 1:11–CV–2285, 2013 U.S. Dist. LEXIS 863, 2013
                                                               WL 60429at *3 (N.D.Ohio January 3, 2013), (J. Adams)


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3947 Filed 07/12/16 Page 24 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

(same); Gunther v. Comm'r of Soc. Sec., 943 F.Supp.2d
797, 804–05 (N.D.Ohio 2013) (same); Montanez v. Comm'r
of Soc. Sec., No. 1:11–CV–02475, 2013 U.S. Dist. LEXIS            F. Fees Associated With Preparation of a Reply
166273, 2013 WL 6175651, at *3 (N.D.Ohio November                 Dallas also requests an additional award of $1,870.00 for
22, 2013) (same). Dallas has not provided this Court with         preparing the reply to the Commissioner's brief opposing
any compelling reason to alter the hourly rate and any            the EAJA application. (ECF No. 29.) This sum represents
                                                                  10.0 hours at the rate of $187.00. The time expended
compensable hours will be limited to $40 per hour. 9
                                                                  upon fee applications and on reply briefs in response to
                                                                  the Commissioner's opposition to such an application is
9      Dallas's reliance on Ramos v. Comm'r of Soc. Sec.,         recoverable.
       1: 10:cv–01731 is disingenuous. Therein, the plaintiff
       was awarded the fees and rates requested because             A court may compensate a claimant for the value of
       the Commissioner neglected to file a response to             attorney services rendered in defending the propriety
       the EAJA application. The court never engaged in             of an EAJA award, including a reply brief and
       any discussion as to whether the rates or amounts            supplemental application. See Rodriguez v. Astrue,
       requested were reasonable.
                                                                    No. 3:11–cv–398, 2012 U.S. Dist. LEXIS 98046,
 *6 The Commissioner asserts that the assistant should              2012 WL 2905928, at *6 (N.D.Ohio July 16, 2012),
not be compensated for 2.0 hours spent preparing an                 citing Spurlock v. Sullivan, 790 F.Supp. 979, 982
outline and some language for Dallas's brief and fact               (N.D.Cal.1992) (citing Comm'r I.N.S. v. Jean, 496
sheet, because the assistant is not a lawyer. (ECF No. 28           U.S. 154, 110 S.Ct. 2316, 110 L.Ed.2d 134 (1990)). A
at 7–8.) Courts in this Circuit have frequently awarded             claimant need not prove and a court need not find
EAJA fees for the services of a paralegal or legal assistant.       a second “substantial justification” before awarding
See, e.g., Rhoads v. Comm'r of Soc. Sec., 2012 U.S. Dist.           EAJA fees for the EAJA fee litigation itself. Jean,
LEXIS 7252, 2012 WL 191756 (W.D.Mich., Jan. 6, 2012)                496 U.S. 154, 159–160, 110 S.Ct. 2316, 110 L.Ed.2d
(“Plaintiff is also entitled to recover the reasonable cost for     134 (1990). “[A]n award of attorney fees under the
legal assistant or paralegal services.”); Gilbert v. Comm'r         EAJA should encompass not only the fees incurred in
of Soc. Sec., 2012 U.S. Dist. LEXIS 71809, 2012 WL                  the litigation on the merits, but also the fees incurred
1890884 (E.D.Mich., May 23, 2012). However, “purely                 by the prevailing party in protecting that fee award
clerical or secretarial tasks should not be billed” under           in subsequent litigation by the government over the
fee shifting statutes, “regardless of who performs them.”           propriety or amount of the EAJA fee award, even if the
Missouri v. Jenkins, 491 U.S. 274, 288 n. 10, 109 S.Ct.             position taken by the government in opposing the fee
2463, 105 L.Ed.2d 229 (1989); accord Snyder v. Comm'r               award is substantially justified.” Spurlock, 790 F.Supp.
of Soc. Sec., 2011 U.S. Dist. LEXIS 2077 (S.D.Ohio,                 at 982, citing Jean, 496 U.S. at 165.
Jan. 10, 2011). “Notwithstanding the prohibition against
compensation for secretarial or overhead costs, work done          *7 Baker v. Colvin, 2013 U.S. Dist. LEXIS 41426 at *3,
by non-attorneys such as paralegals or law clerks, may be         2013 WL 1284108 (N.D.Ohio Mar. 25, 2013). Here, the
compensable under the EAJA if the work is ‘sufficiently           Commissioner has invited this expenditure by resurrecting
complex’ or work ‘traditionally performed by attorneys.’          its argument that the evidence offered was insufficient
” Snyder, 2011 U.S. Dist. LEXIS 2077 at ––––4–5.                  to support an upwards departure from the statutory
Furthermore, “Excluding compensation for work done                cap. The Court finds the hours expended on the reply
by paralegals or law clerks would be counterproductive            reasonable, but applies the Midwest Urban CPI rate—
because excluding reimbursement for such work might               $183.24 per hour. Thus an additional award of $1,832.40
encourage attorneys to handle entire cases themselves,            is appropriate.
thereby achieving the same results at a higher overall
cost.” Id.
                                                                  G. Payment
                                                                  In the instant matter, an agreement which shows that on
For these reasons, the Court finds the 3.8 hours of work
                                                                  June 24, 2010, Dallas consented to have all EAJA fees paid
performed by the administrative assistant is reasonable
                                                                  to counsel is attached to the application. (ECF No. 25–
and compensable at a rate of $40 per hour for a total of
                                                                  14.) In accordance with Astrue v. Ratliff, 560 U.S. 586, 130
$152.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3948 Filed 07/12/16 Page 25 of 117
Dallas v. Commissioner of Social Sec., Not Reported in F.Supp.3d (2014)
2014 WL 1767815, 202 Soc.Sec.Rep.Serv. 335

S.Ct. 2521, 177 L.Ed.2d 91 (2010), any fees paid belong        No. 29) are GRANTED in part and DENIED in part.
                                                               Specifically, Roose, through Dallas, is awarded $7,842.67
to Dallas—not his attorney—and can be offset to satisfy
                                                               for 42.8 hours of work and $152.00 for the services of the
preexisting debt that he may owe the United States. If
                                                               appellate assistant—an aggregate sum of $7,994.67.
Dallas has no outstanding federal debt, the Commissioner
should honor the assignment of attorney fees and make
the check payable to counsel.                                  All Citations

                                                               Not Reported in F.Supp.3d, 2014 WL 1767815, 202
H. Conclusion                                                  Soc.Sec.Rep.Serv. 335
Dallas's application for attorney fees (ECF No. 25)
and supplemental application for attorney fees (ECF

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3949 Filed 07/12/16 Page 26 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

                                                              of Appeals vacated their convictions because there was
                                                              no evidence to support the charges. (Id.; Opinion and
                 2008 WL 4776837
   Only the Westlaw citation is currently available.          Order, Docket Text # 132 at 3). 1 On March 8, 2005, Ms.
            United States District Court,                     Sykes filed an action under state tort law and 42 U.S.C.
                  E.D. Michigan,                              § 1983 against seven defendants in state court. Ms. Sykes
                Southern Division.                            asserted state-law claims of false arrest and imprisonment
                                                              and violation of her Fourth and Fourteenth Amendment
            Kimberly SYKES and Tevya                          rights against six police officers, Derrick Anderson, Carol
            Grace Urquhart, Plaintiffs,                       Nichols, Terrence Sims, Patrick Jones, Aaron Copeland,
                       v.                                     and Maurice McClure. (Sykes Compl., Ex. A, Docket
 Derrick ANDERSON and Carol Nichols, Defendants.              Text # 1); Opinion and Order, Docket Text # 48 at 2). She
                                                              also asserted a claim against the City of Detroit under 42
                Nos. 05–71199, 05–73725.                      U.S.C. § 1983 for failure to train, discipline, or supervise its
                             |                                officers. (Id.). On September 29, 2005, Ms. Urquhart filed
                      Oct. 31, 2008.                          an action in this court under 42 U.S.C. § 1983 against the
                                                              same six officers, alleging violation of her rights under the
Attorneys and Law Firms                                       Fourth and Fourteenth Amendments. (Urquhart Compl.
                                                              at 2, 5–6).
Julie H. Hurwitz, Goodman and Hurwitz, Detroit, MI,
Thomas M. Loeb, Farmington Hills, MI, for Plaintiffs.
                                                              1      For purposes of this opinion, all Docket references
Krystal A. Crittendon, Detroit City Law Department,                  will be for case number 05–71199.
Detroit, MI, for Defendants.
                                                              Plaintiffs' cases were consolidated on June 19, 2006.
                                                              (Docket Text # 18). On August 15, 2006, Ms. Sykes
                                                              amended her complaint to add a state-law claim of
       OPINION AND ORDER GRANTING IN                          malicious prosecution against the six officers. (Sykes Am.
        PART PLAINTIFFS' PETITION FOR                         Compl., Docket Text # 37–3 at 14–15; Opinion and
       ATTORNEY'S FEES AND COSTS [201]                        Order, Docket Text # 48 at 3). On the same day, Ms.
                                                              Urquhart amended her complaint to add a claim against
NANCY G. EDMUNDS, District Judge.
                                                              the City of Detroit under 42 U.S.C. § 1983 for failure to
 *1 This matter comes before the Court on Plaintiffs' joint   train, discipline, or supervise its officers. (Urquhart Am.
petition for attorney's fees and costs under 42 U.S.C. §      Compl., Docket # 37–2 at 10–11).
1988. Plaintiff Kimberly Sykes has asked for an award
of $995,530.85 in attorney's fees and $20,191.66 in costs.    On June 22, 2006, Defendants filed a motion for summary
Plaintiff Tevya Urquhart has asked for an award of            judgment, which was denied without prejudice on August
$267,541.75 in attorney's fees and $2,320.23 in costs. For    28, 2006. (Docket Text # 19; Opinion and Order, Docket
the reasons set forth below, this Court GRANTS IN             Text # 48). On July 23, 2007, this Court issued a stipulated
PART Plaintiffs' petition.                                    order, dismissing Defendants Terrence Sims, Patrick
                                                              Jones, and Arthur Copeland from the lawsuit. (Docket
                                                              Text # 77). On June 29, 2007, Defendants filed a second
I. Factual and Procedural Background                          motion for summary judgment. (Docket Text # 73). On
The Court is familiar with the facts presented in this        August 29, 2007, this Court denied the motion as untimely
action, having presided over several motions and a jury       but granted summary judgment as to Plaintiff Urquhart's
trial in this matter. The facts relevant to Plaintiffs' fee   false-arrest and false-imprisonment claims. (Opinion and
petition are as follows.                                      Order, Docket Text # 99 at 3). Ms. Urquhart had
                                                              conceded that these claims were time-barred. (Id.). On
In 2002, Plaintiffs Kimberly Sykes and Tevya Urquhart         November 6, 2007, this case was reassigned from the
were arrested, convicted, and imprisoned in connection        Honorable Bernard A. Friedman to the Honorable Nancy
with the robbery of a Sprint store where they both worked.    G. Edmunds. (Docket Text # 117). At a hearing on
(Pls.' Pet. at 1). In May of 2004, the Michigan Court


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3950 Filed 07/12/16 Page 27 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

November 16, 2007, the Court instructed the parties that it      2      Defendants claim that, although Plaintiffs are
would rehear arguments on the City's motion for summary                 prevailing parties, this Court should deny them
judgment and invited the parties to submit supplemental                 attorney's fees under the criteria articulated in
briefing. (Opinion and Order, Docket Text # 132 at 4).                  Zarcone v. Perry, 581 F.2d 1039 (2d Cir.1978). (Defs.'
On December 20, 2007, this Court granted Defendant City                 Resp. at 11–12). Zarcone is not binding on this
of Detroit's motion for summary judgment, leaving only                  Court and to the extent that it supports Defendants'
individual Defendants Anderson, Nichols, and McClure                    argument, this Court disagrees with respect to its
in the case at the time of trial. (Id. at 17).                          application to the facts of this case. See Kindig
                                                                        v. Rockwell Int'l Corp., 709 F.Supp. 787, 790–92
                                                                        (E.D.Mich.1989) (refusing to apply Zarcone ).
 *2 A trial was held from February 5 to February 25,
2008. At the close of Plaintiffs' proofs, Defendants orally      The “primary concern” then becomes ensuring that the
moved for judgment as a matter of law with respect               “fee awarded be reasonable.” Hadix v. Johnson, 65
to all claims. (Opinion and Order, Docket Text # 179             F.3d 532, 535 (6th Cir.1995). “A reasonable fee is ‘one
at 2). The Court granted (1) Defendant Nichols' and              that is ‘adequate enough to attract competent counsel,
Defendant McClure's motion for judgment as a matter              but ... [does] not produce windfalls to attorneys.’ ' ” Id.
of law with respect to Sykes' unlawful seizure claim; (2)        (quoting Blum v. Stenson, 465 U.S. 886, 897, 104 S.Ct.
Defendant McClure's motion for judgment as a matter of           1541, 79 L.Ed.2d 891 (1984) (internal citation omitted)).
law as to Plaintiffs' malicious prosecution claims; and (3)      The first step in assessing reasonable attorney's fees is
Defendant Nichols' motion for judgment as a matter of            to calculate the ‘lodestar.’ Blanchard v. Bergeron, 489
law as to Plaintiff's due process claims. (Id. at 5).            U.S. 87, 94, 109 S.Ct. 939, 103 L.Ed.2d 67 (1989). The
                                                                 lodestar is determined by multiplying the number of hours
On February 25, the jury rendered a verdict for Plaintiffs       reasonably expended on the litigation by the attorney's
on their remaining claims against Defendants Anderson            reasonable hourly rate. Hensely, 461 U.S. at 433.
and Nichols. (Jury Verdict Forms, Docket Text # 170, #
171). The jury returned a verdict of “no cause of action”
against Defendant McClure. (Id.). The jury awarded               A. Reasonable Hours
compensatory damages in the amount of $1,020,000 to              This Court must “exclude from this initial fee calculation
Ms. Urquhart and $1,063,000 to Ms. Sykes. (Id.). The jury        hours that were not ‘reasonably expended.’ ” Id. at
also awarded each plaintiff $150,000 in punitive damages         434 (internal citation omitted). The Supreme Court has
against Defendant Anderson and $100,000 in punitive              explained:
damages against Defendant Nichols. (Id.).
                                                                             Cases may be overstaffed, and the
                                                                             skill and experience of lawyers vary
This matter is now before the Court on Plaintiffs' joint
                                                                             widely. Counsel for the prevailing
petition for attorney's fees and costs under 42 U.S.C. §
                                                                             party should make a good faith
1988.
                                                                             effort to exclude from a fee request
                                                                             hours that are excessive, redundant,
II. Analysis                                                                 or otherwise unnecessary ... In the
In an action brought under 42 U.S.C. § 1983, “the court,                     private sector, ‘billing judgment’
in its discretion, may allow the prevailing party” “a                        is an important component in fee
reasonable attorney's fee as part of the costs.” 42 U.S.C. §                 setting. It is no less important here.
1988(b). Plaintiffs are prevailing parties “ ‘if they succeed
                                                                 *3 Id. (internal citations and quotation marks omitted).
on any significant issue in litigation which achieves some
of the benefit the parties sought in bringing suit.’ ” Hensley
                                                                 Plaintiffs staffed this case with five attorneys, three
v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d
                                                                 paralegals, two law students, and three technical
40 (1983) (internal citation omitted). Defendants do not
                                                                 assistants, and their time records reveal that they have not
dispute that Plaintiffs are prevailing parties. 2
                                                                 always exercised the required “billing judgment.” 3 The
                                                                 Sixth Circuit has cautioned that “multiple representation
                                                                 can be productive [,]” “[b]ut there is also the danger of



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3951 Filed 07/12/16 Page 28 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

duplication, a waste of resources which is difficult to            by Mr. Benchich creating a Powerpoint presentation and
measure.” Coulter v. Tennessee, 805 F.2d 146, 152 (6th             providing technical assistance at trial to be excessive and
Cir.1986). This Court engaged in a painstaking review              awards Plaintiffs for half of his total time. 8
of every hour claimed by every staff member in this
case and has, where possible, cut specific hours that it           4      It is also the case that Ms. Kalahar's tasks were all
finds to have been duplicative or otherwise unreasonable.
                                                                          ones for which other attorneys at Ms. Hurwitz's firm
See Northcross v. Bd. of Educ., 611 F.2d 624, 636 (6th
                                                                          also billed substantial time.
Cir.1980), overruled on other grounds (noting that “[h]ours
may be cut” “for duplication” and “padding”); Roland               5      This Court understands that Ms. James was out of the
v. Johnson, No. 91–1460, 1992 WL 214441, at *2 (6th                       office during Mr. Vasconsellos' tenure, but notes that
Cir. Sept.4, 1992) (affirming district court's exclusion of               Ms. James spent more than sufficient time on these
duplicative time spent by second attorney on case).                       tasks upon her return.
                                                                   6      Plaintiffs are correct that “time spent in preparing ...
3      Defendants argue that Plaintiffs' fee petition should              attorney fees applications is compensable.” Coulter,
       be denied due to the excessive hours claimed. (Defs.'              805 F.2d at 151. That time, however, must be
       Resp. at 6–11). Defendants rely for this proposition               reasonable.
       on a case in which a plaintiff's fee petition exaggerated
                                                                   7      For example, Ms. Elturk billed approximately 38
       hours expended by eight times. (Id. at 7 (citing Brown
       v. Stackler, 460 F.Supp. 446 (N.D.Ill.1978))). This                hours for drafting a memo on prejudgment interest.
       Court does not find Brown applicable and concludes                 (Pls.' Pet., Ex. 9).
       that it would be inappropriate to deny Plaintiffs a fee     8      Plaintiffs request fees for Greg Angello and Jacob
       award.
                                                                          Lehman but do not include corresponding itemized
To this end, this Court excludes all time billed by Kathleen              time records. (Pls.' Pet., Ex. 9 at 101–02). For this
Kalahar as it finds it unreasonable for Plaintiffs' counsel               reason, this Court does not award fees for these
to have consulted with an additional attorney given                       individuals' time.
the amount of time already being expended by lead                  In addition to general overstaffing of this litigation,
counsel and their associates on this case. 4 The Court             Plaintiffs' counsel also spent excessive time on specific
also excludes all time spent by Matthew Vasconsellos as            tasks. In the case of Mr. Gant, this Court was able to
it finds it unreasonable for Plaintiffs' counsel to have           identify each excessive billing record and reduce it to a
hired an additional attorney to work on tasks such as              reasonable amount of time. (See Table 1). This Court
Plaintiffs' motion for sanctions and Plaintiffs' response          found, however, that the billing of excessive time for
to Defendants' summary judgment motion when Julie                  particular tasks was a pervasive problem for Ms. Hurwitz
Hurwitz and Kathryn James also spent a tremendous                  and Ms. James. For example, they billed approximately:
amount of time on these pleadings. 5 This Court also               (1) 175.6 and 145.6 hours, respectively, for the drafting of
excludes all time billed by law student Caryn Smith, the           a response to a motion for summary judgment; (2) 157.55
bulk of which was spent drafting Plaintiffs' fee petition.         and 85.2 hours, respectively, for trial preparation; and (3)
This is because the Court finds the approximately 50               76.15 and 100.5 hours respectively for the drafting of a
hours spent by Ms. Hurwitz drafting the fee petition to            response to a motion for a new trial. (Pls.' Pet., Ex. 9). Due
                                                                   to the difficulty of adjusting more than a hundred pages
be more than adequate. (Pls.' Pet., Ex. 9). 6 The Court
                                                                   of individual billing entries to determine their reasonable
also finds the time spent by paralegal Kara Sullivan
                                                                   hours, this Court reduces Ms. Hurwitz's and Ms. James'
typing handwritten time records and corresponding with
                                                                   claimed hours by 25 percent. See Northcross, 611 F.2d
attorneys about the fee petition to be unreasonable. The
                                                                   at 636–637 (noting that “in complicated cases, involving
Court excludes these hours but will award fees for half of
                                                                   many lawyers” “simply deducting a small percentage of
the time Ms. Sullivan spent compiling the costs incurred
                                                                   the total hours to eliminate duplication of services” “seems
by Plaintiffs' counsel in this case. This Court also finds the
                                                                   preferable to an attempt to pick out, here and there, the
hours billed by law student Melanie Elturk to be excessive
                                                                   hours which were duplicative”); Coulter, 805 F.2d at 152
for the tasks performed and has excluded two-thirds of
                                                                   (“Where duplication of effort is a serious problem, ...
her claimed time. 7 Finally, this Court finds the time spent       the District Court may have to make across the board



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3952 Filed 07/12/16 Page 29 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

reductions ...”); Louisville Black Police Officers Org. v.       exception of the deposing counsel and lead counsel for
                                                                 each Plaintiff. See E.E.O.C. v. E.J. Sacco, 102 F.Supp.2d
Louisville, 700 F.2d 268, 272 (6th Cir.1983) (same). 9
                                                                 413, 420–21 (E.D.Mich.2000) (noting that “an opposing
                                                                 party should only be charged for the cost of the essential
9       Before taking the twenty-five percent reduction, this    participating attorney” at a deposition). This also includes
        Court does exclude as unreasonable the ten hours         time spent calling Judges' chambers because it was this
        that Ms. Hurwitz bills on July 23, 2007 for “e-          Court's experience that these calls were unnecessary
        mail correspondence.” (Pls.' Pet., Ex. 9 at 28). The
                                                                 and needlessly time-consuming. This Court is also only
        Court also subtracts the 14 hours that Plaintiffs'
                                                                 awarding counsel for half of the time spent working with
        counsel identified at oral argument as having been
                                                                 a jury consultant. A breakdown of the reasonable hours
        erroneously billed.
                                                                 expended by each staff member in this litigation is as
 *4 This Court is also disallowing time spent by all staff       follows:
that it finds to have been unreasonable. This includes
time billed by staff for attending depositions, with the
    Table 1
    Plaintiff Sykes
    Julie Hurwitz
    Claimed Hours                                                                                                 1615.1
    Hours Subtracted                                     calls to court clerk                                        0.75
                                                         e-mailing on 7/23/07                                           10
                                                         erroneous hours                                                14
    Percent Reduction for Overbilling                                                                                25%
    Total Reasonable Hours                                                                                      1192.76


    Kathryn James
    Claimed Hours                                                                                               1099.85
    Hours as Law Student                                                                                             35.6
    Hours as Law Associate                                                                                        964.25
    Hours Subtracted from Assoc.                         calls to court clerk                                        1.25
                                                         half of jury consultant time                                0.75
                                                         attendance at depositions                                       3
    Percent Reduction for Overbilling                                                                                25%
    Total Reasonable Hours as Student                                                                             101.70
    Total Reasonable Hours as Assoc.                                                                              719.44


    Gary Gant

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3953 Filed 07/12/16 Page 30 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837


 Claimed Hours                                                                    547.95
 Hours Subtracted                             attendance at depositions              23
                                              excessive hours on 8/2/06               3
                                              excessive hours on 8/3/06              1.5
                                              excessive hours on 8/7/06              3.5
                                              excessive hours on 8/8/06             1.75
                                              excessive hours on 8/10/06              7
                                              excessive hours on 8/11/06              3
                                              excessive hours on 8/14/06              7
                                              excessive hours on 8/15/06              7
                                              excessive hours on 8/16/06              7
                                              excessive hours on 4/16/07              2
                                              excessive hours on 4/18/07             1.5
                                              excessive hours on 4/19/07              2
                                              excessive hours on 4/20/07             2.5
                                              excessive hours on 4/23/07             4.5
                                              excessive hours on 4/27/07              3
                                              excessive hours on 4/29/07             3.5
                                              excessive hours on 6/25/07              4
 Total Reasonable Hours                                                            461.2


 Kara Sullivan
 Claimed Hours                                                                     43.45
 Hours Subtracted                              e-mailing attorneys re: fees         6.45
                                               typing handwritten fee records       31.5
                                               half time spent compiling costs      2.25
 Total Reasonable Hours                                                             3.25


 Alan Benchich



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3954 Filed 07/12/16 Page 31 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837


 Claimed Hours                                                                                         101.3
 Hours Subtracted                                     half total time                                  50.65
 Total Reasonable Hours                                                                                50.65


 Maureen Kalahar
 Claimed Hours                                                                                               5
 Total Reasonable Hours                                                                                      5


 Bob Ingalls
 Claimed Hours                                                                                            2.5
 Total Reasonable Hours                                                                                   2.5


 Melanie Elturk
 Claimed Hours                                                                                         198.8
 Hours Subtracted                              two-thirds of total time                              132.53
 Total Reasonable Hours                                                                                66.27


 Plaintiff Urquhart
 Thomas Loeb
 Claimed Hours                                                                                         664.7
 Hours Subtracted                               calls to court clerk                                      0.7
                                                half of jury consultant time                              0.9
 Total Reasonable Hours                                                                                663.1


 Kim Cochrane
 Claimed Hours                                                                                         61.65
 Hours Subtracted                               calls to court clerk                                      0.1
 Total Reasonable Hours                                                                                61.55
                                                       *5 “[H]ourly rates for fee awards should not exceed the
B. Reasonable Rate                                    market rates necessary to encourage competent lawyers
                                                      to undertake the representation in question.” Coulter, 805



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3955 Filed 07/12/16 Page 32 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

F.2d at 149. In order to determine whether Plaintiffs'                   Economics of Law Practice Survey at 26. The 2007
requested hourly rates are reasonable, the Court looks to                version states that the median hourly billing rate
“ ‘[rates] prevailing in the community for similar services              for paralegals throughout Michigan is $75. 2007
by lawyers of reasonably comparable skill, experience, and               Economics of Law Practice Survey.
reputation.’ “ Hadix, 65 F.3d at 536 (quoting Blum, 465           13     Plaintiffs have requested an hourly rate of $150 for
U.S. at 896 n. 11). This Court has “discretion to accept,                Ms. James. This rate is only appropriate for hours
reject, or modify [Plaintiffs'] requested rates based on its             billed after she became an associate in August of 2007.
experience and knowledge of the relevant marketplace.”                   (Pls.' Pet. at 12). The reasonable rate for her work
Roland, 1992 WL 214441, at *3.                                           when she was a law student is $75 an hour.
                                                                          Table 2
Plaintiffs have asked for hourly rates of $350 for Ms.                    Plaintiff
                                                                          Sykes
Hurwitz and Mr. Loeb. (Pls.' Pet. at 10). Defendants
                                                                                           Reasonable       Reasonable Lodestar
respond that appropriate hourly rates would be $170 and                                        Hours       Hourly Rate
$150, respectively. (Defs.' Resp. at 16). After considering               Julie               1192.76                250298190
“the attorneys' level of experience” and “the services                    Hurwitz
they provided” (Roland, 1992 WL 214441, at *3), and                       Kathryn              101.7 /          75 / 150
                                                                                                                      115543.5
after reviewing Plaintiffs' affidavits, the 2003 State Bar of             James                719.44
                                                                          Gary Gant             461.2                100 46120
Michigan Economics of Law Practice Survey submitted by
                                                                          Kara                   3.25                100    325
the parties, and the 2007 State Bar of Michigan Economics                 Sullivan
of Law Practice Survey 10 , this Court has determined                     Alan                  50.65                 753798.75
that a reasonable hourly rate for Ms. Hurwitz and Mr.                     Benchich
                                                                          Maureen                   5                 75    375
Loeb is $250. 11 Based on a review of the 2003 and 2007                   Kalahar
editions of the State Bar of Michigan Economics of Law                    Bob                     2.5                 75 187.5
Practice Survey 12 and the Court's knowledge of the local                 Ingalls
                                                                          Melanie               66.27                 754970.25
market, the Court concludes that a reasonable hourly fee
                                                                          Elturk
for associates, paralegals, and law students is $150, $100,                                            Total Lodestar: 469510
and $75, respectively. 13 A breakdown of the lodestar                     Plaintiff
calculation, based on these reasonable rates, is as follows:              Urquhart
                                                                                            Reasonable      Reasonable Lodestar
                                                                                                 Hours     Hourly Rate
10     The Sixth Circuit has approved the use of the State                Thomas                 663.1               250165775
       Bar of Michigan surveys in calculating prevailing                  Loeb
       rates. See, e.g. Lamar Adver. Co. v. Charter Twp.,                 Kim                    61.55               100 6155
       Nos. 04–2500, 04–2521, 2006 WL 1133309, at *2–                     Cochrane
       3 (Apr. 27, 2006); Auto Alliance Int'l, Inc. v. U.S.                                             Total              171930
       Customs Serv., No. 04–1764, 2005 WL 2149673, at *1                                               Lodestar:
       (6th Cir. Nov. 23, 2005).
                                                                  C. Adjusting the Lodestar
11     The 2003 Economics of Law Practice Survey lists            Calculation of the lodestar “does not end the inquiry.”
       a median hourly billing rate of $210 for attorneys         Hensley, 461 U.S. at 434. This Court must next determine
       in downtown Detroit and $175 for those in the
                                                                  whether it is appropriate “to adjust the fee upward
       remainder of Southeast Michigan. 2003 Economics of
                                                                  or downward” to reflect factors such as “ ‘the results
       Law Practice Survey at 26. The 2007 online version
                                                                  obtained’ “ in the case. Id. (citing Johnson v. Ga. Highway
       of the survey, which reports data differently, states
       that the median hourly billing rate for litigation firms
                                                                  Express, Inc., 488 F.2d 714 (5th Cir.1974)); see also id.
       in Michigan is $195. 2007 Economics of Law Practice        at 438 (noting that district courts must “consider the
       Survey.                                                    relationship between the extent of [a plaintiff's] success
                                                                  and the amount of the fee award”). Plaintiffs argue that
12     According to the 2003 Survey, for example, the             not only are they entitled to compensation for hours spent
       median hourly rate for paralegals in downtown              pursuing ultimately unsuccessful claims but that their fees
       Detroit with at least 10 years of experience is $80.
                                                                  should be adjusted upward to reflect their “exceptional


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3956 Filed 07/12/16 Page 33 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

success” in the case. (Pls.' Pet. at 19–24). Defendants                    228.75 hours from Ms. James' time, 18.75 hours from
object to both claims. (Defs.' Resp. at 16–18).                            Mr. Gant's time, and 4 hours from Ms. Elturk's time.
                                                                           The Court makes this reduction from Ms. James'
                                                                           law-associate hours rather than her law-student hours
1. Unrelated Unsuccessful Claims                                           since the bulk of time spent on this claim seems to
 *6 If a plaintiff “fail[s] to prevail on claims that were                 have been after August 2007.
unrelated to the claims on which he succeeded,” “the hours
spent on the unsuccessful claim should be excluded in               2. Unsuccessful Related Claims
considering the amount of a reasonable fee.” Hensley, 461           Defendants seem to suggest that Plaintiffs' fee award
U.S. at 434, 440. “[S]uccessful and unsuccessful claims             should be further reduced because Plaintiffs did not
are deemed related when they ‘involve a common core                 prevail on every claim against every individual officer
of facts,’ ‘are based on related legal theories,’ or when           (Defs.' Resp. at 16). Three officers were dismissed prior to
counsel's time is ‘devoted generally to the litigation as a         trial and a fourth was found not to be liable by the jury.
whole, making it difficult to divide the hours expended.’           The Court also dismissed as a matter of law several claims
” Barnes v. City of Cincinnati, 401 F.3d 729, 745 (6th              against the remaining three officers.
Cir.2005) (quoting Hensley, 461 U.S. at 433).
                                                                    Plaintiffs' claims against the individual officers were
Plaintiffs' claim under 42 U.S.C. § 1983 against the City           related claims, based on a common core of facts or
of Detroit was unsuccessful. At its earliest convenience            legal theories. As such, a different legal standard applies
upon inheriting this case, this Court dismissed Plaintiffs'         to these unsuccessful claims than applies to Plaintiff's
municipal-liability claim because Plaintiffs could not              unsuccessful, unrelated claim against the City of Detroit.
prove that Detroit had a policy or custom of failing to             It is true that the Supreme Court has instructed that “even
“track, monitor, and respond to police misconduct” and              where the plaintiff's [successful and unsuccessful] claims
of failing to train or supervise its officers. (Opinion and         were interrelated,” if “a plaintiff has achieved only partial
Order, Docket Text # 132. at 8, 12–17). This was “a                 or limited success,” “the product of hours reasonably
distinctly different claim[ ] for relief” than Plaintiffs' claims   expended on the litigation as a whole times a reasonable
against individual officers, “based on different facts and          hourly rate may be an excessive amount.” Hensley, 461
legal theories.” Hensely, 461 U.S. at 434. A finding of             U.S. at 436. But where, as in this case, “commonality is
municipal liability in this case required the existence of a        present” between the unsuccessful and successful claims
policy or custom with respect to supervising, training, and         against individual officers and “a plaintiff has obtained
overseeing officers and was wholly distinct from the proof          excellent results” on these claims overall, a “fee award
that led to jury verdicts against individual officers for           should not be reduced because the plaintiff failed to
their treatment of Plaintiffs. 14 For this reason, the Court        prevail on every contention raised.” Hensley, 461 U.S. at
excludes the time spent by Plaintiffs on their municipal-           435; Phelan v. Bell, 8 F.3d 369, 374 (6th Cir.1993).

liability claim. 15
                                                                     *7 The Court finds the lodestar, as adjusted for the
                                                                    unsuccessful, unrelated municipal-liability claim, to be
14      This is to be distinguished from cases in which             reasonable given Plaintiffs' overall success against the
        plaintiffs have sued under related theories of              individual officers. That some of the Plaintiffs' related
        employment discrimination (see e.g., Thurman v.             claims against some of the officers were ultimately
        Yellow Freight Sys., Inc., 90 F.3d 1160, 1169–70
                                                                    unsuccessful does not necessitate a further reduction of
        (6th Cir.1996); Lilley v. BTM Corp., 958 F.2d 746,
                                                                    the lodestar. See City of Riverside v. Rivera, 477 U.S. 561,
        756 (6th Cir.1992)), or cases in which plaintiffs have
                                                                    570–71, 106 S.Ct. 2686, 91 L.Ed.2d 466 (1986) (refusing
        brought the same exact claims against municipal and
                                                                    to adjust fee award downward because Plaintiff did not
        individual defendants (see, e.g., Wayne v. Village of
        Sebring, 36 F.3d 517, 532 (6th Cir.1994)).                  ultimately prevail against all individual defendant-officers
                                                                    since “all claims were based on a common core of facts”);
15      Plaintiffs identified the hours spent exclusively on        Thurman, 90 F.3d at 1169–70 (denying defendant's request
        their claims against the City of Detroit. (Pls.' Reply,     for further reduction of lodestar to reflect plaintiff's
        Docket Text # 216–6). Based on these figures, this          limited success on related employment-discrimination
        Court excludes 95.35 hours from Ms. Hurwitz's time,
                                                                    claims).


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3957 Filed 07/12/16 Page 34 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

                                                                            Table 3
                                                                            Plaintiff

3. Proposed Fee Enhancement                                                 Sykes
                                                                                        Reasonable        Subtracted     Reasonable          New
Plaintiffs have requested a 15% upward adjustment of the
                                                                                            Hours        Municipal–               Rate Lodestar
lodestar and base this request on several of the factors
                                                                                                      Liability Hours
enumerated in Johnson v. Georgia Highway Express, Inc.,                     Julie          1192.76             95.35              250 280312.5
488 F.2d 714 (5th Cir.1974). 16 (Pl.'s Pet. at 19–20). The                  Hurwitz

presumption is that the lodestar provides a reasonable                      Kathryn         101.7 /           228.75         75 / 150 89808.75
                                                                            James           723.19
attorney's fee. Blum, 465 U.S. at 897; see also Murphy v.
                                                                            Gary Gant        461.2             18.75              100       44245
Int'l Union of Operating Eng'rs, 774 F.2d 114, 128 (6th                     Kara              3.25                                100         325
Cir.1985). An enhancement award is only justified in “rare                  Sullivan
cases[s]” “of exceptional success.” Blum, 465 U.S. at 897,                  Alan             50.65                                   75   3798.75
899.                                                                        Benchich
                                                                            Maureen              5                                   75       375
                                                                            Kalahar
16     The twelve factors are: (1) the time and labor required;             Bob                2.5                                   75      187.5
       (2) the novelty and difficulty of the questions;                     Ingalls
       (3) the skill requisite to perform the legal service                 Melanie          66.27                 4                 75      4870
       properly; (4) the preclusion of other employment by                  Elturk
       the attorney due to the acceptance of the case; (5)                                                               Total Fee        423922.5

       the customary fee; (6) whether the fee is fixed or                                                                Award:
                                                                            Plaintiff
       contingent; (7) time limitations imposed by the client
                                                                            Urquhart
       or the circumstances; (8) the amount involved and the
                                                                                         Reasonable        Subtracted    Reasonable          New
       results obtained; (9) the experience, reputation, and
                                                                                              Hours       Municipal–              Rate Lodestar
       ability of the attorneys; (10) the “undesirability” of
                                                                                                             Liability
       the case; (11) the nature and length of the professional                                                Hours
       relationship with the client; and (12) awards in similar             Thomas            663.1                               250      165775
       cases. Johnson, 488 F.2d at 717–719.                                 Loeb
                                                                            Kim               61.55                               100        6155
This Court has considered the twelve Johnson factors
                                                                            Cochrane
and finds that they are adequately reflected in Plaintiffs'
                                                                                                                           Total Fee       171930
reasonable hours and rate. See Hensley, 461 U.S. at 434                                                                      Award:
n. 9; Blum, 465 U.S. at 899. The lodestar, as adjusted to
account for the unsuccessful unrelated municipal-liability          D. Costs
claim, already represents Plaintiffs' reasonable attorney's         Plaintiffs have also asked for an award of costs under
fee award. As such, no enhancement is required. A                   42 U.S.C. § 1988. (Pls.' Pet. at 27–28). “Some expenses
breakdown of the reasonable fees to which Plaintiffs are            are included in the concept of attorney's fees, as
entitled after adjustment of the lodestar is as follows 17 :        ‘incidental and necessary expenses incurred in furnishing
                                                                    effective and competent representation,’ and thus are
17     To calculate an adjusted lodestar for Ms. Hurwitz            authorized by section 1988.” Northcross, 611 F.2d at 639
       and Ms. James, this Court subtracted the time that           (internal citation omitted). These expenses are limited
       each spent on the municipal-liability claim from their       to “reasonable out-of-pocket expenses incurred by the
       total claimed hours before taking the 25% reduction          attorney which are normally charged to a fee-paying
       for overbilling. Similarly, this Court calculated Ms.
                                                                    client, in the course of providing legal services.” Id. 18
       Elturk's adjusted lodestar by subtracting her time
       spent on the municipal-liability claim before taking
                                                                    18     The Clerk of Court has taxed costs in the amount
       the two-thirds reduction of her time for overbilling.
       These necessary additional calculations are not laid                of $7740.21 under 28 U.S.C. § 1920. Plaintiffs filed
       out in Table 3 but are reflected in the three individuals'          objections to the Clerk's failure to tax certain costs,
       respective adjusted lodestars in Table 3.                           which this Court has sustained. (Opinion and Order,
                                                                           Docket Text # 226).




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3958 Filed 07/12/16 Page 35 of 117
Sykes v. Anderson, Not Reported in F.Supp.2d (2008)
2008 WL 4776837

                                                                                                           lost wages of     175.26
 *8 This Court has reviewed Plaintiffs' claimed costs and
                                                                                                       Vendricks Smith
has excluded those costs it does not deem to be reasonable                                            status conference      101.85
out-of-pocket expenses normally charged to a fee-paying                                                      transcripts
client. These include the costs of: (1) transcripts of                                                  mid-trial meals      136.07
hearings and status conferences; (2) parking; (3) attorney                                           meals during trial      212.45
                                                                                                             with clients
and client meals; (4) lost wages of a witness 19 ; and                                               meals during trial      146.79
(5) jury-consultant services. This Court finds Plaintiffs'                                          jury consultant fee        2000
claimed per-page rate of fifty cents for photocopying                                              photocopying [.25/          3929
to be excessive and will award costs for photocopying                                              page instead of .50]
at a reasonable rate of twenty-five cents per page. See,                                            jury consultant fee      542.25
                                                                             Total Awarded                                   9374.2
e.g., King v. Gowdy, No. 02–75136, 2008 WL 1820837, at
                                                                             Costs
*3 (E.D.Mich. Apr.22, 2008). This Court excludes half                        Plaintiff Urquhart
of Plaintiffs' investigative expenses, finding the amount                    Total Claimed                                  2320.23
claimed excessive for a case of this type. This Court also                   Costs
excludes $333.90 in expenses sought by Plaintiff Urquhart                    Subtracted Costs                   parking 282.5
for trial exhibits since this will be taxed by the Clerk                                            trial exhibits taxed 333.9
                                                                                                           under s.1920
of Court per this Court's Opinion and Order granting
                                                                                                    motion for directed 179.45
Plaintiffs' motion to adjust the taxed bill of costs. (Docket                                         verdict transcript
Text # 226). A breakdown of the costs that this Court will                   Total Awarded                               1524.38
award Plaintiffs is as follows:                                              Costs


19     This witness' fee, parking, and mileage were already         III. Conclusion
       taxed under 28 U.S.C. § 1920.                                For the reasons stated above, the Court reduces Plaintiff
        Table 4                                                     Sykes' requested attorney's fee award of $995,530.85 to
        Plaintiff Sykes                                             $423,922.50 and Plaintiff Urquhart's requested attorney's
        Total Claimed                                20191.66       fee award of $267,541.75 to $171,930. For the reasons
        Costs                                                       stated above, the Court also reduces Plaintiff Sykes'
        Subtracted Costs         discovery hearing       46.1
                                                                    requested costs of $20,191.66 to $9,372.20 and Plaintiff
                                          transcript
                                lunch case meeting      24.91       Urquhart's requested costs of $2,320.23 to $1,524.38.
                                   motion hearing        72.6
                                          transcript
                                  half investigative 3203.75        All Citations
                                               costs
                                            parking 226.43          Not Reported in F.Supp.2d, 2008 WL 4776837


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3959 Filed 07/12/16 Page 36 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

                                                              Plaintiff Miles visited Defendant's hotel and conference
                                                              center and discovered several architectural barriers that
                2006 WL 2404140
                                                              (1) presented concerns for his safety and (2) impeded
   Only the Westlaw citation is currently available.
                                                              his use of the services offered by the facility. Plaintiffs
            United States District Court,
                                                              conducted a preliminary inspection and discovered that
                    N.D. Ohio,
                                                              the facility was not in compliance with the ADA
                 Western Division.
                                                              requirement that public facilities have accessible facilities
      DISABLED PATRIOTS Of AMERICA and                        by January 26, 1992. In particular, Defendant had,
        Michael Miles, Individually, Plaintiff,               inter alia, failed to adequately designate disabled use
                         v.                                   spaces, provide adequate edge ramps, provide adequate
                                                              access to goods and services including lavatories and
      GENESIS DREAMPLEX, LLC, Defendant.
                                                              guest rooms, or generally accommodate disabled persons
                     No. 3:05 CV 7153.                        (Docket No. 1). Consequently, Defendant Miles filed this
                             |                                lawsuit seeking compensatory damages, declaratory and
                      Aug. 18, 2006.                          injunctive relief, and attorney fees and costs. The parties
                                                              entered a consent agreement that was approved by the
Attorneys and Law Firms                                       Court on March 3, 2006 (Docket No. 24). The parties
                                                              agreed to refer the matters of the amount of fees, litigation
Lawrence A. Fuller, Fuller, Fuller & Associates, Miami,
                                                              expenses and costs to the undersigned Magistrate Judge.
FL, Owen Benton Dunn, Jr., Toledo, OH, for Plaintiff.         These issues are addressed as follows.
Karyn McConnell Hancock, Toledo, OH, for Defendant.

                                                                          ATTORNEY FEE STANDARDS
    MEMORANDUM DECISION AND ORDER
                                                              The ADA provides that “[i]n any action ... commenced
VERNELIS K. ARMSTRONG, Magistrate Judge.                      pursuant to this chapter, the court or agency, in its
                                                              discretion, may allow the prevailing party ... a reasonable
 *1 The parties have consented to have this discrimination    attorney's fee.” 42 U.S.C. § 12205. A district court's
case filed pursuant to the Americans with Disability Act      decision to grant or deny attorney's fees is reviewed for
(ADA) of 1990, 42 U.S.C. § 12101 et seq transferred to        an abuse of discretion. Fogerty v. MGM Group Holdings
the docket of the undersigned Magistrate for purposes         Corp., 379 F.3d 348, 357 (6th Cir.2004). In order for
of entering final judgment. Pending is Plaintiff's Motion     a plaintiff to receive attorneys' fees in a civil rights
for Attorney Fees (Docket No. 25) to which Defendant          action, the plaintiff must be the prevailing party. 42
filed an Opposition (Docket No. 29) and Plaintiff filed a     U.S.C. § 12205 (Thomson/West 2006). A plaintiff may be
Reply (Docket No. 34). For the reasons that follow, the       considered a prevailing party if the plaintiff “succeed[s]
Magistrate grants Plaintiff's Motion for Attorney Fees.       on any significant issue in litigation which achieves some
                                                              of the benefit the parties sought in bringing the suit.”
                                                              Hensley v. Eckerhart, 103 S.Ct.1933, 1939 (1983). “The
              FACTUAL BACKGROUND                              touchstone of the prevailing party inquiry must be the
                                                              material alteration of the legal relationship of the parties,”
Plaintiff Michael Miles is a Findlay, Ohio resident           Texas State Teachers Association v. Garland Independent
(Docket No. 1, ¶ a). Plaintiff Disabled Patriots of America   School District, 109 S.Ct. 1486, 1493 (1989), such that “the
(Disabled Patriots) is a not for profit corporation formed    defendant's behavior [is modified] in a way that directly
under Florida law with its principal place of business in     benefits the plaintiff,” Farrar v. Hobby, 111-12, 113 S.Ct.
Lake Worth, Florida (Docket No. 1, ¶ b). Defendant,           572-573 (1992); Dillery v. City of Sandusky, 398 F.3d 562,
a limited liability corporation, is a hotel and conference    569 (6th Cir.2005).
center located in Toledo, Ohio (Docket No. 1, ¶ c).
                                                               *2 It is well settled that the “lodestar” approach
                                                              is the proper method to determine the amount of



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3960 Filed 07/12/16 Page 37 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

reasonable attorneys' fees. Building Service Local 47           expert are duplicative, the hourly rates charged by counsel
Cleaning Contractors Pension Plan v. Grandview Raceway,         do not comport with prevailing rates in the Toledo, Ohio,
46 F.3d 1392, 1401 (6th Cir.1995) (citations omitted). In       legal community, the expert fee is unreasonable and the
applying the lodestar approach, “[t]he most useful starting     request for expenses is not substantiated.
point ... is the number of hours reasonably expended on
the litigation multiplied by a reasonable hourly rate.”         1      Plaintiffs projected that they would incur additional
Id. (citing Hensley, 103 S.Ct. at 1939). There is a                    attorney fees and costs of $2400 if the Court
“strong presumption” that the lodestar figure represents               conducted an evidentiary hearing on the merits of
a reasonable fee. Id. at 1401-1402 (citing Pennsylvania v.             their request for attorney fees. Since such hearing was
Delaware Valley Citizen's Council, 106 S.Ct. 3088, 3098                not required, this amount is disallowed.
(1986); see also Roland v. Johnson, 978 F.2d 1339 (6th          The terms of the Consent Decree indicate that Defendant
Cir.1992)).                                                     agreed to make substantial changes to the premises that
                                                                comply with ADA regulations. In doing so, Defendant
Once the lodestar approach is calculated, the fee may be        waived any defenses and gave up something it may
adjusted in consideration of a number of factors, including     have otherwise won if this case proceeded to trial. The
“(1) the time and labor required; (2) the novelty and           compromise directly benefits Plaintiffs. Consequently,
difficulty of the questions involved; (3) the skill requisite   Plaintiffs are the prevailing parties in this litigation.
to perform the legal service properly; (4) the preclusion of    Plaintiffs, as prevailing parties, are entitled to reasonable
other employment by the attorney due to acceptance of           attorney fees, expert fees and costs.
the case; (5) the customary fee; (6) whether the fee is fixed
or contingent; (7) time limitations imposed by the client or
the circumstances; (8) the amount involved and the results
obtained; (9) the experience, reputation, and ability of the                      I. Amount of Legal Fees
attorneys; (10) the ‘undesirability’ of the case; (11) the
                                                                Mr. Fuller's Hourly Rate
nature and length of the professional relationship with the
                                                                 *3 Plaintiffs argue that the issues in this case are complex,
client; and (12) awards in similar cases.” Disabled Patriots
                                                                that it would be difficult to find competent and skilled
of America, Inc. v. Taylor Inn Enterprises, Inc., 424
                                                                counsel in the Toledo area able to undertake the “risk
F.Supp.2d 962, 965-966 (E.D.Mich.2006) (citing Doran v.
                                                                and expense of this type of civil rights action and that
Corte Madera Inn Best Western, 360 F.Supp.2d 1057, 1061
                                                                all services provided in this case were unique and tailored
(N. D.Cal.2005)).
                                                                to their client's needs. Thus, Mr. Fuller is entitled to
                                                                an hourly fee of $325. Defendant contends that co-
When counsel seeks compensation for an excessive
                                                                counsel Owen Dunn could have provided equally skilled
number of hours, the court has discretion simply to deduct
                                                                representation as he did in Disabled Patriots of American,
a reasonable percentage of the number of hours claimed as
                                                                Inc. v. Suemar Realty, Inc, Case No. 3:04CV7137 and
a practical means of trimming fat from a fee application.
                                                                Disabled Patriots of America, Inc. v. Lane Toledo, Case
Id. at 969. In the case of Disabled Patriots v. Taylor Inn,
                                                                No. 1:04-CV-00538.
a 40% reduction was deemed reasonable based on the
ambiguities in the invoice and the bundling of otherwise
                                                                In determining the reasonableness of Mr. Fuller's request
discrete tasks. Id.
                                                                for an hourly rate of $325, the court must consider
                                                                the prevailing market rates in the relevant community
                                                                for similar services by attorneys with comparable skill,
                      DISCUSSION                                experience and reputation. Disabled Patriots of America,
                                                                Inc. v. Taylor Inn Enterprises, Inc. 424 F.Supp.2d
Plaintiffs seek an award of $25,814.16 which consists of        962, 966 (E.D.Mich.2006) (citing Fuhr v. School Dist.
$18,228 in attorney fees, $5,950 in expert witness fees         of Hazel Park, supra, 364 F.3d at 762). Proof of
and $1,636.16 in litigation expenses 1 (Docket No. 25).         prevailing market rates may be demonstrated in a number
Defendant argues that the number of hours spent by              of ways, including: (1) affidavits of other attorneys
Plaintiffs' counsel on redundant and routine matters was        or experts; (2) citations to prior precedents showing
excessive, the hours spent by counsel, the paralegal and        reasonable rate adjudications for the fee applicant,


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3961 Filed 07/12/16 Page 38 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

for comparable attorneys, or for comparable cases;               Mr. Fuller requests that he be compensated for 50.10
(3) references to fee award studies showing reasonable           hours of services provided for Plaintiffs in this case.
rates charged or awarded in the relevant community;              Defendant argues that the time Mr. Fuller spent was
(4) testimony of experts or of other attorneys in the            excessive due to the repetitive nature of previous filings
relevant community; (5) discovery rates charged by the           made by Plaintiff as well as tasks performed by Mr.
opposition party; and (6) reliance on the court's own            Dunn 3 .
expertise to recognize applicable prevailing rates. Parker
v. Secretary of Department of Health and Human Services,         3      The Court's docket indicates that Disabled Patriots is
1992 WL 191102, *1 (Cl.Ct.1992). (citing NEWBERG,
                                                                        a named plaintiff in approximately twenty cases with
ATTORNEY FEE AWARDS 198 (1986)).
                                                                        the Fuller firm appearing as counsel.

Plaintiffs failed to submit affidavits or testimony of           The court must decide the reasonable amount of time
the prevailing rates in this community but do cite               spent on each task. Cleveland Area Bd. Of Realtors v. City
prior precedent showing reasonable rate adjudication.            of Euclid, 965 F.Supp. 1017, 1020 (N. D.Ohio 1997) (total
In addition, the Magistrate relies upon the Court's own          requested hours were reduced by 10% for insufficient
expertise to determine the applicable prevailing rates.          documentation). The district court is empowered to
Attorney Christopher Parker attested in Cox v. Sandusky          reduce the award when the documentation of hours is
City Schools, Case No. 3:00 CV 7657 (N.D.Ohio 2000),             inadequate. Id. (citing Hensley, supra, 103 S.Ct. at 1939).
that lead counsel in the Toledo area with specialties in         Counsel is not expected to record in great detail how he
employment law billed at $200 per hour (Docket No.               or she spent every minute; however, the general subject
136, Exhibits B, C, D, & E). Attorney William Connelly           matter must be identified. Id. (citing Hensley, supra, at
attested that the rates for attorneys in the local economy       1941 n. 12). The documentation must be of sufficient
with at least twenty six years of experience and specialized     detail and probative value to enable the court to determine
practices of law, were entitled to fees in the range of $175     with a high degree of certainty that such hours were
to $250 per hour. See Hess v. City of Toledo, 139 Ohio           actually and reasonably expended in the prosecution of
App.3d 581, 585, 744 N.E.2d 1236, 1238 (2000). Plaintiffs'       the litigation.” Id. (citing United Slate, Tile & Composition
counsel cite the court's approval of a $335 hourly attorney      Roofers v. G & M Roofing, 732 F.2d 495, 502 n. 2 (6th
fee in Sandusky v. Blackwell, 361 F.Supp.2d 688 (2005).          Cir.1984)).
Chief Judge Carr found that the Sandusky case presented
novel and difficult questions. Id. at 697. This case,            After careful review of the billing records, the Court found
however, presented routine issues regularly litigated in         numerous entries made by counsel that were “lumped”
ADA cases and fails to justify the award of a $325 hourly        together thereby rendering it impossible for the Court to
fee.                                                             ascertain with a high degree of certainty, the time spent on
                                                                 each individual task. In some instances, the hours spent by
 *4 The Magistrate is persuaded by the testimony in Hess         counsel duplicated the hours spent by Mr. Dunn.
that the $250 hourly rate charged by similarly situated
practitioners in this community is reasonable given lead         Plaintiffs' claim that Mr. Fuller spent 1.6 hours on March
counsel's expertise and skill. Adjusting this three-year old     16, 2005 to prepare a complaint and summons along
                                                                 with several other tasks. Since Mr. Fuller filed similar
figure for inflation, the hourly rate is increased to $275 2 .
                                                                 complaints in Disabled Patriots v. Hotel Ventures, Case
For these reasons, Plaintiffs are awarded fees which shall
                                                                 No. 3:05 CV 7154 and Disabled Patriots v. Toledo Hotel
be calculated at $275 per hour.
                                                                 Investors, Case No. 3:04 CV 7138, it is difficult to ascertain
                                                                 the amount of time spent preparing the complaint and
2      The inflation calculator shows that $250 in 2003          summons for this case. Therefore, the total request is
       has the same buying power as $275 in 2006. United         reduced by 30% or .48 hours.
       States Department of Labor, Consumer Price Index,
       www.bls.gov.ifn
                                                                 Defendant argues that the time spent to prepare a Consent
                                                                 Decree and a Motion for Summary Judgment was an
Mr. Fuller's Hours                                               effort to collect additional attorney fees. Plaintiffs contend
                                                                 that preparation for the Consent Decree and the Motion


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3962 Filed 07/12/16 Page 39 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

for Summary Judgment was necessary. The Magistrate             Defendant alleges that Plaintiffs' Applications for
                                                               Attorney's Fees in Case No. 3:04CV7137, Disabled
finds that it was within Plaintiffs' best interest to pursue
                                                               Patriots v. Suemar Realty, Inc. and Case No. 1:04-
summary judgment in the event settlement discussions
                                                               CV-00538 Disabled Patriots, Inc. v. Lane Toledo are
were unsuccessful. The preparation of a Consent Decree
                                                               identical to the Application for Attorney's Fees to the case
memorializing the parties' agreement was equally in the
                                                               at bar. The Magistrate finds that the applications used in
parties' best interest. The hours expended preparing
                                                               the two previous cases used much of the same research
these documents is reasonable. Likewise, the hours spent
                                                               and case law. The documents used and the research done
preparing discovery requests produced by Plaintiffs is
                                                               closely duplicate previous cases filed with the court, thus
reasonable in light of the circumstances.
                                                               the hours spent preparing are excessive. The Court reduces
                                                               Plaintiffs' request for 5.2 hours to prepare the application
 *5 Additionally, Defendant argues that the Consent
                                                               for fees by 30% or 1.56 hours.
Decree and Motion for Summary Judgment are
boilerplate and the time spent in preparing them
                                                               Defendant alleges that the Application for Fees lacks
was excessive. After reviewing other Consent Decrees
                                                               adequate explanation for the numerous conferences
prepared by Plaintiffs in past cases, e.g. Case No. 1:05-
                                                               between Mr. Fuller, Mr. Dunn and the expert witness,
CV-02466-PAG Disabled Patriots of America v. Brighton
                                                               Mr. Pedraza. Plaintiffs believe that the conversations are
Manor Company, the court finds some similarity in
                                                               cited with adequate detail. The Magistrate reviewed time
content, however, the majority of the Consent Decree
                                                               requests submitted from Mr. Fuller and Mr. Dunn and
is case specific. Therefore, the hours spent by Plaintiffs'
                                                               finds that little or no detail is given about each phone
counsel preparing the Consent Decree are reasonable.
                                                               call, with the exception of one. The phone conversation on
                                                               August 22, 2005 goes beyond stating “phone call with Mr.
Defendant contends that the time expended by Plaintiffs'
                                                               Pedraza” and adds the phrase, “to discuss his inspection
counsel reviewing the website is contrived since they have
                                                               of the premises.” This is enough to satisfy the court's
no website. Plaintiffs contend that Defendant's website
                                                               specificity requirement and will not be reduced. However,
is discoverable upon a Google search. The Magistrate
                                                               the documentation of the remaining telephone calls lacks
finds that the time spent analyzing Defendants web site is
                                                               adequate detail from which the Court can determine if the
reasonable 4 .
                                                               telephone calls were actually and reasonably expended in
                                                               the prosecution of this litigation. The Court reduces time
4       Plaintiff has a viewable website as www.dotoledo.org   spent “conferencing” with Mr. Pedraza by 30% as follows:

    Date                                                                       Time Spent

    October 3, 2004:                                                           0.30
    February 8, 2005:                                                          0.90
    July 1, 2005:                                                              1.40
    August 9, 2005:                                                            1.30
    August 15, 2005:                                                           1.00
    August 16, 2005:                                                           0.40
    September 6, 2005:                                                         0.90
    October 3, 2005:                                                           0.70
    October 12, 2005:                                                          1.30
    October 17, 2005:                                                          0.80


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3963 Filed 07/12/16 Page 40 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140


 October 19, 2005:                                                             1.00
 November 1, 2005:                                                             1.10
 November 11, 2005:                                                            3.00
 January 3, 2006:                                                              0.60
 March 3, 2006:                                                                1.00
 Total Reduction: 15.7 x 30% = 4.71 hours
                                                              parties is reasonable. However, Plaintiffs' counsel fails to
Defendant challenges the fees requested for telephone         state with particularity the subject of the calls. Again, the
conferences with Ms. Gallagher, President of Disabled         calls are “lumped” with other tasks. Therefore, the time
Patriots. The Court finds that Ms. Gallagher is party         recorded as a phone call between Ms. Gallagher and Mr.
to the suit and therefore a telephone call between the        Fuller is reduced by 30% as follows:
 Date                                                                        Time Spent

 October 10, 2004:                                                           0.20
 March 17, 2005:                                                             0.60
 August 9, 2005:                                                             1.30
 November 1, 2005                                                            1.10
 Total Reduction: 3.2 x 30% =.96 hours


 *6 Defendant states on several occasions time listed by      On September 7, 2005 Mr. Fuller listed, “prepar[ed] note
Mr. Fuller, where co-counsel conversed, was not recorded      to co-counsel.” Again this “note” does not state any
by Mr. Dunn. On July 8, 2005 it appears that Mr. Fuller       specificity and does not appear in Mr. Dunn's requested
lists “phone call(s) with co-counsel, Owen Dunn,” while       time. Thus, time spent to prepare the note is also reduced
Mr. Dunn lists “spoke with Tracie Dickerson at Fuller,        by 30%.
Fuller & Associates regarding our response to Order to
Show Cause.” Clearly, the court finds some discrepancy        Finally, on November 17, 2005 Mr. Fuller stated he
and therefore the time listed by Mr. Fuller and Mr. Dunn      “review[ed] letter from co-counsel with attachment.”
is reduced by 30%.                                            There was no preparation of a letter on the part of
On August 24, 2005, Mr. Fuller lists “Reviewing note          Mr. Dunn and what was contained in the letter lacks
from Mr. Dunn.” While under Mr. Dunn's account for            specificity. This time spent is therefore stricken as well. As
that day and several days prior no reference is made          noted before, Plaintiffs' counsel “lumps” tasks together,
regarding a note written to Mr. Fuller. Therefore, due to     thus the court reduces time spent on each day by 30% as
the discrepancy in accounted time and the Court's inability   follows:
to determine which note is referenced, the time spent by
Mr. Fuller to review the note is reduced by 30%.
 Date                                                                          Time Spent

 July 8, 2005:                                                                 1.50
 August 24, 2005:                                                              0.30
 September 7, 2005:                                                            2.00

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3964 Filed 07/12/16 Page 41 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140


 November 17, 2005:                                                              0.20
 Total Reduction: 4 x 30% = 1.2 hours

                                                                Mr. Dunn's Hours
In conclusion, the Magistrate reduces Mr. Fuller's hours
                                                                Plaintiffs claim that Mr. Dunn expended 13.82 hours in
by 8.91.
                                                                preparing their case for trial. Defendant argues that the
Mr. Dunn's Hourly Rate                                          time spent on April 6, 2005 to review the Complaint, sign
Plaintiffs contend that the hourly rate of $275 requested by    it, make copies and place it in a file are excessive. Plaintiff
Mr. Dunn was reasonable. Defendant contends that the            states that the Complaint contains a “list of 24 barriers to
hourly rate does not comport with Mr. Dunn's experience         access and ADA violations that are specific to the Quality
and directs the Court to consider the case of Preferred         Hotel-Genesis.”
Properties, Inc. v. Indian River Estates, Inc., Case No.
3:99 CV 7342 (N.D.Ohio Oct. 11, 2000) and theories on           After review of the Complaint, the court examined
attorney fee awards included in an affidavit by Daniel J.       Complaints from the other cases filed by Plaintiff, in
Steinbock as support.                                           particular Case No. 3:04CV7137, Disabled Patriots v.
                                                                Suemar Realty, and Case No. 1:04-CV-00538, Disabled
In calculating the reasonable hourly rate, the court            Patriots of America, Inc. v. Lane Toledo. The Court finds
must consider the prevailing market rates in the                the Complaint to be very similar to the Complaints in the
relevant community for similar services by attorneys            cases listed above. The two hours claimed by Mr. Dunn
with comparable skill, experience and reputation. Geier         for such review is excessive and reduced by 30% or .6
v. Sundquist, 372 F.3d 784, 796-797 (6th Cir.2004)              hours.
(citing Geier v. Sundquist, 227 F.Supp.2d 881, 886
(M.D .Tenn.2002)). It is the burden of the fee applicant        According to Defendant, Mr. Dunn expended several
to submit evidence supporting the number of hours               hours performing clerical duties. Plaintiff's reply does not
expended and the hourly rates claimed. Hensley, 103 S.Ct.       address this issue. Mr. Dunn performed such duties as
at 1940.                                                        preparing a case file, mailings, filing and faxes on the
                                                                following dates: April 6, July 21, August 11, August 15,
Although Plaintiffs cite Sandusky v. Blackwell to support       August 22, September 8, October 24, and November 22,
the reasonableness of their fee requests, Chief Judge Carr      2005; and January 27 and January 31, 2006.
characterized the issues in the Sandusky case as being
“novel and difficult” unlike the routine issues in this case.   This Court has previously found that “clerical or
361 F.Supp.2d at 697. As previously discussed, litigators       secretarial tasks ought not to be billed at lawyers' rates,
with twenty six years of experience and stellar reputations     even if a lawyer performs them.” Cleveland Area Bd.
as litigation counsel for specialities were awarded attorney    of Realtors v. City of Euclid, 965 F.Supp. 1017, 1022
fees within a range of $175 to $250 per hour. Cox v.            (“attention to file and setting up of litigation files ...
Sandusky City Schools, Case No. 3:00 CV 7657, Docket            fax[ing]” are considered to be secretarial tasks and cannot
No. 158.                                                        be billed at attorney rates) (citing Missouri v. Jenkins, 491
                                                                U.S. 274 (1989)). To remedy this improper designation,
 *7 While Mr. Dunn's resume boosts an impressive                the court in Cleveland Area Bd. of Realtors deducted 2%
academic background, he was admitted to the Ohio bar            from the amount of fees requested. Id. The Magistrate
in May, 2002; therefore, he has less than five years of         adopts this district court precedent and reduces the time
experience as a practicing attorney (Docket No. 25). Based      spent to review the Complaint to one hour and the time
upon his experience level and the nature of this case,          spent performing clerical tasks by 2%. There were 7.04
the Magistrate finds that a fee of $175 per hour is more        hours expended completing clerical tasks. Such amount
reasonable for his work in Genesis Dreamplex.                   reduced by 2% totals a deduction of .14 hours.




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3965 Filed 07/12/16 Page 42 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

Defendant also contends on June 17, and August 15,              listed are inconsistent. The inspection lasted 1.5 hours in
                                                                one request and two hours in another. The Court strikes
2005 there were several discrepancies with listed time by
                                                                the additional 0.05 hour. Equally, time spent claimed on
Plaintiffs' counsel. Specifically, the overall time spent and
                                                                June 17, 2005 for an inspection is excessive and reduced
hours listed by co-counsel do are inconsistent. Plaintiffs
                                                                by 30%.
do not address this claim in their reply.

Upon review of Mr. Dunn's and Mr. Fuller's tasks and
hours, the Court finds that on August 15, 2005 the tasks
 Date                                                                      Time Spent

 June 17, 2005                                                             0.50
 August 15, 2005                                                           2.0
 Total Reduction: 2.5 x 40% = 1.54 hours
                                                                disabled persons; however, the Court takes issue with the
 *8 In conclusion, the Magistrate disallows 2.33 of the         invoices submitted by the ADA Compliance Team. The
hours requested by Plaintiffs for work performed by             descriptions of tasks and the amount of time spent on
Mr. Dunn. Accordingly, of the 13.82 hours requested,            each task are minimal at best. First, the invoice states
Plaintiffs are entitled to fees for 11 .49 hours.               “Travel to and from location to perform additional ADA
                                                                inspection.” (Docket 25, Exhibit 12). The Court cannot
                                                                ascertain if this is travel to and from Florida or travel
                         II. Costs
                                                                limited to the Toledo area. Second, none of the items on
Expert Fees                                                     the invoice give detail as to how much time each task took.
Plaintiffs claim that all hours expended by the expert,
Dave Pedraza are reasonable. Defendant argues that the          The Court is unable to determine if sending Mr. Pedraza
hours spent are unreasonable and inadequately cited.            from Florida twice to inspect a hotel in Ohio is reasonable.
                                                                His account for time spent inspecting the property site
In any action commenced pursuant to the ADA, the                is ambiguous and lacks the necessary specificity for the
prevailing party may recover reasonable fees paid to            Court's evaluation of reasonableness. Therefore, if the
an expert witness. 42 U.S.C. § 12205 (Thomson/ West             travel time recorded is travel to and from Florida, the
2005). Mr. Pedraza is a certified contractor by the             Court finds this request for travel to be unreasonable.
State of Florida and is President and Registered Agent          Accordingly, this Court adopts the hourly rate awarded
of ADA Compliance Team. See Disabled Patriots v.                by the United States District Court in Southern Michigan
Taylor Inn Enterprises, supra, 424 F.Supp.2d at 967 fn.         and finds that a more reasonable hourly rate for Mr.
2. He has extensive experience particularly as it relates       Pedraza is $100. See Id. at 967.
to modification of existing buildings to accommodate
         Expert Fee February 8,                                              17 hours x $100 per hour
         2005
         Expert Fee August 31, 2005                                          17 hours x $100 per hour

                                                                Total        34 hours, $3400
                                                                2005 re-inspection fee to disability group, the April 11,
Additional Costs                                                2005 service of process and multiple telephone, postage,
Plaintiffs contend that the amount requested for costs          long distance faxing, courier service, photocopying and
is reasonable. Defendant argues Plaintiffs did not              filing.
substantiate costs requested. Specifically, Defendant
points to the March 18, 2005 title search, the March 18,


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3966 Filed 07/12/16 Page 43 of 117
Disabled Patriots of America v. Genesis Dreamplex, LLC, Not Reported in F.Supp.2d...
2006 WL 2404140

After reviewing the documents submitted by Plaintiff, the
                                                                  *9 In conclusion, Plaintiffs' Motion for Attorney Fees
court agrees with Defendant regarding the re-inspection
                                                                 is granted. Plaintiffs are awarded attorney fees and costs
fee to a disability group. Defendant states that this fee
                                                                 as follows: $11,327.25 for Mr. Fuller, $2,010.75 for Mr.
is a cost for re-inspection of the premises. However, the
                                                                 Dunn, expert costs of $3,400 and other costs of $886. The
court finds that this re-inspection fee is not listed on
                                                                 total award to Plaintiffs is $ 17,764.
Mr. Pedraza's invoice. Also, there are no other presented
reasons why this cost was listed, who the disability group
                                                                 IT IS ORDERED.
was and why they billed $750 for a re-inspection fee.
Therefore, the $750 for a re-inspection fee to disability
group is stricken. The remainder of costs, $886.16, listed       All Citations
by Plaintiffs appears to be reasonable given the twelve
months spent on the case and the nature of the case              Not Reported in F.Supp.2d, 2006 WL 2404140
(Docket No. 34, Exhibit 1, pp. 4-6).

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3967 Filed 07/12/16 Page 44 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737


                                                              A. THE UNDERLYING LITIGATION—PLAINTIFFS
     KeyCite Yellow Flag - Negative Treatment                 SECURED A PRELIMINARY AND PERMANENT
Distinguished by   Lavin v. Brunner,        February 12, 2013 INJUNCTION PROHIBITING ENFORCEMENT
                                       N.D.Ohio,
                                                              OF THE CHALLENGED PROVISIONS OF OHIO
                   2009 WL 917737
                                                              VOTER REGISTRATION LAW
    Only the Westlaw citation is currently available.
                                                              Plaintiffs are various civic organizations, and their
             United States District Court,
                                                              individual members, who are engaged in voter registration
                     N.D. Ohio,
                                                              activities throughout Ohio. The current Defendants are
                  Eastern Division.
                                                              Ohio Secretary of State Jennifer Brunner and Ohio
           PROJECT VOTE, et al., Plaintiffs,                    Attorney General Richard Cordray. 1
                       v.
      J. Kenneth BLACKWELL, et al., Defendants.                 1      Defendant Cordray, as the successor to now-former
                                                                       Ohio Attorney General Marc Dann, is automatically
                      No. 1:06–CV–1628.                                substituted as a party in this action under Rule
                               |                                       25(d) of the Federal Rules of Civil Procedure.
                       March 31, 2009.                                 Defendant Brunner similarly entered this case via
                                                                       substitution as the successor to former Ohio Secretary
Attorneys and Law Firms                                                of State J. Kenneth Blackwell. (Court's July 17,
                                                                       2007 Order.) This case also previously included
Donald J. McTigue, Mark A. McGinnis, McTigue Law                       Defendants William D. Mason (Cuyahoga County
Group, Columbus, OH, Brian W. Mellor, Dorchester,                      Prosecutor) and Sherri Bevan Walsh (Summit County
MA, Ezra W. Reese, Karl J. Sandstrom, Perkins Coie,                    Prosecutor). By agreement of the parties, Plaintiffs'
Devlin Willis, Elliott M. Mincberg, People for the                     claims against those Defendants were dismissed
American Way Foundation, Washington, DC, Wendy R.                      without prejudice. (Court's August 1, 2007 Order.)
Weiser, New York University School of Law, New York,            On July 6, 2006, after substantial efforts to achieve an
NY, for Plaintiffs.                                             administrative resolution outside of court failed, Plaintiffs
                                                                filed an eight-count Complaint (Doc. 1), alleging that
Damian W. Sikora, Richard N. Coglianese, Office of the
                                                                recent amendments to the Ohio Election Code unlawfully
Attorney General-Constitutional Offices, Columbus, OH,
                                                                impacted third-party voter registration efforts in Ohio
for Defendants.
                                                                and hindered low-income, minority, and disabled citizens
                                                                from registering to vote. Specifically, Plaintiffs challenged
                                                                the validity of various portions of Ohio Revised Code §§
               MEMORANDUM & ORDER
                                                                3503.14, 3503.19, 3503.28, 3503.29, and 3599.11. These
KATHLEEN          McDONALD            O'MALLEY,     District    sections were codified in Title 35 (titled “Elections”) of
Judge.                                                          the Ohio Revised Code by what the parties referred
                                                                to as “House Bill 3.” In sum, Plaintiffs claimed that
 *1 Pending before the Court is Plaintiffs' Motion              House Bill 3's modifications and/or additions to the
for Costs and Attorneys' Fees (Doc. 63). For the                Ohio Election Code, and the implementing regulations
reasons articulated below, the Court GRANTS IN PART             enacted by the Ohio Secretary of State, violated the
Plaintiffs' motion and concludes that Plaintiffs are entitled   First and Fourteenth Amendments to the United States
to an award of attorneys' fees in the amount of $312,925.00     Constitution, the Voting Rights Act (“VRA”), and the
and an award of costs in the amount of $8,560.28 for a total    National Voter Registration Act of 1993 (“NVRA”).
award of $321,485.28.
                                                                One week later, on July 13, 2006, Plaintiffs filed a
                                                                motion for preliminary injunction (Doc. 3), seeking
                                                                to enjoin Defendants from enforcing any of the
                     I. BACKGROUND
                                                                challenged legislation and regulations. Defendants
                                                                opposed Plaintiffs' motion arguing that, among other
                                                                things, Plaintiffs failed to show that the legislation


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3968 Filed 07/12/16 Page 45 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

and regulations unduly burdened any protected First             presented nothing new for the Court's consideration;
                                 2
Amendment right (Doc. 18). Plaintiffs replied (Doc.             instead, the parties simply incorporated the evidence
26) by essentially restating the positions asserted in their    and arguments presented in their prior briefs. (Doc.
Complaint and motion. Shortly thereafter, all parties           59 at pp. 4–5; see also Docs. 57, 58.) After again
filed voluminous evidentiary materials in support of their      reviewing the parties' voluminous filings relative to the
respective positions. (See Docs. 28–43.) The Court then         motion for preliminary injunction, and upon a further
met with the parties and scheduled a hearing on Plaintiffs'     review of the Court's oral and written Orders resolving
motion for preliminary injunction.                              that motion (Docs.45, 46), the Court entered an Order
                                                                concluding that Plaintiffs' motion for partial summary
2                                                               judgment should be granted for the same reasons that
       With the exception of then-Defendant William D.
                                                                Plaintiffs' motion for preliminary injunction was granted
       Mason, Defendants simultaneously (i.e., as part of
                                                                (Doc. 59). In a separate Order, the Court then entered
       their opposition papers) moved to dismiss Plaintiffs'
       Complaint. (Doc. 18.) Briefing on the motion to          partial final judgment in favor of Plaintiffs and against
       dismiss proceeded separately. (Doc. 49.)                 Defendants on the six counts advanced in Plaintiffs'
                                                                motion. (Doc. 60.) Specifically, the Court entered a
On September 1, 2006, the Court conducted a preliminary
                                                                declaratory judgment that the challenged provisions of
injunction hearing. The parties presented oral arguments
                                                                the Ohio Revised Code, as well as their accompanying
with substantial interaction by the Court; they did
                                                                regulations and administrative practices, violated the First
not present additional evidence. Given the approaching
                                                                and Fourteenth Amendments (Counts I, II, III, VII,
general election, and the Boards of Elections' stated need
                                                                and VIII) and the NVRA (Count VI), and the Court
for relatively immediate guidance (see Doc. 46 at p. 78),
                                                                permanently enjoined Defendants from enforcing those
the Court agreed that the circumstances necessitated an
                                                                provisions. (Id.)
expedited ruling. The Court, therefore, after a lengthy
recess to review the record and to consider its ruling,
                                                                The remaining two counts of the Complaint that were
proceeded to deliver a detailed oral ruling at the hearing in
                                                                not litigated in Plaintiffs' motion for partial summary
which it granted a preliminary injunction to Plaintiffs (see
                                                                judgment were voluntarily dismissed without prejudice by
id. at pp. 80–103). One week later, on September 8, 2006,
                                                                Plaintiffs (see Docs. 49, 59, 65, 66), and the case was
the Court issued a 24–page written Order (Doc. 45), which
                                                                eventually closed (see Doc. 66).
memorialized and supplemented the Court's oral ruling
granting the preliminary injunction. In short, the Court
held that the challenged portions of Ohio Revised Code          B. PLAINTIFFS' PENDING MOTION FOR
§§ 3503.14, 3503.19, 3503.28, 3503.29 and 3599.11 and the       ATTORNEYS' FEES AND COSTS
Secretary of State's interpretation of those provisions were    In the post-judgment context, Plaintiffs have now filed
likely unconstitutional and that certain of those provisions    the pending motion seeking an award for the attorneys'
also likely violated the NVRA. (Docs.45, 46.)                   fees and costs incurred in litigating this federal civil rights
                                                                matter pursuant to 42 U.S.C. §§ 1988(b) and 1973l (e).
 *2 Then, in the months that followed, the Court                (Doc. 63.) Plaintiffs argue that they are prevailing parties
conducted two status conferences with the parties (see          under the statutes and thus entitled to their reasonable
Docs. 50 and 52). Based on the parties' then-current belief     attorneys' fees and costs. Plaintiffs request an award
that a resolution could be reached short of continued
                                                                of $446,752.00 for attorneys' fees 3 and $10,808.32 in
litigation, the Court referred the parties to mediation
(see Doc. 52). In mid-June 2007, however, the parties           costs 4 for a total award of $457,560.32. 5 In support of
determined that mediation would not be fruitful (see Doc.       their request for fees and costs, Plaintiffs have attached
54) and that the case should proceed toward a judicial          numerous documents to the motion (e.g., declarations, 6
resolution.                                                     biographies of individuals who worked on the matter,
                                                                billing time-entries, expenses), stating that they have
Several weeks later, on July 13, 2007, Plaintiffs filed a       properly computed the award to which they are entitled.
motion for partial summary judgment (Doc. 57), seeking          Specifically, with respect to fees, Plaintiffs' request is based
final judgment on six of the eight counts alleged in their      on bills for 1,416.45 hours by twenty-one time-keepers
Complaint. The parties' briefing on the motion, however,        (fourteen attorneys, four law clerks/summer associates/


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3969 Filed 07/12/16 Page 46 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

interns, two administrative assistants, and one librarian)                 that the “declaration” submitted by Brian Mellor
from four different firms/advocacy groups at hourly rates                  is unsigned. (Doc. 63–6 at p. 3.) Consequently, his
ranging from $500.00 to $110.00.                                           “declaration” cannot be used as evidence, and the
                                                                           Court cannot consider his statement. See Smith v.
                                                                           Jefferson County Sch. Bd., 549 F.3d 641, 657 n. 8 (6th
3      Plaintiffs originally requested $450,002.00 for                     Cir.2008).
       attorneys' fees. (See Doc. 63 at pp. 2, 17.) Then, in
       their reply, Plaintiffs note that two particular billing      *3 Defendants have vigorously opposed Plaintiffs'
       entries were included in error and should be omitted         motion. (Doc. 67.) First, Defendants argue that Plaintiffs'
       from the total fee request. (See Doc. 68 at p. 12.)          request for attorneys' fees and costs should be denied in
       Specifically, Plaintiffs conceded that 5 hours should        its entirety, because the fee application is an attempt to
       be deducted from Attorney Weiser's time, and 3 hours         inflate bills and should shock the conscience of the Court.
       should be deducted from Attorney Bauer's time.               Defendants contend that Plaintiffs' request in this case—
       Accordingly, Plaintiffs reduce the total fee request         nearly a half million dollar fee to pay for more than a
       by $3,250 and list $446,752.00 as the total amount           dozen attorneys to prepare a case involving no witnesses
       requested for attorneys' fees in their reply. (See id. at
                                                                    or discovery—is so unreasonable, excessive, and improper
       pp. 12, 16.)
                                                                    that the Court should deny Plaintiffs' motion outright.
4      Plaintiffs state in the text of their motion that the        Citing a number of specific examples, Defendants assert
       total amount of costs requested is $10,803.59. (See          that Plaintiffs' counsel have over-lawyered the case,
       Doc. 63 at pp. 2, 17.) Based on the declarations and         billed duplicatively, expended unnecessary amounts of
       other supporting materials attached to their motion,         time on simple assignments, included tasks that cannot
       however, the Court calculates the actual total amount        conceivably be related to the litigation, requested hourly
       of costs requested to be $10,808.32.                         rates that cannot be justified, and asked for “costs”
5                                                                   that are not reasonable. As such, Defendants believe
       The Court notes that, in addition to the other
       modification described in previous footnotes, the            that a complete denial of the fee request is more
       spreadsheet submitted by Plaintiffs contains a clerical      than appropriate. Alternatively, Defendants argue that if
       error by omitting Attorney Teresa James' requested           fees and costs are awarded, deductions from Plaintiffs'
       fees in Project Votes's total amount requested and           requested amount should be commensurately large.
       thus inaccurately lists Plaintiffs' total requested
       amount as $452,705.59. (See Doc. 63–3.)                      In response to Defendants' opposition, Plaintiffs have
6                                                                   filed a reply and submitted a supplemental declaration.
       Defendants state that none of Plaintiffs'
                                                                    (Doc. 68.) Plaintiffs argue that nothing in the record
       “declarations” were properly executed affidavits.
                                                                    supports Defendants' allegation that the request was
       (Doc. 67 at p. 16 n. 8.) The Court largely disagrees.
       First, the declaration submitted by H. Ritchey               either “grossly and intolerably exaggerated” or “so
       Hollenbaugh was notarized and is a properly executed         exorbitant to shock the conscience of the Court” and
       affidavit. (Doc. 63–2.) Second, the Court notes that         that, therefore, there is no basis for the complete denial
       unsworn declarations can be used as evidence if              of fees and costs. In particular, Plaintiffs suggest that
       “subscribed ... as true under penalty of perjury and         Defendants' argument is particularly inappropriate given
       dated” under 28 U.S.C. § 1746. Bonds v. Cox, 20              Defendants' agreement, after reviewing Plaintiffs' motion
       F.3d 697, 702 (6th Cir.1994). Therefore, because             and accompanying documentation, not to request a
       the declarations submitted by Teresa James, Rayesh           hearing or seek discovery. Further, Plaintiffs contend
       Nayak, Renee Paradis, and Wendy Weiser were all              that their request for fees and costs is reasonable and
       “subscribed as true under penalty of perjury and
                                                                    should be granted. Specifically, Plaintiffs argue that: (1)
       dated,” each can be used as evidence under 28 U.S.C.
                                                                    Plaintiffs' fee request is justified by the extraordinary
       § 1746. (Docs .63–7, 63–8, 63–9, 63–10.) Likewise,
                                                                    results achieved, the complexity of the case, and the
       even though the declarations submitted by Karl
                                                                    novelty of the issues presented; (2) the particular billing
       Sandstrom and Donald McTigue do not technically
       comply with the requirements of 28 U.S.C. § 1746,            time-entries challenged by Defendants are reasonable; (3)
       these declarations cite the statute and satisfy the spirit   Plaintiffs' various counsel each played distinct roles in
       of the rule and thus will be considered as evidence.         the litigation; (4) Plaintiffs' proposed hourly rates are
       (Docs.63–4, 63–5, 68–2.) The Court, however, notes




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3970 Filed 07/12/16 Page 47 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

reasonable; and (5) the expenses claimed by Plaintiffs are
reasonable and necessary.                                        2. Complete Denial Of Fees Only In Very Limited
                                                                 Circumstances
Defendants have not sought leave to file a sur-reply             Accordingly, a prevailing plaintiff in a federal civil rights
or have otherwise responded to Plaintiffs' reply and             suit ordinarily should recover reasonable attorneys' fees
supplemental declaration. Having received no other               and costs “unless special circumstances would render such
filings, the Court now resolves Plaintiffs' pending motion       an award unjust.” Hensley, 461 U.S. at 429 (internal
for fees and costs.                                              quotations omitted). Several courts have recognized that
                                                                 one special circumstance that justifies a district court's
                                                                 complete denial of fees is when the fee request is “so
                                                                 excessive it shocks the conscience of the court.” Scham
                     II. DISCUSSION                              v. Dist. Courts Trying Crim. Cases, 148 F.3d 554, 557
                                                                 (5th Cir.1998) (internal quotations omitted); see also Fair
In resolving Plaintiffs' pending motion, the Court first
                                                                 Hous. Council v. Landow, 999 F.2d 92, 96 (4th Cir.1993);
discusses generally the applicable law regarding awards
                                                                 Lewis v. Kendrick, 944 F.2d 949, 957–58 (1st Cir.1991);
for attorneys' fees and costs in federal civil rights suits.
                                                                 Sun Publ'g Co. v. Mecklenberg News, Inc., 823 F.2d 818,
The Court then applies the applicable law to determine the
                                                                 819 (4th Cir.1987); Brown v. Stackler, 612 F.2d 1057,
appropriate award in this case.
                                                                 1059 (7th Cir.1980). These courts, however, generally
                                                                 have cautioned that the “[t]otal denial of requested
A. APPLICABLE LAW                                                fees ... is a stringent sanction, to be reserved for only
                                                                 the most severe of situations, and appropriately invoked
1. The Federal Civil Rights Fee Shifting Statutes                only in very limited circumstances.” Jordan v. U.S. Dep't
 *4 The federal civil rights fee shifting statutes provide for   of Justice, 691 F.2d 514, 518 (D.C.Cir.1982) (reversing
awards of reasonable attorneys' fees and costs to plaintiffs     district court order completely denying request for fees
who prevail in civil rights suits, including suits to enforce    as an abuse of discretion). Further, in the Sixth Circuit,
First Amendment and voting rights. See 42 U.S.C. § 1973l         the defendant bears the burden of making a “strong
(e) (“In any action or proceeding to enforce the voting          showing” of special circumstances sufficient to warrant
guarantees of the Fourteenth or Fifteenth Amendment[s],          denying an award of fees and costs to a prevailing plaintiff.
the court, in its discretion, may allow the prevailing party,    Deja Vu of Nashville, Inc. v. Metro. Gov't of Nashville
other than the United States, a reasonable attorney's fee,       & Davidson County, 421 F.3d 417, 422 (6th Cir.2005)
reasonable expert fees, and other reasonable litigation          (quoting Morscott, Inc. v. City of Cleveland, 936 F.2d 271,
expenses as part of the costs.”); 42 U.S.C. § 1988(b) (“In       273 (6th Cir.1991) (citation omitted)).
any action or proceeding to enforce a provision of [42
U.S.C. § 1983], the court, in its discretion, may allow
the prevailing party, other than the United States, a            3. The Lodestar Analysis
reasonable attorney's fee as part of the costs ....”); see       Once the Court finds that a prevailing plaintiff is entitled
also 42 U.S.C. § 1973gg–9(c) (providing for “reasonable          to attorneys' fees and costs under the fee shifting statutes,
attorney fees, including litigation expenses, and costs” for     the primary concern with respect to attorneys' fees is
                                                                 that the fee awarded be reasonable. Reed v. Rhodes, 179
a prevailing party who brings suit under the NVRA). 7
                                                                 F.3d 453, 471 (6th Cir.1999). A reasonable fee is one
                                                                 that attracts competent counsel but avoids producing a
7      Because these fee shifting statutes contain nearly        windfall. Id.
       identical language and serve the same Congressional
       purposes, courts generally construe the sections
                                                                  *5 In determining what is a reasonable amount of
       similarly, and the same standards apply to fees
                                                                 attorneys' fees, a useful starting point is to determine the
       recovered under all three sections. See Hensley v.
       Eckerhart, 461 U.S. 424, 433 n. 7, 103 S.Ct. 1933,
                                                                 “lodestar,” which is calculated by multiplying the proven
       76 L.Ed.2d 40 (1983); Nat'l Coalition for Students        number of hours reasonably expended on the litigation
       with Disabilities v. Bush, 173 F.Supp.2d 1272, 1274       by a reasonable hourly rate. Id.; see also Isabel v. City of
       (N.D.Fla.2001).                                           Memphis, 404 F.3d 404, 415 (6th Cir.2004).




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3971 Filed 07/12/16 Page 48 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

When a court is calculating the lodestar, the party           Heading, LLC, No. 05–72341, 2007 U.S. Dist. LEXIS
seeking attorneys' fees bears the burden of proving the       41555, at *25–26 (E.D. Mich. June 7, 2007); Ousley v.
reasonableness of the hourly rates claimed. Granzeier         Gen. Motors Ret. Program for Salaried Employees, 496
v. Middleton, 173 F.3d 568, 577 (6th Cir.1999) (citing        F.Supp.2d 845, 850 (S.D.Ohio 2006) (citing Coulter, 805
Hensley, 461 U.S. at 433). The reasonableness of a            F.2d at 149–50).
claimed hourly rate is determined by reference to the
prevailing rate in the relevant market—i.e., the rate that     *6 Similarly, the party seeking attorneys' fees also
is customarily paid in the community to attorneys of          bears the burden of proving the number of hours
reasonably comparable skill, experience, and reputation       reasonably expended on the litigation. Granzeier, 173
—regardless of whether plaintiff is represented by private    F.3d at 577 (citing Hensley, 461 U.S. at 433). Counsel
or nonprofit counsel. See Johnson v. City of Clarksville,     for the prevailing party must make a good faith
256 Fed. Appx. 782, 783 (6th Cir.2007) (citing Blum v.        effort to exclude from a fee application hours that are
Stenson, 465 U.S. 886, 895–96, 104 S.Ct. 1541, 79 L.Ed.2d     “excessive, redundant, or otherwise unnecessary,” just
891 (1984)); see also Fuhr v. Sch. Dist. of Hazel Park,       as an attorney in private practice is expected to use
364 F.3d 753, 762 (6th Cir.2004). In this regard, the Sixth   “billing judgment” before submitting a bill to a client,
Circuit specifically has found that the relevant market is    and the district court should exclude any such hours
“the venue of the court of record,” rather than a foreign     improperly submitted. Hensley, 461 U.S. at 434. Further,
counsel's “geographical area wherein he maintains his         sufficient documentation must be offered in support of
office and/or normally practices.” Adcock–Ladd v. Sec'y       the hours charged, i.e., the documentation “must be of
of Treasury, 227 F.3d 343, 350 (6th Cir.2000). Moreover,      sufficient detail and probative value to enable the court
the hourly rate “should not exceed the market rates           to determine with a high degree of certainty that such
necessary to encourage competent lawyers to undertake         hours were actually and reasonably expended in the
the representation in question.” Reed, 179 F.3d at 472        prosecution of the litigation.” Imwalle v. Reliance Med.
(quoting Coulter v. Tennessee, 805 F.2d 146, 149 (6th         Prods., 515 F.3d 531, 553 (6th Cir.2008) (noting that
Cir.1986)). As the Sixth Circuit has stated, under the        “counsel need not record in great detail each minute
federal civil rights fee shifting statutes:                   he or she spent on an item,” but indicating that “the
                                                              general subject matter should be identified”) (internal
            [Attorneys'] fees are different from              quotations omitted). Where reductions to the requested
            the prices charged to well-to-do                  number of hours reasonably expended on the litigation
            clients by the most noted lawyers                 are appropriate, a court has the discretion to utilize a
            and renowned firms in a region.                   simple across-the-board reduction by a certain percentage
            Under these statutes a renowned                   as an alternative to line-by-line reductions, particularly
            lawyer who customarily receives $                 when fee documentation is voluminous. See Auto Alliance
            250 an hour in a field in which                   Int'l, Inc. v. U.S. Customs Serv., 155 Fed. Appx. 226,
            competent and experienced lawyers                 228 (6th Cir.2005) (affirming the district court's reduction
            in the region normally receive $ 85               of the fee award by 25% for general excessiveness in
            an hour should be compensated at                  billing); Hudson v. Reno, 130 F.3d 1193, 1209 (6th
            the lower rate.                                   Cir.1997) (applying across-the-board reduction of 25%
                                                              for duplication), overruled on other grounds by Pollard v.
Id. at 472–73 (quoting Coulter, 805 F.2d at 149).
                                                              E.I. du Pont de Nemours & Co., 532 U.S. 843, 121 S.Ct.
And finally, in exercising its discretion to determine a
                                                              1946, 150 L.Ed.2d 62 (2001); Loranger v. Stierheim, 10
reasonable hourly rate, a district court may consider a
                                                              F.3d 776, 783 (11th Cir.1994) ( “Where fee documentation
party's submissions (e.g., affidavits or declarations from
                                                              is voluminous ... an hour-by-hour review is simply
other attorneys or experts), awards in analogous cases,
                                                              impractical and a waste of judicial resources.”); Coulter,
state bar association guidelines, and its own knowledge
                                                              805 F.2d at 152 (“Where duplication of effort is a serious
and experience from handling similar requests for fees.
                                                              problem, as in this case, the District Court may have
See Johnson v. Connecticut Gen. Life Ins., Co., No. 5:07–
                                                              to make across the board reductions by reducing certain
CV–167, 2008 U.S. Dist. LEXIS 24026, at *14 (N.D. Ohio
                                                              items by a percentage figure, as Judge Morton did here in
Mar. 13, 2008); Mikolajczyk v. Broadspire Servs., Inc., 499
                                                              reducing this item by 50%”); Hisel v. City of Clarksville,
F.Supp.2d 958, 965 (N.D.Ohio 2007); Barrett v. Detroit


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3972 Filed 07/12/16 Page 49 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

No. 3:04–0924, 2007 U.S. Dist. LEXIS 71766, at *6–16                  “a strong presumption that the lodestar represents the
(M.D.Tenn. Sept. 26, 2007) (“While cutting hours may                  reasonable fee.” City of Burlington v. Dague, 505 U.S.
appear arbitrary, it is an essentially fair approach ...,             557, 562, 112 S.Ct. 2638, 120 L.Ed.2d 449 (1992); see
and an across-the percentage cut is a practical means                 also Bldg. Serv. Local 47 Cleaning Contr. Pension Plan v.
of trimming the fat from a fee application.”) (internal               Grandview Raceway, 46 F.3d 1392, 1401 (6th Cir.1995).
citations and quotations omitted); see also Cmtys. for
Equity v. Mich. High Sch. Ath. Ass'n, No. 1:98–CV–479,              4. Costs And Expenses
2008 U.S. Dist. LEXIS 25640, at *14–15 (W.D.Mich.                   In addition to fees, a court also must consider the
Mar. 31, 2008).                                                     reasonable amount of costs to be awarded a prevailing
                                                                    plaintiff under the fee shifting statutes. The Sixth Circuit
Then, after a court determines the proper lodestar                  has explained that there are two types of expenses
amount, that amount can be adjusted (i.e., enhanced or              recoverable by prevailing parties in civil rights litigation:
reduced by a multiplier) based on a twelve-factor test for
                                                                      There are two separate sources of authority to award
assisting in the determination of the reasonableness of an
                                                                      out-of-pocket expenses. Some expenses are included
application for attorneys' fees. Reed, 179 F.3d at 471–72
                                                                      in the concept of attorney's fees, as “incidental and
& n. 3 (noting that these factors were “enunciated by the
                                                                      necessary expenses incurred in furnishing effective and
Fifth Circuit in Johnson v. Georgia Hwy. Express, Inc.,
                                                                      competent representation,” and thus are authorized
488 F.2d 714 (5th Cir.1974), and adopted by the Supreme
                                                                      by [42 U.S.C.] § 1988.... The authority granted in
Court in Hensley v. Eckerhart, 461 U.S. 424, 432, 103 S.Ct.
                                                                      section 1988 to award a reasonable attorney's fee
1933, 76 L.Ed.2d 40 ... (1983)”) (hereinafter, the “twelve
                                                                      includes the authority to award those reasonable out-
Johnson factors”). 8 These twelve Johnson factors are as              of-pocket expenses incurred by the attorney, which are
follows:                                                              normally charged to a fee-paying client in the course
                                                                      of providing legal services.... Reasonable photocopying,
8       Although the Supreme Court has recognized that                paralegal expenses, and travel and telephone costs are
        the twelve factors “are usually subsumed with the             thus recoverable pursuant to the statutory authority of
        initial calculation of hours reasonably expended              section 1988....
        at a reasonable hourly rate,” a court should still
        address the relevant factors after the lodestar analysis.     Other costs are on a different footing. These include
        Hensley, 461 U.S. at 434 n. 9.                                those costs incurred by a party to be paid to a
                                                                      third party, not the attorney for the case, which
     *7 (1) the time and labor required by a given case; (2)          cannot reasonably be considered to be attorney's fees....
    the novelty and difficulty of the questions presented; (3)        These include, among others, docket fees, investigation
    the skill needed to perform the legal service properly;           expenses, deposition expenses, witness expenses, and
    (4) the preclusion of employment by the attorney                  the costs of charts and maps.... Most of these expenses
    due to acceptance of the case; (5) the customary fee;             have long been recoverable in the court's discretion, as
    (6) whether the fee is fixed or contingent; (7) time              costs pursuant to 28 U.S.C. § 1920....
    limitations imposed by the client or the circumstances;
    (8) the amount involved and the results obtained; (9)           Northcross v. Bd. of Educ. of Memphis City Sch., 611 F.2d
    the experience, reputation, and ability of the attorneys;       624, 639 (6th Cir.1979) (citations omitted); see also Sigley
    (10) the “undesirability” of the case; (11) the nature and      v. Kuhn, No. 98–3977/99–3531, 2000 U.S.App. LEXIS
    length of the professional relationship with the client;        1465, at *23–26 (6th Cir. Jan. 31, 2000).
    and (12) awards in similar cases.
    Id. (quoting Johnson, 488 F.2d at 717–19). Of the
                                                                    5. District Court's Discretion
    twelve Johnson factors, the “results obtained” factor
                                                                     *8 And finally, it is worth noting that in awarding
    is “highly important.” Adcock–Ladd, 227 F.3d at 349
                                                                    attorneys' fees and costs under the federal civil rights fee
    (citing Hensley, 461 U.S. at 435–36). In fact, “[w]here
                                                                    shifting statutes, a district court's decision is reviewed for
    a plaintiff has obtained excellent results, his attorney
                                                                    an abuse of discretion, and the district court's “exercise
    should recover a fully compensatory fee.” Id. at 349–50
                                                                    of discretion is entitled to substantial deference because
    (quoting Hensley, 461 U.S. at 435). There is, however,



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3973 Filed 07/12/16 Page 50 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

the rationale for the award is predominantly fact-driven.”       428 F.3d 717 (7th Cir.2005); Scham, 148 F.3d at 557; Fair
Imwalle, 515 F.3d at 551.                                        Housing Council, 999 F.2d at 96; Lewis, 944 F.2d at 957–
                                                                 58; Sun Publ'g Co., 823 F.2d at 819; Brown, 612 F.2d at
                                                                 1059; Mendez v. County of San Bernardino, No. CV 04–
B. APPLICATION                                                   7131 GPS (RCx), 2007 U.S. Dist. LEXIS 75495, at * 1–4
Here, Defendants do not contest that Plaintiffs are              (C.D.Cal. May 21, 2007).
“prevailing parties” under the federal civil rights fee
shifting statutes. See 42 U.S.C. §§ 1988(b) and 1973l (e).        *9 The Court, however, rejects Defendants' argument.
Defendants also do not contest that Plaintiffs' counsel          While Defendants raise a number of valid concerns and
have obtained anything less than “excellent results.” See        Plaintiffs' fee application is lacking in some respects, the
Adcock–Ladd, 227 F.3d at 349–50 (quoting Hensley, 461            circumstances here do not justify the “stringent sanction”
U.S. at 435). Instead, as noted, Defendants challenge            that Defendants seek, but instead direct the Court to
Plaintiffs' request for fees and costs, by arguing that the      reduce—not deny—the requested award. Jordan, 691 F.2d
request is so unreasonable, excessive, and improper that         at 518, 521 (“To decline any fee award whatsoever simply
it should be denied in toto. Alternatively, Defendants           because of doubts on parts of the claim is, in any but
contend that if fees and costs are awarded, the Court            the most severe of cases, a failure to use ... discretion.”).
should impose significant reductions.                            As Defendants do not dispute, Plaintiffs' counsel achieved
                                                                 “excellent results”—indeed, Plaintiffs secured all the
As explained in more detail below, the Court declines to         relief that they sought in their Complaint: a declaratory
deny the request for fees and costs in toto, but exercises its   judgment and a preliminary and permanent injunction
discretion to reduce Plaintiffs' requested award in light of     prohibiting enforcement of the challenged provisions of
the applicable law and a thorough review of the parties'         Ohio registration law. This alone suggests that Plaintiffs'
submissions.                                                     counsel should recover their requested fee. See Adcock–
                                                                 Ladd, 227 F.3d at 349–50 (quoting Hensley, 461 U.S. at
                                                                 435). Further, Plaintiffs' counsel were forced to achieve
1. Complete Denial Of Fees And Costs Is Inappropriate
                                                                 these results on an expedited basis—in part because of
Defendants primarily argue that Plaintiffs' request for fees
                                                                 the now-former Ohio Secretary of State's interpretation of
and costs should be denied in its entirety, because the fee
                                                                 the challenged provisions—by presenting a novel theory
application—both on its face and with respect to repeated
                                                                 in a previously undeveloped area of election law. And
specific instances of double billings, inflated hours,
                                                                 finally, this is not a case where a party has failed
improper charges, and exorbitant and unsubstantiated
                                                                 to proffer any substantiation, as Plaintiffs' counsel has
proposed hourly rates—should shock the conscience of
                                                                 submitted multiple declarations, billing records, and other
the Court. In support of this argument, Defendants
                                                                 documents attached to their motion, demonstrating a
first point to a litany of examples from the record
                                                                 significant effort to account for each hour spent working
and contend that: (1) it is beyond question that this
                                                                 on this matter and to otherwise show that they are entitled
case was “over-lawyered” and that 1,416.45 hours of
                                                                 to the requested award.
work in this case with no discovery and relatively little
filings is patently “absurd”; (2) a close inspection of
                                                                 As such, the cases Defendants cite are easily
the fee application demonstrates that Plaintiffs' counsel
                                                                 distinguishable. In fact, the Court notes that the Central
billed duplicatively, expended unnecessary amounts of
                                                                 District of California's decision to deny an award entirely
time on simple assignments, included tasks that cannot
                                                                 in Mendez—cited by Defendants for the proposition that
conceivably be related to the litigation, and asked
                                                                 it was unconscionable to bill over 2,500 hours to prepare
for “costs” that are not reasonable; and (3) Plaintiffs
                                                                 for and try a case that only took a few days to try (see Doc.
have requested hourly rates that cannot be justified.
                                                                 67 at pp. 10–11)—has since been reversed by the Ninth
Defendants then cite to a number of cases generally
                                                                 Circuit and is particularly instructive. Mendez v. County
standing for the proposition that a complete denial of a
                                                                 of San Bernardino, 540 F.3d 1109, 1124–30 (9th Cir.2008).
fee request is appropriate if the request is grossly and
                                                                 In its decision, the Ninth Circuit aptly discussed many
intolerably exaggerated, manifestly filed in bad faith, or
                                                                 of the same cases that Defendants argue are applicable
wholly undocumented. Jordan, 691 F.2d at 518; see also,
                                                                 here, concluding that those courts have denied a fee
e.g., Budget Rent–A–Car Sys., Inc. v. Consol. Equity LLC,


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3974 Filed 07/12/16 Page 51 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

request in only two limited circumstances—in cases where
the request appeared to be made in bad faith or where             *10 Id. at 1127 (emphasis added). The Ninth Circuit
the plaintiff made no effort to eliminate time spent on          distinguished those cases and found that there was no
unsuccessful claims:                                             evidence that the plaintiff's fee request was either made in
                                                                 bad faith or contained excessive hours spent on unrelated
  Those courts of appeals that have upheld a denial of           claims and thus found nothing in the request that would
  fees under the “shocks the conscience” test have done          “shock the conscience” of the court, such as was present in
  so only where the fee request appeared to have been            cases like Scham, Brown, Lewis, and Landow. Id. at 1128.
  made in bad faith, such as billing outrageous numbers
  of hours on simple matters, or where the plaintiff made        Similarly, here, while the Court again recognizes that
  no effort to eliminate hours spent on unsuccessful,            Defendants properly raise several questions regarding
  unrelated claims. In the first category are cases such         some deficient aspects of Plaintiffs' fee application (which
  as Brown, where the Seventh Circuit denied all fees to         are all addressed in detail below), the Court finds that
  an attorney who submitted a request for 800 hours of           there is no evidence that the request was made in bad faith,
  billable time, even though his work consisted of filing        and, further, the request could not have contained any
  a six-page complaint and then simply await[ed] the             excessive hours spent on unrelated, unsuccessful claims
  outcome of pending litigation in the Supreme Court             because Plaintiffs' counsel has obtained all of the benefits
  that “almost automatically ... disposed of the case.”          Plaintiffs sought by bringing this suit. In short, therefore,
  612 F.2d at 1059. Similarly, in Scham, the Fifth Circuit       the Court determines that, like the request in Mendez, and
  upheld a total denial of fees where an attorney billed         unlike the requests in cases like Scham, Brown, Lewis, and
  936 hours for a case where “discovery was limited,             Landow and the other cases Defendants cite, Plaintiffs'
  and there were no meetings of the parties or attorneys,        fee request does not “shock the conscience” of the Court
  no settlement negotiations, no mediation, no court             and should not be denied in its entirety. Quite simply,
  appearances, and no trial.” 148 F.3d at 558. The counsel       Defendants have not met their burden of making a “strong
  in Scham was also a solo practitioner with one year of         showing” of special circumstances sufficient to warrant
  experience, who nonetheless requested $750 per hour            denying an award, Deja Vu of Nashville, Inc., 421 F.3d at
  for his time. Id. Therefore, in both of these cases,           422. Despite any reductions that should (and will) be made
  it was altogether improbable that any attorney could           to Plaintiffs' fee request, moreover, a complete denial of
  have reasonably expended such hours in good faith on           fees in this case would not be a “fair result with far-
  matters so simple. Falling into the second category are        reaching positive consequences” (Doc. 67 at p. 11), but
  cases such as Fair Housing Council, 999 F.2d 92, where         instead would frustrate the purpose of the federal civil
  the Fourth Circuit upheld a denial of fees to a prevailing     rights fee shifting statutes, which is to encourage socially
  plaintiff who made no effort to eliminate large numbers        productive litigation like the instant lawsuit, see Cleveland
  of hours spent on unsuccessful, unrelated claims. In           v. Ibrahim, 121 Fed. Appx. 88, 91 (6th Cir.2005). Plaintiffs
  that case, plaintiffs brought separate claims for housing      achieved a significant civil rights victory in an area of law
  discrimination and breach of contract, succeeding only         that was anything but simple, which ultimately allowed
  on their breach of contract claim. See id. at 95.              them to register thousands of new voters in time for the
  Although the housing discrimination and contract               November 2006 elections; their counsel should be awarded
  claims were not related—and the discrimination claim           attorneys' fees and costs under the fee shifting statutes.
  was by far the more complex of the two to litigate—the
  plaintiffs nonetheless submitted a request for $537,113
  in fees for the entire litigation, with billing entries that   2. The Court Reduces Plaintiffs' Requested Award
  “failed to allocate the fees attributable to each claim.”      Having found that Plaintiffs are entitled to attorneys' fees
  Id. The First Circuit similarly upheld the denial of fees in   and costs under the federal civil rights fee shifting statutes,
  Lewis v. Kendrick, 944 F.2d 949, 957–58 (1st Cir.1991),        the Court next must address what constitutes a reasonable
  where plaintiffs achieved only minor success and yet           award and whether Plaintiffs are entitled to their full
  “made no reduction for claims” that had “no relation”          request. In this regard, the Court will first examine the
  to the victorious claim.                                       reasonable amount of fees to be awarded and then will
                                                                 consider the reasonable amount of costs to be awarded.




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3975 Filed 07/12/16 Page 52 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

a. Attorneys' Fees                                             a plaintiff in an out-of-town lawsuit.... [T]he ‘prevailing
                                                               market rate’ is that rate which lawyers of comparable
In determining what is a reasonable amount of attorneys'
                                                               skill and experience can reasonably expect to command
fees here, the Court first calculates the lodestar by
                                                               within the venue of the court of record, rather than
multiplying the proven number of hours reasonably
                                                               foreign counsel's typical charge for work performed within
expended on the litigation by a reasonable hourly rate.
                                                               a geographical area wherein he maintains his office
See Reed, 179 F.3d at 471. The Court then will analyze
                                                               and/or normally practices.”) with Berry v. School Dist.,
whether an adjustment of the lodestar should be made in
                                                               703 F.Supp. 1277, 1283 (W.D.Mich.1986) (“A national
light of the twelve Johnson factors.
                                                               market or a market for a particular legal specialization
                                                               may provide the appropriate market.”) (citing Louisville
i. Reasonable Hourly Rates                                     Black Police Officers Organization v. City of Louisville,
 *11 Under the lodestar approach, the first step in the        700 F.2d 268, 277 (6th Cir.1983)). 9 Regardless, as noted,
analysis is to determine the reasonable hourly rate. This is   the party seeking attorneys' fees bears the burden of
determined with respect to those rates “prevailing in the      proving the reasonableness of the hourly rates requested.
community for similar services by lawyers of reasonably        Granzeier, 173 F.3d at 577.
comparable skill, experience, and reputation.” Blum, 465
U.S. at 895–96; see also Reed, 179 F.3d at 471. Courts will    9      This is not, of course, to say that the ordinary rate
frequently award fees based on an attorney's customary                charged by those attorneys can not be probative. For
rate, because “normal billing rates usually provide an                example, if the most highly compensated partners in
efficient and fair short cut for determining the market               Chicago charge $650.00 an hour and the most highly
rate.” Dowling v. Litton Loan Servicing, LP, No. 05–CV–               compensated partners in Cleveland charge $550.00 an
098, 2008 U.S. Dist. LEXIS 31669, at *3–4 (S.D.Ohio                   hour, a Chicago attorney's testimony that her normal
Mar. 31, 2008) (citing Hadix v. Johnson, 65 F.3d 532, 536             hourly rate was $650.00 an hour might strongly
(6th Cir.1995)). This analysis becomes more complicated,              support a court's determination that her hourly rate
however, where, as is generally the case here, the attorneys          for work performed in Cleveland should be $550.00
do not usually practice within the jurisdiction in which              an hour.
they seek fees. Compare Adcock–Ladd, 227 F.3d at 350           Here, Plaintiffs request the following hourly rates:
(“When a counselor has voluntarily agreed to represent
       Organization                      Name                        Title                         Requested
                                                                                                   Hourly
                                                                                                   Rate

         Brennan
         Center for
          Justice

                                        Wendy                      Partner                         $350.00
                                        Weiser

                                        Renee                      Counsel                         $235.00
                                        Paradis                     (2003)

                                          Raj                      Counsel                         $235.00
                                         Nayak                      (2003)

                                       Margaret                Administrative                      $140.00
                                        Chen                     Assistant

                                       Heather                      Intern                         $140.00
                                       McGhee




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3976 Filed 07/12/16 Page 53 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

                                         John                       Intern                      $140.00
                                       Infranca

           McTigue
          Law Group

                                                 Donald J.                          Partner                       $450.00
                                                 McTigue

                                                 Mark A.                          Associate                       $250.00
                                                 McGinnis                          (2003)

          Project Vote

                                                 Teresa James                     Counsel                  $200.00

        Perkins
         Coie

                                        Robert Bauer                              Partner                        $500.00

                                       Karl Sandstorm                           Of Counsel                       $500.00

                                          Marc Elias                              Partner                        $375.00

                                        Scott Gingold                            Associate                       $250.00
                                                                                  (1998)

                                         Ezra Reese                              Associate                       $240.00
                                                                                  (2002)

                                     Patricia Alexander                          Associate                       $175.00
                                                                                  (2005)

                                          Kerri–Ann                              Summer                          $155.00
                                          Anderson                               Associate

                                       Susan Cochard                             Librarian                       $175.00

                                         Christopher                             Summer                          $155.00
                                          Johnson                                Associate

                                        Lauren Lowe                              Associate                       $175.00
                                                                                  (2005)
                                                               many of the attorneys, given their extensive experience
                   10
 *12 (Doc. 63–3.) In making these requests, Plaintiffs         and qualifications, could command even higher rates.
contend that the rates are consistent with the rates charged   (Doc. 63 at p. 14.) Further, while Plaintiffs suggest that
by attorneys with comparable litigation experience in          courts are “free to look to a national market, an area of
Ohio (Doc. 63 at p. 14) and cite the attached declaration of   specialization market or any other market they believe
H. Ritchey Hollenbaugh in support (Doc. 63–2). Plaintiffs      appropriate to fairly compensate particular attorneys in
do not assert that these rates represent the attorneys'        individual cases,” Louisville Black Police Officers Org.,
normal hourly rates, but instead explicitly note that          700 F.2d at 278, Plaintiffs do not argue that “out-of-town
                                                               specialist” rates are being requested or were supplied to


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3977 Filed 07/12/16 Page 54 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

this Court, see Hadix, 65 F.3d at 535 (setting forth a         “complicated election law case” to a lawyer whose practice
two-part inquiry when fees are sought for an out-of-town       was described as “unique”); cf. Bryant v. Nighbert, No. 03–
specialist).                                                   183, 2005 U.S. Dist. LEXIS 37131, at *9 (E.D.Ky. Sept.
10      The Court does not include Plaintiffs' requested       14, 2005) (“[A] reasonable rate is one which will attract
       hourly rate for Attorney Brian Mellor from Project      qualified and competent counsel but will not produce a
       Vote. As noted, supra, Attorney Mellor did not sign     windfall to the attorneys.”) (citing Northcross, 611 F.2d at
       his “declaration,” and the Court cannot consider        638).
       his unsworn statement. (Doc. 63–6 at p. 3.) Because
       of the absence of any competent evidence regarding      Accordingly, in light of the seemingly high hourly rates
       Attorney Mellor's requested hourly rate or the          requested by Plaintiffs—particularly given the similarity
       reasonableness of the number of hours he expended       of those rates to the reasonable rates for one of the most
       on the litigation, the Court cannot award Plaintiffs    profitable jurisdictions in which to practice law—and the
       any fees for the time that Attorney Mellor may have
                                                               absence of any request for “out-of-town specialist” rates,
       reasonably spent on this matter, and this amount will
                                                               Plaintiffs must demonstrate why their requested rates are
       be reduced from Plaintiffs' requested amount. See
                                                               reasonable here in the Northern District of Ohio. See
       Granzier, 173 F.3d at 577 (noting that the burden of
       proof is on the party seeking fees).
                                                               Blackmore v. Misner, No. 1:02–CV–33, 22005 U.S. Dist.
         Similarly, the Court does not include Plaintiffs'     LEXIS 25882, at *5 (W.D.Mich. Oct. 20, 2005) (“It is the
         requested hourly rate for Ellen Hepner of Perkins     burden of the attorney seeking compensation to provide
         Coie, because Plaintiffs did not submit a biography   ‘evidence supporting the hours worked and rates claimed.’
         for Ms. Hepner. (See Doc. 63–4.) Accordingly,         ”) (quoting Hensley, 461 U.S. at 433).
         the Court has no basis to confirm or deny the
         reasonableness of her requested rate. The Court        *13 After a thorough review of the parties' submissions,
         does note that, based on the billing records          the Court finds that Plaintiffs have not met their burden.
         submitted, it appears that Ms. Hepner may be a        First, while the Court recognizes that Hollenbaugh's
         librarian, but that cannot be confirmed. (Id. at p.   declaration is competent evidence submitted in support
         20 .)
                                                               of Plaintiffs' request by a well-regarded Ohio expert in
As an initial matter, upon a review of the requested           fee matters, with whose work the Court is familiar, the
hourly rates, the Court notes that it was somewhat             Court notes several deficiencies with the declaration and
concerned to realize that many of the rates requested by       is not fully persuaded by his opinion. For example,
Plaintiffs are quite similar to the rates deemed reasonable    Defendants are correct that Hollenbaugh's declaration is
for those practicing before courts in the District Court       vague and conclusory, asserting that he has “reviewed the
for the District of Columbia. See Laffey v. Northwest          attorney declarations and itemized time records submitted
Airlines, Inc., 572 F.Supp. 354 (D.D.C.1983) (establishing     in support of Plaintiffs' Motion for Attorneys' Fees in this
the “Laffey Matrix,” now frequently used to determine          case” and that it is his opinion that “the rates set forth in
presumptively reasonable fees in Washington, D.C.);            each of the declarations and attachments are reasonable
http:// www.laffeymatrix.com (last visited Mar. 30, 2009)      for the nature of the legal action and based on the varying
(containing the current Adjusted Laffey Matrix); see           levels of experience of the attorneys involved.” (Doc.
also Wade v. Kroger Co., No. 3:01CV–699, 2008 U.S.             63–2.) There is no indication exactly what declarations
Dist. LEXIS 97200, at *31–32 (W.D.Ky. Nov. 20, 2008)           or attachments Hollenbaugh reviewed, and upon close
(explaining that this on-line Laffey Matrix contains higher    inspection, the Court notes that, given that he executed
hourly rates than the Laffey Matrix maintained by              his declaration on March 21, 2008 (id.), Hollenbaugh
the United States Attorney's Office for the District of        could not have reviewed the declarations submitted by
Columbia). Although by no means dispositive, this does         Attorneys McTigue, Nayak, Paradis, and Weiser, which
raise a number of flags for the Court. Election law,           were all executed after March 21, 2008 (Docs.63–5,
of course, is a difficult and worthy field, but there is       63–8, 63–9, 63–10). Further, the Court believes that
no evidence before the Court that it is one known to           Hollenbaugh's declaration does not adequately address
command abnormally high billing rates. See Luessenhop v.       the relevant legal inquiry: whether Plaintiffs' requested
Clinton County, 558 F.Supp.2d 247, 261 (N.D.N.Y.2008)          rates represent the prevailing market rates for lawyers
(noting the award of an hourly rate of $225 in a               of similar skill and reputation here in the Northern



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3978 Filed 07/12/16 Page 55 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

District of Ohio. Accordingly, while the Court does               Edmond, 160 F.3d 1275, 1288 (10th Cir.1998) (“Fee-
provide some deference to Hollenbaugh's affidavit, out of         shifting statutes ... do not permit an award of fees
deference to this substantial experience in the area, the         charged by ‘the best attorneys that money can buy’ if
Court ultimately does not attach significant weight to the        those rates exceed the prevailing market rate for similar
submission. See Rau v. Apple–Rio Mgmt. Co., 1:97–CV–              services.”); Gratz v. Bollinger, 353 F.Supp.2d 929, 947–948
2345, 2000 U.S. Dist. LEXIS 20395, at *11–12 (N.D.Ga.             (E.D.Mich.2005) (“[Section] 1988 only guarantees civil
Mar. 29, 2000) (“[T]he weight the court gives to [this]           rights plaintiffs ‘competent counsel.’ ”). But see Cmtys. for
affidavit is diminished by [the affiant's] failure to ... opine   Equity, 2008 U.S. Dist. LEXIS 25640, at *34 (“[E]specially
that the requested hourly rates of the plaintiff's attorneys      in cases involving particularly complex issues ... [a]
are the prevailing rates for attorneys of their caliber for       national market or a market for a particular legal
similar services in the Northern District of Georgia.”);          specialization may provide the appropriate market.”)
Accord LeTourneau v. Pan Am Fin. Servs., No. 97–3543,             (citation omitted). The Court has, accordingly, relied on
1998 U.S.App. LEXIS 20885, at *12–13 (7th Cir. Aug.               its own experience; a careful review of all the parties'
21, 1998) (reversing a district court who awarded fees            filings, including the declarations and submitted attorney
based only on a “self-serving” affidavit attesting that           biographies; and the Ohio State Bar Association 2007
such fees were “reasonable”); cf. Small v. Richard Wolf           Publication entitled “The Economics of Law Practice in
Med. Instruments Corp., 264 F.3d 702, 706 (7th Cir.2001)          Ohio” to set the appropriate hourly rates in this case.
(affirming a district court that lowered billing rates after      Accord Barrett, 2007 U.S. Dist. LEXIS 41555, at *25–26
concluding that a supporting affidavit was unpersuasive).         (consulting the State Bar Association and relying on the
                                                                  court's own experience in determining a reasonable fee).
Plaintiffs also are unpersuasive in their attempt to              As such, the Court will apply the following hourly rates 11
analogize to another recent case in this district. Plaintiffs     in this case:
point this Court to an affidavit filed in another election
law action in this district. See Boustani v. Blackwell, No.       11     The Court notes that it reduced the hourly rates
06–CV–2065 (N.D.Ohio 2006). That affidavit, however,
                                                                         for associates far more than for the partners
did not opine on these attorneys or this case, did
                                                                         with substantial relevant experience. This litigation
not address the appropriate hourly rate for summer                       required specialized skills, and although these hourly
associates, administrative staff, or of counsel, and was not             rates are still quite high for the Northern District of
actually relied upon by that court. (Boustani, No. 06–CV–                Ohio, the Court believes that lower rates would not
2065, Docs. 23–4, 41.) For these reasons, while the Court                adequately compensate such counsel. This rationale
notes and carefully considers that affidavit as well, the                does not apply, however, to young associates. While
Court certainly does not consider it binding.                            these associates have assuredly bright futures, absent
                                                                         supporting documentation justifying these rates, the
 *14 Therefore, on this record, which is devoid of                       Court has no basis to compensate them at levels so far
any evidence that Plaintiffs' requested hourly rates are                 above their peers.
                                                                          Organization        Name       Title     Requested
reasonable in the Northern District of Ohio, that this
                                                                                                                     Hourly
particular case should be judged with reference to a                                                                  Rate
national market or an “out-of-town specialist,” or that                     Brennan
the requested rates are what these particular attorneys                      Center
ordinarily charge for their services, the Court cannot                         for
conclude that the Plaintiffs have met their burden of                        Justice
demonstrating that such high hourly rates are proper.                                        Wendy Partner           $310.00
                                                                                             Weiser
In reaching this conclusion, the Court is mindful that
                                                                                              Renee Counsel          $165.00
“[t]he statutes use the words ‘reasonable’ fees, not ‘liberal’
                                                                                             Paradis (2003)
fees.” Coulter, 805 F.2d at 149 (“Under these statutes a                                       Raj     Counsel       $165.00
renowned lawyer who customarily receives $250 an hour                                        Nayak      (2003)
in a field in which competent and experienced lawyers                                       Margaret
                                                                                                   Administrative $100.00
in the region normally receive $85 an hour should be                                          Chen Assistant
compensated at the lower rate.”); Robinson v. City of                                        Heather Intern          $70.00
                                                                                            McGhee


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3979 Filed 07/12/16 Page 56 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

                         John      Intern             $70.00             case without reaching outside the state.”).) They also
                       Infranca                                          point to numerous examples that they believe establish
          McTigue
                                                                         duplicative billing. For example, they note that five to
            Law
                                                                         seven attorneys regularly participated in conference calls,
           Group
                         Donald             Partner            $400.00   eight lawyers and one intern participated in drafting the
                           J.                                            Complaint, and six attorneys participated in preparing
                        McTigue                                          for the preliminary injunction hearing. These examples,
                          Mark          Associate              $175.00   upon close inspection, are not particularly troubling. This
                           A.            (2003)                          was a complex case that was litigated on an expedited
                        McGinnis
                                                                         time-frame, which justifies a somewhat higher than usual
           Project
                                                                         number of attorneys. Indeed, it is possible, in some
            Vote
                           Teresa            Counsel $200.00             circumstances, for a larger number of lawyers to be more
                           James                                         efficient than a smaller number of lawyers.
          Perkins
           Coie                                                          On the other hand, this case involved twenty-one separate
                       Robert           Partner            $450.00       time-keepers spread across four different firms, which is
                        Bauer                                            an extraordinary number by any measure for a case that
                         Karl            Of                $450.00
                                                                         did not involve formal discovery. The Court notes that
                     Sandstorm         Counsel
                                                                         paying clients, for even the most complicated litigation,
                        Marc           Partner             $340.00
                        Elias                                            insist on a finite number of time-keepers devoted to any
                        Scott          Associate          $1750.00       particular issue or task to ensure maximum efficiency. The
                      Gingold           (1998)                           Court is aware, for example, of one Fortune 100 firm
                        Ezra           Associate           $170.00       that ordinarily will allow no more than two individuals
                        Reese           (2002)                           to be involved in the actual drafting of any motion.
                       Patricia        Associate           $125.00       While the use of so many time-keepers and law firms
                     Alexander          (2005)
                                                                         is not per se unreasonable, it raises substantial concerns
                       Kerri–          Summer              $70.00
                                                                         where, as here, a party seeking fees has not provided
                         Ann           Associate
                      Anderson                                           back-up documentation attesting that the work could
                        Susan          Librarian           $80.00        not have been done with less. Accord Ky. Rest. Concepts
                      Cochard                                            Inc. v. City of Louisville, 117 Fed. Appx. 415, 419 (6th
                     Christopher       Summer              $70.00        Cir.2004) (“[T]wo law firms would have been sufficient as
                      Johnson          Associate                         opposed to four.”) The Court will, consequently, reduce
                       Lauren          Associate           $125.00       the hours worked across-the-board by 10% to try and
                        Lowe            (2005)
                                                                         account for this inefficiency. Accord id. (“Plaintiffs are not
                                                                         entitled to have any number of well-qualified attorneys
ii. Reasonable Hours Expended
                                                                         reimbursed for their efforts, when fewer attorneys could
 *15 Defendants have objected to the number of hours
                                                                         have accomplished the job.”) (quoting the district court
that Plaintiffs' counsel have billed, primarily on the
                                                                         with approval); see also Cleveland Area Bd. of Realtors
grounds that it appears to be unreasonably duplicative.
                                                                         v. City of Euclid, 965 F.Supp. 1017, 1021 n. 5, 1022
While many of Defendants' concerns appear to be
                                                                         (N.D.Ohio 1997) (deducting the request by 10% across-
unfounded, the Court is troubled by a number of billing
                                                                         the-board for instances of excessive and duplicative work).
issues and will adjust the hours billed accordingly.
                                                                         Once that adjustment is made, however, the number
Defendants first assert that the case was “over-lawyered.”
                                                                         of hours billed by lawyers do not strike the Court as
They contend, for example, that it was unnecessary
                                                                         unreasonable. For example, one of Defendants' major
to use lawyers from outside the jurisdiction. (Doc. 67
                                                                         concerns is that the attorneys billed over one-hundred
at 12 (“Mr. McTigue and Mr. McGinnis, both Ohio
                                                                         hours to draft their successful motion for a preliminary
attorneys, concentrate their practices on federal and
                                                                         injunction. (Doc. 67 at p. 5.) Yet, this was an exceedingly
state election and campaign finance law. It would seem,
                                                                         complicated motion. Contrary to Defendants' assertion,
therefore, that they possessed the expertise to brief this


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3980 Filed 07/12/16 Page 57 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

the Court finds this a fair measure of time to bill for such    2057, 2007 U.S. Dist. LEXIS 1223, at *13–14 (N.D.Ohio
complicated work.   12                                          Jan. 5, 2007) (awarding attorneys' fees for counsel's time
                                                                prior to litigation at administrative proceedings that
12                                                              became adversary). Upon considering these arguments
       Defendants, for example, complain that Mr. McTigue
                                                                and the applicable law, the Court finds some merit
       billed 3.2 hours on the draft even after Perkins Coie
                                                                to both parties' positions. While Defendants correctly
       lawyers had apparently completed it. (Doc. 67 at p.
       5.) Although the Court notes an apparent clerical        point out that Plaintiffs' counsel were not required to
       error reflecting the date of the work performed, there   attend these hearings (e.g., Plaintiffs did not have to
       is nothing obviously unreasonable about this: Mr.        exhaust any administrative remedies prior to filing this
       McTigue was the expert on Ohio law. It would have        lawsuit), Plaintiffs' counsel's participation at the hearings
       been imprudent for him not to spend this time with       was adversarial in a general sense, as the hearings took
       such a critical brief, and imprudent for the original    place after counsel had informed Defendants of the legal
       drafters not to seek confirmation that their positions   problems with the proposed interpretation of the voter
       on complicated areas of state law were supportable.      registration laws and, further, was made in an attempt
 *16 The Court does note, however, that summer                  to avoid this litigation—certainly something the Court
associates and interns have billed a substantial amount         would encourage. Accordingly, on this record, and in its
of time to this litigation. It appears, for example, that       informed discretion, the Court will halve the amount of
one summer associate from Perkins Coie billed fifty-eight       time billed by Plaintiffs' counsel spent attending the public
hours drafting the motion for a preliminary injunction,         hearings in question, in addition to the other adjustments
which was then given to a relatively young associate who        to Plaintiffs' fee request outlined above. 13
billed another thirty-five hours drafting this motion. As
stated, the Court finds the total attorney time devoted to      13     Specifically, the Court will deduct 2.85 hours from
this motion to be generally reasonable and does not doubt              Attorney Nayak, 1.5 hours from Attorney McTigue,
that this summer associate added real value to that effort.            and 2.15 hours from Attorney James.
Fifty-eight hours, however, is excessive, and the Court has
                                                                 *17 Beyond this, however, after a careful review of
similar concerns with the other summer associate on this
                                                                Defendants' other arguments and a close inspection
case, as well as the interns from the Brennan Center for
                                                                of Plaintiffs' counsel's bills, the Court finds that the
Justice (see Doc. 67 at p. 6 (“If the work product from the
                                                                submitted time entries were reasonable under the
intern was such that the attorneys needed sixteen hours to
rewrite it, there is no excuse for the Brennan Center trying    circumstances. 14
to bill the intern's time.)). To account for these concerns,
the Court will halve the amount of hours billed by the          14     In this regard, the Court explicitly notes that it rejects
summer associates and interns.                                         Defendants' assertion that Attorney Paradis spent
                                                                       an unreasonable amount of time drafting Plaintiffs'
The Court also notes that Defendants raise a valid concern             summary judgment motion based on entries from
with respect to a number of billing entries that were                  October 2006. (See Doc. 67 at p. 6.) Plaintiffs submit
unrelated to the litigation. (Doc. 67 at p. 7.) Specifically,          that Attorney Paradis spent this time drafting much
                                                                       longer and more detailed motion papers, because
Defendants argue that Plaintiffs improperly attempt to
                                                                       at that point in the litigation, the case was still
bill for counsel's participation at various pre-litigation
                                                                       proceeding against then-Defendant Blackwell and
“administrative proceedings,” which Defendants contend
                                                                       that she could not have anticipated that the parties
were not “reasonably necessary” to the litigation under
                                                                       would later agree to rely on the parties' earlier briefs at
the Supreme Court's standard set forth in Webb v. Bd. of               the summary judgment stage. The Court notes that, as
Educ. of Dyer County, 471 U.S. 234, 242–43, 105 S.Ct.                  of October 2006, Attorney Paradis “believed the work
1923, 85 L.Ed.2d 233 (1985). In response, Plaintiffs assert            to be reasonably expended in pursuit of success,” and
that the time spent by their counsel in attending these                the hours in question should be awarded. Woolridge
administrative hearings—which dealt with the third-party               v. Marlene Indus. Corp., 898 F.2d 1169, 1177 (6th
voter registration laws that were eventually challenged                Cir.1990), overruled on other grounds by Buckhannon
in this lawsuit—was reasonably necessary and cite in                   Bd. & Care Home, Inc. v. W. Va. Dep't of Health
support Chandler v. Vill. of Chagrin Falls, No. 1:03–CV–



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3981 Filed 07/12/16 Page 58 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

                                                                              Project
         & Human Res., 532 U.S. 598, 121 S.Ct. 1835, 149
                                                                               Vote
         L.Ed.2d 855 (2001).
                                                                                               Teresa         Counsel      35
Accordingly, the Court will award the following number                                         James
                                                                            Perkins
of hours 15 for each time-keeper:
                                                                             Coie
                                                                                              Robert        Partner          2
15      The Court has rounded to the nearest whole number                                     Bauer
        in the charts displayed in this opinion. The Court used                                Karl           Of           279
        the exact provided numbers in its calculations.                                     Sandstorm      Counsel
          Organization        Name         Title        Awarded                                Marc         Partner          4
                                                         Hours                                 Elias
            Brennan                                                                            Scott       Associate        54
             Center                                                                          Gingold        (1998)
               for                                                                             Ezra        Associate        62
             Justice                                                                          Reese         (2002)
                             Wendy       Partner          152                                Patricia      Associate        68
                             Weiser                                                         Alexander       (2005)
                             Renee       Counsel          165                                 Kerri–       Summer           30
                             Paradis      (2003)                                               Ann         Associate
                               Raj       Counsel           21                               Anderson
                             Nayak        (2003)                                              Susan        Librarian         1
                            MargaretAdministrative         21                                Cochard
                              Chen       Assistant                                         Christopher     Summer           19
                            Heather       Intern           10                                Johnson       Associate
                            McGhee                                                            Lauren       Associate         1
                              John        Intern           10                                  Lowe         (2005)
                            Infranca
            McTigue                                                  iii. Lodestar Calculation
               Law
                                                                     Therefore, based upon the above, the Court calculates
             Group
                                                                     the lodestar amount to be $312,925.00. Below is a quick-
                              Donald           Partner        131
                                 J.                                  reference summary chart illustrating how the lodestar
                             McTigue                                 amount was calculated:
                               Mark          Associate         45
                                A.             (2003)
                            McGinnis
     Names         Title        Requested Awarded Requested                     Hours                Total           Total
                                    Rate           Rate        Hours            After             Awarded      Compensation
                                                                              Specific              Hours
                                                                             Reductions                *



      W.         Partner          350          310          174              169                152              $47,039
     Weiser

       R.        Counsel          235          165          183              183                165              $27,205
     Paradis      (2003)

      R.         Counsel          235          165           26               24                 21              $3,497
     Nayak        (2003)

       M.         Admin.          140          100           23               23                 21              $2,106
      Chen       Assistant

    H.            Intern          140           70           22               11                 10               $706
  McGhee



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3982 Filed 07/12/16 Page 59 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737


      J.        Intern         140           70            23              11                    10                 $718
  Infranca

    D.         Partner         450           400           147            146                   131               $52,416
  McTigue

    M.        Associate        250           175           50              50                    45                $7,922
  McGinnis     (2003)

     T.        Counsel         200           200           41              38                    35                $6,903
   James

    R.         Partner         500           450            6              3                     2                 $1,013
   Bauer

    K.           Of            500           450           310            310                   279               $125,388
 Sandstorm     Counsel

     M.        Partner         375           340            4              4                     4                 $1,255
    Elias

    S.        Associate        250           175           60              60                    54                $9,466
  Gingold      (1998)

    E.        Associate        240           170           69              69                    62               $10,618
   Reese       (2002)

     P.       Associate        175           125           76              76                    68                $8,561
 Alexander     (2005)

    L.        Associate        175           125           41              41                    37                $4,613
   Lowe        (2005)

    S.        Librarian        175           80             1              1                     1                   $72
  Cochard

     C.       Summer           155           70            43              21                    19                $1,348
  Johnson     Associate

 K.Anderson   Summer           155           70            66              33                    30                $2,079
              Associate

                                                                                                                $312,925.00

                                                                 16   As noted, the twelve Johnson factors are as follows:
  FN* Hours after specific reduction, reduced by ten                      (1) the time and labor required by a given case;
  percent.                                                                (2) the novelty and difficulty of the questions
                                                                          presented; (3) the skill needed to perform the
iv. The Twelve Johnson Factors                                            legal service properly; (4) the preclusion of
Having calculated the lodestar to be $312,925.00, the                     employment by the attorney due to acceptance
Court next must determine whether an adjustment should                    of the case; (5) the customary fee; (6) whether
be made in light of the twelve Johnson factors. See                       the fee is fixed or contingent; (7) time limitations
                                                                          imposed by the client or the circumstances; (8)
Hensley, 461 U.S. at 430 n. 3; Reed, 179 F.3d at 471. 16
                                                                          the amount involved and the results obtained;



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3983 Filed 07/12/16 Page 60 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

           (9) the experience, reputation, and ability of the   may be considered only when resolving the basic lodestar
           attorneys; (10) the “undesirability” of the case;    fee and thus cannot be used to augment that lodestar.”).
           (11) the nature and length of the professional       By contrast, if Plaintiffs' counsel had accomplished the
           relationship with the client; and (12) awards in     same results in such a complex and novel case on an
           similar cases.
                                                                expedited basis with fewer and less experienced attorneys,
         Reed, 179 F.3d at 471 n. 3 (quoting Johnson, 488
                                                                then, in that situation, an enhancement to the lodestar
         F.2d at 717–19).
                                                                may have been warranted. See West v. Tyson Foods,
 *18 Upon review, the Court initially notes that a              Inc., No. 4:05–CV–183M, 2008 U.S. Dist. LEXIS 97928,
significant number of the factors weigh in favor of             at *7–11 (W.D.Ky. Dec. 3, 2008) (collecting “rare” and
potentially enhancing the lodestar. In particular, the          “exceptional” cases where courts enhanced the calculated
Court points out that the following factors suggest that        lodestar). In this case, the lodestar has the effect of
Plaintiffs' counsel should be awarded a significant, if not     compensating items contemplated by the twelve Johnson
a “fully compensatory fee”:                                     factors.

  (1) the time and labor required by the case;
                                                                Accordingly, the Court concludes that an adjustment to
  (2) the novelty and difficulty of the questions presented;    the lodestar is not appropriate, and Plaintiffs are awarded
                                                                $312,925.00 for attorneys' fees.
  (3) the skill needed to perform the legal service properly;

  (7) the time limitations imposed by the client and the        b. Costs
  circumstances;                                                Plaintiffs also request an award of costs and expenses
                                                                in the amount of $10,808.32. As discussed above, costs
  (8) the results obtained; and                                 and expenses that an attorney or law firm generally
                                                                charge to the client are recoverable under the applicable
  (9) the experience, reputation, and ability of the
                                                                fee shifting statutes. See, e.g., Northcross, 611 F.2d at
  attorneys.
                                                                639; Citizens Against Pollution v. Ohio Power Co., 484
See Adcock–Ladd, 227 F.3d at 349–50 (quoting Hensley,           F.Supp.2d 800, 815 (S.D.Ohio 2007); Hall v. Ohio Educ.
461 U.S. at 435). As discussed, Plaintiffs' counsel achieved    Ass'n, 984 F.Supp. 1144, 1146 (S.D.Ohio 1997). The
“excellent results” under considerable time limitations by      Court finds that most of the costs for which Plaintiffs
presenting a novel theory in a previously undeveloped area      request compensation are uncontroversial, sufficiently
of election law.                                                documented, and should be awarded as a matter of course.
                                                                Certain expenses, however, are undocumented, excessive,
Here, however, the Court finds that the lodestar already        or unnecessary.
incorporates the twelve Johnson factors and ultimately
represents a reasonable attorneys' fee award for Plaintiffs.
                                                                i. Compensable Expenses
See City of Burlington, 505 U.S. at 562 (noting that there
                                                                 *19 It is well established that expenses such as travel
is “a strong presumption that the lodestar represents the
                                                                (including airfare, milage, meal, and lodging), telephone
reasonable fee”); Hensley, 461 U.S. at 434 n. 9 (noting that
                                                                bills, shipping and postage, photocopying, filing fees,
the twelve Johnson factors “are usually subsumed with
                                                                and similar items are expenses necessarily incurred in
the initial calculation of hours reasonably expended at a
                                                                the natural course of litigation and are recoverable. See,
reasonable hourly rate”). Specifically, the lodestar already
                                                                e.g., Northcross, 611 F.2d at 639; Sigley, 2000 U.S.App.
amounts to a substantial fee award based at least in part on
                                                                LEXIS 1465, at *23–26; Cleveland Area Bd. of Realtors,
a significant time commitment by a number of attorneys,
                                                                965 F.Supp. at 1023–24 (citing Northcross in support of
several of whom had high hourly rates attributable to their
                                                                expenses recoverable under 42 U.S.C. § 1988 and Crawford
experience and other qualifications—i.e., the time, labor,
                                                                Fitting Co. v. J.T. Gibbons, 482 U.S. 437, 441–42, 107
skill, and experience required for counsel to successfully
                                                                S.Ct. 2494, 96 L.Ed.2d 385 (1987) for expenses recoverable
litigate this case already have been accounted for in the
                                                                under 28 U.S.C. § 1920). Of course, such expenses are only
lodestar calculation. See Adcock–Ladd, 227 F.3d at 349
                                                                recoverable if reasonable and adequately documented. See
n. 8 (“Some of [the twelve Johnson ] factors ordinarily
                                                                Cleveland Area Bd. of Realtors, 965 F.Supp. at 1024.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3984 Filed 07/12/16 Page 61 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

                                                                           Therefore, we see no difference
Whether expenses for computerized legal research are                       between a situation where an
recoverable is a close question. Although the weight                       attorney researches manually and
of recent authority favors treating computerized legal                     bills only the time spent and a
research as a recoverable expense, the Sixth Circuit has                   situation where the attorney does the
not addressed this issue in a published opinion. See                       research on a computer and bills for
Say v. Adams, No. 3:07–CV–377–R, 2009 U.S. Dist.                           both the time and the computer fee.
LEXIS 23863, at *19–20 (W.D.Ky. Mar. 24, 2009)
(“The Sixth Circuit has yet to address the issue of            Harco, 38 F.3d at 1040–41. In other words, even in Harco,
whether costs associated with computerized legal research      where the court denied computerized legal research fees
are recoverable under § 1988. However, other circuit           in the context of the cost analysis, it recognized the
and district courts have awarded the costs associated          charges as compensable within the attorneys' fees context.
with computerized research. See Cleveland Area Bd. of          This strikes the Court as mere semantics, and, moreover,
Realtors, ... 965 F.Supp. at] 1023 ... (compiling cases).”);   as a matter of clarity and transparency, it seems more
Cmtys. for Equity, 2008 U.S. Dist. LEXIS 25640, at *75–        appropriate and accurate to characterize computerized
76 (“The Third, Seventh, Tenth, and District of Columbia       legal research charges as expenses rather than attorneys
Circuit Courts of Appeal have all found these costs            fees. As the Sixth Circuit concluded in Northcross, 611
reasonable.”); Citizens Ins. Co. of Am. v. KIC Chem.,          F.2d at 638–39, costs customarily passed along to the
Inc., No. 1:04–CV–385, 2007 U.S. Dist. LEXIS 73201,            client which “aid in the effective practice of law” should
at *7 (reasoning that Westlaw and Lexis charges should         be treated as reimbursable expenses under 42 U.S.C. §
be recoverable because they are routinely billed to clients    1988. Cmtys. for Equity, 2008 U.S. Dist. LEXIS 25640, at
and computerized legal research improves the quality of        *76. Westlaw and Lexis charges are just such an expense.
legal service and should be encouraged); cf. Auto Alliance     Moreover, because they are typically billed to the client,
Int'l Inc., 155 Fed. Appx. at 228–29 (noting growing           computerized legal research charges should not be treated
trend toward recoverability of cost of computerized            as overhead. Accordingly, the Court will award Plaintiffs
legal research but affirming denial of award of such           their adequately documented expenses associated with
expenses for insufficient documentation). Furthermore,         computerized legal research.
some courts exclude computerized legal research from
recoverable expenses on the grounds that such research is      Against this legal backdrop, the Court will proceed to
either encompassed in the time the researching attorney        scrutinize Plaintiffs' request for an award of $10,808.32.
billed or part of overhead. See United States for the
Use & Benefit of Evergreen Pipeline Constr. Co., Inc. v.       First, Plaintiffs have submitted adequate documentation
Merritt Meridian Constr. Corp., 95 F.3d 153, 173 (2d           related to parking, travel, filing fees, docket fees,
Cir.1996); Harco, Inc. v. Am. Nat'l Bank & Trust Co. of        photocopying, telephone bills, postage, shipping, and
Chicago, 38 F.3d 1429, 1440–41 (7th Cir.1994); Standley        computerized legal research in the amount of $9,394.20. 17
v. Chilhowee R–IV Sch. Dist., 5 F.3d 319 (8th Cir.1993);       Specifically, these expenses are supported by an affidavit
Weinberger v. Great N. Neekosa Corp., 801 F.Supp. 804,         or declaration of an attorney attesting to the authenticity
827 (D.Me.1992).                                               of bills and records reflecting the reimbursements
                                                               requested. Accordingly, $9,394.20 of expenses are
The Court agrees with the line of recent authority finding     compensable if reasonable. The remaining $1409.39 is
computerized legal research recoverable. As even some          attributable to two sources: (1) Attorney Brian Mellor,
of the cases cited for the alternative holding concede,        who requested $352.00 in travel expenses but did not sign
computer research ultimately reduces the number of             his declaration or provide any documentation in support
billable hours charged to the client.                          of the request; and (2) Attorney Elliot Mincberg, who
                                                               requested $1,062.12 in expenses but did not provide any
             *20     The   added     cost    of                substantiation. Both of these request are denied in toto for
            computerized research is normally                  insufficient documentation.
            matched with a corresponding
            reduction in the amount of time
            an attorney must spend researching.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3985 Filed 07/12/16 Page 62 of 117
Project Vote v. Blackwell, Not Reported in F.Supp.2d (2009)
2009 WL 917737

17                                                                  compellingly argue that the Brennan Center unnecessarily
       The Brennan Center for Justice submitted
                                                                    filed a costly pro hac vice motion for an attorney who never
       documentation in connection with travel in the
                                                                    actively litigated in the Northern District of Ohio. This
       amount of $643.92 for Attorney Nayak (Doc. 63–
                                                                    further reduces the expenses award by $190.00.
       8) and $372.10 for Attorney Paradis (Doc. 63–
       9). In addition, Brennan Center Attorney Weiser
       submitted a request for $205.64 in telephone bills            *21 Accordingly, the Court hereby awards Plaintiffs
       (Doc. 63–10). The McTigue Law Group submitted                $8,560.28 in costs.
       expense documentation in the amount of $1,676.67
       in connection with travel, parking, pro hac vice fees,
       docket fees, and transcripts (Doc. 63–5). Attorney
                                                                                        III. CONCLUSION
       Karl Sandstrom of the law firm Perkins Coie LLP
       submitted expense documentation in the amount
                                                                    For the foregoing reasons, the Court GRANTS IN PART
       of $6,495.87 in connection with photocopying,
                                                                    Plaintiffs' motion and concludes that Plaintiffs are entitled
       telephone bills, travel, postage, shipping, and
                                                                    to an award of attorneys' fees in the amount of $312,925.00
       computerized legal research (Doc. 68–2).
                                                                    and an award of costs in the amount of $8,560.28 for a total
Second, of the $9,394.20 in documented expenses, the                award of $321,485.28.
Court finds that only $8,560.28 reflects the reasonable
expenses incurred under the circumstances of this case.             IT IS SO ORDERED.
Defendants argue that Attorney Nayak requests $643.92
in travel expenses for a trip to Ohio that occurred before
the Complaint was even filed in this case. Plaintiffs do not        All Citations
rebut this contention in their reply brief, and the Court
finds Defendants' contention persuasive. Defendants also            Not Reported in F.Supp.2d, 2009 WL 917737


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3986 Filed 07/12/16 Page 63 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

                                                                   Helfman v. GE Grp. Life Assur. Co., 573 F.3d 383, 396 (6th
                                                                   Cir.2009). But, the Sixth Circuit held that the record did
     KeyCite Yellow Flag - Negative Treatment                      not clearly establish that Helfman was still disabled. The
Declined to Follow by   Thies v. Life Ins. Co. of North America,
                                                                   court remanded the case here and this Court remanded it
 W.D.Ky.,    January 4, 2012
                                                                   to the plan administrator for a full and fair review. Id.
                  2011 WL 1464678
    Only the Westlaw citation is currently available.              Helfman requested $81,046, representing the total amount
             United States District Court,                         of fees charged by his attorneys. (Doc. # 68). In its order,
                   E.D. Michigan,                                  the Court found that Helfman was not entitled to: (1) the
                 Southern Division.                                fees associated with his claim that ERISA did not apply;
                                                                   (2) any duplicate entries; and (3) the fees associated with
                Joel HELFMAN, Plaintiff,                           his claims against Genworth. (Id. at 9).
                            v.
      GE GROUP LIFE ASSURANCE COMPANY,                             Helfman then filed a revised affidavit and now seeks
        a foreign corporation, Genworth Life and                   $60,251.25 in attorney's fees. (Doc. # 87). On December
          Health Insurance Company, a foreign                      15, 2010, Sun Life issued its re-determination of
     corporation, and Sun Life Assurance Company                   Helfman's benefits claim. Helfman sought disability
                                                                   benefits covering a forty-eight month period, from April
     of Canada, a foreign corporation, Defendants.
                                                                   1, 2005 to April 3, 2009. Sun Life determined that Helfman
                          No. 06–13528.                            was entitled to an additional six months of benefits,
                                 |                                 from April 1, 2005 to September 30, 2005, or $27,559.74.
                          April 18, 2011.                          Helfman filed a Supplemental Motion for Attorneys
                                                                   Fees, seeking an additional $18,443.75 in attorney's fees
Attorneys and Law Firms                                            purportedly incurred during the administrative review
                                                                   period. (Doc. # 97). Sun Life filed briefs in opposition to
J. Laevin Weiner, Tamara Fraser, Frank, Haron, Troy,
                                                                   the amounts in both fee requests. The Court first addresses
MI, for Plaintiff.
                                                                   Helfman's original motion for fees and revised affidavit
James E. Brenner, Clark Hill, Francis R. Ortiz, Dickinson          and then his supplemental motion.
Wright, Detroit, MI, Kimberly J. Ruppel, Dickinson
Wright, Bloomfield Hills, MI, for Defendants.
                                                                   II. LEGAL STANDARD
                                                                   “In an attorneys' fee case, the primary concern is that
                                                                   the fee awarded be ‘reasonable.’ ” Gonter v. Hunt Valve
                             ORDER                                 Co., Inc., 510 F.3d 610, 616 (6th Cir.2007) (citing Reed
                                                                   v. Rhodes, 179 F.3d 453, 471 (6th Cir.1999)). The award
VICTORIA A. ROBERTS, District Judge.
                                                                   should be adequately compensatory to attract competent
I. INTRODUCTION                                                    counsel but should also avoid producing a windfall
 *1 This matter is before the Court on Plaintiff Joel              for attorneys. Adcock–Ladd v. Secretary of Treasury,
Helman's motion for attorney's fees and supplemental               227 F.3d 343, 349 (6th Cir.2000). “The trial court's
motion for attorney's fees. These motions are GRANTED              initial point of departure, when calculating a ‘reasonable’
IN PART AND DENIED IN PART.                                        attorney fee, should be the determination of the fee
                                                                   applicant's ‘lodestar,’ which is the proven number of
                                                                   hours reasonably expended on the case by an attorney,
II. BACKGROUND                                                     multiplied by his courtascertained reasonable hourly
On December 23, 2009, this Court entered an Order                  rate.” Id. The court may then adjust the “lodestar” based
Granting in Part Plaintiff's Amended Motion for                    on relevant circumstances peculiar to the case. Id.
Attorneys Fees and Costs, (Doc. # 85), following the
Sixth Circuit's decision that Sun Life Assurance Company           If the fee applicant has achieved only limited or partial
of Canada (“Sun Life”) terminated Helfman's long-                  success, “[a]n award based on the total number of hours
term disability benefits arbitrarily and capriciously. See         reasonably expended on the litigation might [ ] result in an


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3987 Filed 07/12/16 Page 64 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

excessive amount.” Imwalle v. Reliance Med. Prods., 515
F.3d 531, 552 (6th Cir.2008) (citing Hensley v. Eckerhart,      1. Reasonableness of Counsels' Hourly Rates
461 U.S. 424, 435, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983)).       Sun Life contends that the hourly rates charged by
Work on an unsuccessful claim is not work “expended             Helfman's attorneys are excessive. (Doc. # 88, 6). It cites
in pursuit of the ultimate result achieved” where plaintiff     the 2007 Economics of Law Practice Report issued by the
has presented distinct claims based on different facts and      State Bar of Michigan in support of its claim that $200 per
legal theories. Id. When a fee request is based, in part, on    hour is an appropriate rate for his attorneys. (Id. at 6–7).
unsuccessful and distinct claims, the district court must       Helfman responds that the rates charged are not excessive,
reduce the fee award so that it is commensurate with “the       are in fact lower than those charged by Defendant, and
degree of success obtained.” Hensley, 461 U.S. at 436.          that the Court should not rely on the median rate—which
“There is no precise rule or formula for making these           is not the true average—listed in a three year old report.
determinations. The district court may attempt to identify      (Doc. # 89, 6).
specific hours that should be eliminated, or it may simply
reduce the award to account for the limited success.” Id.       Generally, a reasonable hourly rate is calculated according
at 436–37. The district court has broad discretion to make      to the prevailing market rates in the relevant community.
these determinations. Id. at 437.                               Stenson, 465 U.S. at 895. The “relevant community” is the
                                                                legal community within the court's territorial jurisdiction.
 *2 In addition, “[t]he party seeking attorneys fees bears      See Adcock–Ladd, 227 F.3d at 350. “Such fees are different
the burden of documenting his entitlement to the award.”        from the prices charged to well-to-do clients by the most
Reed v. Rhodes, 179 F.3d 453, 472 (6th Cir.1999). That          noted lawyers and renowned firms in a region.” Coulter v.
party should submit evidence to support the number of           Tennessee, 805 F.2d 146, 149 (6th Cir.1986).
hours worked and the rates claimed. Id. (citing Hensley,
461 U.S. at 433). The billing records submitted by              Prevailing attorneys must justify the reasonableness of a
Helfman's attorneys must “describe the work performed           requested fee award. Stenson, 645 U.S. at 896 n. 11. “To
in sufficient detail to establish that the work is reasonably   inform and assist the court in the exercise of its discretion,
related to [Helfman's] claim that Sun Life acted arbitrarily    the burden is on the fee applicant to produce satisfactory
and capriciously when terminating his benefits and to           evidence—in addition to the attorney's own affidavits—
his defense to Sun Life's request for reimbursement].” In       that the requested rates are in line with those prevailing
re Pierce, 190 F.3d 586, 593–94 (D.C.Cir.1999). Where           in the community for similar services by lawyers of
documentation is insufficient to support the amount of          reasonably comparable skill, experience and reputation.”
fees requested, the district court may reduce the award         Id.; see also Reed, 179 F.3d at 472 (the party requesting the
accordingly. Reed, 179 F.3d at 472.                             fee award bears the burden to produce evidence in support
                                                                of the rates claimed); Iley v. Metro. Life Ins. Co., No. 05–
                                                                71273, 2007 WL 37740, at * 2 (E.D.Mich. Jan.4, 2007)
II. ARGUMENTS AND ANALYSIS                                      (“Plaintiff, as the party requesting an attorney fee [,] has
                                                                the burden of establishing that the hourly rates requested
A. Helfman's Original Motion for Attorney's fees                are based on comparable rates in the local community.”).
In its Brief in Opposition, Sun Life alleges: (1) that
Helfman did not adequately reduce his requested                  *3 The lead attorneys on the case were partner J. Laevin
attorneys fees to reflect that he did not succeed on his        Weiner and associate Tamara Fraser. Mr. Weiner has
claim that the administration of his disability benefits        been a member of the State Bar of Michigan since 1968;
is not governed by ERISA, nor on his claims against             Ms. Fraser since 1994. (Rev. Aff. of J. Laevin Weiner ¶ 4, ¶
Genworth; (2) that the revised affidavit contains duplicate     7) Mr. Weiner requests compensation at the rates of $300/
entries; and (3) that Helfman's attorneys' hourly rates are     hour and, after January 2007, $350/hour. (Id. at ¶ 6) Ms.
excessive. (Id.) Sun Life says the maximum fee amount           Fraser requests compensation at the rates of $195/hour,
that Helfman should be awarded, at counsel's stated             $200/hour, and later $225/hour. (Id. at ¶ 7) Five other
hourly rates, is $35,548.96, and that after reduction of        attorneys performed work on the case, with experience
the hourly rates the total fee award should be $30,853.61.      ranging from six to sixteen years, at requested rates of
(Doc. # 88, 6–7).                                               $200/hour to $275/hour. (Id. at ¶ 8)



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3988 Filed 07/12/16 Page 65 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

Helfman's Motion and supporting affidavit do not
provide evidence that his attorneys' requested rates “are
in line with those prevailing in the community for            2. Calculating Plaintiff's Lodestar
similar services by lawyers of reasonably comparable skill,    *4 Helfman's records show that Mr. Weiner spent 58.75
experience and reputation.” Stenson, 645 U.S. at 896 n.       hours litigating this action, after making reductions to
11. Rather, Mr. Weiner's affidavit states, in a conclusory    account for Helfman's claims against Genworth and that
manner, that he believes the rates charged to be reasonable   ERISA did not govern the administration of his benefits.
in the current marketplace given counsels' experience.        Applying counsels' hourly rates to their hours of work,
(Id. at ¶ 6, ¶ 7). Helfman's Motion and counsel's             Helfman's lodestar is $56,182.50.
supporting affidavit do not provide any information
that would aid the Court in determining the prevailing
                                                              3. Reduction of Plaintiff's Lodestar
market rate in southeastern Michigan for counsel
                                                              The calculation of Helfman's lodestar does not end the
competent in employment law and ERISA matters with
                                                              inquiry. See Hensley, 461 U.S. at 434. “There remain other
comparable skill, experience and reputation. See Blajei
                                                              considerations that may lead the district court to adjust
v. Sedgwick Claims Mgmt. Servs., Inc., No. 09–13232,
                                                              the fee upward or downward, including the important
2010 WL 3855239, at *10–*11 (E.D.Mich. Sept.28, 2010)
                                                              factor of the ‘result obtained.’ This factor is particularly
(unpublished) (reducing an attorney's rate from $325/hour
                                                              crucial where a plaintiff is deemed ‘prevailing’ even though
to $275/hour after finding that Plaintiff's Motion and
                                                              he succeeded on only some of his claims for relief.” Id.
supporting affidavit were “deficient” in establishing that
                                                              (internal citation omitted). The Court next considers the
the hourly rates requested were commensurate with rates
                                                              impact of Helfman's limited success on his lodestar, as well
in the local community).
                                                              as the adequacy of his billing records.

In Blajei, this Court independently researched and
reviewed several recent opinions from this district where     i. Limited Success, Vague Billing and “Block Billing”
the court awarded attorney's fees in an ERISA denialof-       Sun Life's next contention is that Helfman failed
benefits case. See id. at *11. Based on its independent       to adequately reduce his requested attorneys fees to
assessment, the Court found that $325/hour, for a “top”       account for the fact that his claims against Genworth,
ERISA attorney with over forty years of experience,           and his contention that ERISA did not apply to the
was too high. See id. (citing Andrews v. Prudential Ins.      administration of his benefits, were unsuccessful. (Doc. #
Co. of Am., No. 08–14391, 2010 WL 1257784, at *2              88, 2)
(E.D.Mich. Mar.29, 2010); Kramer v. Paul Revere Life Ins.
Co., No. 04–74362, 2009 WL 2849067, at *7 (E.D.Mich.,         Sun Life states that there were four issues litigated: (1)
Sept.1, 2009); Iley v. Metro. Life Ins. Co., No. 05–          whether ERISA applied to the Sun Life policy; (2) whether
71273, 2007 WL 37740, at *2 (E.D.Mich. Jan.4, 2007)).         ERISA applied to the Genworth policy; (3) whether
This attorney, like Mr. Weiner, had over forty years          Sun Life's decision to terminate payment of Helfman's
experience as a practicing attorney. Id. He was rated “AV     disability benefits was arbitrary and capricious; and (4)
Preeminent” by Martindale Hubbell, and was named a            whether Helfman owed reimbursement to Genworth for
“Top Lawyer” in ERISA law by DB Business Journal.             overpayment of benefits. (Id. at 1). Helfman succeeded on
Id. Nevertheless, the Court found the reduction warranted     only the third issue, Sun Life alleges.
based on the attorney's failure to satisfy his burden to
establish comparable local rates and based on its own         Sun Life argues that the revised invoices reflect 123.5
review of those rates. Id.                                    hours of attorney time representing tasks associated with
                                                              overlapping claims against Sun Life and Genworth, and
Accordingly, the Court lowers Mr. Weiner's rate to $275/      to combined issues in the case, for a total of $31,611.16.
hour when determining Plaintiff's lodestar. On the other      (Id. at 5). This amount, Sun Life argues, must be reduced
hand, the requested rates of Ms. Fraser and the other         by seventy-five percent because Helfman did not prevail
attorneys of record, all at or under $275/hour, appear        on three of the four issues. (Id.).
reasonable based on their years of experience at the law
firm and this Court's review of relevant case law.



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3989 Filed 07/12/16 Page 66 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

Helfman responds that it would be improper to reduce
his attorney's fees by seventy-five percent for entries that       In some cases a plaintiff may present in one lawsuit
cover tasks pertaining to claims other than Sun Life's             distinctly different claims for relief that are based
termination of Helfman's benefits. He argues that Sun              on different facts and legal theories. In such a suit,
Life's mathematical approach lacks integrity for three             even where the claims are brought against the same
reasons. (Doc. # 89). Specifically, Helfman contends:              defendants ... counsel's work on one claim will be
                                                                   unrelated to his work on another claim. Accordingly,
(1) Sun Life brought a claim against Helfman for                   work on an unsuccessful claim cannot be deemed to
reimbursement of benefits, which was denied, meaning               have been “expended in pursuit of the ultimate result
that Helfman succeeded on two of five claims, rather than          achieved.” ... The congressional intent to limit awards
one of four; it is misleading to state that Helfman's claims       to prevailing parties requires that these unrelated claims
regarding the applicability of ERISA to his Sun Life and           be treated as if they had been raised in separate lawsuits,
Genworth policies are two separate claims for purposes             and therefore no fee may be awarded for services on the
of calculating a fee award because the issue, research, and        unsuccessful claim.
drafting were the same for both defendants; and (3) Sun
                                                                 461 U.S. at 434–35.
Life's mathematical approach fails to take into account
that Helfman's claim that Sun Life acted arbitrarily and
                                                                 The Court also recognized that in some cases the plaintiff's
capriciously required more factual and legal investigation
                                                                 “claims for relief will involve a common core of facts or
than the other claims. (Id. at 2).
                                                                 will be based on related legal theories.” Id. at 435. When
                                                                 this occurs, counsel's time is devoted more generally to
 *5 Helfman argues that a fifty percent reduction for tasks
                                                                 the litigation as a whole, “making it difficult to divide
relating to both Sun Life and Genworth is not warranted
                                                                 the hours expended on a claim-by-claim basis.” Id. In
because “the bulk of the substance of the case was directly
                                                                 these instances, “[the] lawsuit cannot be viewed as a series
related to the claim against Sun Life,” and to the extent
                                                                 of discrete claims. Instead the district court should focus
a time entry reflected work relating to both Sun Life and
                                                                 on the significance of the overall relief obtained by the
Genworth, the appropriate reductions were made. (Id. at
                                                                 plaintiff in relation to the hours reasonably expended on
3) Helfman says further, “to the extent an entry equally
                                                                 the litigation.” Id. “In these circumstances the fee award
corresponded to both Defendants, and that fee would
                                                                 should not be reduced simply because the plaintiff failed
have been incurred regardless of whether GE was in the
                                                                 to prevail on every contention raised in the law suit.”
lawsuit, that amount was not reduced....” (Id.).
                                                                 Id. “Where a plaintiff has obtained excellent results, his
                                                                 attorney should recover a full compensatory fee.” Id.
In its December 23, 2009 Order the Court instructed
Helfman to exclude the fees associated with his losing
                                                                  *6 Helfman's case falls into the first category. Helfman's
claims. (Doc. # 85, 9) This is in line with Sixth Circuit case
                                                                 claim that ERISA did not apply to the administration
law upholding district court decisions to deny the award
                                                                 of his benefits and his claim that Sun Life unlawfully
of attorney's fees to parties who did not prevail on their
                                                                 terminated his benefits are distinct; their resolution
claims. See, e.g., Cattin v. General Motors Corp., 955 F.2d
                                                                 requires the analysis of different facts and law. Moreover,
416, 427 (6th Cir.1992) ( “Plaintiffs were not the prevailing
                                                                 the result achieved thus far, though favorable to Helfman,
party on the ERISA claim, and, therefore, it was not an
                                                                 is not “excellent.” Id. The claims administrator might
abuse of discretion to deny plaintiffs' motion for attorney's
                                                                 still deny Helfman's request for benefits after a full and
fees.”); see also Nadeau v. Helgemoe, 581 F.2d 275, 279
                                                                 fair review. Cf. Richard v. Oak Tree Grp. Inc., No.
(1st Cir.1978) ( “[T]he amount of attorney's fees [plaintiffs]
                                                                 1:06–362, 2009 WL 3234159 (W.D.Mich. Sept.30, 2009)
receive should be based on the work performed on the
                                                                 (unpublished) (attorney's fee request reduced by eighty-
issues in which they were successful.”).
                                                                 five percent in part because plaintiffs only prevailed on
                                                                 a minor claim, and were awarded minimal statutory
In Hensley, the Supreme Court held that the degree of a
                                                                 damages of $50.00, such that the award of $20,550.00
plaintiff's success is a “crucial factor” in determining what
                                                                 in attorney's fees “would be a windfall to plaintiff's
amount of attorney's fees to award. 461 U.S. at 440:
                                                                 attorney.”). As the Supreme Court opined in Hensley,




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3990 Filed 07/12/16 Page 67 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

a fee award must be proportional to “the extent of a
plaintiff's success.” 461 U.S. at 440.                         *7 In Imwalle, the Sixth Circuit discussed the
                                                              requirement that attorneys seeking fee reimbursement
The Court agrees with Helfman that, under the                 provide district courts with adequate billing statements.
circumstances of this case, the seventy-five percent          515 F.3d at 553. The Imwalle court said:
reduction advanced by Defendant would not adequately
reflect the amount of time Helfman's attorneys spent            The key requirement for an award of attorney fees is
litigating his claim that Sun Life acted arbitrarily and        that “the documentation offered in support of the hours
capriciously. See, e.g., Hensley, 461 U.S. at 435 n. 11         charged must be of sufficient detail and probative value
(“We agree with the District Court's rejection of ‘a            to enable the court to determine with a high degree of
mathematical approach comparing the total number of             certainty that such hours were actually and reasonably
issues in the case with those actually prevailed upon.’ ...     expended in the prosecution of the litigation.” United
Such a ratio provides little aid in determining what is         Slate, [Tile & Composition Roofers v. G & M Roofing,
a reasonable fee in light of all the relevant factors.”).       732 F.2d 495, 502 n. 2 (6th Cir.1984) ]. Where the
Helfman emphasizes that this claim required extensive           documentation is inadequate, the district court may
research and “review and digestion of the medical evidence      reduce the award accordingly. Hensley, 461 U.S. at 433,
contained within Sun Life's voluminous administrative           103 S.Ct. at 1933.
record.” (Doc. # 89, 2). The ERISA claim and Genworth's
claim for reimbursement did not require a substantial
amount of administrative record review or other factual                                  ***
investigation. Likewise, Sun Life's seventy-five percent
reduction fails to take into account that Helfman               Courts in this Circuit have reduced attorney fees on
prevailed on Sun Life's counter-claim for reimbursement         the basis of insufficient billing descriptions where the
and that the ERISA claims against both defendants               attorney did not “maintain contemporaneous records
required the same legal research.                               of his time or the nature of his work,” Keener v. Dep't of
                                                                the Army, 136 F.R.D. 140, 147 (M.D.Tenn.1991), aff'd
On the other hand, after reviewing the invoices submitting      on the decision of the district court by Keener v. Dep't of
by Helfman to support his fee request, the Court                the Army, No. 91–5442, 1992 WL 34580, 1992 U.S.App.
finds that Helfman's attorneys have not satisfied their         LEXIS 2822 (6th Cir. Feb.24 1992), and where billing
burden to produce adequate evidence that the fees               records “lumped” together entries under one total so
requested are associated with only the claim on which           that it was “impossible to determine the amount of time
Helfman prevailed. For example, one invoice states              spent on each task.” Cleveland Area Bd. of Realtors [v.
that on November 18, 2008, TEF spent five hours on              City of Euclid, 965 F.Supp. 1017, 1021 (N.D.Ohio 1997)
“Continued research and appeal preparations; lengthy in         ].
office conference with JLW re issues on appeal.” (Doc.          Id. (emphasis added).
# 87, Exh. 1, 11/18/08). Helfman's billing records include    Helfman's invoices make it impossible for the Court to
various additional vague entries where hours were not         ascertain whether the reductions he made are sufficient
reduced, including, “Internet and westlaw research” for       to account for the issues and claims on which he did not
three hours; (id. on 11/13/08). “Review of additional case    prevail. These vague entries—though some could pertain
law; in office conference with JLW” for two and a half        solely to the arbitrary and capricious claim—could apply
hours; (id. on 12/02/08) and “Telephone conference with       to the ERISA issue. The billing records submitted are
client,” (id.) among others. Other entries reference time     not adequate for the Court to determine “with a high
spent preparing for oral argument before the Court of         degree of certainty” that the time claimed was actually and
Appeals, reviewing briefs and recent cases, and arguing       reasonably spent in pursuit of Helfman's claims that Sun
the issues before the Court of Appeals, without indicating    Life acted arbitrarily and capriciously when it terminated
what the preparation entailed, what issues the briefs and     his disability benefit payments, and that Sun Life was
recent cases addressed, and what amount of time was           not entitled to reimbursement for benefits paid while
spent arguing the winning versus losing issues. (Id. on       Genworth was paying same. See Keener, 136 F.D.R. at
6/02/09–6/18/09).                                             147 (citing United Slate, 732 F.2d at 502–03 n. 2).



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3991 Filed 07/12/16 Page 68 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

                                                                other errors found throughout the record, there will be a
While the Court recognizes that plaintiff's counsel is not      reduction of the lodestar by 30%.”).
required to provide a detailed record of how every minute
of his time on the case is spent, counsel should identify the   The Court takes into consideration Helfman's contention
general subject matter of his time expenditures. Hensley,       that his claim that Sun Life arbitrarily terminated his
461 U.S. at 436 n. 12. Entries such as “Internet and            benefits required extensive factual and legal investigation
westlaw research” and “Telephone conference with client”        as opposed to his other, more straightforward claims.
do not identify the subject matter of the time expenditure.     The ERISA issue was important, but this claim was at
Such imprecise entries fail to identify the issue and           least equally important; Helfman's success may result in
Defendant(s) being addressed. They are problematic              retroactive reinstatement of his disability benefits. Thus,
where Plaintiff achieved only limited success. Thus, the        a larger reduction is not warranted. Compare Bollinger,
Court is constrained to find in Defendant's favor and           353 F.Supp.2d at 938 (reducing a fee request by fifty
reduce Helfman's lodestar amount accordingly.                   percent where plaintiffs failed to prevail on their primary
                                                                argument, an issue of historical significance).
 *8 The common practice in this circuit, and in others,
when the court is confronted with a request for the award       Moreover, Helfman's attorneys' billing records were kept
of attorney's fees in the face of inadequate billing records,   contemporaneously and, while often overly generalized,
is “across-the-board fee reductions.” See City of Euclid,       they are not indecipherable. Compare Richard, 2009
965 F.Supp. at 1021 n. 5, and cases cited therein; Gratz        WL at *3 (applying an eighty-five percent reduction
v. Bollinger, 353 F.Supp.2d 929, 938 (E.D.Mich.2005)            where an attorney's bills were “cryptic and nearly
(“The Court cannot possibly determine from Plaintiffs'          unintelligible”); Keener, 13 F.R.D. at 147–50 (denying
billing statements the amount of hours expended on this         altogether an attorney's fee request where the attorney
issue as opposed to the ‘narrowly tailored’ issue on which      admitted to sloppy record-keeping practices, including
they prevailed. The Court therefore opts to reduce the          keeping records on napkins and failing to maintain
hours expended by a percentage amount.”); Pierce, 190           contemporaneous records of his time and the nature of his
F.3d at 593–94 (imposing a ten percent fee reduction            work).
where fee petitioner's billing records included generalized
entries such as “Various calls” and “Review of materials,”       *9 Helfman's lodestar is reduced by twenty percent
making it impossible for the court to determine the             because the Court cannot conclude, with a high degree
reasonableness of the billings in terms of necessity and        of certainty, that the reductions made pursuant to this
amount of time expended).                                       Court's December 23, 2009 Order adequately account for
                                                                the limited nature of Helfman's success.
The Court reduces the total fee requested by twenty
percent. This is appropriate in light of Helfman's burden
of production and in light of the “block billing” and           ii. April 15, 2008 Time Entry
vague entries included in the billing records which make it     Sun Life next contends that the revised invoices contain
impossible for the Court to determine whether adequate          two duplicate time entries on April 15, 2008, reflecting a
reductions were made. See, e.g., Bollinger, 353 F.Supp.2d       task performed by two attorneys. (Doc. # 88, 3) Helfman
at 939 (reducing award of attorneys fees by ten percent         responds that two lawyers may confer and both bill
to account for vague billing entries such as “research,”        on a case for intra-office conferences, which keep legal
“office conference,” and “review article” and for block         fees down because they facilitate the use of junior, less-
billing, and by fifty percent to account for plaintiffs'        expensive attorneys. (Doc. # 89)
limited success); City of Euclid, 695 F.Supp. at 1021
(“The total request is reduced by 10% for this insufficient     The Court agrees with Helfman. This is a common
documentation.”); Ragin v. Harry Macklowe Real Estate           practice to keep costs down and the amount of time that
Co., 870 F.Supp. 510, 521 (S.D.N.Y.1994) (“In light of the      was spent conferring, ninety minutes, is not excessive.
numerous entries which contain insufficient descriptions        Other courts sanction this practice. See, e.g., McGrath
of the work done, a lack of contemporaneous records             v. City of Nevada, 67 F.3d 248, 255 (9th Cir.1995);
for a significant number of hours, duplicative billing and      Baughman v. U.S. Liability Ins. Co., 723 F.Supp.2d 741,
                                                                750–51 (D.N.J.2010); Lenihan v. City of New York, 640


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3992 Filed 07/12/16 Page 69 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

F.Supp. 822, 826 (S.D.N.Y.1986); Veterans Educ. Project        period. Finally, Helfman contends the Court is not bound
v. Secretary of the Air Force, 515 F.Supp. 993, 994            by orders from this district where fee awards were reduced
(D.D.C.1981).                                                  based on the degree of success obtained.


iii. August 16, 2006 Time Entry                                1. Reconsideration of the King Factors
Sun Life contends that TEF's August 16, 2006 time entry         *10 The Court declines Sun Life's invitation to
should be stricken in its entirety because it relates solely   reconsider the King factors in relation to the
to Helfman's claims against Genworth and/or his losing         administrative remand. That process is a part of the
ERISA argument. (Doc. # 88, 9). Helfman responds               overall case, and the factors that weighed in Helfman's
that research into whether preemption might apply to           favor when the Court first awarded fees, continue to weigh
an ERISA claim is necessary for any disability benefit         in Helfman's favor in connection with the administrative
case. (Doc. # 89, 5). The Court agrees with Sun Life.          remand process; he is entitled to attorney's fees for the
The issue on which it prevailed is entirely divorced from      work done on remand. The question remains, however, is
any potential ERISA pre-emption issue. Accordingly, the        he entitled to all of the fees requested, or should they be
Court deducts this entry of 0.75 hours, at a rate of $195/     reduced for any or all of the reasons listed in Sun Life's
hour, or $146.25, from Helfman's lodestar.                     opposition?


B. Helfman's Supplemental Motion for Attorney's fees           2. The $1,606.25 Amount
In his supplement, Helfman seeks an award of $18,443.75        The Court agrees with Sun Life that Helfman is
for over sixty more hours of work in connection with his       not entitled to $1,606.25 in fees which purportedly
administrative remand. Sun Life contends that because          corresponds to time spent in confidential settlement
Helfman was only awarded benefits for an additional six        meetings. The Court agrees with Helfman that he should
month period, out of a possible forty-eight, he achieved       not have to reveal confidential information to be entitled
only 12.5% success. As result, Sun Life says, he should be     to an award of fees. However, Helfman's attorney's
awarded no more than 12.5% of the reasonable fees that         affidavit does not reveal how many hours were spent by
were incurred in connection with the remand. Sun Life          each partner in settlement talks. The Court could not
invites the Court, however, to reweigh the Sec'y of Dep't      discern the number of hours from the blacked out portions
of Labor v. King, 775 F.2d 666 (6th Cir.1985) factors as       of the billing records; the Court's calculations do not
they apply to the administrative remand process, and to        comport with the fee requested in the affidavit. Helfman
conclude that they weigh in favor of Sun Life this time,       is not entitled to $1,606.25.
such that Helfman should not be awarded any additional
fees. Sun Life also argues that $1,606.25 of the fees, for
time purportedly spent discussing settlement, should not       3. Calculating Plaintiff's Lodestar
be awarded because it is unsupported by counsels' invoice.     The Court already determined the appropriate hourly
Finally, Sun Life contends that counsels' hourly rates         rates for the attorneys who worked on the administrative
must be reduced. Sun Life says the Court should award          remand. Applying these rates to the number of hours spent
Helfman's attorneys no more than $1,500.                       litigating Helfman's administrative case brings Helfman's
                                                               lodestar to $14,737.50.
In reply, Helfman says the entries on the invoice pertaining
to the $1,606.25 were redacted due to their confidential
                                                               4. Reduction Based on Degree of Success
nature and that support for this amount is contained in
                                                               In Blajei, 2010 WL 3855239, at *12, this Court held that
J. Laevin Weiner's affidavit. Helfman further states that
                                                               a plaintiff's attorney's fees award should be proportional
the $1,606.25 pertains to the administrative review process
                                                               to the degree of success on the merits. That case also
because but for Sun Life's failure to adequately review his
                                                               involved an ERISA disability claimant who was denied
claim in the first place, there would have been no need
                                                               benefits without a full and fair review, and whose case was
for settlement discussions. Helfman also takes issue with
                                                               remanded to the plan administrator to determine if she
Sun Life's contention that the King factors do not warrant
                                                               was entitled to benefits. Id. at * 1.
an award of fees related to the administrative remand


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3993 Filed 07/12/16 Page 70 of 117
Helfman v. GE Group Life Assur. Co., Not Reported in F.Supp.2d (2011)
2011 WL 1464678

                                                                  percent ($56,182.50 x 20%), bringing his fee award to
                                                                  $44,946.00. From this, the Court subtracts his August 16,
It is appropriate for the Court to reduce the amount
                                                                  2006 fee request ($44,946–$146.25), for a fee award of
of fees requested by Helfman in connection with his
                                                                  $44,799.75.
administrative remand, so that it is proportional to his
degree of success on the merits. As Sun Life points out,
                                                                  With respect to Plaintiff's supplemental motion, the Court
Helfman sought benefits for a forty-eight month period,
                                                                  reduces Helfman's lodestar by 87.5% ($14,737.50 x 87.5%),
but obtained only six month's worth. This constitutes
                                                                  bringing his fee award to $1,842.19.
“some degree of success on the merits,” but only partial
success, namely, 12.5%. Accordingly, the Court reduces
                                                                   *11 Sun Life is ordered to pay $46,641.94 ($44,799.75+
Helfman's lodestar by 87.5%. He is entitled to $1,842.19 in
                                                                  $1,842.19). Payment must be made within 30 days of the
attorney's fees in connection with the remand.
                                                                  date of this Order.

III. CONCLUSION                                                   IT IS ORDERED.
Plaintiff's request for Attorney's Fees is GRANTED IN
PART AND DENIED IN PART.
                                                                  All Citations
With respect to Plaintiff's original motion, the Court            Not Reported in F.Supp.2d, 2011 WL 1464678
reduces Helfman's lodestar of $56,182.50 by twenty

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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3994 Filed 07/12/16 Page 71 of 117
Chad Youth Enhancement Center, Inc. v. Colony Nat. Ins. Co., Not Reported in...
2010 WL 4007300

                                                                    Eastern District of Pennsylvania, Chad Youth filed a
                                                                    “Motion for Award of Attorney's Fees” (Docket Entry
     KeyCite Red Flag - Severe Negative Treatment                   No. 65).
Order Vacated by    Chad Youth Enhancement Center, Inc. v. Colony
Nat. Ins. Co., 6th Cir.(Tenn.),  March 30, 2012
                                                                    In an Order dated July 28, 2010 (Docket No. 77), Judge
                 2010 WL 4007300                                    Echols ruled that Chad Youth was entitled to an award
    Only the Westlaw citation is currently available.               of reasonable attorney's fees for the prosecution of this
                                                                    action, notwithstanding the fact that Colony had filed a
 This decision was reviewed by West editorial                       notice of appeal. However, Judge Echols deferred ruling
staff and not assigned editorial enhancements.                      on the amount of fees because the requested fees were
                                                                    not substantiated in accordance with the requirements
               United States District Court,
                                                                    of Local Rule 54.01(b)(3). Chad Youth was afforded an
                    M.D. Tennessee,
                                                                    opportunity to supplement the record, and did so by filing
                   Nashville Division.
                                                                    Supplemental Affidavits from counsel (Docket Nos. 78
  CHAD YOUTH ENHANCEMENT CENTER, INC.                               & 79). Colony has filed a response in opposition to the
                                                                    supplemented fee request, and Chad Youth has filed a
   and Universal Health Services, Inc., Plaintiffs,
                                                                    reply (Docket Nos. 80 & 86).
                        v.
 COLONY NATIONAL INSURANCE CO., Defendant.

                       No. 3:09–0545.                                                   I. DISCUSSION
                               |
                        Oct. 12, 2010.                              Chad Youth's attorney's fee request is governed by
                                                                    Tennessee law. Under Tennessee law, the appropriate
Attorneys and Law Firms                                             factors to be used as guidelines in determining reasonable
                                                                    attorney's fees are as follows:
Marty Roy Phillips, Ashley Donnell Cleek, Rainey,
Kizer, Reviere & Bell, P.L.C., Jackson, TN, Meredith                  1. The time devoted to performing the legal service.
Ann Galto, Richard F. McMenamin, Morgan, Lewis &
Bockius LLP, Philadelphia, PA, for Plaintiffs.                        2. The time limitations imposed by the circumstances.

Gilbert Morris Coogler, White, Fleischner & Fino,                     3. The novelty and difficulty of the questions involved
LLP, New York, NY, Larry I. Gramovot, Gramovot                           and the skill requisite to perform the legal service
& Takacs, P.L., Tallahassee, FL, Michael B. Neal,                        properly.
McNabb, Bragorgos & Burgess, PLLC, Memphis, TN,
                                                                      4. The fee customarily charged in the locality for similar
for Defendant.
                                                                         legal services.

                                                                      5. The amount involved and the results obtained.
                     MEMORANDUM
                                                                    Connors v. Connors, 594 S.W.2d 672, 676 (Tenn.1980).
ALETA A. TRAUGER, District Judge.                                   While the parties agree that the foregoing factors control
                                                                    the award of attorney's fees in this case, they disagree as
 *1 This is a declaratory judgment action relating to
                                                                    to whether the fees requested are reasonable.
coverage under an insurance policy issued to Plaintiffs
Chad Youth Enhancement Center, Inc. and Universal
                                                                    Chad Youth seeks an award of attorney's fees in the
Health Services, Inc. (collectively “Chad Youth”) by
                                                                    amount of $252,001.10 for 510.3 hours of worked
Defendant Colony National Insurance Co. (“Colony”).
                                                                    performed by lawyers at the Philadelphia, Pennsylvania
After Judge Echols entered an Order (Docket No. 56)
                                                                    law firm of Morgan, Lewis & Bockius, LLP (“Morgan
declaring that Colony's excess liability insurance policy
                                                                    Lewis”). It also seeks $27,859.50 for the 155.7 hours of
provided coverage to Chad Youth for punitive damages
that might be assessed in a related case pending in the



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3995 Filed 07/12/16 Page 72 of 117
Chad Youth Enhancement Center, Inc. v. Colony Nat. Ins. Co., Not Reported in...
2010 WL 4007300

work performed by lawyers at Rainey, Kizer, Reviere &           belied by the Supplemental Affidavits and accompanying
Bell, PLC (“Rainey Kizer”) in Jackson, Tennessee.       1       biographies filed by Richard F. McMenamin of Morgan
                                                                Lewis and by Marty R. Phillips of Rainey Kizer. Mr.
1                                                               McMenamin's biography, which appears on Morgan
       Chad Youth also seeks expenses in the amount
                                                                Lewis' website indicates that he is a partner in the firm's
       of $10,265.42. While expenses (such as telephone
                                                                litigation practice, that his “commercial litigation practice
       charges and Westlaw fees) are often charged to a
       fee-paying client, Chad Youth has not provided any       includes regularly litigating insurance coverage disputes
       authority under Tennessee law for including such         and counseling clients on coverage issues,” that he “has
       expenses as part of its attorney's fee award. See,       experience in many types of coverage disputes,” and that
       Intern. Paper Co. v. Frame, 2003 WL 21195497             he “speaks and writes on insurance law issues.” (Docket
       at *7 (5th Cir.2003) (recognizing that federal law       No. 79 at 79). As for Ms. Galto, Chad Youth notes in
       sometimes allows expenses (as opposed to costs) as       its reply brief that she does not appear on Morgan Lewis'
       a part of attorney's fees, but finding district court    website because she is now employed as an associate at
       abused its discretion in awarding such expenses as a
                                                                Fox Rothschild LLP, another Philadelphia law firm. 2
       part of fees where plaintiff pointed to no supporting
                                                                (Docket Entry No. 82–1 at 2).
       state law authority and fee request was governed by
       state law). Moreover, the settlement letter written
       by Judge Mitchell S. Goldberg, upon which Judge          2      A review of Ms. Galto's biography on the Fox
       Echols relied in determining that an award of fees was          Rothschild website indicates that, prior to joining
       appropriate, specifically references only “reasonable           Fox Rothschild, she worked for Morgan Lewis
       attorney's fees” and no mention is made of expenses.            in its litigation department. At Fox Rothschild,
       Accordingly, the court will not award the requested             Ms. Galto's “practice focuses on litigation,” and
       expenses as a part of the attorney's fee award.                 she has experience in “commercial litigation,” and
                                                                       “insurance recovery,” among other things. (See,
Colony raises a number of arguments in relation to
                                                                       www.FoxRothschild.com, last visited on October 6,
the reasonableness of Chad Youth's fee request. Having
                                                                       2010).
considered the parties' arguments and conducted a
detailed review of the record (including the billing            Mr. Phillips' biography, which appears on the Rainey
statements), the court concludes that Chad Youth is             Kizer website, indicates that he is a member of the
entitled to a significant award of attorney's fees, but not     firm with almost thirty years of legal experience. While
nearly the full amount requested.                               he specializes in defending medical malpractice actions,
                                                                “[h]e also has significant experience in general civil
Colony first argues that while Chad Youth's counsel             litigation.” (Docket No. 78 at 32).
hold themselves out as having significant experience in
insurance coverage disputes, the websites of Morgan             Based upon the above, the court rejects Colony's assertion
Lewis and Rainey Kizer suggest otherwise. With regard           that Chad Youth's counsel lack familiarity with insurance
to Morgan Lewis, which did the bulk of the work in this         coverage matters and litigation involving insurance
case, Colony asserts that neither “insurance coverage” nor      coverage disputes. This conclusion, however, directly
“insurance” are listed in the firm's “areas of expertise”       segues into another argument raised by Colony and that
and that an associate by the name of Meredith Galto, for        is that the amount of time billed is excessive.
whom significant time is billed, does not even appear on
the firm's website. (Docket Entry No. 80 at 3–4). As for        This court's review of the time records submitted indicates
Rainey Kizer, Colony asserts that, while the firm's website     that there is some excessiveness in billing. For example,
lists “ ‘insurance coverage issues” as an area of practice      lawyers at Morgan Lewis billed more than 36 hours
within the firm's “Tort and Insurance practice,” none of        for tasks related to the preparation of the Complaint in
the attorneys who billed for this matter are listed on the      this action. This appears excessive in light of the fact
website as attorneys who practice in the firm's “Tort and       that the Complaint was just over nine pages long and
Insurance Practice.” (Id. at 4).                                contained only two counts, particularly when counsel hold
                                                                themselves out as having expertise in insurance coverage
 *2 Colony's contention that opposing counsel lack              and litigation matters.
“familiarity with this specialty area of practice” is


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3996 Filed 07/12/16 Page 73 of 117
Chad Youth Enhancement Center, Inc. v. Colony Nat. Ins. Co., Not Reported in...
2010 WL 4007300

Additionally, Morgan Lewis seeks to recover attorney's         Cir.2009) (court did not err in applying 25% across-the-
fees for more than 510 hours of work which, as Colony          board reduction in fees to compensate for overstaffing
observes, amounts to more than three full months of            and needless duplication); Hisel, 2007 WL 2822031 at
attorneys' time (assuming a work week of 40 hours). For a      *6 (cutting fees by 25% and collecting cases where fees
case that was decided on the motions within seven months       were reduced by 25% to 30% to account for excessiveness
of filing and did not involve any discovery, the overall       and duplication); Bryant v. Dollar Gen. Corp., 2007 WL
number of hours expended appears excessive.                    1875825 at *4 (M.D.Tenn.2007) (discussing potential
                                                               problems with block billing and collecting cases where fees
Further, a review of the records indicates that there          were reduced by from 5% to 25% for block billing). 3
is some duplicative billing, involving both intra-firm
communications between Mr. McMenamin and Ms.                   3      While the cited cases are based upon federal fee-
Galto (see e.g., Morgan Lewis billing record for 6/11/09,
                                                                      shifting statutes, the court has located no cases which
6/15/09, 6/22/09, 7/20/09, 7/22/09 & 8/10/09), and inter-
                                                                      suggest that Tennessee law precludes an across-the-
firm conferences and communications between lawyers at                board reduction. The court notes that in Connors,
Morgan Lewis and those at Rainey Kizer (compare e.g.                  the seminal case in Tennessee relating to fee awards,
Morgan Lewis billing records for 6/11/09, 6/30/09, 7/29/09,           the Tennessee Supreme Court, on its own initiative,
8/06/09 & 9/10/09 with Rainey Kizer billing records for               reduced the $20,000 award (which was supported by
same dates). There also appears to be some duplication                the expert opinion of lawyers) to $12,500.
in several attorneys billing for review of the same filings    In determining that a 25% reduction is appropriate, the
or proposed filings. (See, e.g., Morgan Lewis billing          court rejects Colony's additional request that the number
records for 7/1/09, 7/22/09, 8/24/09, 9/21/09, & 9/22/09       of hours be further reduced to eliminate the hours that
and Rainey Kizer billing records for 6/24/09, 6/25/09,         were spent on this case before the Complaint was filed.
7/10/2009, 7/13/2009, 8/6/09 & 8/09/09). Moreover, the         Obviously, “litigation is not something that springs forth
billing statements from Morgan Lewis contain extensive         instantaneously like Athena from Zeus's head.” Hunton
block billing, where discrete tasks are lumped together in     & Williams v. U.S. Dept. of Justice, 590 F.3d 272, 287
one time entry.                                                (4th Cir.2010). After all, a Complaint has to be drafted
                                                               and that is not something that occurs in a vacuum.
 *3 To account for apparent excessiveness and                  Counsel necessarily has to investigate the facts, research
duplication, a district court may “mak[e] a simple across-     the law, and consult with the client, among other things.
the-board reduction by a certain percentage.” Hudson v.        Moreover, in this case, Plaintiffs' counsel spent time trying
Reno, 130 F.3d 1193, 1209 (6th Cir.1997), overruled in part    to resolve the matter pre-filing, only to be thwarted by
on other grounds, Pollard v. E.I. du Pont de Nemours & Co.,    what they characterize as a recalcitrant insurer.
523 U.S. 843 (2001). Such a procedure (in lieu of a line-by-
line reduction) is particularly appropriate where, as here,    In addition to an across-the-board reduction, the court
the fee documentation is voluminous. Disabled Patriots         will reduce the hourly rate requested for the work
of America, Inc. v. Reserve Hotel, Ltd., 659 F.Supp.2d         performed by lawyers at Morgan Lewis. Chad Youth
877, 885 (N.D.Ohio 2009) (collecting cases). Even though       seeks attorney's fees at the hourly rate of $603.00 for Mr.
cutting hours in this fashion “may appear ‘arbitrary,’ it is
                                                               McMenamin and $396.00 for Ms. Galto. 4 In support
an ‘essentially fair approach” and “ ‘is a practical means
                                                               of that request, Mr. McMenamin avers that the rates
of trimming the fat from a fee application.” Hisel v. City
                                                               requested are the customary rates charged by his firm
of Clarksville, 2007 WL 2822031 at *6 (M.D.Tenn.2007)
                                                               in other cases and “are in line with the prevailing
(internal citations omitted).
                                                               rates charged by other similarly experienced counsel in
                                                               the Philadelphia, Pennsylvania community for providing
In this case, the court finds that a 25% across-the-
                                                               similar services.” (McMenamin Aff., Docket No. 79, ¶¶
board reduction is appropriate to account for any
                                                               7–8). Even if that is so, Connors instructs that the fee
excessiveness, duplication, redundancy, and block billing.
                                                               be reasonable and based upon a fee which would be
See, Hudson, 130 F.3d at 1209 (upholding 25% across-
                                                               customarily charged in the locality of the court for similar
the-board reduction to account for duplication); Lochren
                                                               legal services. Connors, 594 S.W.2d at 676; see, Adcock–
v. County of Suffolk, 344 Fed. Appx. 706, 709 (2nd
                                                               Ladd v. Sec'y of the Treasury, 227 F.3d 343, 350 (6th


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3997 Filed 07/12/16 Page 74 of 117
Chad Youth Enhancement Center, Inc. v. Colony Nat. Ins. Co., Not Reported in...
2010 WL 4007300

Cir.2000) (“the ‘prevailing market rate’ is that rate which
                                                                    5       No adjustment is necessary in relation to the fees
lawyers of comparable skill and experience can reasonably
expect to command within the venue of the court of                          requested for the work performed by the lawyers at
record, rather than foreign counsel's typical charge for                    Rainey Kizer. Mr. Phillips seeks hourly fees in the
work performed within a geographical area where he                          amount of between $230 and $240 per hour for the
                                                                            work he performed, and fees ranging from $185 to
maintains his office and/or normally practices”).
                                                                            $195 per hour for the fees of his associates. These
                                                                            hourly rates are reasonable in the Nashville market,
4      In its reply brief, Chad Youth claims that Colony errs               and Colony admits as much in its response brief
       by listing the hourly rates for Mr. McMenamin and                    (Docket No. 80 at 8).
       Ms. Galto as being $670.00 and $440.00, respectively.
                                                                    Based upon the foregoing, Chad Youth will be awarded
       (Docket Entry No. 82–1 at 5 n. 6). However, any
       alleged error is understandable because Morgan
                                                                    $94,500.41 ($252,001.10–25% = $189,000.82 ÷ 2 =
       Lewis' billing statement dated June 29, 2009 lists           $94,500.41, or $252,001.10 ÷ 2 = $126,000.55–25% =
       Mr. McMenamin's rate as being $670.00 per hour               $94,500.41) in attorney's fees for the work performed by
       and Ms. Galto's at $440.00 per hour, even though             the attorneys at Morgan Lewis. Attorney's fees will also
       all subsequent statements indicate the $603.00 and           be awarded in the amount of $20,894.62 ($27,859.50–25%
       $396.00 hourly rates.                                        = $20,894.62) for the work performed by the attorneys at
 *4 Here, the relevant market is Nashville, Tennessee.              Rainey Kizer.
However, the fees requested by Chad Youth for the work
performed by Morgan Lewis attorneys are approximately               In determining to reduce the requested fees, the court is
double the amount generally awarded to Nashville                    not suggesting that this was a run-of-the-mill or simple
lawyers with comparable skill and experience. See, Grubb            case. Quite the contrary, significant legal issues were
& Ellis/Centennial, Inc. v. Gaedeke Holdings, 218 Fed.              raised and ably addressed by counsel, and both sides took
Appx. 390, 402 (6th Cir.2007) (affirming award of                   the opportunity to litigate the matter fully. Moreover,
attorney's fees in Nashville based on rate of $270 per hour         the lawyers for Chad Youth achieved a very favorable
for lead counsel); Cummings v. BP Products No. Amer.,               result for their client because, if Judge Echols' merits
Inc., 2010 WL 796825 at *5 (M.D.Tenn.2010) (combined                ruling is upheld on appeal, Colony will be required to
hourly rate for partners and associates of approximately            fund a significant percentage of the amount paid by
$259 for work performed over three-year period of time              Chad Youth to settle the underlying Pennsylvania action.
was reasonable); Harris v. Metro. Gov't. of Nashville,              Nevertheless, this case was decided strictly on the papers
2009 WL 2423306 at *3 (M.D.Tenn.2009) (approving                    and the court finds that the amount awarded fully and
$275 hourly rate for solo practitioner who specialized in           fairly compensates Chad Youth's lawyers for the work
employment litigation); Doe v. Wilson County School Sys.,           performed.
2008 WL 4372959 at * 11 (M.D.Tenn.2008) (approving
$350 hourly rate for lawyer with more than 20 years
of litigation experience and $185 hourly rate for lawyer                                 II. CONCLUSION
with seven years of experience); Ibarra v. Battett, 2008
WL 2414800 at *2 (M.D.Tenn.2008) (finding that “the                 On the basis of the foregoing, the court will award
requested rates of $250–$275 per hour are reasonable”).             Chad Youth $94,500.41 in attorney's fees for the work
Accordingly, and to bring the fees in line with the                 performed by Morgan Lewis, and $20,894.62 for the work
prevailing rate in Nashville, the court will halve the              performed by Rainey Kizer in this case.
hourly rates for the work performed by the lawyers at
Morgan Lewis, making Mr. McMenamin's effective rate
                                                                    All Citations
slightly more than $300 per hour and Ms. Galto's rate just
under $200 per hour. Such hourly rates, as adjusted, are            Not Reported in F.Supp.2d, 2010 WL 4007300
reasonable for the work performed in this case. 5

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3998 Filed 07/12/16 Page 75 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

                                                            Plaintiff's Fee Motions (Doc. No. 231), as well as
                                                            a Response in Opposition to Plaintiff's Motion for
                 2011 WL 3321291
                                                            Review (Doc. No. 224). For the reasons discussed herein,
   Only the Westlaw citation is currently available.
                                                            Plaintiff's Fee Motions and Plaintiff's Motion for Review
            United States District Court,
                                                            are GRANTED, with the modifications discussed herein.
                  M.D. Tennessee,
                                                            Defendant is ORDERED to pay attorney's fees and costs
                Nashville Division.
                                                            consistent with this Order.
       EQUAL EMPLOYMENT OPPORTUNITY
              COMMISSION, Plaintiff,
                                                            I. BACKGROUND
                         v.
        Carlota Freeman, Intervenor Plaintiff,              A. Factual Background
                         v.                                 The Court adopts the Findings of Fact section of
      WHIRLPOOL CORPORATION, Defendant.                     the Memorandum Order entering judgment in favor of
                                                            Plaintiff (Doc. No. 194 at 2–6), unless otherwise noted.
                   No. 3:06–cv–0593.
                            |
                      Aug. 2, 2011.                         B. Procedural Background
                                                            The Equal Employment Opportunity Commission
Attorneys and Law Firms                                     (EEOC) initiated this suit against Defendant on June
                                                            6, 2006. (Doc. No. 1.) Plaintiff intervened in the action
Deidre Smith, Faye A. Williams, Equal Employment            on July 24, 2006, and alleged causes of action for
Opportunity Commission, Memphis, TN, Sally Ramsey,          impermissible racial and sexual discrimination in violation
Equal Employment Opportunity Commission, Nashville,         of Title VII and 42 U.S.C. § 1981. (Doc. No. 9.) A bench
TN, for Plaintiff.                                          trial was held from February 24 to 27, 2009, and this
                                                            Court ruled in Plaintiff's favor on all claims. (Doc. No.
Helen Sfikas Rogers, Siew–Ling Shea, Rogers &
                                                            194.) The Court awarded total damages in the amount of
Associates, Nashville, TN, Andy L. Allman, Kelly, Kelly
                                                            $1,073,261.00 ($773,261.00 in front pay and back pay and
& Allman, Hendersonville, TN, for Intervenor Plaintiff.
                                                            $300,000.00 in compensatory damages). (Id.) Defendant
Adam Carl Wit, Asilia S. Backus, David Christlieb, Keith    filed a Motion to Alter or Amend the Judgment on
C. Hult, Littler, Mendelson, P.C., Chicago, IL, Timothy     January 15, 2010. (Doc. No. 196.)
K. Garrett, Bass, Berry & Sims, Nashville, TN, for
Defendant.                                                  Plaintiff's First Fee Motion (Doc. No. 209) and
                                                            supporting Memorandum (Doc. No. 210) were filed
                                                            on February 20, 2010. Defendant filed a Response in
                        ORDER                               Opposition (Doc. No. 213) and a Memorandum in
                                                            Support (Doc. No. 214) on March 1, 2010. The Clerk of
JOHN T. NIXON, Senior District Judge.                       Court entered a Taxation of Costs against Defendant in
                                                            the amount of $4,570.95 on March 5, 2010. (Doc. No.
 *1 Pending before the Court are Intervenor Plaintiff       217.) The parties jointly filed a Motion to Stay Plaintiff's
Carlota Freeman's (“Plaintiff”) First Motion for Attorney   First Fee Motion (Doc. No. 220) on March 9, 2010,
Fees and Costs (“First Fee Motion”) (Doc. No. 209),         pending the outcome of Defendant's Motion to Alter or
which was filed along with a Memorandum in Support          Amend the Judgment, which this Court granted (Doc.
(Doc. No. 210), and Second Motion for Attorney Fees         No. 222). While Defendant's Motion to Alter or Amend
and Costs (“Second Fee Motion”) (Doc. No. 229)              was pending, Plaintiff filed her Motion for Review on
(collectively, “Plaintiff's Fee Motions”). Also pending     March 22, 2010. (Doc. No. 223.) This Court then denied
before the Court is Plaintiff's Motion for Review of        Defendant's Motion to Alter or Amend the Judgment on
the Final Taxation of Costs (“Motion for Review”).          March 31, 2011. (Doc. No. 226.) Plaintiff subsequently
(Doc. No. 223.) Defendant Whirlpool Corporation             filed her Second Fee Motion on April 14, 2011. (Doc. No.
(“Defendant”) has filed a Response in Opposition to         229.)



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.3999 Filed 07/12/16 Page 76 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

                                                                 Ladd, 227 F.3d at 349. “ ‘Many of these factors usually
                                                                 are subsumed within the initial calculation of hours
II. LEGAL STANDARD                                               reasonably expended at a reasonable hourly rate.’ ” Geier
District courts have discretion pursuant to 42 U.S.C. §          v. Sundquist, 372 F.3d 784, 792 (6th Cir.2004) (quoting
1988 to award reasonable attorney's fees to a prevailing         Hensley, 461 U.S. at 434 n. 9). In most cases, “the most
party in a civil rights suit. Loudermill v. Cleveland Bd.        crucial factor is the degree of success obtained.” Hensley,
of Educ., 844 F.2d 304, 310 (6th Cir.1988). Although             461 U.S. at 436. Although district courts have discretion
discretionary, a district court should award fees to a           in determining the proper award, they must “consider
plaintiff if that plaintiff prevails. Gregory v. Shelby Cnty.,   the relationship between the extent of success and the
Tenn., 220 F.3d 433, 447 (6th Cir.2000) (citing Newman v.        amount of the fee award.” Id. at 438. Ultimately, district
Piggie Park Enters., Inc., 390 U.S. 400, 402–03, 88 S.Ct.        courts should “focus on the significance of the overall
964, 19 L.Ed.2d 1263 (1968)). The first step in calculating      relief obtained by the plaintiff in relation to the hours
reasonable attorney fees “is the determination of the            reasonably expended on the litigation.” Id. at 435.
fee applicant's ‘lodestar,’ which is the proven number of
hours reasonably expended on the case by an attorney,
multiplied by a reasonable hourly rate.” Isabel v. City of       III. ANALYSIS
Memphis, 404 F.3d 404, 415 (6th Cir.2005) (citing Hensley        Plaintiff seeks attorney's fees and costs pursuant to
v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d      Federal Rule of Civil Procedure 54, 42 U.S.C. § 1981,
40 (1983)). The court should consider twelve factors when        and 42 U.S.C. § 2000e, for work completed over the
determining the reasonableness of the hours and rate:            course of almost five years of litigation. Throughout this
                                                                 action, Plaintiff has been represented by two attorneys:
             *2 (1) the time and labor required;                 Helen Rogers of Nashville, Tennessee, and Andy L.
            (2) the novelty and difficulty                       Allman, of Hendersonville, Tennessee. (Doc. Nos.209,
            of the questions; (3) the skill                      229.) Plaintiff requests $187,342.90 for Ms. Rogers'
            requisite to perform the legal service               services and $56,105.00 for Mr. Allman's services, for
            properly; (4) the preclusion of                      a total of $243,447.90. (Doc. Nos. 210–1, 210–2, 229–
            employment by the attorney due                       1, 229–2.) Additionally, Plaintiff requests $37,5141.97 in
            to acceptance of the case; (5) the                   costs and expenses related to the litigation. (Id.) Thus,
            customary fee; (6) whether the fee                   the full amount that Plaintiff seeks from Defendant
            is fixed or contingent; (7) time                     is $280,959.87. Defendant raises several challenges to
            limitations imposed by the client or                 Plaintiff's request, which are addressed below.
            the circumstances; (8) the amount
            involved and the results obtained;
            (9) the experience, reputation, and                  A. Identification of Timekeepers and Reasonableness of
            ability of the attorneys; (10) the                   Fees
            ‘undesirability’ of the case; (11) the               Plaintiff seeks a total of $77,849.90 for seven employees
            nature and length of the professional                performing work for Ms. Rogers over the course
            relationship with the client; and (12)               of litigation. Defendant urges the Court to refuse
            awards in similar cases.                             Plaintiff's request for these employees' fees because Ms.
                                                                 Rogers “does not identify seven timekeepers or provide
Hensley, 461 U.S. at 430 n. 3.                                   supporting documentation to justify the reasonableness of
                                                                 their fees.” (Doc. No. 231 at 2.) Specifically, Defendant
Generally, there is a “strong presumption” that a                alleges that Plaintiff “has not met her burden of
prevailing party is entitled to the lodestar amount.             establishing that the rate or amount of time billed is
Adcock–Ladd v. Sec'y of Treasury, 227 F.3d 343, 350              reasonable with regard to the following timekeepers:
(6th Cir.2000) (citing City of Burlington v. Dague,              Lawrence Kamm ($1,935.50), Katie Marcottee ($45.00),
505 U.S. 557, 562, 112 S.Ct. 2638, 120 L.Ed.2d 449               Robin Barry ($970.00), Alan Gentry ($13,155.65), Nancy
(1992)). However, a court may adjust the lodestar “to            Hardt ($61,072.75), Audrey Anderson ($150.00), and
reflect relevant considerations” of the particular case,         Charla Chumney ($521.00).” (Id. at 3.) Defendant
including the abovementioned twelve factors. Adcock–             argues that Plaintiff's failure to identify the positions


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4000 Filed 07/12/16 Page 77 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

and qualifications of each employee—whether they are            suggested rates in the same manner it scrutinizes lawyer
lawyers, paralegals, or administrative staff—precludes          time and rates.” Ramos v. Lamm, 713 F.2d 546, 559
recovery for these fees. (Id. at 4.)                            (10th Cir.1983). Although Plaintiff provides significant
                                                                documentation on the hourly activities of each employee,
 *3 “The party seeking attorneys fees bears the burden          counsel for Plaintiff failed to provide evidence to justify
of documenting [her] entitlement to the award.” Reed v.         her request for these employees' hourly rates, nor does
Rhodes, 179 F.3d 453, 472 (6th Cir.1999) (citing Webb           counsel provide evidence that these requested rates are the
v. Dyer Cnty. Bd. of Educ., 471 U.S. 234, 242, 105 S.Ct.        prevailing market rate for paralegal work. A judge in this
1923, 85 L.Ed.2d 233 (1985)). In order to enable the Court      District, when faced with the same lack of documentation
to make a determination regarding the reasonableness of         or support for paralegal fees of upwards of $100.00 per
the hours and rates requested, “[t]he fee applicant ‘should     hour, found that $75.00 per hour for paralegal time was
submit evidence supporting the hours worked and rates           the appropriate rate. Baltimore v. City of Franklin, No.
claimed.’ ” Reed, 179 F.3d at 472 (citing Hensley, 461 U.S.     06–0578, 2008 WL 2437637, at *6 (M.D.Tenn. June 16,
at 433). Where the documentation is inadequate, the court       2008). Accordingly, in light of Baltimore and the lack of
may reduce the award accordingly. Hensley, 461 U.S. at          documentation provided by Ms. Rogers justifying higher
433.                                                            hourly rates, the Court will award those employees that it
                                                                has determined to be paralegals a rate of $75.00 per hour
Defendant is correct in asserting that Plaintiff's              for the hours reasonably expended on this litigation.
documentation in support of the hourly rate charged to
each of the seven employees listed above is insufficient.        *4 Based on Ms. Rogers' affidavit and the requested
This Court is unable to determine with a high degree of         rates, the Court assumes that the following employees are
certainty that some of the listed employees are entitled        paralegals: Lawrence Kamm, Audrey Anderson, Robin
to the rate at which Plaintiff requests compensation.           Barry, Alan Gentry, Nancy Hardt, and Carla Chumney.
However, Ms. Rogers' affidavit in support of the fees           Accordingly, the Court will award Plaintiff fees for these
provides some indication of the qualifications and              employees at the rate of $75.00 per hour for the hours that
positions of her employees, from which the Court                they reasonably expended on this litigation.
can deduce that these employees are paralegals. After
discussing the traditional hourly rates for attorneys in her    The Court cannot assume, however, that Ms. Marcottee
practice, Ms. Rogers stated that she “charge[s] between         is a paralegal. Plaintiff requests a total of $45.00 for
Seventy–Five Dollars ($75) and One Hundred Dollars              her work at a rate of $45.00 per hour. This requested
($100) per hour for [her] paralegals' time.” (Doc. No. 210–     rate falls well below the standard range for paralegals at
2 at 2.) Ms. Rogers further stated that her “paralegals         Helen Rogers & Associates. (Doc. No. 210–2 at 2.) The
are experienced in this field and assisted greatly in this      Court therefore assumes that Ms. Marcottee is neither a
case ... [and] have undergraduate degrees and paralegal         paralegal nor an attorney. Owing to the lack of sufficient
certificates.” (Id.) Plaintiff's First Fee Motion only          detail regarding her position or qualifications, the Court
identifies two attorneys from Ms. Rogers' office who            finds the documentation inadequate to support an award
worked on this case: Ms. Rogers and Siew–Ling Shea. (Id.)       of fees for Ms. Marcottee's work. Accordingly, the Court
From this information, the Court finds that the remaining       will reduce Plaintiff's request for fees as it pertains to work
employees are paralegals, since they were not identified        performed by Ms. Marcottee in the amount of $45.00.
specifically as attorneys and were billed at rates consistent
with the firm's standard paralegal range.
                                                                B. Reasonableness of Attorney Helen Rogers' Hourly
Fees for paralegal services are recoverable; the Supreme        Rates
Court has found that the term “attorney fees” as used           Plaintiff seeks an hourly rate for Ms. Rogers ranging from
in 42 U.S.C. § 1988 embraces the fees of paralegals             $150.00 to $350.00 per hour for 286.35 hours over the
as well as attorneys. Richlin Sec. Serv. Co. v. Chertoff,       course of litigation, for a total of $92,165.00. Defendant
553 U.S. 571, 580, 128 S.Ct. 2007, 170 L.Ed.2d 960              urges the Court to reduce Plaintiff's requested fees for Ms.
(2008). In determining the reasonableness of paralegal          Rogers because “the hourly rates for work performed by
fees, “the court should scrutinize the reported hours and       [Plaintiff's] attorneys are unreasonable.” (Doc. No. 231
                                                                at 2.) Specifically, Defendant argues that “Ms. Rogers'


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4001 Filed 07/12/16 Page 78 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

rate should be reduced to account for the drastic increase      support here, nor justification as to why or how she earned
of her billing rate over the course of this litigation,”        a more than a 100 percent increase in her hourly billing
because “[t]here is no explanation provided as to how the       rate during the course of this litigation.
[hourly] rates were calculated or what system was used to
determine the amount or timing of rate increases.” (Id. at      The Court is persuaded that Ms. Rogers' proposed hourly
5.) Defendant proposes that the Court award Ms. Rogers          rates of $300.00 and $350.00 are excessive based on awards
an hourly rate of $225.00 for all hours billed above that       in recent cases involving lawyers with similar experience,
rate, for a total reduction of $29,323.75. (Id. at 5.)          and the lack of sufficient evidence provided to justify
                                                                her rate as comporting with prevailing market values.
Ms. Rogers' affidavit reveals that Ms. Rogers has               However, based on Ms. Rogers' substantial experience
practiced law since 1980 and is a senior member of her          and the rates awarded to similarly experienced attorneys
firm. (Doc. No. 210–2 at 1.) Additionally, she is certified     in this District, the Court finds that Defendant's proposed
as a Civil Trial Specialist by the Tennessee Commission         reduction in Ms. Rogers' rate is too drastic. Further,
of Continuing Legal Education & Specialization and              this Court has acknowledged that in some instances it is
the National Board of Trial Advocacy, and she is a              appropriate to stagger an attorney's hourly rate over the
Rule 31 Mediator. (Id.) However, Plaintiff provides no          course of litigation. Harris v. Metro. Gov't of Nashville,
supportive documentation justifying or explaining the           No. 04–0762, 2009 WL 2423306, at *4 (M.D.Tenn. Aug.6,
multiple increases in Ms. Rogers' hourly billing rate from      2009). Accordingly, in light of the prevailing market
$150.00 to $350.00 during the course of this litigation.        rates that judges within this District have acknowledged,
Ms. Rogers' affidavit only enumerates her professional          the Court finds that a reduction to $275.00 per hour
qualifications and states that her “usual and customary         is warranted for Ms. Rogers' hours billed at or above
rates for professional services since 2004 when [she] began     $300.00. The Court will not otherwise reduce Ms. Rogers'
representing [Plaintiff] ... has ranged from One Hundred        rates for hours that were reasonably expended on this
Fifty Dollars ($150) per hour to Three Hundred Fifty            litigation.
Dollars ($350) per hour.” (Doc. No. 210–2 at 2–3.)
Plaintiff states in conclusory fashion that the “hourly rates
billed for the attorneys involved in this case are in keeping   C. Reasonable Relation of Time Spent to Litigation
with the market rates prevailing in the community for           Defendant further urges the Court to reduce
similar services by lawyers of reasonable skill, experience,    Plaintiff's requested fees because “the time spent [by
and reputation” (Doc. No. 210 at 6), but provides no            Plaintiff's attorneys] was not reasonably related to the
documentary support other than the affidavit of Plaintiff's     litigation.” (Doc. No. 231 at 2.) Specifically, Defendant
counsel to substantiate such a claim.                           alleges that Plaintiff's counsel seeks to recover “at least
                                                                $6,595.50 in fees for time spent on work for other cases
 *5 In 2008, a judge in this District awarded a rate            or unrelated matters,” such as “time spent related to
of $250.00 to $275.00 per hour to three attorneys who           [Plaintiff's] claim for social security disability benefits,
provided documentary support indicating that their rates        for workers' compensation benefits, and other matters
“were consistent with fee awards to other Nashville-            unrelated to this case.” (Id. at 6.) Defendant objects to a
based attorneys in other civil rights cases before courts       total of sixty-two individual entries for time spent by Ms.
in this district.” Ibarra v. Barrett, No. 05–0971, 2008 WL      Rogers and her employees. (Doc. No. 231–1.)
2414800, at *2 (M.D.Tenn. June 12, 2008). On another
occasion, after ordering a decrease from a requested            The Supreme Court has held that a district court should
hourly rate of $350.00 per hour, a judge in this District       exclude from the lodestar calculation hours that were
granted an hourly rate of $275.00 per hour for an attorney      not “reasonably expended” on pursuing the immediate
who had been in private practice for fifteen years and          litigation. Hensley, 461 U.S. at 434. As such, “[c]ounsel
focused his practice on civil rights. Randolph v. Schubert,     for the prevailing party should make a good faith effort
No. 06–0050, 2007 WL 2220407, at *2–3 (M.D.Tenn.                to exclude from a fee request hours that are excessive,
July 27, 2007). In both cases, the rates requested by           redundant, or otherwise unnecessary, just as a lawyer in
the attorneys were supported by affidavits from outside         private practice is ethically obliged to exclude such hours
counsel. Plaintiff has provided no such documentary             from his fee submission.” Id. Where “[n]o information
                                                                has been provided regarding the relevance or relationship


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4002 Filed 07/12/16 Page 79 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

of the other matters ... for which professional time was       231 at 6), and the Court finds no record of High's direct
expended to the present case,” fees requested for time         involvement in this litigation. The Court therefore must
spent on those matters will be rejected. Tobin v. Gordon,      assume that he is unrelated to this litigation. Because
614 F.Supp.2d 514, 526–27 (D.Del.2009). The Court              this billing entry consisted of two activities and one was
therefore declines to award to Plaintiff any fees billed by    unrelated to this litigation, the Court finds that a fifty
her attorneys for time entries that are unrelated to her       percent reduction is warranted for this time entry. As such,
successful civil rights claims.                                the Court will reduce Plaintiff's award by 0.95 hours for
                                                               the time spent by Robin Barry on this particular task.
 *6 Defendant claims that Ms. Rogers personally billed
a total of $4,007.50 for time entries unrelated to this        Finally, the Court finds that Defendant is also correct
litigation. (Doc. No. 231–1.) The Court finds that the         in challenging a portion of the time entries for work
majority of the entries Defendant claims were unrelated        performed by Nancy Hardt, which Defendant alleges
were, in fact, reasonable expenditures of Ms. Rogers' time     is unrelated to the litigation. Ms. Hardt billed multiple
as they related directly to the litigation. For example,       entries relating to Plaintiff's workers' compensation
Defendant challenges multiple entries where Ms. Rogers'        claims, Social Security claims, and disability claims. 2
time entries dealt with Martin Holmes. A review of the         There is nothing in the record connecting these claims
case docket reveals that Mr. Holmes was a co-counsel           to the instant litigation. As such, the Court finds that
for Plaintiff (Doc. No. 83) until January 27, 2009, at         these specific entries were not reasonably expended on
which point this Court permitted him to withdraw his           this litigation. Where the documentation includes multiple
representation owing to a conflict of interest (Doc. No.       activities per time entry and the Court can determine that
91), and Ms. Rogers stopped billing time entries relating      the entry partially related to the litigation, the Court will
to him.                                                        only partially reduce the fees requested to account for
                                                               unrelated activities. Accordingly, the Court will reduce
Nevertheless, the Court does find that several of Ms.          Plaintiff's award by 10.60 hours for time spent by Ms.
Rogers' time entries were not reasonably expended on this      Hardt on matters not related to the litigation.
litigation. On several occasions, Ms. Rogers submitted
time entries for work related to Plaintiff's Social Security   2      The Court finds that Ms. Hardt's time entries on
Administration request, workers' compensation claims,
                                                                      the following dates were not reasonably expended
and disability claims. 1 There is nothing in the record               in relation to the immediate litigation: November 1,
connecting these claims to the instant litigation. As                 2006; August 8, 2007; August 13, 2007; August 15,
such, the Court finds that these specific entries were not            2007; October 31, 2007; November 15, 2007 (one-half
reasonably expended on this litigation. Accordingly, the              reduction); April 18, 2008 (one-half reduction); April
Court will reduce Plaintiff's award by 3.40 hours for                 23, 2008; April 30, 2008; June 17, 2008; July 16, 2009;
time spent by Ms. Rogers on matters not related to the                July 22, 2009; January 4, 2010 (one-third reduction);
litigation.                                                           January 6, 2010; January 7, 2010; February 11, 2010,
                                                                      March 10, 2010 (one-half reduction); March 22, 2010;
                                                                      July 28, 2010 (one-half reduction); February 14, 2011
1      The Court finds that Ms. Rogers' time entries on               (one-half reduction). (See Doc. No. 210–2 at 30, 36,
       the following dates were not reasonably expended               41, 48–49, 59, 60–61; Doc. No. 22902 at 4–5.)
       in relation to the immediate litigation: November 8,
       2007; November 11, 2007; December 12, 2007; April
                                                               D. Unreasonableness or Duplication of Fees for Clerical
       24, 2008; January 18, 2009. (See Doc. No. 210–2 at
                                                               Tasks
       10, 12, 14.)
                                                                *7 Defendant further urges the Court to reduce Plaintiff's
Similarly, the Court finds that Defendant is correct in        requested fees because Plaintiff's “fees sought include fees
challenging a time entry for Robin Barry on September          for clerical tasks not recoverable as attorneys fees or
28, 2005, wherein Ms. Rogers billed 1.9 hours for Barry        was otherwise excessive or duplicative.” (Doc. No. 231
to “[d]raft response to Whirlpool position statement:          at 2.) Specifically, Defendant alleges that Plaintiff seeks
letter to D. High enclosing proposed response and EEOC         compensation for clerical work and for fees resulting from
ltr” (Doc. No. 210–2 at 26). Defendant alleges that High       “overstaffing or duplicative efforts, excessive overbilling,
was Plaintiff's workers' compensation attorney (Doc. No.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4003 Filed 07/12/16 Page 80 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

and unnecessary time spent on simplistic tasks.” (Id. at 7,    are classifiable as clerical. In particular, both employees
9.)                                                            repeatedly billed time for entries such as copying files,
                                                               organizing documents, and mailing correspondence. As
                                                               such, the Court will reduce the final hours calculated for
1. Time Spent on Clerical Work                                 both Mr. Gentry and Ms. Hardt by seven percent.
Defendant seeks to reduce the fees sought by two of
Ms. Rogers' employees, Nancy Hardt and Alan Gentry,
by seventy-five percent, arguing that approximately            2. Duplicative, Excessive, or Unnecessary Billing
seventy percent of their entries “are for purely clerical       *8 Defendant further seeks to reduce the fees sought
tasks and the remaining entries include a reference            by Ms. Rogers and her employees by five percent
to a clerical task with an unknown amount of time              for duplicative efforts, overstaffing and overbilling, and
expended on said task.” (Id. at 8.) Defendant argues           unnecessary time spent on simplistic tasks. Defendant
that clerical activities, such as indexing documents,          argues that Ms. Rogers' “fee submission is replete
reviewing and organizing correspondence and pleadings,         with entries for intra-office conferences, emails between
managing calendars, printing documents, making copies          counsel and paralegals in the same office, and multiple
and preparing poster exhibits, should not be compensated       entries by many individuals to ‘review’ the file.” (Id. at
as legal work. (Id.)                                           9.) Defendant argues that the “duplicative and excessive
                                                               time spent on this matter is without explanation and
A district court within the Sixth Circuit has found that       [Defendant] should not be forced to compensate counsel
“[t]ime spent by a lawyer on purely clerical matters not       for [Plaintiff] for their own inefficiency.” (Id.)
calling for the exercise of legal expertise or judgment,
and which could be equally well performed by clerical          The Sixth Circuit has recognized “the propriety of across-
staff, should not be recoverable under § 1988.” Tierney        the-board reductions based upon excessive or unnecessary
v. City of Toledo, No.83–430, 1989 WL 161543, at *12           hours.” Hisel v. City of Clarksville, No. 04–0924, 2007
(N.D.Ohio Aug.28, 1989). Other district courts within          WL 2822031, at *4 (M.D.Tenn. Sept.26, 2007) (citing Auto
this Circuit have arrived at a similar conclusion, albeit      Alliance Intern., Inc. v. U.S. Customs Serv., 155 F. App'x
for clerical fees relating to non-civil rights claims. See     226, 228 (6th Cir.2005)). However, the Sixth Circuit has
Richards v. Johnson & Johnson, No. 08–279, 2010 WL             also held that “time spent by counsel discussing the case
3219138, at *7 (E.D.Tenn. May 12, 2010) (finding that          is properly compensable, and the mere fact that attorneys
clerical tasks “are part of the overhead cost necessary to     confer with one another does not automatically constitute
operate any law firm, and should not be compensated by         duplication of efforts.” Sigley v. Kuhn, No. 98–3977,
a fee award”); Ferrero v. Henderson, No.00–00462, 2005         2000 WL 145187, at *8 (6th Cir. Jan.31, 2000) (quoting
WL 1802134, at *3 (S.D.Ohio July 28, 2005). Additionally,      Glover v. Johnson, 138 F.3d 229, 252 (6th Cir.1998)).
the Sixth Circuit declined to find abuse of discretion where   Only in certain specific instances will the Sixth Circuit
a district court reduced a fee award by striking clerical      rely on “the arbitrary but essentially fair approach of
tasks, finding that “[w]hile reviewing correspondence can      simply deducting a small percentage of the total hours
constitute legal work, receiving and filing correspondence     to eliminate duplication of services.” Northcross v. Bd. of
presumably constitutes clerical work.” B & G Mining, Inc.      Ed. of Memphis City Schs., 611 F.2d 624, 636–37 (6th
v. Dir., Office of Workers' Comp. Programs, 522 F.3d 657,      Cir.1979).
666 (6th Cir.2008).
                                                               After reviewing a number of cases in which a percentage
In light of the foregoing, the Court will decline to award     reduction was found to be warranted, the Court finds that
fees to Plaintiff for hours billed by her attorneys that       the extent of the alleged duplicative or excessive billing in
amount to clerical tasks and constitute the overhead cost      this case does not rise to the requisite level. Defendant's
normally expected in legal practice. The Court finds no        conclusory allegations that Plaintiff repeatedly overbilled
evidence for Defendant's allegation that Ms. Hardt or          or engaged in duplicative billing are insufficient to warrant
Mr. Gentry billed in excess of seventy percent of their        an across-the-board reduction of Plaintiff's remaining
time to clerical tasks. However, after reviewing their time    requested fees, where the requested reduction is not
entries, the Court finds that each billed approximately        proportional to the instances that Defendant cites as
seven percent of their total billed hours to items that        indicative of the overall trend of duplication or excess.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4004 Filed 07/12/16 Page 81 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

Although another judge in this District has found such         adequate judicial review will not suffice in securing such
reductions warranted in the past, the reductions were          a significant reduction in Plaintiff's requested fees. As
imposed for significantly more egregious infractions that      such, Defendant's request to reduce Plaintiff's fee award
were identified at a much higher rate of occurrence. See       on these grounds is denied.
Hisel, 2007 WL 2822031, at *5–6 (reducing the attorney
fee award by twenty five percent for excessive billing for
simplistic tasks where the issues in the case were “hardly     F. Lodestar Amount for Each Timekeeper
new or novel to Plaintiff's counsel”). As such, Defendant's    After making the foregoing reductions, the Court
request to reduce Plaintiff's fee award on these grounds is    establishes the following lodestar amounts for each
denied.                                                        timekeeper for which Plaintiff requests fees. The Court
                                                               awards Plaintiff 160.3 hours billed by Mr. Allman at a
                                                               rate of $350.00 per hour 3 for a total of $56,105.00. For
E. Block Billing                                               the hours billed by Ms. Rogers, the Court awards Plaintiff
Defendant further urges the Court to reduce Plaintiff's        2.6 hours at $150.00 per hour, 4.0 hours at $160.00 per
requested fees by fifteen percent because Plaintiff's          hour, 13.9 hours at $175.00 per hour, and 265.95 hours
“block billing and vague time records prevent meaningful       at $275 per hour, for a total of $76,598.75, accounting
review.” (Doc. No. 231 at 2.) Specifically, Defendant          for the foregoing reductions made to her rate and hours
alleges that Plaintiff's “billing records contain vague        reasonably spent on the litigation. For the hours billed by
entries and excessive block billing, without any means         Siew–Ling Shea, the Court awards Plaintiff 4.8 hours at
of apportioning the total time billed to individual            $100.00 per hour, 92.1 hours at $150.00 per hour, and 11.3
tasks, making a detailed segregation of fees virtually
                                                               hours at $160.00 per hour, 4 for a total of $16,103.00. For
impossible.” (Id. at 12.)
                                                               the six employees whom the Court identified as paralegals,
                                                               the Court awards Plaintiff a total of 816.43 hours at a rate
 *9 Where a party provides “detailed, itemized billing
                                                               of $75.00 per hour for a total of $61,232.25, accounting
records that specify, for each entry, the date that the
                                                               for the foregoing reductions made to rates and hours
time was billed, the individual who billed the time, the
                                                               reasonably spent on the litigation.
fractional hours billed (in tenths of an hour), and the
specific task completed,” the Sixth Circuit has held that
                                                               3      Defendant has not objected to this rate, and the Court
“explicitly detailed descriptions are not required,” even
where “some of the time entries in counsel's billing                  finds it reasonable based on Mr. Allman's significant
                                                                      experience in the area of civil rights employement
statement provide only the briefest description of the
                                                                      discrimination litigation, and the fact that his rates
task completed.” Imwalle v. Reliance Med. Prods., Inc.,
                                                                      remained consistent throughout the course of this
515 F.3d 531, 554 (6th Cir.2008). An across-the-board
                                                                      litigation.
reduction of fifteen percent is unwarranted where, as
here, “[c]ounsel's billing entries, when read in the context   4      Defendant has not objected to these rates, and the
of the billing statement as a whole and in conjunction                Court finds them reasonable based on Ms. Shea's level
with the timeline of the litigation, support the district             of experience.
court's determination that the hours charged were actually
and reasonably expended in the prosecution of the              G. Request for Lodestar Multiplier
litigation.” Id. (citing United Slate, Local 307 v. G &        Plaintiff seeks an upward adjustment of the lodestar
M Roofing & Sheet Metal Co., 732 F.2d 495, 502 (6th            amount to compensate for the expertise of her counsel
Cir.1984)). Counsel for Plaintiff satisfied that standard by   and the success obtained, as well as the undesirability
enumerating in detail each activity for which she seeks        of the case. (Doc. No. 210 at 10–11.) It is unclear
recovery, as well as the increments of time spent on           to the Court what multiplier Plaintiff requests, because
each item. To the extent previously discussed, the Court       Plaintiff's First Fee Motion alternately requests a lodestar
is able to identify distinct claims and determine with a       multiplier of 2.0 times (id. at 9) or 0.75 times (id. at 12).
high degree of certainty that the requested hours were         Defendant objects to the imposition of any multiplier,
actually and reasonably expended in the prosecution of         arguing that an “upward adjustment to an attorney's
the litigation. Again, Defendant's conclusory allegations      lodestar hourly rate is permissible in certain rare and
that Plaintiff's documentation is insufficient to allow        exceptional cases, supported by both specific evidence on


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4005 Filed 07/12/16 Page 82 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

the record and detailed findings.” (Doc. No. 231 at 10.)         attorneys' reasonable hourly rate. See Geier, 372 F.3d
Plaintiff acknowledges this same “exceptional and rare”          at 792 (quoting Hensley, 461 U.S. at 434 n. 9) (finding
language and appears to argue that her case satisfies such       that “ ‘[m]any of [the twelve factors discussed in Hensley
a standard. (Doc. No. 210 at 10.)                                ] usually are subsumed within the initial calculation of
                                                                 hours reasonably expended at a reasonable hourly rate’ ”).
 *10 The Supreme Court recently recognized that there
exist limited circumstances in which superior attorney           Additionally, although Plaintiff secondarily requests the
performance is not adequately taken into account in the          enhancement owing to the undesirability of the case, the
lodestar calculation for an award of reasonable attorney         Court finds the evidentiary basis for such a claim to
fees in a civil rights case under § 1988. Perdue v. Kenny        be lacking. In Baltimore, the court found that “[m]any
A. ex rel. Winn, ––– U.S. ––––, ––––, 130 S.Ct. 1662,            lawyers would not consider this case to be particularly
1674, 176 L.Ed.2d 494 (2010). However, the Supreme               ‘desireable’ [sic] to accept on a contingent fee basis where
Court qualified this observation by stating that such            multiple current employees wished to sue their employer
“circumstances are rare and exceptional, and require             for what they considered to be a lengthy and pervasive
specific evidence that the lodestar fee would not have been      policy or practice of racial discrimination.” 2008 WL
adequate to attract competent counsel.” Id. (citing Blum         2437637, at *5. Here, however, counsel for Plaintiff has
v. Stenson, 465 U.S. 886, 899, 104 S.Ct. 1541, 79 L.Ed.2d        not presented any support regarding the contingent nature
891 (1984)). As such, an upward adjustment based on the          of their fees nor the rationale for determining the case to be
quality of representation may be justified “only in the rare     desirable short of claiming that Plaintiff would be “looked
case where the fee applicant offers specific evidence to         upon by the public as playing the race card to receive
show that the quality of service rendered was superior to        benefits [she is] not otherwise entitled to.” (Doc. No. 210
that one reasonably should expect in light of the hourly         at 12.) Furthermore, Plaintiff's attorneys only represented
rates charged and that the success was ‘exceptional.’ ”          one party, not multiple parties, significantly lessening the
Blum, 465 U.S. at 899. Plaintiff has provided no such            complexity and burden of the litigation. Accordingly,
evidence here, other than stating that the quality of            despite the success obtained by Plaintiff's counsel, the
her representation was exceptional. Additionally, Plaintiff      Court finds that a lodestar multiplier, reserved for cases
does not claim that the representation was superior to what      in which exceptional success is obtained, is not warranted
was expected, or that the success obtained was exceedingly       in this case.
unusual or extraordinary for a comparable civil rights
claim.
                                                                 H. Costs Already Taxed
When faced with a Title VII racial discrimination case that       *11 Plaintiff also seeks review of the Clerk of Court's
dealt with a city's repeated failure to promote a minority       Final Taxation of Costs. Defendant urges the Court to
employee, a judge in this District found that a multiplier       deny Plaintiff's request in its entirety because Plaintiff
of 0.10 to be warranted based on the difficulty of proving       “cannot recover for costs already taxed on March 15th,
the employee's claim, which had developed over a span of         2010.” (Doc. No. 231 at 2.) Specifically, Defendant argues
many years, and the exceptional success obtained by the          that “[t]he costs sought in [Plaintiff's] Motion, are the
employee's counsel in securing a settlement for his client.      same costs sought in the Bill of Costs,” and “should be
Baltimore, 2008 WL 2437637, at *6. However, Baltimore            denied because the Clerk already taxed these costs and
is distinguishable from the present case. Although the           because they are not recoverable as part of the Motion for
length and difficulty of this litigation is not disputed,        Fees.” (Id. at 12.)
Plaintiff's claims of racial and sexual harassment focused
on a relatively short period of time and a few isolated          Upon receiving a Motion for Review of the Clerk of
incidents witnessed by multiple employees of Defendant,          Court's Final Taxation of Costs, the Court reviews
providing a stronger evidentiary basis from which counsel        the Clerk's determination de novo. Reed v. Cracker
could prove Plaintiff's case. While counsel for Plaintiff        Barrel Old Country Store, Inc., 171 F.Supp.2d 751, 755
was ultimately successful in securing a judgment for             (M.D.Tenn.2001). In seeking an alteration of the Clerk's
Plaintiff, the Court finds that the evaluation of this success   taxation of costs, “ ‘[t]he party objecting to the clerk's
has already been subsumed by the calculation of the              taxation has the burden of persuading the court that it
                                                                 was improper.’ ” BDT Prods., Inc. v. Lexmark Int'l, Inc.,


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4006 Filed 07/12/16 Page 83 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

405 F.3d 415, 420 (6th Cir.2005) (quoting 10 Charles Alan       recoverable fees. Upon examination, these costs appear
Wright et al., Federal Practice and Procedure § 2679 (3d        to be fees for legal services performed by Netwon,
ed.1998)). Accordingly, the burden rests on Plaintiff to        Becker, Bouwkamp and Pendoski, PC, Attorneys at Law.
persuade the Court that the amount taxed by the Clerk of        The itemized receipt billed Plaintiff for such activities
$4,570.95 is insufficient or inaccurate.                        as “review voicemail,” “prepare letter,” “examine law
                                                                re: service of out of state witness subpoena,” and “file
In making the determination of costs, the Clerk relied by       pleading in district court.” (Doc. No. 204–2 at 18–21.)
incorporation on the arguments laid out in Defendant's          The Court finds that these fees are for legal services are
Objections to Plaintiff's Amended Bill of Costs, and            not recoverable as costs, especially not as costs billed as
made the reduction as requested by Defendant for the            printed or electronically recorded transcripts. As such, the
reasons stated in Defendant's Objections. (Doc. No. 212         Clerk's denial of such costs to Plaintiff is affirmed.
(referencing Doc. No. 208)). Therefore, in order to seek
sufficient review of the Clerk's Taxation of Costs, Plaintiff   Defendant further challenged $28.00 in costs for postage
must respond to Defendant's Objections in order to              relating to copies of transcripts, arguing that such costs
persuade the Court that the Taxation was improper.              are not enumerated in 28 U.S.C § 1920 and are therefore
Plaintiff has largely failed to do so. In her Motion            not recoverable. Plaintiff does not provide support for her
for Review, Plaintiff provides only a reference to her          claim that 28 U.S.C $ 1920 allows for recovery for postage
Memorandum in Support as providing the rationale for            costs, and the Court finds that she has not carried her
her request for review. (Doc. No. 223.) Upon examination,       burden in establishing that they are recoverable despite the
Plaintiff's Memorandum fails to address the majority of         fact that they are not specifically enumerated in the statute
the costs denied by the Clerk, and provides rationales only     as recoverable costs. As such, the Clerk's denial of such
for her requests for costs for court reporters' transcripts     costs to Plaintiff is affirmed.
and costs for exemplification and copies. As such, the
Court finds that Plaintiff has not carried her burden in
challenging the Clerk's taxation of costs for a majority of     ii. Not Reasonable or Necessary
the costs taxed. Therefore, requests for costs that were not    Defendant challenged $405.35 in costs for the depositions
granted by the Clerk are denied, apart from the requests        of Karen Carey and Donald Payne, arguing that the
for costs for court reporters' transcripts and copies, which    subpoenas duces tecum and subsequent depositions were
will be addressed below.                                        used to obtain several documents and testimony as to the
                                                                authenticity of those documents which was never used
                                                                in trial. “Ordinarily, the cost of taking and transcribing
1. Costs for Court Reporters' Transcripts                       depositions reasonably necessary for the litigation are
Plaintiff seeks an award of costs of $7,839.72 for fees for     allowed to the prevailing party. Necessity is determined as
printed or electronically recorded transcripts necessarily      of the time of taking, and the fact that a deposition is not
obtained for use in this case. (Doc. No. 204 at 1.)             actually used at trial is not controlling.” Sales v. Marshall,
Plaintiff's Memorandum asks the Court to award costs            873 F.2d 115, 120 (6th Cir.1989). As such, the Court finds
for deposition transcripts where the Court determines “it       Defendant's argument without merit, and awards Plaintiff
was ‘necessarily obtained for use in the case.’ ” (Doc. No.     the requested costs of $405.35 for the depositions.
210 at 12) (quoting LeVay Corp. v. Dominion Fed. Savings
& Loan Assoc., 930 F.R.D. 522, 528 (4th Cir.1987)).             Defendant further challenged $50.00 in costs for the
Defendant challenged $3,804.47 of that request on the           appearance fee for Alan Bouwkamp, a court reporter
grounds that the costs were not recoverable as costs            from Connor and Associates, where Plaintiff canceled
under 28 U.S.C. § 1920, or, in the alternative, were not        the deposition after the reporter had already arrived.
reasonable or necessary for use in this case. (Doc. No. 208     Defendant argued that the appearance was unnecessary
at 2–12.)                                                       because Plaintiff knew the day prior that the deposition
                                                                had been rescheduled and therefore could have prevented
                                                                the costs from being incurred. (Doc. No. 208 at 8.) The
i. Not Recoverable as Costs                                     Court finds that this cost was indeed unnecessary, as
 *12 Defendant challenged $1,687.25 in costs billed as          evidenced by the letter from Plaintiff's attorney attached
printed or electronically recorded transcripts as non-          as an exhibit to Defendant's Response in Opposition,


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4007 Filed 07/12/16 Page 84 of 117
E.E.O.C. v. Whirlpool Corp., Not Reported in F.Supp.2d (2011)
2011 WL 3321291

confirming the rescheduled deposition the day prior to the         of the purpose or use of these copies, and only cites law
                                                                   standing for the proposition that such copies may be
date the cost was incurred. (Doc. No. 208–4). As such, the
                                                                   taxable as costs if the Court finds they were necessarily
Clerk's denial of such costs to Plaintiff is affirmed.
                                                                   obtained for use in the case. (Doc. No. 210 at 13.) Without
                                                                   any supportive documentation or declarations as to the
Finally, Defendant challenged three cost requests on the
                                                                   nature of the documents copied or their use, the Court is
grounds that Plaintiff failed to specify the purpose of
                                                                   unable to determine whether these costs were reasonably
these costs and to what end they were used. Defendant
                                                                   necessary for use in this case. As such, the Clerk's denial
challenged $1,155.99 in costs for work of a court
                                                                   of such costs to Plaintiff is affirmed.
reporter named LaVonne Cleeton for an unspecified
deposition; $460.00 in costs for copies of transcripts
and DVDs of video depositions which Defendant argued               3. Final Costs Taxed
were unnecessary and solely for Plaintiff's counsels'              After review of the Clerk's Final Taxation of Costs, the
convenience; and $17.88 for fees for printed and                   Court awards Plaintiff the original taxation of costs in
electronically recorded transcripts where the invoices in          the amount of $4,570.95, and further awards Plaintiff the
that category totaled less than the amount requested on            additional costs of $405.35 for the depositions of Karen
Plaintiff's Bill of Costs. Because there is no documentation       Carey and Donald Payne. In total, the Court awards
provided to identify the nature of these costs, the Court is       Plaintiff costs in the amount of $4,976.30.
unable to determine whether these costs were reasonably
necessary for use in this case. As such, the Clerk's denial
of such costs to Plaintiff is affirmed.                            IV. CONCLUSION
                                                                   Plaintiff's Fee Motions and Motion for Review are
                                                                   GRANTED with the foregoing adjustments. The Court
2. Costs for Exemplification and Making Copies                     finds that Plaintiff is entitled to an award of $56,105.00
 *13 Plaintiff seeks an award of costs of $4,925.20 for            for Mr. Allman's work, $153,934.00 for Ms. Rogers' work,
exemplification and the costs of making copies of any              and $4,976.30 in costs.
materials where the copies are necessarily obtained for use
in the case. (Doc. No. 204 at 1.) Defendant objects to             It is so ORDERED.
the entire request for these costs, arguing that “because
of the limited documentation provided by [Plaintiff] to
support her purported copying and exemplification costs,           All Citations
it cannot be said that these costs were incurred for copies
‘necessarily obtained for use in the case.’ ” (Doc. No. 208        Not Reported in F.Supp.2d, 2011 WL 3321291
at 11.) Plaintiff's Memorandum provides no indication

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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4008 Filed 07/12/16 Page 85 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716

                                                               used excessive force. Plaintiff also alleged that the
                                                               constitutional violations committed by Defendants Clark
                   2014 WL 661716
                                                               and Short were proximately caused by customs, policies
    Only the Westlaw citation is currently available.
                                                               and practices existing within the Franklin County Sheriff's
             United States District Court,
                                                               Department, and under Defendant Sheriff Scott.
                      S.D. Ohio,
                  Eastern Division.
                                                               In February 2013, and pursuant to Federal Rule of
            Brandon J. GIBSON, Plaintiff,                      Civil Procedure 68, Defendants served an offer to allow
                         v.                                    judgment to be entered in favor of Plaintiff and against
        Sheriff Zach SCOTT, et al., Defendants.                Defendants, in the amount of $35,000 in damages for
                                                               all of Plaintiff's claims for relief. The Offer of Judgment
                     No. 2:12–cv–1128.                         specified that Plaintiff shall be entitled to an award
                             |                                 of costs, including attorney fees, in an amount to be
                       Feb. 19, 2014.                          determined by the Court, as if Plaintiff had secured
                                                               judgment against Defendants following a trial of this
Attorneys and Law Firms                                        action on the merits. Plaintiff accepted the Offer of
                                                               Judgment, and filed both his Notice of Acceptance and the
James Donald McNamara, Columbus, OH, for Plaintiff.
                                                               Offer of Judgment with this Court pursuant to Rule 68.
Scott Oliver Sheets, Mary Jane Martin, Columbus, OH,           Plaintiff then filed his Motion for Award of Attorney Fees
for Defendants.                                                and Costs, which is fully briefed and ripe for disposition.


                                                               II. Discussion
                OPINION AND ORDER                              Under the “American Rule,” parties must generally
                                                               pay their own attorney's fees regardless of the ultimate
GEORGE C. SMITH, District Judge.
                                                               outcome of a case. Hardt v. Reliance Standard Life Ins.
 *1 This matter is before the Court on Plaintiff Brandon       Co., 560 U.S. 242, 130 S.Ct. 2149, 176 L.Ed.2d 998
J. Gibson's Motion for Award of Attorney Fees and Costs        (2010). Various federal statutes, however, alter the default
(Doc. 5). The motion is briefed and ripe for disposition.      approach. Id. As applicable here, Congress enacted 42
For the reasons that follow, the Court GRANTS in part          U.S.C. § 1988 as an exception to the “general rule in
Defendant's motion.                                            our legal system ... in order to ensure that federal rights
                                                               are adequately enforced.” Perdue v. Kenny A., 559 U.S.
                                                               542, 550, 130 S.Ct. 1662, 176 L.Ed.2d 494 (2010) (internal
I. Background                                                  citations omitted). Pursuant to § 1988, in certain civil
On August 11, 2011, two officers of the Franklin County        rights actions, “the court, in its discretion, may allow
Sheriff's Department, without a warrant, consent, or           the prevailing party, other than the United States, a
the presence of exigent circumstances, entered Plaintiff's     reasonable attorney's fee as part of the costs.” See 42
home and forcibly arrested him without cause. The              U.S.C. § 1988(b); Hensley v. Eckerhart, 461 U.S. 424, 426,
officers also caused charges to be filed against Plaintiff     103 S.Ct. 1933, 76 L.Ed.2d 40 (1983). A party seeking
without cause. As a result of that conduct, Plaintiff          attorneys' fees under a fee-shifting statute such as § 1988
initiated this action on December 7, 2012, pursuant            bears the burden to show that he or she is entitled to the
to 42 U.S.C. § 1983, against Defendant Zach Scott,             amount requested. Hensley, 461 U.S. at 433; Webb v. Dyer
in his official capacity as Sheriff of Franklin County,        County Bd. of Educ., 471 U.S. 234, 242, 105 S.Ct. 1923, 85
Ohio, Defendant Franklin County Deputy Sheriff Candy           L.Ed.2d 233 (1985).
Clark, in her individual capacity, and Defendant Franklin
County Sergeant Joshua Short, in his individual capacity.       *2 When considering a motion for attorneys' fees,
Plaintiff alleged various civil rights violations, including   a court must first determine whether the petitioning
asserting that Defendants illegally entered his home,          party was the prevailing party. Hensley, 461 U.S. at
arrested him without probable cause, caused charges            433. A court next determines what fee is “reasonable.”
to be filed against him without probable cause, and            Id. “The starting point for determining the amount of


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4009 Filed 07/12/16 Page 86 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716

reasonable attorney fees is the ‘lodestar amount’ which is     made, and awards may be influenced (or at least, may
calculated by multiplying the number of hours reasonably       appear to be influenced) by a judge's subjective opinion
expended on the litigation by a reasonable hourly rate.”       regarding particular attorneys or the importance of the
Imwalle v. Reliance Med. Prods. Inc., 515 F.3d 531,            case.” Perdue, 559 U.S. at 558–59.
551–52 (6th Cir.2008) (citing Hensley, 461 U.S. at 433);
Waldo v. Consumers Energy Co., 726 F.3d 802, 821 (6th           *3 Plaintiff's counsel, James McNamara, avers that he
Cir.2013) (“[A] district court begins by determining ‘the      has expended a total of 169.90 hours in this litigation. And
fee applicant's lodestar, which is the proven number of        Plaintiff requests a rate of $450 per hour for the work of his
hours reasonably expended on the case by an attorney,          counsel. Therefore, Plaintiff's lodestar fee request is 169.90
multiplied by his court-ascertained reasonable hourly          hours of work, at $450 per hour, for a total of $76,455.
rate.” (internal quotation marks and citation omitted)).       Plaintiff argues that the number of hours expended by
The resulting sum may be adjusted to reflect factors           his counsel is reasonable, and that his counsel's hourly
such as the “results obtained.” Hensley, 461 U.S. at 434       rate is also reasonable. Additionally, Plaintiff seeks a 30
(quoting Johnson v. Georgia Highway Express, Inc., 488         percent enhancement of the requested lodestar amount.
F.2d 714, 717–19 (5th Cir.1974)); Gonter v. Hunt Valve         Plaintiff argues that an upward adjustment of 30 percent
Co., Inc., 510 F.3d 610, 621 (6th Cir.2007). In exceptional    is proper in this case considering how his counsel handled
circumstances, an upward adjustment of the lodestar            this case. Plaintiff argues that his counsel took steps to
amount may be appropriate. See Blum v. Stenson, 465            avoid protracted litigation, which benefits the lawyers, the
U.S. 886, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984). Such an       Court, and the public at large.
adjustment is only permissible if “the quality of service
rendered was superior to that one reasonably should            Defendants argue that many of the hours expended by
expect in light of the hourly rates charged” and the success   counsel were unnecessary and should not be compensated.
was “exceptional.” Id. at 889. “Determining a ‘reasonable      Defendants assert that Plaintiff's counsel's time spent
attorney's fee’ is a matter that is committed to the sound     preparing a settlement brochure, which he submitted to
discretion of a trial judge.” Perdue, 559 U.S. at 558.         the Franklin County Sheriff before filing the lawsuit,
                                                               should not be compensated. Defendants also challenge
In reaching a determination as to the proper amount            the compensation request for counsel's travel time, the
of reasonable attorneys' fees to award in a particular         amount of time related to public records research and
case, the court may implement an “across-the-board             requests, the amount of time spent on legal research,
reduction by a certain percentage as an alternative to line-   and other unnecessary tasks. Defendants also argue that
by-line reductions.” Project Vote v. Blackwell, No. 06–        Plaintiff's counsel seeks compensation at an attorney
CV–1628, 2009 WL 917737, at *6 (N.D.Ohio Mar. 31,              rate for administrative tasks, such as organizing the file,
2009) (citing Alliance Int'l, Inc. v. United States Customs    getting checks, and copying and sending documents.
Serv., 155 F. App'x 226, 228 (6th Cir.2005)). In this          Defendants generally argue that Plaintiff's counsel's use of
process of determining reasonable attorney's fees, “trial      “block billing” has compounded these problems. Finally,
courts need not, and indeed should not, become green-          Defendants argue that Plaintiff's upward adjustment
eyeshade accountants. The essential goal in shifting fees      request is inappropriate and would result in a windfall to
(to either party) is to do rough justice, not to achieve       Plaintiff's counsel.
auditing perfection. So trial courts may take into account
their overall sense of a suit, and may use estimates in
calculating and allocating an attorney's time.” Fox v.         A. Reasonableness of Hourly Rate
Vice, ––– U.S. ––––, ––––, 131 S.Ct. 2205, 2216, 180           Plaintiff's counsel requests an hourly rate of $450, and
L.Ed.2d 45 (2011). “There is no precise rule or formula        he submits his own affidavit and the affidavits of other
for making these determinations [.]” Hensley, 461 U.S. at      attorneys, namely John Marshall, Michael Rourke, and
436. Ultimately, however, “[i]t is essential that the judge    Fred Gittes, who all support his hourly rate of $450.
provide a reasonably specific explanation for all aspects      Plaintiff's counsel, Mr. McNamara, also refers the Court
of a fee determination ... Unless such an explanation          to another case in the Southern District of Ohio in
is given, adequate appellate review is not feasible, and       which the Court approved his request for compensation
without such review, widely disparate awards may be            at $400 per hour in a § 1983 action, specifically finding
                                                               as credible the opinions of respected litigators Messrs.


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4010 Filed 07/12/16 Page 87 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716

Marshall, Rourke, and Gittes. See McConaha v. City of           Billing Statement, Doc. 18–1). The Court will not award
Reynoldsburg, No. 2:06–cv–419 (S.D.Ohio July 2, 2008)           attorney's fees for these services, as purely clerical or
(Frost, J.). Defendants argue that Plaintiff's hourly rate      secretarial tasks should not be billed (even at a paralegal
request of $450 per hour is unreasonable, and they submit       rate), because “[h]ours that are not properly billed to
affidavits of two attorneys with knowledge of the legal         one's client also are not properly billed to one's adversary
marketplace in Columbus and familiarity with the billing        pursuant to statutory authority.” Hensley, 461 U.S. at
practices of attorneys advancing civil rights actions, who      437; see Missouri v. Jenkins, 491 U.S. 274, 288 n. 10, 109
indicate that the hourly rate for partners in their firms are   S.Ct. 2463, 105 L.Ed.2d 229 (1989). A “purely clerical or
substantially less than that requested by Mr. McNamara.         secretarial” activity is not billable at a paralegal's rate,
                                                                or at any rate at all, because such tasks are included in
It is undisputed that Plaintiff's counsel is an excellent       office overhead. Holmes v. Astrue, No. 3:08–1829, 2010
attorney with decades of experience litigating civil rights     WL 3220085, *2 (D.S.C. Aug.12, 2010) (citing Jenkins,
matters. Such experience commands a premium hourly              491 U.S. at 288 n. 10); see Shaffer v. Colvin, No. 4:12–
rate. Furthermore, the Court will not reach a conclusion        CV–3121, 2014 WL 185779 (N.D.Ohio Jan.16, 2014)
that implicitly undermines a previous decision of this          (noting the distinction between billable legal work and
Court specifically finding that $400 is a reasonable hourly     non-billable clerical work).
rate for Mr. McNamara. However, the Court is not
convinced that an increase to $450 per hour is consistent       It is not clear how many hours Plaintiff's counsel is
with the prevailing market rate. Therefore, the Court finds     attempting to bill for purely clerical or secretarial tasks
that Mr. McNamara has demonstrated that the prevailing          because of his use of “block billing.” Block billing involves
market rate for someone with his skill, experience, and         identifying more than one task in a single billing entry,
reputation is $400 per hour.                                    and Plaintiff's counsel's fees statement contains numerous
                                                                block billing entries. Block billing is not per se improper
 *4 Despite reaching this finding as to a reasonable            as the underlying question is whether the fee is reasonable.
hourly rate, the Court is mindful that Plaintiff's counsel's    See Pittsburgh & Conneaut Dock Co. v. Director, Office
billing statement contains all types of work consistent         of Workers' Compensation Programs, 473 F.3d 253, 273
with prosecuting a case, from purely secretarial and            (6th Cir.2007) (holding that the proper question is whether
non-legal services, to services that can be performed           the fee is reasonable and noting that other “circuits
by a paraprofessional, to work properly handled by              have rejected block-billing objections to fee awards in a
an attorney. The Court is not condemning Plaintiff's            number of contexts.”). However, block billing becomes
counsel's decision not to have a support staff, but believes    problematic in determining the reasonableness of fees
this circumstance should be considered in determining the       when, as is the case here, counsel works on the case by
appropriate amount of attorney's fees to award in this          himself, apparently with no administrative or paralegal
case. In other words, while Plaintiff's counsel's experience    support staff.
may command $400 per hour for his legal services, he
should not be compensated at $400 per hour for work that         *5 Because block billing does not provide detail as
readily may be completed by a paralegal, or for purely          to how much time was spent on each particular task,
secretarial and non-legal services. For this reason, and        Plaintiff's counsel's use of block billing makes it inherently
for additional reasons expressed below, the amount of           difficult to determine the reasonableness of his billing
attorney's fees awarded will be substantially less than the     entries. Particularly, some of the billing entries contain
amount Plaintiff requests.                                      clerical work, activities generally performed by legal
                                                                assistants, and attorney work. Thus, Plaintiff's counsel's
                                                                block billing has resulted in various types of work,
B. Reasonableness of Hours Billed                               requiring different levels of skill, being included on
As noted above, Plaintiff's counsel seeks compensation          the same entries. In response to Defendant's opposition
for purely secretarial and nonlegal services. Plaintiff's       brief, which pointed out this billing deficiency, Plaintiff's
counsel has attempted to bill for time associated with non-     counsel did assign more detailed time allocations,
legal services, such as “organiz[ing] file,” “get check for     but there remain numerous entries without detailed
public records,” “copy and send documents to client,”           apportionment. For example, the entry for August 13,
and “get notebooks and dividers.” (See McNamara


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4011 Filed 07/12/16 Page 88 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716

2012, states: “1.70 [hours:] Finish draft of complaint,          “zero bearing on defense counsel's and the Defendants'
organize exhibits, pull my hours, call to client,” and the       decision to make an offer of Judgment.” Id. The Court
entry for September 5, 2012, states: “2.20 [hours:] Get          does not agree with Defendants' contention that no time
replacement notebooks, work on notebooks, call Crystal,          spent on the settlement brochure should be compensated
call from client, do cover letters.” (Doc. 18–1). As a result,   because they would have settled the case regardless of
the Court cannot, with line-item precision, determine            receiving the document. It was certainly reasonable for
the total amount of time Plaintiff's counsel has billed          Plaintiff's counsel to submit a settlement proposal to
for purely clerical or secretarial tasks. Nonetheless, the       Defendants in an effort to resolve this matter early.
Court will consider this circumstance in determining the         However, considering the straightforward facts of this
appropriate reduction to the requested award.                    case, a majority of the time spent on the document was
                                                                 unreasonable and will not be allowed.
Other factors necessitate a significant reduction in the
number of hours allowed. In particular, the Court finds           *6 Plaintiff's counsel spent approximately 30 hours
that Plaintiff's counsel spent excessive hours working on        conducting legal research in this case, which was
a “settlement brochure” and conducting legal research,           unreasonable. Plaintiff's counsel concedes that this case
considering the relatively straightforward facts of this         “[f]rom a purely technical, legal perspective ... presented
case. Plaintiff's counsel spent approximately 38 hours           a fairly standard series of issues[.]” (McNamara Aff. at
working on the 150–page settlement brochure that was             ¶ 9). Despite this concession, Plaintiff's counsel does not
delivered to the Franklin County Sheriff's Office in             explain why an attorney, with his exceptional experience
September 2012. The settlement brochure contained                litigating civil rights cases, including police misconduct
Plaintiff's settlement proposal (which included a demand         matters, would need more than a few hours of legal
for $290,000, including attorney's fees), a draft complaint,     research in this matter. Plaintiff plainly had the facts and
a 47–page narrative discussion of Plaintiff's claims             law on his side. While it was appropriate for Plaintiff's
against Defendants, an affidavit of Plaintiff, an affidavit      counsel to thoroughly investigate the matter prior to filing
of Plaintiff's girlfriend who witnessed the events on            the Complaint, and to inquire into whether any recent
August 11, 2011, an affidavit of a former officer of the         update or change in his area of practice could be at
Franklin County Sheriff's Department who also witnessed          least potentially applicable, Plaintiff's counsel does not
the events on August 11, 2011, and miscellaneous                 explain the necessity of the extent of his legal research.
attachments, including copies of the criminal complaint          Accordingly, a majority of the requested hours for legal
filed against Plaintiff and other official documents             research will not be allowed.
pertaining to Plaintiff's arrest and charging. Three months
after delivering the settlement brochure, Plaintiff initiated    The Court will also disallow a majority of the requested
this action, and two months after that, Defendants served        compensation for travel time. Plaintiff's counsel seeks
their offer of judgment, which Plaintiff accepted. Thus, the     compensation for travel to the Plaintiff's residence (the
case did not proceed beyond the Complaint.                       location of the arrest) on multiple occasions, to the offices
                                                                 of the attorneys who provided affidavits in support of his
Plaintiff reasons that this case was resolved quickly            fee request, and to The Ohio State University law library.
after the filing of the Complaint primarily due to his           Plaintiff's counsel does not explain the necessity of his
counsel's strategy of gathering all accessible pertinent         trips. For example, he does not explain why he did not
information and then presenting the Defendants with              use electronic means to correspond with others, to conduct
the 150–page settlement brochure prior to even filing            all of his legal research, or why he needed to go to the
the Complaint. Defendants assert that their counsel did          location of the arrest on multiple occasions. Therefore,
not examine the settlement brochure until the Complaint          he has not shown that he should be compensated for all
was filed, in December 2012, and that it added nothing           of the time associated with those trips. See Stahl v. Taft,
because, by the time the Complaint was filed, counsel for        No. 2:03–CV–597, 2006 WL 314496 (Feb. 8, 2006) (Smith,
Defendants knew the facts of the case and had decided            J.) (excluding requested travel time from compensation
to effect a strategy to “quickly resolve a bad case and          because the plaintiffs failed to establish the necessity of
minimize the costs.” (Defs.' Mem. in Opp., at 9, Doc.            the travel). Like other tasks, Plaintiff's counsel's use of
11). Defendants assert that the settlement brochure had          block billing makes it difficult to ascertain the amount



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4012 Filed 07/12/16 Page 89 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716

of time requested for travel. Nonetheless, the Court will
consider this circumstance in determining the appropriate       Based on the foregoing, the Court will apply a 70 percent
reduction.                                                      across-the-board reduction to the number of hours
                                                                requested, for a recalculated total of 50.97 hours (169.90
Finally, many of the activities billed by Plaintiff's counsel   hours reduced by 70 percent). At $400 per hour, the total
are activities that could have been performed by a              award of attorney's fees is $20,388. The reduction takes
paraprofessional. For example, many tasks relate to             into account the relatively straightforward facts of this
counsel's investigation of the facts and gathering of           case, Plaintiff's counsel's extensive experience litigating
evidence. Additionally, Plaintiff's counsel has billed for      civil rights matters and the corresponding expectation
frequent correspondences with Plaintiff and other persons       that such experience should require less research on
involved in the matter. Considering the absence of any          relatively straightforward legal issues, the fact that many
support staff for Plaintiff's counsel, it is likely that many   of the hours were billed at a premium attorney rate for
of these correspondences involved status inquiries and          investigatory conduct, the fact that a number of hours
updates and other discussions not involving the dispensing      billed were for purely secretarial and non-legal tasks, the
of legal advice. Plaintiff's counsel clearly has billed at      fact that Plaintiff's counsel billed for unnecessary tasks,
his full attorney rate for tasks that, while reasonably         and finally the fact that this case was settled before
necessary, are more administrative or investigative in          progressing any further than the filing of the Complaint.
character and that could have been performed by a non-
attorney. Such tasks should not be billed at a premium
attorney rate, or even an attorney rate. As noted by the        C. Expenses
Supreme Court, “It is appropriate to distinguish between        In addition to requesting attorney's fees, Plaintiff requests
legal work, in the strict sense, and investigation, clerical    compensation for other litigation costs, primarily in the
work, compilation of facts and statistics and other work        form of out-of-pocket expenses. An award of costs,
which can often be accomplished by non-lawyers but              under fee shifting civil rights statutes, includes out-of-
which a lawyer may do because he has no other help              pocket expenses that are reasonably incurred by an
available. Such non-legal work may command a lesser             attorney and normally passed on to a fee-paying client.
rate. Its dollar value is not enhanced just because a lawyer    Henry v. Webermeier, 738 F.2d 188, 192 (7th Cir.1984).
does it.” Jenkins, 491 U.S. at 288 n. 10 (quoting Johnson,      The requested out-of-pocket expenses total $657.76, and
                                                                include the filing fee for the lawsuit, payment for public
488 F.2d at 717). 1
                                                                records, copies, postage, and other expenses. Defendants
                                                                do not challenge the request for an award of these
1      Activities that are properly performed by a              costs to Plaintiff in this case. Therefore, these out-of-
       paralegal include “factual investigation, including      pocket expenses will be awarded to Plaintiff. Adding the
       locating and interviewing witnesses; assistance
                                                                requested $657.76 in expenses to the allowed amount
       with depositions, interrogatories, and document
                                                                of attorney's fees, $20,388, results in a total award of
       production; compilation of statistical and financial
                                                                $21,045.76.
       data; checking legal citations; and drafting
       correspondence.” Id.
 *7 Therefore, although still compensable, the Court will       III. Conclusion
not award Plaintiff's counsel $400 per hour for activities      For the forgoing reasons, the Court GRANTS in part
that could have been performed by a non-lawyer. Because         Plaintiff Brandon J. Gibson's Motion for Award of
of Plaintiff's counsel's block billing, the Court cannot        Attorney Fees and Costs (Doc. 5). Defendants shall pay
separate work that could have been done effectively by          Plaintiff's counsel, Attorney James McNamara, a total of
a non-attorney under supervision, with such tasks as            $21,045.76 in attorney's fees and other costs.
drafting the Complaint and briefs on the attorney's fees
issue. In lieu of attempting to assign each particular task     The Clerk shall remove Document 5 from the Court's
a designation, and then assigning a discounted rate to          pending motions list.
the work that could have been done by a paralegal, the
Court will take this circumstance into consideration in         The Clerk shall remove this case from the Court's pending
determining the appropriate across-the-board reduction.         cases list.


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4013 Filed 07/12/16 Page 90 of 117
Gibson v. Scott, Not Reported in F.Supp.3d (2014)
2014 WL 661716


                                                        All Citations
IT IS SO ORDERED.
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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4014 Filed 07/12/16 Page 91 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

                                                             term disability (“LTD”) benefits on August 10, 2006,
                                                             claiming that he was disabled, having been diagnosed with
                 2011 WL 4005409
                                                             segmental or spinal myoclonus and suffering from related
   Only the Westlaw citation is currently available.
                                                             symptoms such as jerking, pain, fatigue and memory loss.
            United States District Court,
                                                             (Id. at 3.) MetLife approved Plaintiff's claim for LTD
                  M.D. Tennessee,
                                                             benefits, effective September 22, 2006. (Id.)
                Nashville Division.

             Gregory HEATH, Plaintiff,                       Subsequently, MetLife continued to receive medical
                       v.                                    information on Plaintiff's condition from his neurologist,
              METROPOLITAN LIFE                              and also enlisted an investigator to perform surveillance
                                                             on Plaintiff regarding a tip that Plaintiff was working at
         INSURANCE COMPANY, Defendant.
                                                             his family's health food store. (Id. at 3–5.) pj By letter
                   No. 3:09–cv–0138.                         dated October 12, 2007, MetLife informed Plaintiff that,
                           |                                 based on a review of his claim to determine if he was
                     Sept. 8, 2011.                          eligible for LTD benefits pursuant to the Plan, MetLife
                                                             was withdrawing the claim and no further benefits would
Attorneys and Law Firms                                      be paid past October 11, 2007. (Id. at 6.) After an appeal,
                                                             Defendant again denied Plaintiff's LTD benefits claim
James Gerard Stranch, III, Branstetter, Stranch &
                                                             and informed Plaintiff that he had exhausted all of his
Jennings, Nashville, TN, for Plaintiff.                      administrative remedies. (Id. at 8–9.) On February 11,
                                                             2009, Plaintiff brought this action pursuant to section
Joel T. Galanter, Adams and Reese LLP, Nashville, TN,
                                                             502(e) of the Employee Retirement Income Security Act
for Defendant.
                                                             of 1974 (ERISA), 29 U.S.C. § 1332(e), et seq. (Doc. No. 1.)

                                                             On August 31, 2009, Plaintiff and Defendant both filed
                        ORDER
                                                             Motions for Judgment on the Administrative Record.
JOHN T. NIXON, Senior District Judge.                        (Doc. Nos. 17 & 19.) Magistrate Judge Brown issued a
                                                             Report and Recommendation (“Report”) on November
 *1 Pending before the Court is Plaintiff Gregory Heath's    23, 2009, recommending that Plaintiff's Motion for
(“Plaintiff” or “Mr. Heath”) Motion for and Award            Judgment on the Administrative Record should be
of Attorney's Fees and Reimbursement of Expenses             granted in part and denied in part, that Defendant's
(“Motion”) (Doc. No. 37), filed with a supportive            Motion for Judgment on the Administrative Record
Memorandum (Doc. No. 38), to which Defendant                 should be denied, and that Plaintiff's claim for LTD
Metropolitan Life Insurance Company (“MetLife”) filed        benefits should be remanded back to MetLife for
a Response (Doc. No. 44). Plaintiff then filed a Reply       further consideration. (Doc. No. 29.) Magistrate Judge
(Doc. No. 45–1) and Supplemental Citation of Authority       Brown found that MetLife's denial of Plaintiff's LTD
(Doc. No. 47) in further support of his Motion, and          benefits was arbitrary and capricious, specifically, that
Defendant also filed a further Response to the Supplement    MetLife had submitted a paper review and failed to
(Doc. No. 48).                                               adequately consider Plaintiff's medical record. (Id. at
                                                             16.) However, Magistrate Judge Brown declined to
For the reasons stated below, Plaintiff's Motion is          award benefits because there were factual issues to be
GRANTED.                                                     resolved regarding Plaintiff's condition. (Id.) The parties
                                                             subsequently filed a Joint Notice of Intent Regarding
                                                             Report and Recommendation (“Joint Notice”) stating
I. BACKGROUND                                                that neither party intended to submit objections to the
Plaintiff worked as a maintenance supervisor at a            Report, and that the claim would be remanded to MetLife.
Honeywell International, Inc. chemical plant in Illinois.    (Doc. No. 34.) This Court adopted the Report in its
(Doc. No. 29 at 2.) As an employee, he participated in       entirety on January 21, 2010. (Doc. No. 35.)
the company's short-term and long-term disability Plans
administered by MetLife. (Id.) Plaintiff applied for long-


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4015 Filed 07/12/16 Page 92 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

 *2 On February 22, 2010, Plaintiff filed the Motion              or procedural victory, and reserved judgment on whether
now under consideration (Doc. No. 37) along with                  a remand order, without more, would constitute “some
a Memorandum in Support (Doc. No. 38), claiming                   success on the merits” and make a claimant eligible for
entitlement to $69,750.00 in fees and expenses available          an award of fees. Id. at 2159. Once the district court
under ERISA. Defendant filed its Response on March 19,            determines the threshold requirement under § 1132(g)
2010 (Doc. No. 44). Plaintiff filed a Motion for Leave to         (1) has been met, however, there is discretion as to the
File Reply (Doc. No. 45), along with a copy of the Reply          decision to award fees. See id. at 2158.
(Doc. No. 45–1) on April 7, 2010.
                                                                  Prior to Hardt, courts within the Sixth Circuit applied a
On April 26, 2010, Defendant filed a Response opposing            five-factor test known as the “King factors” to determine
Plaintiff's request for leave to file the Reply, asking in part   whether to award fees. Moore v. Menasha Corp., Case No.
for the Motion for Attorney's Fees to be held abeyance            1:08–cv–1167, 2011 U.S. Dist. LEXIS 20020, at *5, 2011
pending the Supreme Court's decision in Hardt v. Reliance         WL 811150 (W.D.Mich. Mar. 1, 2011). The King factors
Standard Life Insurance Co., ––– U.S. ––––, 130 S.Ct.             are:
2149, 176 L.Ed.2d 998 (2010). (Doc. No. 46.) After the
Hardt case was decided, Plaintiff filed a Supplemental                        *3 (1) the degree of the opposing
Citation of Authority on May 26, 2010 (Doc. No. 47),                         party's culpability or bad faith;
and Defendant responded to this last filing on June 11,                      (2) the opposing party's ability
2010 (Doc. No. 48). The Court ultimately granted Plaintiff                   to satisfy an award of attorney's
leave to file his Reply later, on April 1,2011. (Doc. No. 51.)               fees; (3) the deterrent effect of
                                                                             an award on other persons under
                                                                             similar circumstances; (4) whether
II. LEGAL STANDARD                                                           the party requesting fees sought to
In Hardt, the Supreme Court held that it is within the                       confer a common benefit on all
discretion of the court to award attorney's fees to either                   participants and beneficiaries of an
party in an action seeking relief under ERISA, but that                      ERISA plan or resolve significant
this discretion is not unlimited. 130 S.Ct. at 2158. The                     legal questions regarding ERISA;
Supreme Court held that § 1132(g)(1), which provides                         and (5) the relative merits of the
for the awarding of attorney's fees, contains a threshold                    parties' positions.
requirement:
                                                                  Sec'y of Dep't of Labor v. King, 775 F.2d 666, 669 (6th
  [A] fees claimant must show “some degree of success             Cir.1985). In Hardt, the Supreme Court analyzed an
  on the merits” before a court may award attorney's fees         identical five-factor test employed by the Fourth Circuit
  under § 1132(g) (1). A claimant does not satisfy that           and held that the test “bear[s] no obvious relation to
  requirement by achieving “trivial success on the merits”        ERISA § 1132(g)(1)'s text” and thus was not required.
  or a “purely procedural victor[y],” but does satisfy it if      Hardt, 130 S.Ct. at 2158. Although the Supreme Court
  the court can fairly call the outcome of the litigation         found that the test was not required, the Court stated
  some success on the merits without conducting a                 that it “do[es] not foreclose the possibility that once a
  “lengthy inquir[y] into the question whether a particular       claimant has satisfied [the threshold] requirement, and
  party's success was ‘substantial’ or occurred on a              thus becomes eligible for a fees award under ERISA §
  ‘central issue.’ ”                                              1132(g)(1), a court may consider the five factors.” Id. at
                                                                  2158 n. 8.
Id. (quoting Ruekelshaus v. Sierra Club, 463 U.S. 680, 694,
103 S.Ct. 3274, 77 L.Ed.2d 938 (1983)) (internal citations        District courts within the Sixth Circuit have generally
omitted). In Hardt, after the district court noted its            continued to apply the King factors as allowed in Hardt.
inclination to rule for the plaintiff but remanded her case       Some have indicated that these factors are no longer
to the insurer for further consideration of her disability        mandatory but continue to apply them. See, e.g., Moore,
claim, the insurer reversed course and determined that the        2011 U.S. Dist. LEXIS 20020, at *7, 2011 WL 811150
plaintiff was entitled to benefits. Id. at 2154. The Court        (stating that the King factors are no longer mandatory,
found that this was clearly more than a trivial success           but applying them because the court found them to be “a


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4016 Filed 07/12/16 Page 93 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

useful guide to exercising its discretion” and “both parties    be eligible for reasonable fees and costs pursuant to the
brief[ed] [the factors] extensively”). Others have applied      Supreme Court's interpretation of § 1132(g)(1) in Hardt,
the King factors without any mention of Hardt. See, e.g.,       and that the King factors tip in favor of an award to
Reese v. CNH Global N.V., Case No. 04–70592, 2011               Plaintiff, too. (See Doc. Nos. 38 & 47.) Plaintiff also rejects
U.S. Dist. LEXIS 70607, at *9–*11, 2011 WL 2600988              Defendant's assertion that he agreed to forego seeking
(E.D. Mich. June 30, 2011); Loan v. Prudential Ins. Co. of      fees and costs. (Doc. No. 45–1.) Although Defendant
Am., Civil Action No. 5:08–cv–38–JMH, 2011 U.S. Dist.           leads with the latter argument regarding an agreement
LEXIS 51205, at *6–*13, 2011 WL 1793389 (E.D.Ky.                between the parties, he focuses more heavily on Plaintiff's
May 10, 2011). In addition, at least one district court         entitlement to any award under Hardt or King, and attacks
within this Circuit has decided not to apply the King           the requested fees as unreasonable and insufficiently
factors after Hardt. Pemberton v. Reliance Standard Life        documented. (Doc. Nos. 44 & 48.)
Ins. Co., Civil Action No. 08–86–JBC, 2011 U.S. Dist.
LEXIS 24939, at *8–*9, 2011 WL 1314888 (E.D.Ky. Mar.            The Court will first address the issue of an agreement
10, 2011) (declining to apply the King factors because          between the parties, and then will reach the substance of
they would “add nothing to the analysis of eligibility or       Plaintiff's request for fees and expenses.
reasonableness”).

However, a recent unpublished Sixth Circuit opinion,            A. Agreement Between the Parties
reviewing a district court decision that occurred               Defendant claims in its Response that Plaintiff's request
well before Hardt, noted that this Circuit “requires”           that this Court award him fees and expenses is in
consideration of the King factors. McKay v. Reliance            violation of the parties' agreement not to file objections
Standard Life Ins. Co., Nos. 10–5154; 10–5155, 2011             to the Magistrate Judge's Report. (Doc. No 44 at 2–
U.S.App. LEXIS 13143, at *22, 2011 WL 2518728 (6th              3.) Defendant asserts that, per the agreement, Plaintiff
Cir. June 27, 2011). The Circuit Court found that the           implicitly agreed to forego further action in this Court.
factors were evaluated properly in favor of the plaintiff,      (Id.) In his Reply, Plaintiff argues primarily that the
and then, also, that Hardt 's requirement of “some degree       written agreement, which was contained in their Joint
of success” was met. Although this Court perceives that         Notice (Doc. No. 34), was limited on its face to an
there may be some limitations toMcKay—particularly              arrangement not to file objections to the Report, and that
given that the appellate court appears not to have been         no implicit agreement exists beyond this. (Doc. No. 45–1
asked about the continued relevance of King, and the            at 2.)
factors were clearly controlling at the time of the district
court's decision—the opinion suggests that the King             Indeed, the Joint Notice only states that “[the parties]
factors should not be cast aside. In a case following (and      do not intend to submit any objection to the Magistrate
citing) McKay, a court in the Eastern District of Kentucky      Judge's Report and Recommendation.” (Doc. No. 34.) It
addressed Hardt first, and then performed an extensive          does not reference any agreement concerning a motion
analysis of the King factors. Bio–Med. Applications of          for attorney's fees, nor is it suggestive of such an
Ky., Inc. v. Coal Exclusive Co., LLC, Civil No. 08–80–          agreement. Defendant has provided the Court with no
ART, 2011 U.S. Dist. LEXIS 91187, at *5–*21, 2011 WL            other evidence that indicates that the parties in fact
3568249 (E.D.Ky. Aug. 15, 2011).                                intended or understood the Joint Notice to bar Plaintiff
                                                                from requesting a fee award. Thus, this argument must
 *4 As such, while this Court is of the view that Hardt         fail.
controls its ability to grant an award of fees in this
case, King has not lost its vitality in this jurisdiction and
                                                                B. Plaintiff's Eligibility to Receive An Award of Fees
should also be considered to guide the Court's exercise of
                                                                Next, the Court turns to the threshold requirement of
discretion in assessing Plaintiff's request.
                                                                whether Plaintiff has had “some degree of success on the
                                                                merits” so as to be entitled to a fee award under § 1132(e)
III. ANALYSIS                                                   (1). Hardt, 130 S.Ct. at 2158. Plaintiff argues that under
As described above, Plaintiff argues in his Motion and          Hardt, he has shown some degree of success on the merits,
subsequent filings that he succeeded on the merits so as to     and, particularly, that his situation is similar to that of Ms.


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4017 Filed 07/12/16 Page 94 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

Hardt, whose claim was remanded by the district court            clearly insufficient review on remand, and in doing so
due to the failure of the insurer to perform an adequate         quickly reversed its denial of benefits.
review and ultimately received the desired benefits on
remand. (Doc. No. 47 at 2.) Defendant responds that the          Although this Court agrees Mr. Heath's case is not quite
district court in Hardt found compelling evidence that the       as similar to the plaintiff's in Hardt as he might like—
plaintiff was totally disabled and stated as much prior          the Magistrate Judge's findings stopped short of indicating
to remand; here, however, the Report adopted by this             that Plaintiff was entitled to benefits—his action was
Court did not conclude that Plaintiff was disabled and that      certainly somewhat successful on the merits in light of the
unresolved factual issues necessitated a remand. (Doc. No.       Court's sound and overwhelming rejection of MetLife's
48 at 2–3.) The point of distinction Defendant seeks to          decision. MetLife's subsequent reversal of the denial only
highlight is that “unlike the plaintiff in Hardt, it was not     emphasizes the magnitude and significance of the errors
at all clear prior to remand, based on the evidence before       highlighted by the Magistrate Judge. The Court, thus,
MetLife up to that point, that Plaintiff was entitled to any     does not agree with Defendant's argument that it was
benefits.” (Id. at 3.)                                           “not at all clear, prior to remand ... that Plaintiff was
                                                                 entitled to benefits.” Although MetLife considered further
 *5 The Court must note at this juncture that Defendant's        evidence in coming to its final decision that Plaintiff was
effort to distinguish this case from Hardt is undermined         entitled to benefits, the record before MetLife prior to
by its assertion in a previous filing that “the Plaintiff here   that supplementation certainly did not support its finding
is in the precise position as the Hardt plaintiff,” such that    that Plaintiff was not entitled to benefits, and it excluded
Hardt would be binding in this case and the Court should         facts that supported an opposite conclusion. Ultimately,
disregard arguments in Plaintiff's Reply. (Doc. No. 46 at        it would be hard to consider Plaintiff's victory here to be
2.) While it is obvious why Defendant has changed its            “trivial success on the merits” or “purely procedural.”
position, Defendant's earlier claim that the plaintiff in
Hardt and Mr. Heath are in the “precise position” as each         *6 Post-Hardt case law from within this Circuit
other cannot be ignored.                                         contributes to this Court's conclusion that Plaintiff has
                                                                 achieved some success on the merits so as to be eligible
While it is true that the Court's orders in this case            for an award of attorney fees. In its unpublished McKay
lack the conclusiveness of the district court's in Hardt         opinion, the Sixth Circuit upheld the determination
as to the plaintiff's entitlement to benefits, Plaintiff has     of a court in the Eastern District of Tennessee that
still achieved some success on the merits. MetLife's             an ERISA plaintiff whose case was remanded for
decision was found to be arbitrary and capricious on             further consideration of his application for benefits—but
several grounds, such as the use of a paper review               whose claim ultimately failed on remand—had achieved
without examination of Plaintiff's condition or credibility      adequate success to be eligible for attorney fees under
in person; the failure to consider evidence of Plaintiff's       Hardt. 2011 U.S.App. LEXIS 13143, at *24–25; 2011 WL
receipt of disability benefits from the Social Security          2518728 see also Bio–Med. Applications of Ky., 2011 U.S.
Administration; the lack of reasoning for conclusions            Dist. LEXIS 91187, at *6, 2011 WL 3568249 (following
regarding Plaintiff's condition; and MetLife's failure to        McKay to find that Hardt was satisfied where district
rely on video surveillance of Plaintiff in resolving to          court had vacated and remanded the defendant's decision
deny him benefits, which led Magistrate Judge Brown              on the plaintiff's claim for new review applying proper
to question the strength of this evidence, despite the           methodology).
fact that it was cited as a reason for MetLife's initial
termination of benefits. (Doc. No. 29 at 11–14.) The             In a case still more factually similar to the instant matter,
Magistrate Judge was also “troubled” by the way in               a judge in the Eastern District of Kentucky recently
which MetLife used one doctor's non-response to a letter         held that a remand that resulted in an award of benefits
stating that Plaintiff could perform work as reflecting an       to the plaintiff, who had “faced a complete denial of
affirmative response in agreement with that statement,           benefits at the beginning of the case,” constituted some
without even confirming that the doctor had received the         success on the merits. Pemberton, 2011 U.S. Dist. LEXIS
letter. (Id. at 14–15.) MetLife was instructed to cure its       24939, at *4, 2011 WL 1314888. The court emphasized
                                                                 that even though the ultimate benefit award on remand



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4018 Filed 07/12/16 Page 95 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

included substantial deductions for an early-retirement          flexible approach.” First Trust Corp. v. Bryant, 410 F.3d
offset, Hardt does not require a plaintiff to prevail but        842, 851 (6th Cir.2008).
instead to achieve some success, and the reinstatement of
benefits on remand could be “fairly characterize[d]” as          Regarding the first factor, MetLife's culpability or bad
such. Id. Although the defendant argued that the court's         faith, the Magistrate Judge and this Court have taken note
decision remanding the case was merely procedural and            of the fact that MetLife's determination of Plaintiff's claim
did not alter the parties' positions, the court emphasized       for benefits was largely an inadequate paper review that
that the plaintiff's eligibility for fees was based not simply   lacked an in-person assessment of Plaintiff's condition
on the fact of remand, but on the gain realized through the      as well as reasoning to support medical conclusions.
remand. Id. at *4–*5. Thus the open question of a “remand        Additionally, MetLife engaged in questionable tactics in
order, without more” set aside by Justice Thomas in Hardt        coming to its decision, such as the use of a doctor's non-
was not before the court. Id. at *5.                             response as an affirmative statement, and the shifting
                                                                 of emphasis on what would seem to be crucial evidence
Similarly, in the present case, the Magistrate Judge did         regarding Plaintiff's condition (namely, the surveillance
not grant Plaintiff's request for reinstatement of LTD           video). Although Defendant emphasizes that the Court
benefits, but instead remanded the case back to MetLife.         did not explicitly find it “culpable,” and instead merely
This remand resulted in MetLife's decision to reinstate          deemed its benefits decision arbitrary and capricious
Plaintiff's LTD benefits retroactive to their termination        (Doc. No. 44 at 11–12), both the Report and the Court's
date. (Doc. No. 45 at 1.) Like the result in Pemberton, the      analysis of it here indicate that this first King factor falls
outcome of the remand was a gain realized by Plaintiff and       in Plaintiff's favor.
thus can fairly be characterized as “some degree of success
on the merits.” Indeed, as explained above, this Court           As to the second King factor, MetLife's ability to satisfy
is of the opinion that the remand in this case suggested         a fee award, there can be no question that this major
that Defendant's evaluation of Plaintiff's condition was         corporation can do so; indeed, Defendant does not make
gravely flawed, not simply inconclusive. Plaintiff's success     such an argument. Instead, it emphasizes that this factor
is at least as substantial as that in McKay or Bio–Medical       is of little consequence to the analysis of a fee award
Applications of Kentucky, which more closely tracked the         under § 1132(e)(1) because, as Judge Echols (formerly of
“remand order alone” scenario that Justice Thomas left           this District) noted, ability to pay is “weighed more for
open for future determination (which courts in this Circuit      exclusionary than for inclusionary purposes.” (Doc. No.
have now begun to undertake). Indeed, this is not a              44 at 12 (quoting Platt v. Walgreen Income Protection
situation where there was a remand order alone, and it           Plan for Store Managers, No. 3:05–0162, 2006 U.S. Dist.
is clear that the fact of remand and resulting proceedings       LEXIS 90496, at *6, 2006 WL 3694580 (M.D.Tenn. Dec.
conferred some degree of success to Plaintiff on the merits      14, 2006) (internal quotation omitted).) This Court agrees
of his claim.                                                    that in a case of this nature, the defendant's ability to
                                                                 pay is not particularly important as opposed to the other
 *7 In light of this analysis, Plaintiff has established that    factors, but it is noted that Defendant does not contest
he is eligible for an award of attorney fees under Hardt.        the assertion that it will be able to satisfy a fee award.
                                                                 The factor leans at least somewhat in Plaintiff's favor, see
                                                                 McKay v. Reliance Standard Life Ins. Co., 654 F.Supp.2d
C. Application of the King Factors                               741, 743 (E.D.Tenn.2008), aff'd, 2011 U.S.App. LEXIS
Having determined that Plaintiff is eligible for an award        13143, 2011 WL 2518728 (6th Cir. June 27, 2011), though
of attorney fees under Hardt, the Court now addresses            perhaps it does not carry the greatest weight.
the King factors, which provide guidance on how judicial
discretion should be exercised with regard to attorney fees.     The third factor pertains to the deterrent effect a fee
This discussion is brief, as Plaintiff's eligibility for fees    award might have. Plaintiff argues that “overcoming ...
has already been established, and, pursuant to the facts         the deferential arbitrary and capricious standard provides
and analysis in Part II.b, supra, it is fairly clear to the      a general deterrence to other insurance companies because
undersigned that a fee award is appropriate here. “These         they will know that failure to provide a full and fair review
factors are not statutory and therefore not dispositive.         could result in an award of attorney's fees.” (Doc. No. 38
Rather, they are simply considerations representing a


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4019 Filed 07/12/16 Page 96 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

at 7–8 (citing McKay v. Reliance Standard Life Ins. Co.,          —issues of fact were still unresolved after MetLife's review
654 F.Supp.2d at 743).) Plaintiff thinks this is particularly     of the claim.
so where there is evidence of bad faith or culpability. (Doc.
No. 38 at 8.) In response, Defendant again emphasizes its         Ultimately, the Court finds that four out of the five King
opinion that no evidence of the latter exists, and points         factors are in Plaintiff's favor, and that the fourth, which
again to Platt, where Judge Echols found no evidence that         belongs to Defendant, carries only limited weight. Thus,
defendant MetLife was culpable and ultimately denied the          not only is Plaintiff eligible for an award of attorney fees,
plaintiff's request for fees. (Doc. No. 44 at 13 (citing Platt,   but the Court also finds that he is entitled to and will be
2006 U.S. Dist. LEXIS 90496, at *6), 2006 WL 3694580.)            granted an award.
“[G]iven that Defendant did not necessarily act in bad
faith,” the deterrence factor did not fall in the plaintiff's
favor. Platt, 2006 U.S. Dist. LEXIS 90496, at *6, 2006 WL         D. Amount of Fees to Which Plaintiff Is Entitled
3694580. Again, however, culpability on Defendant's part          Plaintiff seeks a total of $69,750.00 in fees and expenses,
has been at least suggested in this case, apparently unlike       representing the lodestar (hourly rate multiplied by the
in Platt. Further, this Court, like both the district and         number of hours worked) plus expenses (the filing fee
circuit courts that reviewed the claim for fees in McKay,         and service of process fee). (Stranch Decl. 1 ¶¶ 5–7.)
is not of the view that culpability is necessary to serve         Plaintiff's fee request is supported by the memorandum
the aim of deterrence—rather, an insurer such as MetLife          of law cited repeatedly herein, and the Declaration of
might be deterred from performing unscrupulous reviews            then-counsel Jane Stranch (now a Judge on the Sixth
of LTD benefit claims in future by an award of fees. See          Circuit Court of Appeals), for whom attorney James
McKay, 654 F.Supp.2d at 743; McKay, 2011 U.S.App.                 Stranch, III, of her former law firm, has now been
LEXIS 13143, at *23, 2011 WL 2518728. The third King              substituted (Doc. No. 50). An Exhibit, titled “Breakdown
factor, too, weighs in Plaintiff's favor.                         of Firm Time and Expenses,” was included with Stranch's
                                                                  Declaration. (Doc. No. 39–1.) Further, Plaintiff submitted
 *8 The fourth consideration contained in King is whether         an Affidavit of Gareth S. Aden 2 and a Declaration
the plaintiff sought to confer a common legal benefit on
                                                                  of George Barrett 3 , both of which documents contain
all participants or beneficiaries of an ERISA plan, or
                                                                  statements of Nashville-area attorneys in support of the
to resolve significant legal questions regarding ERISA.
                                                                  fee award requested.
Plaintiff has conceded this point: he is an individual
seeking benefits and did not intend to help others or
                                                                  1      Docketed at No. 39.
address a particular legal question by bringing this action.
(Doc. No. 38 at 8.) While Plaintiff argues that this factor       2      Docketed at No. 40.
falls in favor of neither party (id.), Defendant argues that
the case raised routine issues and benefited Plaintiff alone,     3      Docketed at No. 41.
such that the fourth factor weighs in its favor and against       Defendant has challenged the reasonableness of the fees
a fee award (Doc. No. 44 at 14). The Court agrees that this       requested based on the degree of Plaintiff's success, their
factor must favor Defendant if it is to have any meaning,         allegedly excessive nature, and the lack of detail in
but, similar to the analysis of the second King factor, finds     Plaintiff's filings in support of the fees. (See Doc. No. 44
that it is of limited importance—this factor is surely meant      at 4–16; Doc. No. 48 at 2.) Overall, Defendant seeks a
to have greater weight when it is in favor of fees.               reduction in the total amount of fees sought “by at least
                                                                  75%.” (Doc. No. 44 at 11; Doc. No. 48 at 3.) Defendant
The final King factor, the relative merits of the parties'        has not contested the $365.00 in expenses that Plaintiff has
positions, is clearly to Plaintiff's favor in light of the        requested.
previous Hardt analysis, in which the Court concluded
that Plaintiff had achieved some success on the merits.
Although this was not an unqualified win for Plaintiff, the       i. Reasonableness of the Lodestar Figure
merits of the case are in its favor, particularly in light of      *9 In an action, such as this one, where Congress has
the reason that remand, and not judgment, was necessary           authorized a fee award to a successful party, courts apply
                                                                  a lodestar approach in which “the number of hours



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4020 Filed 07/12/16 Page 97 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

reasonably expended on the litigation [is] multiplied by       Mickens, an associate with her firm, and the rates reflected
a reasonable hourly rate,” Bldg. Serv. Local 47 Cleaning       what the attorneys charged to clients in cases of this
Contractors Pension Plan v. Grandview Raceway, 46 F.3d         sort in 2008 (although the parties continued to litigate
1392, 1401 (6th Cir.1995) (quoting Hensley v. Eckerhart,       in this court through 2010). (Stranch Decl. ¶ 4.) Because
461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983)).      these rates are supported by counsel's own claims and
Although the resulting fee “must be reasonable” and may        competently verified by two members of the Nashville
be adjusted, “[t]here is a ‘strong presumption’ that this      legal community who find them to be reasonable in light of
lodestar figure represents a reasonable fee.” Id. (quoting     the case's nature and the experience of Plaintiffs' attorneys
Pennsylvania v. Del. Valley Citizens' Council for Clean Air,   (Aden Aff. ¶¶ 9–10; Barrett Decl. ¶¶ 5–6, 11–12), the Court
478 U.S. 546, 565, 106 S.Ct. 3088, 92 L.Ed.2d 439 (1986)).     considers them to be reasonable.
“The party seeking attorneys fees bears the burden of
documenting his entitlement to the award,” including           4      In a filing contesting Plaintiff's request for leave
hours worked and rates claimed. Reed v. Rhodes, 179 F.3d              to file a Reply, Defendant improperly set forth
453, 472 (6th Cir.1999) (citing Webb v. Dyer Cnty. Bd.                additional arguments that were not contained in
of Educ., 471 U.S. 234, 242, 105 S.Ct. 1923, 85 L.Ed.2d               its Response to the attorney fees motion and
233 (1985)). Adjustments to the amount claimed can be                 completely unrelated to Plaintiff's desire to file the
made with consideration of factors enunciated in Johnson              Reply (including argument attacking the substance
v. Georgia Highway Express, Inc., 488 F.2d 714 (5th                   of Plaintiff's then-proposed Reply). (Doc. No. 46.)
Cir.1974), which were adopted by the Supreme Court in                 The Court strongly disapproves of this attempt to
Hensley, 461 U.S. at 432, and include:                                supplement the Response past the filing deadline
                                                                      and to submit argument that might properly belong
            (1) the time and labor required                           in a Sur–Reply, all without the Court's leave
            by a given case; (2) the novelty                          and in disguise as opposition to Plaintiff's request
            and difficulty of the questions                           for leave to Reply. The Court notes, nonetheless,
                                                                      that in this filing Defendant asserted that the
            presented; (3) the skill needed to
                                                                      Barrett Declaration was insufficient to support the
            perform the legal service properly;
                                                                      rates and hours of Plaintiff's attorneys. (Doc. No.
            (4) the preclusion of employment
                                                                      46 at 4–5.) Particularly, Defendant claimed that
            by the attorney due to acceptance                         the Barrett Declaration was insufficient because it
            of the case; (5) the customary                            did not indicate that Mr. Barrett had reviewed
            fee; (6) whether the fee is fixed                         Plaintiff's counsel's invoices or the specific time entries
            or contingent; (7) time limitations                       she submitted. (Id.) The Court sees an adequate
            imposed by the client or the                              foundation for Mr. Barrett's assessment of the rates
            circumstances; (8) the amount                             sought, and notes that Mr. Barrett did opine on the
            involved and the results obtained;                        total number of hours requested by each attorney in
            (9) the experience, reputation, and                       light of the nature and complexity of this specific case,
            ability of the attorneys; (10) the                        as well as pleadings and other documents filed in the
                                                                      case. (Barrett Decl. ¶¶ 6, 9–10.) Although the Barrett
            “undesirability” of the case; (11) the
                                                                      Declaration is perhaps not as complete as it could
            nature and length of the professional
                                                                      be, the Court does not find it baseless as Defendant
            relationship with the client; and (12)
                                                                      suggests, if Defendant's concerns are to be considered
            awards in similar cases.
                                                                      at all in light of the circumstances of this challenge.
                                                                      Further, Defendant has not in any way contested
Reed, 179 F.3d at 472 n. 3.
                                                                      the adequacy of the Aden Affidavit, which serves the
                                                                      same purpose as (and is consistent with) the Barrett
In its Response, Defendant generally claimed that the                 Declaration.
fees requested were excessive, but did not specifically
challenge the rates of pay charged by Plaintiffs attorneys,    What Defendant does challenge is the number of hours
which were supported by the averments contained in             Plaintiffs attorneys have submitted, claiming that these
counsel's Declaration, as well as the Aden Affidavit and       are unreasonable and excessive, and that improper “block
                                                               billing” has occurred. (Doc. No. 44 at 4–6.) Defendant
Barrett Declaration 4 . Those rates were $350.00 per hour
                                                               did not cite any authority for the proposition that
for attorney Stranch and $200.00 per hour for Denard


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4021 Filed 07/12/16 Page 98 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

“block billing”—the use of general time entries for               Plaintiff's opponent and this Court from performing a
multiple tasks—is improper. Indeed, the Sixth Circuit             review of the fee request. Although there is nothing
has scarcely commented on this practice, and where                suspicious or concerning about the total number of hours
it has, the court has expressed some indifference. See            Plaintiffs' attorneys spent on this case—particularly in
Pittsburgh & Conneaut Dock Co. v. Dir., Office of Workers'        light of its legal and factual complexity, as well as the
Compensation Programs, 473 F.3d 253, 273 (6th Cir.2007).          support for amounts billed in the Aden Affidavit and the
However, the Sixth Circuit has recognized that the                Barrett Declaration—the descriptions provided are vague
documentation in support of an award of attorney fees             and fairly generic. The Court has no basis for assessing
must be “of sufficient detail and probative value to enable       certain factors, such as whether any of the work the two
the court to determine with a high degree of certainty that       attorneys performed was redundant (as the entries for
such hours were actually and reasonably expended in the           each attorney are the same but for the hours spent by
prosecution of the litigation.” Imwalle v. Reliance Med.          each).
Prods., Inc. 515 F.3d 531, 553 (6th Cir.2008) (quoting
United Slate, Local 307 v. G & M Roofing & Sheet                  At the same time, the Court has not been given a good
Metal Co., 732 F.2d 495, 502 n. 2 (6th Cir.1984)). If             reason to doubt these figures. The fact that Defendant's
the documentation is inadequate, a court may reduce the           own attorneys spent less time on this case is not
award accordingly. Id. at 553 (citing Hensley, 461 U.S. at        particularly compelling, as this could be due to any
433). However, the Sixth Circuit has stated that entries          number of factors (for example, that MetLife and its
may be sufficient “even if the description for each entry is      attorneys have likely defended cases much like this one
[not] explicitly detailed.” United States ex rel. Lefan v. Gen.   repeatedly), and, of course, they were also unsuccessful in
Elec. Co., 397 F. App'x 144, 149 (6th Cir.2010) (quoting          this litigation. The fact that Defendant's counsel cannot
McCombs v. Meijer, Inc., 395 F.3d 346, 360 (6th Cir.2005).        account for the 15.1 Plaintiff's attorneys spent on “Court
Although each entry does not have to be detailed, “the            appearance and case management” in a case that involved
general subject matter should be identified.” Hensley, 461        one case management conference does not mean that these
U.S. at 437.                                                      hours were not spent in reasonable pursuits to this effect.

 *10 As stated above, Plaintiff requests $69,385.00 in            Thus, while the Court will not reduce the fees requested
fees for 272.45 hours of work by two attorneys. Plaintiff         by seventy-five percent as Defendant desires, a reduction
divides the number of hours spent by each of his two              is necessary to account for the fact that the undersigned
attorneys into five entries: “Investigation, factual research     is not able to ensure with a high degree of certainty
and Complaint”; “Post Complaint investigation and work            that the hours allegedly expended were in fact expended
regarding Answer and Administrative Record”; “Benefit             in a reasonable, non-duplicative fashion. “The common
calculations and settlement efforts”; “Legal research             practice in this circuit, and in others, when the court is
and motion practice”; and “Court appearance and case              confronted with a request for the award of attorney's
management.” (Doc. No. 39–1.) Defendant asserts these             fees in the face of inadequate billing records, is ‘across-
entries are too broad and make it impossible to determine         the-board fee reductions.’ ” Helfman v. GE Group Life
how Plaintiff's counsel's time was spent. (Doc. No. 44            Assurance Co., Case Number 06–13528, 2011 U.S. Dist.
at 4–5.) Defendant also states that the number of hours           LEXIS 41608, at *20, 2011 WL 1464678 (E.D. Mich.
Plaintiff's counsel is claiming is almost 100 hours more          April 18, 2011) (quoting Cleveland Area Bd. of Realtors
than MetLife's own counsel spent on this matter. (Id. at 5.)      v. City of Euclid, 965 F.Supp. 1017, 1021 n. 5 (N.D.Ohio
                                                                  1997)). In Helfman itself, the district court granted a
These entries are not sufficient for the Court to determine       reduction of twenty percent across the board “in light of
with a high degree of certainty the reasonableness and            [the plaintiff's] burden of production and in light of the
accuracy of the hours billed, though a review of Plaintiff's      ‘block billing’ and vague entries included in the billing
Memorandum supporting his Motion and the Stranch                  records.” Id. at 21. The Court was troubled by entries
Declaration fills in some of the holes left by entries such       similar to those in this case, such as “Internet and westlaw
as “Benefit calculations and settlement efforts” (compare         research” and “Telephone conference with client.” Id. at
Doc. No. 39–1 with Doc. No. 38 at 11). The entries are            20. In another recent case, a district court in this Circuit
examples of both block billing and vagueness that hinder          reduced a fee amount by ten percent overall in light



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4022 Filed 07/12/16 Page 99 of 117
Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
2011 WL 4005409

of concerns about redundancies in work performed by              Further, “[w]here a plaintiff has obtained excellent results,
multiple attorneys and “brief descriptions of the work           his attorney should recover a full compensatory fee; if a
performed for each time entry.” E.E.O.C. v. Cintas Corp.,        plaintiff obtains limited success, the district court should
Case Nos. 04–40132;06–12311, 2011 U.S. Dist. LEXIS               award only that amount of fees that is reasonable in
86228, at *22–*23, 2011 WL 3359622 (E.D.Mich. Aug.               relation to the success obtained.” Isabel, 404 F.3d at
4, 2011). The court in Cintas relied on Gratz v. Bollinger,      416. However, the Sixth Circuit has said that “a court
353 F.Supp.2d 929 (E.D.Mich.2005), where the court had           should not reduce attorney fees based on a simple ratio
determined that a ten percent across-the-board reduction         of successful claims to claims raised.” Cummings Inc. v.
was appropriate due to vagueness, reflected in entries like      BP Prods. N. Am., Case Nos. 3:06–0890 & 3:0700834,
“office conference” on several occasions, and instances          2010 U.S. Dist. LEXIS 19037, at *28, 2010 WL 796825
of block billing that lumped three or four tasks into one        (M.D.Tenn. Mar. 3, 2010) (quoting Thurman v. Yellow
time entry, id. at *24–*25. Although there are numerous          Freight Sys., Inc., 90 F.3d 1160, 1169 (6th Cir.1996)).
other cases within the Circuit addressing this issue, the        Furthermore, “a reduction in attorney fees is to be applied
court also finds helpful Judge Trauger's recent opinion in       only in rare and exceptional cases where specific evidence
this District reducing a fee amount by twenty-five percent       in the record requires it.” Isabel, 404 F.3d at 416 (citing
overall “[t]o account for any excessiveness, duplication,        Adcock–Ladd v. Sec'y of Treasury, 227 F.3d 343, 349–50
redundancy, and block billing.” Chad Youth Enhancement           (6th Cir.2000)).
Ctr., Inc. v. Colony Nat'l Ins. Co., Case No. 3:09–9545,
2010 U.S. Dist. LEXIS 108769, at *7–*9, 2010 WL                  First, the Court addresses Defendant's argument that
4007300 (M.D.Tenn. Oct. 12, 2010). It should be noted,           because Plaintiff achieved a remand, rather than a
though, that the attorneys' records in the latter case           reversal, before this Court, he should receive no fees
contained evidence of duplication and excessiveness, while       at all. Although this Court did not grant Plaintiff's
here there is simply not enough information to dispel            request for reinstatement of LTD benefits, it did find that
concerns that such problems might have occurred.                 MetLife's decision to terminate Plaintiff's LTD benefits
                                                                 was arbitrary and capricious, and cited several flaws
 *11 Having reviewed the records in this case, as well           and questionable practices that rendered MetLife's review
as relevant decisions within this circuit, this Court finds      inadequate. The claim was remanded back to MetLife for
that an across-the-board reduction of twenty percent is          reconsideration, and reinstatement of benefits retroactive
appropriate.                                                     to the date of termination resulted. Although the decision
                                                                 to reinstate LTD benefits did not come directly from this
                                                                 Court, it was a result of the Court's decision to remand the
ii. Reduction of Fees Due to Plaintiff's “Limited Success”       claim back to MetLife.
Defendant asserts that Plaintiff should not be awarded
any of the fees that he seeks because he was unsuccessful        If the Court had awarded benefits to Plaintiff based
in receiving a judgment in his favor from this Court, and        on the administrative record, this clearly could not be
instead only a remand. (Doc. No. 44 at 9–11.) Further, he        called “limited success.” However, the Magistrate Judge
argues that if any fees are granted, that they should at least   declined to recommend a judgment for Plaintiff based
be reduced due to the Court's adoption of the Magistrate         on the administrative record because there were still
Judge's recommendation that materials Plaintiff filed to         factual issues to be resolved. (Doc. No. 29 at 16.) There
supplement the administrative record should be stricken.         were factual issues left unresolved, at least in part,
(Id. at 6, 11.) Because Plaintiff's effort to expand the         because MetLife failed to adequately consider and analyze
administrative record was unsuccessful, Defendant argues         Plaintiff's medical record during its initial review. It would
that to award fees for this work would be an abuse of            seem absurd to classify the a decision to remand the case
discretion. (Id. at 11.)                                         back to Defendant for further review as “limited success”
                                                                 in this situation: this would allow Defendant to benefit
The Sixth Circuit has held that ‘ “[t]he most critical factor’   from a reduction in attorney fees when it was Defendant's
in determining the reasonableness of a fee award ‘is the         failure to consider and adequately analyze the Plaintiff's
degree of success obtained.’ ” Isabel v. City of Memphis,        medical record that made judgment in Plaintiff's favor
404 F.3d 404, 416 (6th Cir.2005) (citing Farrar v. Hobby,        impossible. It cannot be that an inadequate review that
506 U.S. 103, 114, 113 S.Ct. 566, 121 L.Ed.2d 494 (1992)).


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4023 Filed 07/12/16 Page 100 of 117
 Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
 2011 WL 4005409

 produces an insufficient basis for a benefits decision by the     it not investigated further. Still, the Court must agree that
 insurer or the court can result in a fee reduction due to         Plaintiff's efforts were not timely or appropriate, as the
 the plaintiff's limited success in court. Nor would “limited      affidavits submitted could not be used to supplement the
 success” properly characterize what ultimately came of            administrative record in this forum, and their only use (by
 this case: proceedings in accordance with the remand              Plaintiff's admission) has been in subsequent proceedings.
 ordered by this Court resulted in a full victory for Plaintiff.   As such, they cannot be part of a reasonable fee award in
                                                                   this case.
  *12 Defendant's argument regarding a reduction due
 to Plaintiff's billing for hours spent seeking to expand          The block billing of “Post Complaint investigation and
 the administrative record has more merit. Defendant               work regarding Answer and Administrative Record”
 argues that all the time Plaintiff spent trying to expand         makes it difficult for the Court to ascertain precisely
 the administrative record—“including but not limited to,          what work the accompanying hours (8 for attorney
 time spent drafting and gathering information relative            Stranch and 7.4 for attorney Mickens) reflect. However,
 to the affidavits that were struck by this court”—should          the Court will not allow Plaintiff to benefit from his
 be eliminated from the fee request. (Doc. No. 44 at 6.)           own error in submitting vague billing records. It seems
 Indeed, in the Report recommending remand adopted by              reasonably certain that this entry is where any efforts to
 this Court, Magistrate Judge Brown also recommended               investigate and expand the administrative record occurred
 striking three affidavits Plaintiff submitted regarding           —a separate, more significant entry includes investigation
 evidence outside the administrative record. (Doc. No. 29          that did not occur after the Complaint (presumably
 at 15–16.) The Magistrate Judge found the inclusion of            before), and no other entry references the administrative
 these affidavits in the record was not permissible, and also      record. These hours (8 at $350.00 per hour and 7.4
 that they were not timely filed. (Id.) In Plaintiff's Reply,      at $200.00 per hour) will be reduced from the lodestar
 he argues not that these filings played some important            before the Court performs the overall reduction of twenty
 role in the case before this Court, but that they were an         percent.
 important part of the record considered on remand, and
 that investigation leading up to the affidavits in question
 was necessary to the investigation of the case. (Doc. No.         iii. Final Fee and Expense Calculation
 45–1 at 6 n.2.) In response, quotes a Sixth Circuit case,          *13 First, the Court reduces the requested award by the
 Anderson v. Procter & Gamble Co., 220 F.3d 449 (6th               number of hours Plaintiff improperly billed to supplement
 Cir.2000), which states that “Section 502 of ERISA does           the administrative record. Thus, attorney Stranch's total
 not permit parties to recover attorneys' fees for legal work      hours billed will be reduced by 8, from 99.3 to 91.3, and
 performed during the administrative phase of a benefits           attorney Mickens' total hours billed will be reduced by
 proceeding,” id. at 456. (Doc. No. 46 at 5.) Defendant            7.4, from 173.15 to 165.75. When these new amounts
 also asserts that the Sixth Circuit has held that it would        are multiplied by the reasonable rates established above,
 be “an abuse of discretion for the district court to award        they come to $31,955.00 and $33,150.00, for a total of
 attorneys' fees to a losing party.” (Id (quoting Cattin v.        $65,105.00. With a twenty percent overall reduction of the
 Gen. Motors Corp., 955 F.2d 416, 427 (6th Cir.1992)).)            fee amount, the fee award comes to $52,084.00. Once the
                                                                   uncontested expenses, which total to $365.00, are added,
 Defendant takes Anderson out of context (the court had            the final amount of fees and expenses is $52,449.00.
 stated only a paragraph earlier that it was addressing the
 administrative exhaustion phase of a benefits proceeding),
                                                                   IV. CONCLUSION
 and the section of Cattin cited reflects not the body of
                                                                   As set forth above, the Court GRANTS Plaintiff's Motion
 the opinion but instead a parenthetical quotation of a
                                                                   and AWARDS him attorney fees and expenses in the
 Seventh Circuit case, Bittner v. Sadoff & Rudoy Indus.,
                                                                   amount of $52,449.00.
 728 F.2d 820, 829 (7th Cir.1987). Were the principles
 Defendant cites not common sense in this context, the
                                                                   It is so ORDERED.
 Court would be troubled by these misleading references to
 authority—Defendant places no qualifiers on its citations,
 and the Court would be unaware that there should be had



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4024 Filed 07/12/16 Page 101 of 117
 Heath v. Metropolitan Life Ins. Co., Not Reported in F.Supp.2d (2011)
 2011 WL 4005409

 All Citations

 Not Reported in F.Supp.2d, 2011 WL 4005409

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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4025 Filed 07/12/16 Page 102 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621



                   2008 WL 2922621                                                    BACKGROUND
     Only the Westlaw citation is currently available.
              United States District Court,                      This claim arises out of a limousine accident causing very
                    E.D. Michigan,                               serious injuries to the plaintiff passengers who were not
                  Southern Division.                             wearing seat belts at the time. The defendant is a non-
                                                                 manufacturing seller of the limousine who was accused
      Irina KONSTANTINOV, as Conservator                         of negligence in the sale of the vehicle which took place
      for the Estate of Vladimir Konstantinov,                   about two years before the accident. Plaintiffs' negligence
          a mentally incapacitated person,                       theories generally involved assertions that the vehicle was
        and Sergei Mnatsakanov, Plaintiffs,                      defective because the seat belts were not readily accessible
                          v.                                     to passengers and that the dealer should have known of
                                                                 the defects and corrected them prior to sale. The parties
  FINDLAY FORD LINCOLN MERCURY, Defendant.
                                                                 agreed that defendant could be held liable only if it knew
                      No. 04-CV-74928.                           or should have known of a defect prior to selling the
                              |                                  limousine.
                       July 28, 2008.
                                                                 Trial in this matter commenced on April 28, 2008. During
 Attorneys and Law Firms                                         jury selection, the Court told the prospective jurors that
                                                                 they should plan to be in trial until approximately May 23,
 Richard M. Goodman, Julie H. Hurwitz, Kathleen J.               2008, the Friday before Memorial Day weekend. This was
 Kalahar, William H. Goodman, Goodman Kalahar,                   an outside estimate based on the attorneys' predictions of
 Detroit, MI, for Plaintiffs.                                    the time needed to put in their proofs. Out of respect for
                                                                 the jurors' time and sacrifices, as well as the needs of other
 James P. Feeney, Paul L. Nystrom, Dykema Gossett,
                                                                 litigants to have access to the Court, an effort was made to
 Bloomfield Hills, MI, Andrew J. Kolozsvary, Erica
                                                                 manage the trial process to produce a smooth and efficient
 L. Keller, Dykema Gossett, Detroit, MI, Thomas G.
                                                                 presentation while affording both sides fair opportunity to
 Cardelli, Cardelli, Hebert, Royal Oak, MI, for Defendant.
                                                                 support their respective claims. This goal was particularly
                                                                 challenging for the Court in this case due to the attorneys'
                                                                 inability to work out ANY of the routine issues that arise
      ORDER DENYING PLAINTIFFS' MOTION
                                                                 during trials.
         FOR NEW TRIAL [DOC. 237] AND
        GRANTING DEFENDANT'S MOTION
                                                                 Other than a preplanned break of three-and-a-half
        TO STRIKE AFFIDAVITS [DOC. 240]
                                                                 days in the schedule, the trial proceeded with very
 GEORGE CARAM STEEH, District Judge.                             few interruptions. Plaintiffs presented their case in
                                                                 approximately nine trial days, and defendant presented
  *1 Plaintiffs filed this motion for new trial on June 10,      its case in approximately four days. Closing arguments
 2008, moving to set aside the jury verdict returned on          were presented Friday morning, May 23, 2008. The jury
 May 23, 2008. Thirteen days later, on June 23, 2008,            was instructed immediately following plaintiffs' rebuttal
 plaintiffs filed three affidavits in support of their motion    argument, and was sent to begin their deliberations at 4:11
 for new trial. Fed.R.Civ.P. 59(c) provides that when a          p.m. The jury had a few questions concerning the viewing
 motion for new trial is based on affidavits, they must          of specific evidence, which the Court ruled upon. At 5:48
 be filed with the motion. There is no provision in the          p.m. the jury came back with its no-cause verdict. This
 Rules for giving the moving party an extension for good         resulted from the jury's determination of the very first
 cause, nor did plaintiffs seek an extension in this case. The   question presented, rendering it unnecessary to consider
 Court therefore GRANTS defendant's motion to strike             any of the other issues, including proximate causation, in
 plaintiffs' untimely affidavits.                                the case.




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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4026 Filed 07/12/16 Page 103 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

 Plaintiffs filed this motion for new trial claiming a litany     the background narrative, and a party has considerable
 of errors made by the Court. Plaintiffs claim that their         leeway on direct exam for proof of facts that do not bear
 brief is not intended to delineate all of the errors made        purely on the legal issues. United States v. Blackwell, 853
 during the trial, and if their motion for new trial is denied,   F.2d 86, 88 (2nd Cir.1988).
 “a much more extensive and comprehensive delineation of
 the errors will be made.” (Brief in Support of New Trial,        Plaintiffs and their family witnesses were examined at
 footnote 2). A court may grant a new trial “for any of the       great length about every aspect of their lives, about
 reasons for which new trials have heretofore been granted        their childhood in Russia, about adjusting to life in the
 in actions at law in the courts of the United States.”           United States, and about acts of kindness to others.
 Fed.R.Civ.P. 59(a). The Sixth Circuit has interpreted Rule       This is the same type of “background narrative” the
 59(a) to require a new trial when the jury has reached           Court permitted with regard to Mr. Kujawa. “Broad
 a seriously erroneous result, as evidenced by the verdict        discretion is given to district courts in determinations
 being against the weight of the evidence, the damages            of admissibility based on considerations of relevance
 being excessive, or the trial being unfair to the moving         and prejudice, and those decisions will not be lightly
 party in some fashion. Holmes v. City of Massillon, 78 F.3d      overturned.” United States v. Chambers, 441 F.3d 438,
 1041, 1045-46 (6th Cir.1996).                                    455 (6th Cir.2006). The Court does not find that the
                                                                  very limited (9 questions) background information about
                                                                  Mr. Kujawa, the representative of defendant, provides
                                                                  grounds for a new trial.
                        ARGUMENT

 I. Testimony of Stanley Kujawa-Owner of Defendant                Plaintiffs also object to Mr. Kujawa's testimony
 Ford Dealership                                                  concerning the impact witness Rick Manley's fraud
  *2 Plaintiffs argue that their substantial rights were          scheme had on Findlay Ford. Mr. Kujawa testified that
 prejudiced by the improper testimony by Stanley Kujawa           he considered Mr. Manley's criminal fraud as money
 about his financial situation and good character, which          stolen from Findlay Ford's employees, not from Findlay
 was deliberately designed to improperly appeal to the            Ford, and that it was tantamount to stealing money from
 sympathy and prejudice of the jury. The testimony                Findlay Ford employees' pension program. Plaintiffs first
 referred to by plaintiffs concerns, in part, Mr. Kujawa's        raised their objection to this testimony the day after it was
 description of his involvement in humanitarian activities        elicited. The Court noted during a sidebar:
 outside his dealership. Mr. Kujawa testified on direct
                                                                    Well, certainly I tend to agree that first of all, that the
 examination about his involvement in running “Medical
                                                                    testimony by the witness was not contrived to elicit pity.
 Equipment Services Abroad” (MESA), adopting two
                                                                    He was, indeed, reporting I think the experience that he
 children from El Salvador, and establishing and raising
                                                                    had with Mr. Manley and the impact it had on him and,
 funds for a children's home in El Salvador. Plaintiffs
                                                                    of course, to the extent that the answer may have been
 contend that this testimony amounts to character evidence
                                                                    unresponsive, that might have been a bell for plaintiff
 that is inadmissible under FRE 404(a), providing that
                                                                    to object at the time and to approach the sidebar to
 evidence of a person's character is generally not admissible
                                                                    ask for a caution to avoid later repetition, but the-I
 for the purpose of proving action in conformity therewith
                                                                    really don't think-I mean, the likelihood of any impact
 on a particular occasion.
                                                                    on the jury's willingness to award damages to me seems
                                                                    remote. These are not totally unsophisticated people.
 The Court concluded the evidence was not sought by
                                                                    Most would, I assume know that there is insurance
 defendant to prove that Mr. Kujawa acted in conformity
                                                                    involved in defending the claims, and if they didn't
 with his character at the time of sale. Mr. Kujawa's
                                                                    make that assumption, they would at least have enough
 testimony regarding his Rotary Club activities, his
                                                                    questions about it and will be cautioned presumably at
 children, and his activities outside of the dealership are,
                                                                    some point in the instructions not to make awards out
 as defendant contends, “simply background information
                                                                    of sympathy or bias or prejudice for either side. I just
 about Mr. Kujawa.” Such evidence is always of value to
                                                                    don't see this as anything close as a basis for a mistrial.
 the fact finder in assessing the credibility and weight of
 the testimony on disputed issues. The testimony filled in



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4027 Filed 07/12/16 Page 104 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

                                                                            similar observations of her behavior.
    *3 I will ask Mr. Feeney to caution his client to avoid                 I want to bring this matter up to
   repeating the risk that was created-that was created by                  the Court and-and frankly request
   Mr. Manley's wrongdoing ....                                             some remedy for this in the nature
                                                                            of a recusal or exclusion of this juror
 (Trial Transcript, May 21, 2008, pp. 50-51).
                                                                            from deliberation.

 As the Court ruled during the sidebar conference,              (Trial Transcript, May 23, 2008, pp. 16-17).
 plaintiffs' objection to Mr. Kujawa's testimony during
 trial came too late, and in any event does not provide         The claim by plaintiffs' counsel that a juror mouthed the
 the basis for a mistrial. Plaintiffs' theory was that Mr.      words “shut up” during the examination of a witness was
 Manley provided Findlay Ford knowledge of National             first addressed after the close of evidence, after the jury
 Coach Engineering's quality control problems. In this          instructions were resolved by the Court, and just minutes
 way, plaintiff argued, Findlay Ford was on notice of           before closing arguments were to begin. This claimed
 potential defects triggering a duty to inspect. It was         conduct was not observed by the Court or brought to the
 certainly appropriate for Mr. Kujawa to explain that he        Court's attention when it was said to have occurred.
 had no knowledge of Mr. Manley's fraudulent activities
 involving National Coach Distributors, and how Manley          Despite repeated admonishments by the Court during this
 concealed his crimes against Findlay Ford. None of             month long trial, plaintiffs' counsel persistently engaged
 Mr. Kujawa's challenged testimony provides a basis for         in obstructionist, hostile, and unprofessional conduct
 granting a new trial in this case.                             in the courtroom. Continuous personal attacks on
                                                                opposing counsel and sarcastic, hateful remarks combined
                                                                with endless repetition in the presentation of evidence
 II. Claimed Juror Misconduct
                                                                contributed to justifiable frustration among jurors who
 Plaintiffs next contend that beginning during their cross-
                                                                participated in this case at incredible personal sacrifice. It
 examination of Mr. Kujawa on May 21, juror # 6
                                                                is hardly reasonable for counsel to intentionally create a
 began outwardly displaying hostility to plaintiffs' counsel.
                                                                poisonous, hostile atmosphere, and then blame the jurors
 Plaintiffs first raised the matter before the Court on May
                                                                for being affected by it.
 23:

             Over the last few days, myself and                  *4 Frustration exhibited by jurors is insufficient to
             others on our side of the table                    establish juror bias or misconduct. Peterson v. Warren,
             have developed a great concern                     No. 04-CV-72299-DT, 2007 WL 496683, at *7 (E.D.Mich.
             about one of the jurors, namely                    Feb.13, 2007) (“the juror's comments merely showed
             Number 6 who has been acting out                   that the jurors in [the] petitioner's case were becoming
             very powerfully whatever words are                 frustrated by the many delays in the case. This is
             against our side of the table. On                  insufficient to establish juror bias or misconduct.”). It is
             a number of occasions she actually                 within the trial judge's sole discretion to handle alleged
             mouthed words that you can make                    juror misconduct or bias as he sees fit “[b]ecause of his
             out the words that she's saying,                   continuous observation of the jury in court....” United
             both directed toward myself and Ms.                States v. Panebiaco, 543 F.2d 447, 457 (2nd Cir.1976) (the
             Kalahar, and there are other people                court further noted, “[t]hat jurors react naturally does not
             who are also in the courtroom                      mean they are biased.”)
             who made notes and noticed her
             behavior in this respect. It is openly             Moreover, it is apparent that the jurors in this case
             hostile. She has used words like                   admirably performed their jobs under very difficult
             shut up toward Ms. Kalahar, and                    circumstances. They rigorously reviewed the evidence
             words like stop toward me when I                   relating to the initial question presented, that is whether
             get up, and-and it's very obvious                  the dealer-defendant was negligent in failing to identify
             there are other people who have                    and remedy the claimed defects in the seatbelt assemblies.
                                                                Plaintiffs' theory was that the claimed defects should


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4028 Filed 07/12/16 Page 105 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

 have been obvious to the dealership prior to delivery to                 evidence phase of the trial by both
 purchaser, and the jury correctly found otherwise. Despite               sides, probably more often by the
 plaintiffs' claim that the jury was rushed to judgment,                  plaintiff than the defendant as an
 its findings required consideration of relatively little                 exhibit in the case. It would never
 evidence. The verdict was consistent with that evidence.                 qualify as a demonstrative for the
 The jury never had to address the more difficult issues                  Court, and it would be unfair to
 of causation, comparative fault, non-party fault, and                    prevent the jury from examining it,
 damages.                                                                 but there should be some ground
                                                                          rules.

 III. Allowing Jury to Examine Rear-Bench Seat                 Trial Transcript, May 23, 2008, p. 152).
 During their deliberations, the jury submitted a note to
 the Court asking for permission to look at the J-Seat         The Court then instructed the jury as follows:
 and rear bench seat models that were in the courtroom.
 Plaintiffs objected to the jury looking at the rear bench       We believe that you know from the testimony in the
 seat because they argued it was not an exhibit. Plaintiffs      case, and from the representations of counsel, that these
 further objected to the jury looking at both seats because      were belts duplicative of a number of conditions of
 doing so would encourage improper jury experimentation.         the actual seats that existed of the subject limousine
                                                                 in the case. These are seats in the place that have
 The rear bench seat, which was created by plaintiffs, was       been produced, and so each is built individually, and
 on plaintiffs' exhibit list, was in the courtroom during        it may well be that certain aspects of the seats is not
 the entire trial, was used extensively by plaintiffs and        exactly the same as the actual limousine that existed.
 defendant throughout trial with numerous witnesses, and         The key parts of these seats that were the subject of
 was repeatedly referred to by plaintiffs' counsel as an         demonstrations during the course of the trial were built
 exhibit. After the jury requested to look at the two seats,     as far as duplicates of the actual seats. The manner in
 the Court and counsel for both parties discussed whether        which the belts were affixed and presented were done as
 it had formally been moved into evidence during trial. Mr.      much possible to duplicate the conditions as well.
 Feeney offered it into evidence during this discussion on
                                                                 However, there may be-there may be aspects of the
 the record:
                                                                 seats, especially aspects not subject of testimony that
             If for any reason this is not been                  don't exactly duplicate those original seats, and we don't
             offered or received, I will renew                   want you to approach your examination of these seats
             it, and ask that it be marked as                    with the idea, for example, that something which wasn't
             Plaintiff's Exhibit 5, I think, and be              the subject of testimony must be exactly as it was in the
             received just as I have reserved with               subject seat. They could under the circumstances and
             regard to a number of exhibits which                in recreating the seats, but because they are not mass
             were also not identified, which have                produced and tolerance were not the primary concern
             not been placed on the record,                      of the builder of these, you shouldn't assume that they
             pursuant to the Court having given                  are, and so that is the caution that I want to give you in
             me the opportunity to do that. So I                 your examination of them.
             would like to do that.
                                                               (Trial Transcript, May 23, 2008, pp. 153-154). The jury
 (Trial Transcript, May 23, 2008, pp. 146-147).                was allowed to examine the two limousine seats in the
                                                               closed courtroom for a very short time period. The Court
 The Court agreed that the back bench seat was an exhibit      does not have a record of the exact amount of time, but
 at trial and proceeded to admit it into evidence:             it does know that the courtroom was cleared for the jury
                                                               for no more than ten minutes. Thereafter the jury returned
              *5 So I will grant the request that              to the jury room and announced it had a verdict at 5:48.
             this item was repeatedly referred to,             (Trial Transcript, May 23, 2008, p. 154).
             I know during the course of the



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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4029 Filed 07/12/16 Page 106 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

 Plaintiffs contend that the jury conducted improper              until six. Your cars are secured, and retrievable until
 experimentation on the seats, but this Court disagrees.          10:00 tonight.” (Trial Transcript, May 23, 2008, p. 150).
 During its ten minute inspection, the jury appears to            The jurors were clearly given the flexibility to continue
 have done the same things it repeatedly saw demonstrated         deliberations or break for the weekend at their option.
 during trial. On the J-seat model, the seat belts had            Plaintiffs have not brought forth any evidence of improper
 been pushed into the seats and were not visible when             coercion of the jury in this case.
 the jury examined the seat. The jurors apparently pulled
 the seat belts out from the seat bight of the J-seat, as
 that is where they were found after the jury completed           V. Surprise Testimony Regarding Findlay Ford Practice
 its examination. The fact that the belts might then have         of Inspecting Limousines
 been draped over the seat back, as plaintiffs contend, is        Plaintiffs allege that witnesses improperly testified for the
 of no relevance. On the rear bench seat, the same set of         first time at trial about a practice that Findlay Ford had
 belts and the same configuration of those belts as when          of inspecting its limousines before sale to make sure that
 the accident occurred were present. The buckles for the          the belts were laid out on the seats. This testimony came
 center and right rear seating positions had the 1995 seat        from Mr. Kujawa, Brad Redman, and Ron Crawford. In
 belts that plaintiffs argued should have been used in the        earlier deposition testimony, both Kujawa and Redman
 limousine. The left seating position had the 1992 buckle         testified that Findlay Ford conducted no inspections of
 hardware. Plaintiffs had installed all of these belts in these   the limousines once they arrived at Findlay Ford from
 configurations during the trial, and reversed the buckle         National Coach. At trial, Crawford first testified on
 and latch plate at issue just before the jury entered the        direct examination by plaintiffs' counsel that there was
 room to examine the seats. This was explained to the jury        no inspection. The next day Crawford said that he had a
 as well, before their examination of the evidence. In fact,      practice of regularly preparing the vehicles for delivery,
 jurors reported to this judge while the Court distributed        making sure the belts were laid out on the seats. Defendant
 its certificates of appreciation that the only purpose of the    also admitted in the Joint Final Pretrial Order that it
 request to inspect the seats was to assess whether a casual      conducted no inspection.
 observation of the 1992 belt assembly by the dealer would
 be a “red flag” triggering a duty to inspect further.            Plaintiffs have not supported their argument of “ambush”
                                                                  with any affidavits, citations to the trial record, or
  *6 The jury's examination was entirely proper, and there        deposition testimony from the witnesses. Defendant
 can be no prejudice to plaintiffs resulting from the jury        challenges plaintiffs' allegation that the Joint Final
 having done the same things that they saw demonstrated           Pretrial Order contains an admission that defendant did
 throughout the trial, on seats that had been admitted into       not conduct inspections, and plaintiffs have not included
 evidence.                                                        any citations for the Court to verify.

                                                                  It is inaccurate to call what happened at trial an “ambush”
 IV. Jury Coerced to Reach Verdict                                when Brad Redman and Ron Crawford were subpoenaed
 Plaintiffs contend that the jury was coerced to rush to          and called by plaintiffs, not defendant. Contrary to
 judgment and reach its verdict on Friday, May 23, 2008,          plaintiffs' argument, the trial testimony is not inconsistent
 the date before the Memorial Day weekend. This alleged           with previous deposition testimony. In their depositions,
 coercion was at the hands of defense counsel and the             plaintiffs questioned the witnesses regarding whether
 Court. That the jury reached their verdicts in under an          Findlay Ford performed the same pre-delivery inspection
 hour and a half, on the Friday before a holiday weekend,         required by Ford after the limousines were returned
 is not evidence of coercion. Any comments made by the            from National Coach. This was admittedly not done. At
 Court during the course of the trial were intended to            trial, the witnesses were asked about what was done to
 move the case along, out of respect for the jurors' time.        clean the limousines or make sure the seat belts were
 The Court in no way indicated to the jury that they              presentable prior to delivery. In addition they testified
 ought to come back with a verdict in any specific time-          that the long drive back to Ohio from the limousine
 frame. In fact, when the jury asked if they could stay           converter accomplished the same purpose as the pre-
 late to deliberate, the Court responded: “my feeling is          delivery inspection of new vehicles done pursuant to
 that if you want to stay for awhile, we will stay at least       contractual agreements with Ford. Even if this was


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4030 Filed 07/12/16 Page 107 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

 somehow inconsistent testimony at trial, plaintiffs were
 given ample opportunity during cross-examination to use         A. Violation of FMVSS 208 S7.4.6.1
 prior testimony for impeachment.                                Plaintiffs contend that the Court should have decided as a
                                                                 matter of law that the J-Seat violated FMVSS 208 S7.4.6.1
  *7 It is worth noting that plaintiffs' own theory and          because it allegedly lacked guides or conduits, and erred in
 claims evolved through multiple twists and turns after          submitting this issue to the jury. The issue of interpreting
 summary judgment motions and the Court was quite                FMVSS 208 and its regulations was first presented to the
 permissive in allowing plaintiffs such latitude, despite        Court on the eve of trial, in the form of trial briefs filed by
 defendant's own protestations of “ambush.”                      both parties. The Court did interpret the safety standard
                                                                 and ruled that FMVSS 208 required some type of guide or
                                                                 conduit. The Court left the issue of whether the limousine
 VI. Verdict Against Weight of Evidence                          at issue complied with the safety standard:
 Plaintiffs contend that the jury's verdict is against the
 weight of the evidence. However, plaintiffs never moved                     Defense counsel I know wishes to
 for a directed verdict or judgment as a matter of law                       argue that the particular system
 and, therefore, are precluded from now challenging the                      in place in this vehicle included a
 sufficiency of the evidence post-trial. “[A] party who has                  means by which the belt would be
 failed to move for a directed verdict at the close of all the               maintained on top of seat or one
 evidence, can neither ask the district court to rule on the                 part of the belt would be maintained
 legal sufficiency of the evidence supporting a verdict for                  on top of the seat. I'm not sure
 his opponent nor raise the question on appeal.” Portage                     exactly what the expert testimony
 II v. Bryant Petroleum Corp., 899 F.2d 1514, 1522 (6th                      is about that, whether there's an
 Cir.1990).                                                                  argument that the-that there was
                                                                             some type of a de facto conduit of
 Even if plaintiffs were permitted to challenge the                          some type in place in the vehicle
 sufficiency of the evidence, this case does not warrant a                   system. I really can't preclude that
 new trial on that basis. The Sixth Circuit has stated the                   argument if there is some support
 standard that should apply to motions for new trial based                   for it, and I'm not sure if conduit
 on an against-the-weight-of-evidence theory: “The court                     of some type necessarily has a clear
 is to accept the jury's verdict if it is one which reasonably               and unmistakable meaning, but the-
 could have been reached.” Denhof v. City of Grand                           so I guess there's a number of factual
 Rapids, 494 F.3d 534 (6th Cir.2007). The jury finding of                    issues that the parties will be arguing
 no negligence in this case was supported by substantial                     to the jury ultimately, but that's the
 evidence. Plaintiffs were unable to produce a single dealer                 interpretation that the Court gives to
 in the United States who opined or practiced the kind of                    this language.
 vehicle inspection plaintiffs theorized should have been
                                                                  *8 (Trial Transcript, May 13, 2008, pp. 13-15). The
 performed by the defendant in this case. Plaintiffs' claim
                                                                 Court again referred to the fact that compliance was an
 that defendant should have known all of the nuances of
                                                                 issue in the case, as follows:
 the design requirements of Federal Motor Vehicle Safety
 Standards, and identified the claimed deficiencies in an                    In fact, at the time of my ruling,
 inspection of the belt assembly systems was contrary to the                 I left open the question whether he
 evidence and common sense. Virtually all of the evidence                    could establish that this particular
 in the case established that the limousine's seat belts would               mechanism included the use of some
 have functioned properly and protected plaintiffs from                      type of conduit.
 injury if they had been worn. On that basis alone, the
 Court would not overturn the verdict as being against the       (Trial Transcript, May 14, 2008, pp. 54-55).
 weight of the evidence.
                                                                 Findlay Ford's seat belt expert, Bob Gratzinger, testified
                                                                 that the J-Seat's bight line acts as a de facto conduit for
 VII. Court Erred in Submitting Issues of Law to Jury            keeping the seat belts on the seats. (Trial Transcript, May


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Case  2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4031 Filed 07/12/16 Page 108 of 117
 Konstantinov v. Findlay Ford Lincoln Mercury, Not Reported in F.Supp.2d (2008)
 2008 WL 2922621

 21, 2008, pp. 124-125). See Powers v. Bayliner Marine                  instructed the jury to assess any fault by National Coach
                                                                        as the vehicle modifier against Findlay Ford. On May 21,
 Corp., 83 F.3d 789 (6th Cir.1996) (holding that evidence,
                                                                        2008, plaintiffs filed their Trial Brief Regarding Allocation
 including testimony that a sailboat's design did not violate
                                                                        of Verdict [Doc. # 227]. In this brief, plaintiffs asked the
 safety standard, supported the jury's conclusion that the
                                                                        Court to remove National Coach from the verdict form.
 sailboat was not defective). It was properly left to the jury
                                                                        Then, on the last day of trial, immediately prior to closing
 to decide whether the subject limousine violated FMVSS
                                                                        arguments, plaintiffs' counsel raised the “partnership/
 208 as interpreted by the Court, as this was a question of
                                                                        joint venture” issue with the Court. However, plaintiffs
 fact on which reasonable minds could differ.
                                                                        did not submit any proposed jury instructions regarding
                                                                        partnership or joint venture, so plaintiffs cannot claim
 Of course, violations of Federal Motor Vehicle Safety
                                                                        that the Court erred in failing to give such instruction.
 Standards may establish negligence on the part of a
                                                                        Fed.R.Civ.P. 51(d)(1)(B).
 manufacturer, like National Coach in this case, but have
 little to do with the findings of the jury of no negligence
 by the defendant as a seller of the vehicle.                           VIII. Miscellaneous Arguments
                                                                        On May 16, 2008, juror Mr. Han arrived at Court sick
                                                                        and was obviously unable to participate. This day was
 B. Violation of FMVSS 208 S7.2
                                                                        scheduled to be a full day of trial, so the Court made the
 Plaintiffs argue that the Court should have instructed
                                                                        determination to excuse Mr. Han from his jury service,
 the jury that the latch plate mechanism violated FMVSS
                                                                        over plaintiffs' objection. The Court explained that there
 208 S7.2 because it allegedly was not accessible in its
                                                                        was no way of knowing how long Mr. Han would be
 stowed position. The Court declined to give the requested
                                                                        incapacitated and events like this are the very reason
 instruction because “the experts were never asked about
                                                                        additional jurors are selected.
 this issue, and the ... Court really was never advised of it
 until in (sic) end point of the trial. It would be unfair to ...
 open that issue now.” (Trial Transcript, May 23, 2008,
 p. 13). While plaintiffs contend that defendant repeatedly                                   CONCLUSION
 admitted that Gambino's and others stowed the latch plate
 in an inaccessible location, they do not cite to the record to          *9 For the reasons stated above, plaintiffs' motion for
 support such contention. This argument does not provide                new trial is DENIED, and defendant's motion to strike
 a basis for granting a new trial.                                      affidavits is GRANTED.



 C. Partnership and/or Joint Venture                                    All Citations
 Plaintiffs allege that the Court erred in not ruling as a
                                                                        Not Reported in F.Supp.2d, 2008 WL 2922621
 matter of law that Findlay Ford was National Coach's
 partner or joint venturer, and the Court should have

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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4032 Filed 07/12/16 Page 109 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625


                                                          Wayne Circuit Court; LC No. 05–519614–CZ.
                   2011 WL 1687625
     Only the Westlaw citation is currently available.    Before: BECKERING, P.J., and MARKEY and
                                                          BORRELLO, JJ.
          UNPUBLISHED OPINION. CHECK
          COURT RULES BEFORE CITING.

                    UNPUBLISHED                                                ON REMAND
              Court of Appeals of Michigan.
                                                          PER CURIAM.
     CROWN ENTERPRISES INC, Plaintiff–Appellee,
                                                           *1 Plaintiff brought this action after the city of Romulus
                           v.
                                                          erected barriers to prevent plaintiff from using an
       CITY OF ROMULUS, Defendant–Appellant,              unimproved, vacated street named Harrison Avenue for
                          and                             the purpose of accessing its truck terminal. The trial court
        American Diesel Truck Repair Inc, Ruben           dismissed all of plaintiff's legal theories except finding a
         Chacon, and Juan Molinia, Defendants.            violation of procedural due process under 42 USC 1983
                                                          in the city's initial action of precluding plaintiff's use
                    Docket No. 286525.                    of the easement without notice or an opportunity for
                            |                             hearing. This Court reversed, finding that plaintiff had
                       May 3, 2011.                       abandoned its easement, and therefore, the city could not
                                                          have deprived plaintiff of any property rights without
  West KeySummary                                         due process. Crown Enterprises, Inc v. City of Romulus,
                                                          unpublished opinion per curiam of the Court of Appeals
                                                          issued May 20, 2010 (Docket No. 286525). Our Supreme
 1       Municipal Corporations                           Court reversed in an order that reads as follows:
            Costs
         Award of $186,679 to owner of a truck                        [W]e REVERSE the judgment of
         terminal as an attorney's fee was unreasonable               the Court of Appeals on the
         based on the degree of success obtained by                   issue of the abandonment of an
         owner in suit against city. Although owner                   easement for the reasons stated in
         was able to secure a temporary restraining                   the Court of Appeals concurring
         order (TRO) ordering city to remove physical                 opinion and on the issue of the
         barricades it erected on a vacated street                    overburdening of a servient estate.
         to prevent owner from routing commercial                     While the Court of Appeals was
         trucks to its truck terminal, city's zoning                  correct that the plaintiff's use of the
         ordinance continued to preclude commercial                   easement overburdened the servient
         trucks from legally driving on that street.                  estate, it provided no support for
                                                                      the proposition that such an act
         Therefore, due to owner's limited success and
                                                                      results in an automatic extinguishing
         the fact that the city's due process violation
                                                                      of the easement right when the
         in erecting the barricades caused no real
                                                                      owner of the servient estate is not
         damages, a reasonable attorney's fee should
                                                                      the complaining party. Therefore,
         have been limited to legal fees owner incurred
                                                                      we REINSTATE the decision of
         through obtaining the TRO. 42 U.S.C.A. §
                                                                      the Wayne Circuit Court that the
         1988.
                                                                      plaintiff had an easement right in
         Cases that cite this headnote                                Harrison Road, that the defendant
                                                                      interfered with that right without
                                                                      notice and an opportunity to be
                                                                      heard and that, as a consequence,



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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4033 Filed 07/12/16 Page 110 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625

              the plaintiff's due process rights were                    improperly, or uses an erroneous legal standard.”
              violated. In addition, we REMAND                           DiLaura v. Ann Arbor Twp., 471 F.3d 666, 671 (C.A.6,
              this case to the Court of Appeals for                      2006) (citations and quotation marks omitted). 3
              consideration of whether the award                         The degree of success a plaintiff achieves is the
              of attorney fees under 42 USC 1988                         most important factor in determining a reasonable
              was reasonable under all of the                            attorney fees under 42 USC 1988. Farrar v. Hobby,
              circumstances of this case. [Crown                         506 U.S. 103, 114, 113 S.Ct. 566, 121 L.Ed.2d 494
              Enterprises, Inc. v. City of Romulus,                      (1992). When a plaintiff wins only nominal damages,
              488 Mich. 1025, 1026, 792 N.W.2d                           a reasonable attorney may be no fee at all. Id. at 115;
              342 (2011).]                                               Cramblit, 33 F.3d at 635–636.

                                                                         _________________________
                                                                   3          Federal     law    governs     plaintiff's   federal
                I. STANDARD OF REVIEW
                                                                              constitutional right to due process and its 42 USC
 This Court stated the standard for appellate review of a                     1983 claim. Markis v. City of Grosse Point Park,
                                                                              180 Mich.App. 545, 553, 448 N.W.2d 352 (1988).
 trial court's award of attorney fees under 42 USC 1988 in
                                                                              An abuse of discretion occurs under Michigan
 our prior opinion, Crown Enterprises, supra, slip op at 8:
                                                                              law when the trial court's decision is outside the
     When contemplating an award of attorney fees under                       range of principled outcomes. Taylor v. Currie, 277
                                                                              Mich.App. 85, 99, 743 N.W.2d 571 (2007).
     42 USC 1988(b), 2 a court must employ a two-step
     analysis. The court must first determine whether a
                                                                       _________________________
     plaintiff seeking attorney fees is the “prevailing party.”
     Texas State Teachers Ass'n v. Garland Independent
     School Dist., 489 U.S. 782, 789, 109 S.Ct. 1486, 103                      II. FACTS AND PROCEEDINGS
     L.Ed.2d 866 (1989) (“no fee award is permissible
                                                                   In an opinion and order issued May 30, 2008, the trial
     until the plaintiff has crossed the ‘statutory threshold’
                                                                   court awarded plaintiff an attorney's fee of $186,679.58
     of prevailing party status”). Whether a plaintiff is
                                                                   for work on this case through the issuance of an injunctive
     a “prevailing party” is a question of law appellate
                                                                   order on February 17, 2006. The court determined that
     courts review de novo. Outdoor Systems, Inc. v. City
                                                                   plaintiff was a “prevailing party” under § 1988:
     of Clawson, 273 Mich.App. 204, 209, 729 N.W.2d 893
     (2006); Radvansky v. City of Olmsted Falls, 496 F.3d              Plaintiff prevailed on its procedural due process claim
     609, 619 (C.A.6, 2007).                                           when the court ruled that Defendant's placement of
                                                                       barricades on Harrison Avenue in 2005 constituted a
     _________________________
                                                                       procedural due process violation, providing a basis for
                                                                       a cause of action pursuant to 42 U.S.C. § 1983 and an
 2          42 USC 1988(b) provides in pertinent part: “In any
                                                                       award of attorney fees pursuant to § 1988. Pouillon v.
            action or proceeding to enforce [various federal
                                                                       Little, 326 F.3d 713, 716 (6th Cir.2003).
            statutes, including 42 USC 1983] ... the court, in
            its discretion, may allow the prevailing party ... a
                                                                   ***
            reasonable attorney's fee as part of the costs....”

                                                                       In the case at bar, the Court's order enjoining Defendant
     *2 _________________________                                      from interfering with Plaintiff's use of Harrison Avenue
                                                                       as ingress to and egress from its truck terminal
       Second, an appellate court must review for an
                                                                       resolved the dispute initiated by Defendant's barricade
       abuse of discretion the reasonableness of an attorney
                                                                       of Harrison Avenue and affected Defendant's behavior
       fee awarded to a “prevailing party.” Cramblit [v.
                                                                       toward Plaintiff.
       Fikse, 33 F.3d 633, 634 (C.A.6, 1994) ]. “Abuse of
       discretion exists only when a district court relies upon
                                                                   The trial court then determined a reasonable attorney's fee
       clearly erroneous factual findings, applies the law
                                                                   to award under § 1988. The trial court discussed Hensley


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4034 Filed 07/12/16 Page 111 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625

 v. Eckerhart, 461 U.S. 424, 103 S.Ct. 1933, 76 L.Ed.2d         and not limiting an award of an attorney's fee to the
 40 (1983), and quoting Hensley, opined that “[w]here the       very limited success plaintiff achieved—the removal of the
 plaintiff's successful and unsuccessful claims are based on    barricade on Harrison Avenue. DiLaura, 471 F.3d at 671.
 ‘a common core of facts' and ‘related legal theories,’ the
 lawsuit cannot be viewed as a series of discrete claims, and   The threshold question regarding the propriety of an
 the court should focus on the ‘significance of the overall     award of an attorney's fee pursuant to 42 USC 1988 is
 relief obtained by the plaintiff in relation to the hours      whether a plaintiff is a “prevailing party.” DiLaura, 471
 reasonably expended on the litigation.’ “ The trial court      F.3d at 671, citing Texas State Teachers Ass'n, 489 U.S.
 then parsed plaintiff's various claims as follows:             at 789. The Supreme Court has explained that the degree
                                                                of a plaintiff's success in relation to its overall goals are
   Plaintiff alleged related claims seeking relief for the      relevant to the reasonableness of a fee award, not the
   same course of conduct, Defendant's barricading of           eligibility for a fee award as the prevailing party. Texas
   Harrison Avenue to prevent Plaintiff's use of the            State Teachers Ass'n, 489 U.S. at 790. The Court held
   road to access its truck terminal. Plaintiff obtained        that “[a] prevailing party must be one who has succeeded
   relief, prevailing on the federal constitutional claim of    on any significant claim affording it some of the relief
   a procedural due process violation when the Court            sought, either pendente lite or at the conclusion of the
   granted its motion for preliminary injunctive relief         litigation.” Id. at 791. The Court further opined that “[i]f
   and found that Defendant's placement of barricades           the plaintiff has succeeded on ‘any significant issue in
   to block access was without legal justification.... It is    litigation which achieve[d] some of the benefit the parties
   Plaintiff's success on the due process claim that entitles   sought in bringing suit,’ the plaintiff has crossed the
   it to attorney's fees pursuant to § 1983 and § 1988.         threshold to a fee award of some kind.” Id at 791–792.

    *3 Plaintiff's choice to pursue its easement rights
                                                                In this case, plaintiff received a temporary restraining
   under state law after establishing the due process
                                                                order (TRO), on July 27, 2005, ordering defendant
   violation and remedying the course of conduct that gave
                                                                to remove the barricades it had placed that prevented
   rise to this litigation, though successful, removes the
                                                                plaintiff's access to and from its truck terminal by
   easement claim from the purview of § 1988 attorney fee
                                                                way of Harrison Avenue. The TRO achieved some of
   eligibility. Alternatively, Plaintiff cannot be considered
                                                                the relief plaintiff sought in its original complaint that
   a prevailing party entitling it to attorney's fees beyond
                                                                requested damages, as well as injunctive and declaratory
   February 17, 2006.
                                                                relief. In granting the TRO, the trial court concluded
   Therefore, Plaintiff's total requested fee of $242,700.41    that defendant's actions displayed “unconstitutional lack
   is reduced by $54,333.33, the latter figure reflecting all   of due process taking [plaintiff's] property.” At the
   fees, in every category, incurred after February 17, 2006.   conclusion of the case, the trial court formally ruled in
   Plaintiff's request for attorney's fees is granted in the    plaintiff's favor that the barricading of Harrison Avenue
   amount $186,679.58.                                          violated plaintiff's procedural due process rights.


 Defendant filed a motion for reconsideration on June 13,        *4 Despite plaintiff's success regarding defendant's initial
 2008, which the trial court denied on June 19, 2008. This      action of barricading Harrison Avenue, the question
 appeal followed.                                               remains whether removal of the physical barricade was
                                                                a “significant” claim or issue given that, although it
                                                                was ordered removed, the legal barrier of defendant's
                                                                zoning ordinance, which precluded plaintiff's use of its
                      III. ANALYSIS                             Harrison Avenue easement for truck traffic, remained
                                                                unaffected by the litigation. The Supreme Court has noted
 Applying the Supreme Court's analysis in Farrar, 506
                                                                that “a technical victory may be so insignificant ... as
 U.S. 103, 113 S.Ct. 566, 121 L.Ed.2d 494, we conclude
                                                                to be insufficient to support prevailing party status.”
 that the trial court correctly ruled that plaintiff achieved
                                                                Texas State Teachers Ass'n, 489 U.S. at 792. This might
 the status of “prevailing party” under § 1988. But we
                                                                occur when “a legal claim can be characterized as purely
 also conclude that the trial court abused its discretion
                                                                technical or de minimis.... ” Id. In hearings on this issue, the
 by misapplying the legal principles discussed in Farrar


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4035 Filed 07/12/16 Page 112 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625

 trial court described plaintiff's success as more technical      Further, quoting Carey, 435 U.S. at 266, the Court
 than substantive. “The touchstone of the prevailing party        opined that “awarding of nominal damages for the
 inquiry must be the material alteration of the legal             ‘absolute’ right to procedural due process ‘recognizes
 relationship of the parties in a manner which Congress           the importance to organized society that [this] right
 sought to promote in the fee statute.” Id. at 792–793.           be scrupulously observed’ while ‘remaining true to the
 Defendant argues, correctly, that the material relationship      principle that substantial damages should be awarded
 of the parties remained unaltered by this litigation because     only to compensate actual injury.’ “ Farrar, 506 U.S. at
 the city's zoning ordinance precluded plaintiff from using       112. Therefore, the Court held that “a plaintiff who wins
 Harrison Avenue for truck traffic. On the other hand,            nominal damages is a prevailing party under § 1988,”
 plaintiff can correctly argue that defendant no longer acts      which “inquiry does not turn on the magnitude of the
 to enforce its zoning ordinance without notice and an            relief obtained.” Farrar, 506 U.S. at 113–114. In this
 opportunity for a hearing.                                       case, because the trial court determined that defendant's
                                                                  violation of plaintiff's right to procedural due process
 In Farrar, the Court held that the civil rights plaintiff        qualified for a nominal damage award, plaintiff satisfied
 who had received only nominal damages was a “prevailing          the threshold query under § 1988 of being a “prevailing
 party” under § 1988 even though the plaintiff's de minimis       party.”
 success required that a “reasonable” attorney's fee award
 would be no award at all. Farrar, 506 U.S. at 105, 115. The       *5 The next question is whether the trial court abused its
 Court explained:                                                 discretion by awarding plaintiff all claimed attorney fees
                                                                  through the date the court issued a preliminary injunction
   [T]o qualify as a prevailing party, a civil rights plaintiff   on February 17, 2006. Was the court's award of $186,679
   must obtain at least some relief on the merits of              as an attorney's fee reasonable? “Although the ‘technical’
   his claim. The plaintiff must obtain an enforceable            nature of a nominal damages award or any other judgment
   judgment against the defendant from whom fees are              does not affect the prevailing party inquiry, it does bear on
   sought, or comparable relief through a consent decree          the propriety of fees awarded under § 1988.” Farrar, 506
   or settlement. Whatever relief the plaintiff secures           U.S. at 114. “ ‘[T]he degree of the plaintiff's overall success
   must directly benefit him at the time of the judgment          goes to the reasonableness' of a fee award....” Id., quoting
   or settlement. Otherwise the judgment or settlement            Texas State Teachers Ass'n, supra at 793. Indeed, when
   cannot be said to ‘affect the behavior of the defendant        determining the reasonableness of an attorney's fee award
   toward the plaintiff.’ Only under these circumstances          under § 1988, “ ‘the most critical factor[,] ... is the degree
   can civil rights litigation effect ‘the material alteration    of success obtained.’ “ Farrar, 506 U.S. at 114, quoting
   of the legal relationship of the parties' and thereby          Hensley, 461 U.S. at 436. The Farrar Court further held
   transform the plaintiff into a prevailing party. In short,     that when a plaintiff seeking money damages achieves
   a plaintiff ‘prevails' when actual relief on the merits of     prevailing party status but wins only nominal damages,
   his claim materially alters the legal relationship between     the only reasonable attorney's fee award may be no award
   the parties by modifying the defendant's behavior in a         at all. Farrar, 506 U.S. at 115. The Court explained:
   way that directly benefits the plaintiff. [Id. at 111–112
   (citations omitted).]                                            In some circumstances, even a plaintiff who formally
                                                                    “prevails” under § 1988 should receive no attorney's
 Plaintiff satisfies this test because it obtained an               fees at all. A plaintiff who seeks compensatory damages
 enforceable judgment (the TRO), which modified                     but receives no more than nominal damages is often
 defendant's behavior in a way that directly benefited              such a prevailing party. As we have held, a nominal
 plaintiff by removing the physical barricade that blocked          damages award does render a plaintiff a prevailing
 its access to its property via Harrison Avenue.                    party by allowing him to vindicate his “absolute” right
                                                                    to procedural due process through enforcement of a
 Pertinent to this case, the Farrar Court observed that “           judgment against the defendant. In a civil rights suit for
 ‘the denial of procedural due process should be actionable         damages, however, the awarding of nominal damages
 for nominal damages without proof of actual injury.’ “             also highlights the plaintiff's failure to prove actual,
 Farrar, 506 U.S. at 112, quoting Carey v. Piphus, 435              compensable injury. Whatever the constitutional basis
 U.S. 247, 266, 98 S.Ct. 1042, 55 L.Ed.2d 252 (1978).               for substantive liability, damages awarded in a § 1983


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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4036 Filed 07/12/16 Page 113 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625

   action “must always be designed ‘to compensate injuries        [defendant] to prevent access from Harrison was without
                                                                  legal justification,” was a finding regarding a violation of
   caused by the [constitutional] deprivation.’ “ When a
                                                                  due process, it resulted in only nominal damages so that
   plaintiff recovers only nominal damages because of his
                                                                  “no attorney fee” is a reasonable attorney fee under § 1988.
   failure to prove an essential element of his claim for
                                                                  Farrar, 506 U.S. at 115–116.
   monetary relief, the only reasonable fee is usually no fee
   at all. In an apparent failure to heed our admonition
                                                                   *6 The only tangible success plaintiff achieved in
   that fee awards under § 1988 were never intended
                                                                  this case, apart from the finding of a procedural due
   to “ ‘produce windfalls to attorneys,’ “ the District
                                                                  process violation warranting only nominal damages,
   Court awarded $280,000 in attorney's fees without
                                                                  was the July 2005 TRO ordering the city to remove
   “considering the relationship between the extent of
                                                                  the physical barricades it erected on Harrison Avenue.
   success and the amount of the fee award.” [Farrar, 506
                                                                  All of plaintiff's other state and federal claims were
   U.S. at 115–116 (citations omitted).]
                                                                  dismissed. Plaintiff initiated this lawsuit to enable it to
                                                                  use Harrison Avenue for the purpose of daily routing
 The Sixth Circuit Court of Appeals has followed Farrar
                                                                  hundreds of commercial trucks to its truck terminal.
 by holding that in civil rights actions where a plaintiff
                                                                  Plaintiff succeeded early in the litigation by obtaining
 primarily is seeking monetary damages but obtains only
                                                                  an order that the city remove the physical barrier to its
 nominal relief with respect to their claims, a reasonable
                                                                  planned use of Harrison Avenue for truck traffic, but
 attorney's fee award was no fee at all. Pouillon, 326 F.3d
                                                                  the legal barrier of defendant's zoning ordinance and
 at 717–718; Cramblit, 33 F.3d at 635–636. Under Farrar
                                                                  the substandard condition of Harrison Avenue remained
 and its progeny in the Sixth Circuit Court of Appeals,
                                                                  unaffected by this litigation. Further, although plaintiff
 if plaintiff had obtained only nominal damages on its
                                                                  was successful in establishing its state law claim to an
 federal claims, then the only reasonable attorney's fee
                                                                  easement, it was unsuccessful in achieving its overall
 under § 1988 would have been no fee at all. However, as
                                                                  objective of securing the right to use Harrison Avenue for
 we have noted already, plaintiff's case is distinguishable
                                                                  the purpose of daily routing hundreds of trucks to its truck
 from Farrar, Pouillon, and Cramblit, because plaintiff
                                                                  terminal via Harrison Avenue without fully complying
 obtained more than just nominal relief. Plaintiff also
                                                                  with defendant's ordinance. Consequently, in light of the
 obtained equitable relief in the form of the trial court's
                                                                  very limited success that plaintiff achieved, and in light
 order to remove the barricade blocking Harrison Avenue.
                                                                  of the fact that the due process violation caused no real
 However, this relief was obtained by the issuance of
                                                                  damages to plaintiff, we conclude the trial court abused
 TRO at the end of July 2005. We conclude that the
                                                                  its discretion by not limiting a reasonable attorney's fee
 trial court abused its discretion by awarding plaintiff
                                                                  under § 1988 to the legal fees plaintiff incurred through
 attorney's fees through the subsequent injunctive relief
                                                                  its obtaining the TRO that resulted in the removal of
 for ingress and egress because that relief was based on
                                                                  the barricades the city had erected without notice and an
 plaintiff's state law claim to an easement in Harrison
                                                                  opportunity for a hearing. Such an award of reasonable
 Avenue. Plaintiff obtained relief for the procedural due
                                                                  attorney's fees under § 1988 would thus be limited to the
 process violation in July 2005 when the trial court issued
                                                                  “ ‘degree of success obtained.’ “ Farrar, 506 U.S. at 114,
 the TRO for the removal of the barricades the city erected.
                                                                  quoting Hensley, 461 U.S. at 436.
 Procedural due process does not guarantee any particular
 result on the merits but only requires “notice of the
                                                                  We reverse in part and remand for further proceedings
 nature of the proceedings and an opportunity to be heard
                                                                  consistent with this opinion. We do not retain jurisdiction.
 by an impartial decision maker at a meaningful time
                                                                  No taxable costs pursuant to MCR 7.219 as neither party
 and in a meaningful manner.” Mettler Walloon, LLC v.
                                                                  fully prevailed.
 Melrose Twp., 281 Mich.App. 184, 214, 761 N.W.2d 293
 (2008). After the trial court ordered the removal of the
 barricades, plaintiff was accorded procedural due process        All Citations
 regarding its easement and all other claims either party
 asserted. To the extent the trial court's determination in its   Not Reported in N.W.2d, 2011 WL 1687625
 February 17, 2006 order, “that placement of barricades by




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Case 2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4037 Filed 07/12/16 Page 114 of 117
 Crown Enterprises Inc. v. City of Romulus, Not Reported in N.W.2d (2011)
 2011 WL 1687625



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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4038 Filed 07/12/16 Page 115 of 117
 Terry v. Al-Naimi, Not Reported in F.Supp.2d (2009)
 2009 WL 728542



                   2009 WL 728542
     Only the Westlaw citation is currently available.          MEMORANDUM AND ORDER GRANTING
              United States District Court,                   PLAINTIFF'S MOTION FOR ATTORNEY FEES 1
                    E.D. Michigan,
                  Southern Division.                      1      The Court originally scheduled this matter for
                                                                 hearing. Upon review of the parties' papers, however,
               Cynthia TERRY, Plaintiff,                         the Court finds that oral argument is not necessary.
                            v.                                   See E.D. Mich. LR 7.1(e)(2).
           Matthew AL–NAIMI, Recy–Clean
            Services L.L.C., and Recy–Clean               AVERN COHN, District Judge.
       Environmental Services L.L.C., Defendants.
                                                                                 I. Introduction
                      No. 07–14130.
                             |                             *1 This is an employment discrimination case. On
                      March 19, 2009.                     January 8, 2009, a jury found defendant Recy–Clean
                                                          Environmental Services, L.L.C., (Recy–Clean) guilty of
                                                          sexually harassing plaintiff Cynthia Terry (Terry) and
  West KeySummary
                                                          awarded her $25,000 in compensatory damages and
                                                          $125,000 in punitive damages. The jury acquitted Recy–
 1       Civil Rights                                     Clean of retaliation and acquitted defendant Matthew Al–
              Amount and Computation                      Naimi of sexual harassment and retaliation.
         Civil Rights
              Time Expended; Hourly Rates                 The Court entered a judgment on the verdict against
                                                          Recy–Clean in the amount of $150,000.
         An employee who was the prevailing party
         in a sexual harassment case was entitled to
                                                          Before the Court is Terry's motion requesting $43,625.82
         an award of $20,963.50 in attorney fees. The
                                                          in attorney fees. For the reasons that follow, the motion
         employee requested $43,625.82 in attorney
                                                          will be granted in the amount of $20,963.50.
         fees. Although the employer did not question
         the hourly rates, the court found that $200 an
         hour for an attorney in the Detroit area with
         under three years' experience was excessive                          II. Legal Standards
         and thus reduced the rate to $150.
                                                          “In any action or proceeding under [subchapter VI, Equal
         Cases that cite this headnote                    Employment Opportunities, of Chapter 21, Civil Rights,
                                                          of Title 42] the court, in its discretion, may allow the
                                                          prevailing party ... a reasonable attorney's fee ... as part of
                                                          the costs.” 42 U.S.C. § 2000e–5(k). “A court, in rendering
 Attorneys and Law Firms                                  a judgment in an action brought pursuant to [Michigan's
                                                          Elliott–Larsen Civil Rights Act (ELCRA) ], may award all
 Mary A. Mahoney, Scwartz Law Firm, Farmington Hills,     or a portion of the costs of litigation, including reasonable
 MI, for Plaintiff.                                       attorney fees and witness fees, to the complainant in
                                                          the action if the court determines that the award is
 Austin M. Hirschhorn, Austin Hirschhorn Association,
                                                          appropriate.” M.C.L. 37.2802. A “prevailing party” is one
 Troy, MI, for Defendants.
                                                          who was entitled to some form of relief when the suit was
                                                          brought. Harrington v. Vandalia–Butler Bd. of Educ., 585
                                                          F.2d 192, 197 (6th Cir.1978). The awarding and amount
                                                          of attorney fees are at the Court's discretion. 42 U.S.C. §




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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4039 Filed 07/12/16 Page 116 of 117
 Terry v. Al-Naimi, Not Reported in F.Supp.2d (2009)
 2009 WL 728542

 12205; Dillery v. City of Sandusky, 398 F.3d 562, 569 (6th                      is often difficult to assess the need
                                                                                 for two lawyers at a deposition, an
 Cir.2005).
                                                                                 interview, or a trial.
 The Supreme Court and the Sixth Circuit have recognized             Coulter, 805 F.2d at 150. After the lodestar is calculated,
 a modified rate-times-hours method of calculating a                 the Court may adjust the fee for factors such as the
 reasonable attorney fee. E.g., Hensley v. Eckerhart, 461            number of defendants against whom a plaintiff prevailed
 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983);                compared with the number joined, the proportion of
 Coulter v. State of Tenn., 805 F.2d 146 (6th Cir.1986).             claims on which plaintiff prevailed, the experience of the
 However, “[c]ases may be overstaffed, and the skill                 attorneys, duplicated hours, and whether the agreement
 and experience of lawyers vary widely. Counsel for the              was for a fixed or contingent fee. Marr v. Rife, 545
 prevailing party should make a good faith effort to exclude         F.2d 554, 555–56 (6th Cir.1976); Disabled Patriots of
 from a fee request hours that are excessive, redundant, or          Am., Inc., v. Taylor Inn Enters., Inc., 424 F.Supp.2d 962,
 otherwise unnecessary ....” Hensley, 461 U.S. at 434. For           965–66 (E.D.Mich.2006). “There is no precise rule or
 example,                                                            formula for making these determinations. The district
                                                                     court may attempt to identify specific hours that should be
             Hours spent in reviewing records,
                                                                     eliminated, or it may simply reduce the award to account
             talking to other lawyers or experts,
                                                                     for the limited success.” Hensley, 461 U.S. at 436–37.
             preparing legal documents and
             the like cannot be fully verified
             and require the court to trust
             the lawyer's word that the hours                                                   IV.
             claimed represent necessary work
             actually performed. Depending on                         *2 As the prevailing party, Terry is entitled to attorney
             the situation, the lawyer may have                      fees under Title VII of the Civil Rights Act and ELCRA.
             strong economic incentives to spend                     She seeks $43,625.82. Recy–Clean urges the Court in its
             too many hours on a piece of                            discretion to reduce the amount.
             work or to exaggerate the number
             of hours spent or the necessity or                      Terry's attorneys billed the following hours:
             importance of the work. Similarly, it
       Name                       Experience                                     Rate       Hours                    Total

       Mary                       20.5 years litigation, including           $275.00         128.4            $35,310.00
       Mahoney                    Civil Rights actions

       Susan Brown                21 years in employment law,                  275.00           5.5             1,512.50
                                  especially Civil Rights cases

       Erik Graney                2.5 years; 2006 magna cum                    200.00        34.03              6,803.32
                                  laude graduate of MSU Law;
                                  clinic experience in school;
                                  two summers clerking at a
                                  law firm where work included
                                  employment law

       TOTAL                                                                                                  $43,625.82

                                                                     Graney will be $150, reducing his total to $5,104.50 and
 Recy–Clean does not question the hourly rates of the
                                                                     the lodestar total to $41,927.00.
 attorneys but the Court finds that a $200 hourly rate for
 an attorney in the Detroit area with under three years'
                                                                     Counsel for Recy–Clean “believes” that some of the
 experience is excessive. The hourly rate allowed for Mr.
                                                                     charges are not considered as taxable costs under local and



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Case   2:14-cv-11916-GCS-SDD ECF No. 121-2, PageID.4040 Filed 07/12/16 Page 117 of 117
 Terry v. Al-Naimi, Not Reported in F.Supp.2d (2009)
 2009 WL 728542

 federal rules; however, counsel does not cite any particular
 rules. Counsel for Recy–Clean also thinks “some of the
 costs” involve duplication of efforts by Terry's attorneys                                  V. Conclusion
 and charges for services unrelated to Recy–Clean but
 counsel does not cite any particular charges.                       The clerk will enter a supplemental judgment in Terry's
                                                                     favor in the amount of $20,963.50 as reasonable
 The original amount claimed by Terr's counsel was under             compensation for attorney fees.
 $50,000, not an excessive amount for a case that went to
 trial. However, Terry prevailed against only one of two             SO ORDERED.
 defendants, Recy–Clean, and was successful on only one
 of two claims against Recy–Clean.
                                                                     All Citations

 Therefore, the Court will exercise its discretion in reducing       Not Reported in F.Supp.2d, 2009 WL 728542
 the modified lodestar total by one-half. Recy–Clean is
 liable for $20,963.50 in attorney fees.

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